          Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD      Page 1 of 431
                                                                   SmBus, DUPFILER, APPEAL_NAT


                                       U.S. Bankruptcy Court
                                 Southern District of Texas (Houston)
                                   Bankruptcy Petition #: 23-34815
                                                                      Date filed: 12/05/2023
Assigned to: Bankruptcy Judge Jeffrey P Norman                   Plan confirmed: 06/22/2024
Chapter 11                                                          341 meeting: 01/10/2024
Voluntary
Asset



Debtor                                                represented by Reese W Baker
Galleria 2425 Owner, LLC                                             Baker & Associates
1001 West Loop South 700                                             950 Echo Lane
Houston, TX 77027                                                    Suite 300
HARRIS-TX                                                            Houston, TX 77024
Tax ID / EIN: XX-XXXXXXX                                             713-869-9200
                                                                     Fax : 713-869-9100
                                                                     Email: courtdocs@bakerassociates.net

                                                                    Joseph Carl Cecere, II
                                                                    Cecere PC
                                                                    6035 McCommas Blvd
                                                                    Dallas, TX 75206
                                                                    469-600-9455
                                                                    Email: ccecere@cecerepc.com

                                                                    James Q. Pope
                                                                    The Pope Law Firm
                                                                    6161 Savoy Drive
                                                                    Ste 1125
                                                                    Houston, TX 77036
                                                                    713-449-4481
                                                                    Email: ecf@thepopelawfirm.com

                                                                    Jeffrey W Steidley
                                                                    Steidley Law Firm
                                                                    3000 Weslayan
                                                                    Ste 200
                                                                    Houston, TX 77027
                                                                    713-523-9595
                                                                    Email: Jeff@texlaw.us

Trustee                                               represented by Kyung Shik Lee
Christopher R Murray                                                 Shannon and Lee LLP
Jones Murray LLP                                                     2100 Travis St.
602 Sawyer St                                                        Ste 1525
Ste 400                                                              Houston, TX 77002
Houston, TX 77007                                                    713-301-4751
                                                                     Email: klee@shannonleellp.com
         Case 4:24-cv-04836          Document 8-1   Filed on 04/23/25 in TXSD            Page 2 of 431
832-529-1999
                                                                          Christopher R Murray
                                                                          Jones Murray LLP
                                                                          602 Sawyer St
                                                                          Ste 400
                                                                          Houston, TX 77007
                                                                          832-529-1999
                                                                          Fax : 832-529-3393
                                                                          Email: chris@jonesmurray.com

                                                                          Christopher R Murray
                                                                          Jones Murray LLP
                                                                          602 Sawyer Street
                                                                          Suite 400
                                                                          Houston, TX 77007
                                                                          832-529-1999
                                                                          Email: chris@jonesmurray.com

                                                                          R. J. Shannon
                                                                          Shannon & Lee LLP
                                                                          2100 Travis Street, STE 1525
                                                                          Houston, TX 77002
                                                                          713-714-5770
                                                                          Email: rshannon@shannonleellp.com

U.S. Trustee                                              represented by Jana Smith Whitworth
US Trustee                                                               Office of United States Trustee
Office of the US Trustee                                                 515 Rusk Street, Suite 3516
515 Rusk Ave                                                             Houston, TX 77002
Ste 3516                                                                 (713) 718-4650
Houston, TX 77002                                                        Fax : (713) 718-4670
713-718-4650                                                             Email: jana.whitworth@usdoj.gov

   Filing Date                #                                            Docket Text

                           1                   Chapter 11 Voluntary Petition Non-Individual Fee Amount $1738 Filed
                           (8 pgs)             by Galleria 2425 Owner, LLC. Chapter 11 Plan (Small Business) due
 12/05/2023                                    by 06/3/2024. (Pope, James) (Entered: 12/05/2023)

                                               Notice of Appearance and Request for Notice Filed by Jana Smith
 12/05/2023                                    Whitworth (Whitworth, Jana) (Entered: 12/05/2023)

                           2                   Notice of Appearance and Request for Notice Filed by Charles Clayton
                           (3 pgs)             Conrad Filed by on behalf of National Bank of Kuwait, S.A.K.P., New
 12/05/2023                                    York Branch (Conrad, Charles) (Entered: 12/05/2023)

                           3                   MOTION to Appear Pro Hac Vice for Patrick E. Fitzmaurice (Fee
                           (1 pg)              Paid: $100, receipt number AXXXXXXXX) Filed by Creditor National
                                               Bank of Kuwait, S.A.K.P., New York Branch (Conrad, Charles)
 12/05/2023                                    (Entered: 12/05/2023)

 12/05/2023                4                   MOTION to Appear Pro Hac Vice for Kwame O. Akuffo (Fee Paid:
                           (1 pg)              $100, receipt number AXXXXXXXX) Filed by Creditor National Bank of
         Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 3 of 431
                                            Kuwait, S.A.K.P., New York Branch (Conrad, Charles) (Entered:
                                            12/05/2023)

                        5                   Adversary case 23-03259. Nature of Suit: (02 (Other (e.g. other actions
                        (9 pgs; 2 docs)     that would have been brought in state court if unrelated to
                                            bankruptcy))) Notice of Removal Azeemeh Zaheer, Naissance
                                            Galleria, LLC. Fee Amount $350 (Attachments: # 1 Exhibit 1)
12/06/2023                                  (Castanon, Cynthia) (Entered: 12/06/2023)

                        6                   Order Granting Motion To Appear pro hac vice as to Kwame O.
                        (1 pg)              Akuffo. (Related Doc # 4) Signed on 12/6/2023. (MarioRios) (Entered:
12/06/2023                                  12/06/2023)

                        7                   Order Denying Motion To Appear pro hac vice (Related Doc # 3)
12/06/2023              (1 pg)              Signed on 12/6/2023. (MarioRios) (Entered: 12/06/2023)

                        8                   Order to Debtor in Possession and Setting Status Conference Hearing
                        (2 pgs)             Signed on 12/6/2023 (Related document(s):1 Voluntary Petition
                                            (Chapter 11)) Status conference to be held on 2/7/2024 at 11:00 AM
                                            at Houston, Courtroom 403 (JPN). (MarioRios) (Entered:
12/06/2023                                  12/06/2023)

                        9                   Meeting of Creditors Chapter 11 for Non-Individual Debtor Set 341(a)
                        (2 pgs)             meeting to be held on 1/10/2024 at 09:30 AM at US Trustee Houston
                                            Teleconference. Last day to object to dischargeability under section
                                            523 is 3/11/2024. Proofs of Claims due by 4/9/2024. Government
                                            Proof of Claim due by 6/3/2024. (Whitworth, Jana) (Entered:
12/06/2023                                  12/06/2023)

                        10                  Amended Petition (Filed By Galleria 2425 Owner, LLC ). (Pope,
12/06/2023              (4 pgs)             James) (Entered: 12/06/2023)

                        11                  Notice of Appearance and Request for Notice Filed by Reese W Baker
                        (2 pgs)             Filed by on behalf of Galleria 2425 Owner, LLC (Baker, Reese)
12/06/2023                                  (Entered: 12/06/2023)

                                            Previous case filed in the Southern District of Texas, Case Number 23-
12/07/2023                                  60036. (DanielBerger) (Entered: 12/07/2023)

                        12                  Notice of Appearance and Request for Notice Filed by Rodney Lee
                        (3 pgs)             Drinnon Filed by on behalf of Rodney Drinnon (Drinnon, Rodney)
12/07/2023                                  (Entered: 12/07/2023)

                        13                  Notice of Appearance and Request for Notice Filed by Susan R.
                        (2 pgs)             Fuertes Filed by on behalf of Harris County, ATTN: Property Tax
12/07/2023                                  Division (Fuertes, Susan) (Entered: 12/07/2023)

                        14                  Second MOTION to Appear Pro Hac Vice for Patrick E. Fitzmaurice
                        (2 pgs)             (Fee Paid: $100, receipt number AXXXXXXXX) Filed by National Bank
                                            of Kuwait, S.A.K.P., New York Branch (Conrad, Charles) (Entered:
12/08/2023                                  12/08/2023)

12/08/2023              15                  Motion to Transfer Case To Another District. Objections/Request for
                        (312 pgs; 3 docs)   Hearing Due in 21 days. Filed by Creditor National Bank of Kuwait,
                                            S.A.K.P., New York Branch (Attachments: # 1 Exhibit A - Conrad
         Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 4 of 431
                                            Declaration # 2 Exhibit B - Proposed Order) (Conrad, Charles)
                                            (Entered: 12/08/2023)

                        16                  Motion to Shorten Time (related document(s):15 Motion to Transfer
                        (8 pgs; 2 docs)     Case), in addition to Motion to Limit Notice (related document(s):15
                                            Motion to Transfer Case). Filed by Creditor National Bank of Kuwait,
                                            S.A.K.P., New York Branch (Attachments: # 1 Exhibit A - Proposed
12/08/2023                                  Order) (Conrad, Charles) (Entered: 12/08/2023)

                        17                  BNC Certificate of Mailing. (Related document(s):6 Order on Motion
                        (3 pgs)             to Appear pro hac vice) No. of Notices: 1. Notice Date 12/08/2023.
12/08/2023                                  (Admin.) (Entered: 12/08/2023)

                        18                  BNC Certificate of Mailing. (Related document(s):7 Order on Motion
                        (3 pgs)             to Appear pro hac vice) No. of Notices: 1. Notice Date 12/08/2023.
12/08/2023                                  (Admin.) (Entered: 12/08/2023)

                        19                  BNC Certificate of Mailing. (Related document(s):8 Order Setting
                        (4 pgs)             Hearing) No. of Notices: 1. Notice Date 12/08/2023. (Admin.)
12/08/2023                                  (Entered: 12/08/2023)

                                            Receipt of Voluntary Petition (Chapter 11)( 23-34815) [misc,volp11]
                                            (1738.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount
12/09/2023                                  $1738.00. (U.S. Treasury) (Entered: 12/09/2023)

                        20                  BNC Certificate of Mailing - Meeting of Creditors. (Related
                        (4 pgs)             document(s):9 Meeting of Creditors Chapter 11 for Non-Individual
                                            Debtor Set) No. of Notices: 32. Notice Date 12/09/2023. (Admin.)
12/09/2023                                  (Entered: 12/09/2023)

                        21                  Notice of Appearance and Request for Notice Filed by Stephen Wayne
                        (2 pgs)             Sather Filed by on behalf of Galleria 2425 Owner, LLC (Sather,
12/11/2023                                  Stephen) (Entered: 12/11/2023)

                        22                  Order Denying Motion To Transfer Case ct(Related Doc # 15),
                        (2 pgs)             Denying Motion to Shorten Time (Related Doc # 16) Signed on
12/11/2023                                  12/11/2023. (TraceyConrad) (Entered: 12/11/2023)

                        23                  Notice of Appearance and Request for Notice Filed by Tara L
                        (4 pgs)             Grundemeier Filed by on behalf of Houston ISD, Houston Community
                                            College System, City of Houston (Grundemeier, Tara) (Entered:
12/11/2023                                  12/11/2023)

                        24                  Emergency Motion , Motion for Relief from Stay . Fee Amount $199.
                        (91 pgs; 9 docs)    Filed by Creditor Rodney Drinnon (Attachments: # 1 Proposed Order #
                                            2 Affidavit # 3 Exhibit # 4 Exhibit # 5 Exhibit # 6 Exhibit # 7 Exhibit #
12/11/2023                                  8 Exhibit) (Drinnon, Rodney) (Entered: 12/11/2023)

                                            Receipt of Motion for Relief From Stay( 23-34815) [motion,mrlfsty] (
                                            199.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount $ 199.00.
12/11/2023                                  (U.S. Treasury) (Entered: 12/11/2023)

12/12/2023              25                  Order Denying Emergency Consideration and Setting Expedited
                        (1 pg)              Hearing Signed on 12/12/2023 (Related document(s):24 Emergency
                                            Motion for Relief From Stay) Hearing scheduled for 12/19/2023 at
         Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 5 of 431
                                             12:00 PM at Houston, Courtroom 403 (JPN). (TraceyConrad)
                                             (Entered: 12/12/2023)

                        26                   Notice of Order Setting Expedited Hearing. (Related document(s):24
                        (4 pgs)              Emergency Motion, Motion for Relief From Stay) Filed by Rodney
12/12/2023                                   Drinnon (Drinnon, Rodney) (Entered: 12/12/2023)

                        27                   Order Granting Motion To Appear pro hac vice (Related Doc # 14)
12/13/2023              (2 pgs)              Signed on 12/13/2023. (MarioRios) (Entered: 12/13/2023)

                        28                   Withdraw Document (Filed By Galleria 2425 Owner, LLC ).(Related
                        (2 pgs)              document(s):21 Notice of Appearance) (Sather, Stephen) (Entered:
12/13/2023                                   12/13/2023)

                        29                   Notice of Appearance and Request for Notice Filed by Stephen Wayne
                        (4 pgs)              Sather Filed by on behalf of Galleria 2425 Owner, LLC (Sather,
                                             Stephen) Modified on 12/14/2023 (MarioRios). THIS ENTRY WAS
                                             FILED IN ERROR AND HAS BEEN CORRECTED AS 30. (Entered:
12/13/2023                                   12/13/2023)

                        30                   Notice of Appearance and Request for Notice Filed by Stephen Wayne
                        (4 pgs)              Sather Filed by on behalf of 2425 WL, LLC (Sather, Stephen)
12/13/2023                                   Modified on 12/14/2023 (MarioRios). (Entered: 12/13/2023)

                        31                   Notice of Appearance and Request for Notice Filed by James Robert
                        (2 pgs)              MacNaughton Filed by on behalf of 2425 West Loop, LLC
12/13/2023                                   (MacNaughton, James) (Entered: 12/13/2023)

                        32                   BNC Certificate of Mailing. (Related document(s):22 Order on Motion
                        (4 pgs)              To Transfer Case) No. of Notices: 2. Notice Date 12/13/2023.
12/13/2023                                   (Admin.) (Entered: 12/13/2023)

                        33                   Emergency Motion For Use of Cash Collateral Filed by Debtor
                        (15 pgs; 3 docs)     Galleria 2425 Owner, LLC (Attachments: # 1 Proposed Order # 2
12/14/2023                                   Exhibit Proposed Budget) (Baker, Reese) (Entered: 12/14/2023)

                        34                   Emergency Motion OF DEBTOR TO DETERMINE ADEQUATE
                        (10 pgs; 3 docs)     ASSURANCE UTILITY PAYMENTS Filed by Debtor Galleria 2425
                                             Owner, LLC (Attachments: # 1 Proposed Order # 2 Exhibit Average
12/14/2023                                   Utility Costs) (Baker, Reese) (Entered: 12/14/2023)

                        35                   Witness List (Filed By Rodney Drinnon ).(Related document(s):24
                        (5 pgs)              Emergency Motion, Motion for Relief From Stay) (Drinnon, Rodney)
12/14/2023                                   (Entered: 12/14/2023)

                        36                   Exhibit List (Filed By Rodney Drinnon ).(Related document(s):24
                        (229 pgs; 11 docs)   Emergency Motion, Motion for Relief From Stay) (Attachments: # 1
                                             Exhibit # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit # 6 Exhibit # 7
                                             Exhibit # 8 Exhibit # 9 Exhibit # 10 Exhibit) (Drinnon, Rodney)
12/14/2023                                   (Entered: 12/14/2023)

                        37                   BNC Certificate of Mailing. (Related document(s):25 Order Setting
                        (3 pgs)              Hearing) No. of Notices: 2. Notice Date 12/14/2023. (Admin.)
12/14/2023                                   (Entered: 12/14/2023)
         Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 6 of 431
                        38                  Order Setting Hearing Signed on 12/15/2023 (Related document(s):33
                        (2 pgs)             Emergency Motion, 34 Emergency Motion) Hearing scheduled for
                                            12/18/2023 at 02:30 PM at Houston, Courtroom 403 (JPN).
12/15/2023                                  (MarioRios) (Entered: 12/15/2023)

                        39                  Notice OF HEARING ON DEBTORS EMERGENCY MOTION FOR
                        (31 pgs; 4 docs)    INTERIM AND FINAL ORDERS AUTHORIZING THE USAGE OF
                                            CASH COLLATERAL AND DEBTORS MOTION TO DETERMINE
                                            ADEQUATE ASSURANCE UTILITY PAYMENTS. (Related
                                            document(s):38 Order Setting Hearing) Filed by Galleria 2425 Owner,
                                            LLC (Attachments: # 1 Order of hearing # 2 Motions filed # 3 Exhibit
12/15/2023                                  A) (Baker, Reese) (Entered: 12/15/2023)

                        40                  Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (75 pgs; 6 docs)    (Related document(s):24 Emergency Motion, Motion for Relief From
                                            Stay) (Attachments: # 1 Exhibit 2d Amended Petition # 2 Exhibit 5th
                                            Amended Petition # 3 Exhibit 6th Amended Petition # 4 Exhibit
                                            Docket sheet state court case # 5 Exhibit Active Parties in state court
12/15/2023                                  case) (Baker, Reese) (Entered: 12/15/2023)

                        41                  Exhibit List (Filed By Galleria 2425 Owner, LLC ).(Related
                        (56 pgs; 6 docs)    document(s):24 Emergency Motion, Motion for Relief From Stay, 40
                                            Witness List, Exhibit List) (Attachments: # 1 Exhibit First Amended
                                            Petition # 2 Exhibit Third Amended Petition # 3 Exhibit Email to
                                            Drinnon # 4 Exhibit Letter to 281st Court # 5 Exhibit Response to
12/15/2023                                  TCPA motion) (Baker, Reese) (Entered: 12/15/2023)

                        42                  Omnibus Objection to (I) Debtor's Emergency Motion for Interim and
                        (160 pgs; 7 docs)   Final Orders Authorizing the Usage of Cash Collateral, and (II)
                                            Debtor's Motion to Determine Adequate Assurance Utility Payments
                                            (related document(s):33 Emergency Motion, 34 Emergency Motion).
                                            Filed by Galleria 2425 Owner, LLC (Attachments: # 1 Exhibit A Loan
                                            Agreement # 2 Exhibit B Promissory Note # 3 Deed of Trust # 4
                                            Exhibit D Payoff Statement # 5 Exhibit E Proofs of Claim (23-60036)
                                            # 6 Exhibit F Proposed Order) (Conrad, Charles) (Entered:
12/15/2023                                  12/15/2023)

                        43                  Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (9 pgs; 4 docs)     (Related document(s):33 Emergency Motion, 34 Emergency Motion)
                                            (Attachments: # 1 Exhibit Budget for Cash Collateral # 2 Exhibit
                                            Utilities # 3 Exhibit Declaration of Ali Choudhri) (Baker, Reese)
12/15/2023                                  (Entered: 12/15/2023)

                        44                  Omnibus Objection to (I) Debtor's Emergency Motion for Interim and
                        (158 pgs; 7 docs)   Final Orders Authorizing the Usage of Cash Collateral, and (II)
                                            Debtor's Motion to Determine Adequate Assurance Utility Payments
                                            (related document(s):33 Emergency Motion, 34 Emergency Motion).
                                            Filed by National Bank of Kuwait, S.A.K.P., New York Branch
                                            (Attachments: # 1 Exhibit A Loan Agreement # 2 Exhibit B Promissory
                                            Note # 3 Exhibit C Deed of Trust # 4 Exhibit D Payoff Statement # 5
                                            Exhibit E Proofs of Claim (23-60036) # 6 Exhibit F Proposed Order)
12/15/2023                                  (Conrad, Charles) (Entered: 12/15/2023)

12/15/2023              45                  Witness List, Exhibit List (Filed By National Bank of Kuwait,
                        (444 pgs; 9 docs)   S.A.K.P., New York Branch ).(Related document(s):38 Order Setting
                                            Hearing, 39 Notice, 44 Objection) (Attachments: # 1 Loan Agreement
                                            # 2 Promissory Note # 3 Deed of Trust # 4 Payoff Statement # 5 Proofs
                                            of Claim (23-60036) # 6 Rent-Roll Jan-June 2023 # 7 Hearing
         Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD            Page 7 of 431
                                             Transcript (redacted) 9-2-23 (23-60036) # 8 Hearing Transcript 11-1-
                                             23 (23-60036)) (Conrad, Charles) (Entered: 12/15/2023)

                        46                   BNC Certificate of Mailing. (Related document(s):27 Order on Motion
                        (4 pgs)              to Appear pro hac vice) No. of Notices: 2. Notice Date 12/15/2023.
12/15/2023                                   (Admin.) (Entered: 12/15/2023)

                        47                   Certificate Amended Certificate of Service re Omnibus Objection (ECF
                        (6 pgs)              No. 44) (Filed By National Bank of Kuwait, S.A.K.P., New York
                                             Branch ).(Related document(s):44 Objection) (Conrad, Charles)
12/16/2023                                   (Entered: 12/16/2023)

                        48                   BNC Certificate of Mailing. (Related document(s):38 Order Setting
                        (4 pgs)              Hearing) No. of Notices: 3. Notice Date 12/17/2023. (Admin.)
12/17/2023                                   (Entered: 12/17/2023)

                        49                   Adversary case 23-03263. Nature of Suit: (01 (Determination of
                        (1054 pgs; 3 docs)   removed claim or cause)) Notice of Removal Galleria 2425 Owner
                                             LLC. Fee Amount $350 (Attachments: # 1 State Court Pleadings # 2
12/18/2023                                   Additional State Court Pleadings) (Pope, James) (Entered: 12/18/2023)

                        50                   Notice of Appearance and Request for Notice Filed by Ryan
                        (3 pgs)              Steinbrunner Filed by on behalf of National Bank of Kuwait, S.A.K.P.,
12/18/2023                                   New York Branch (Steinbrunner, Ryan) (Entered: 12/18/2023)

                        51                   Notice of Motion for Use of Cash Collateral. (Related document(s):33
                        (4 pgs)              Emergency Motion) Filed by Galleria 2425 Owner, LLC (Baker,
12/18/2023                                   Reese) (Entered: 12/18/2023)

                        52                   Amended Notice of Withdrawal of Motion to Use Cash Collateral.
                        (4 pgs)              (Related document(s):51 Notice) Filed by Galleria 2425 Owner, LLC
12/18/2023                                   (Baker, Reese) (Entered: 12/18/2023)

                        53                   Balance Sheet (Filed By Galleria 2425 Owner, LLC ). (Attachments: #
12/18/2023              (3 pgs; 2 docs)      1 Exhibit Profit and Loss) (Baker, Reese) (Entered: 12/18/2023)

                        54                   Proposed Order RE: Order on Adequate Assurances for Utilities (Filed
                        (2 pgs)              By Galleria 2425 Owner, LLC ).(Related document(s):34 Emergency
12/18/2023                                   Motion) (Baker, Reese) (Entered: 12/18/2023)

                        55                   Withdraw Document (Filed By Galleria 2425 Owner, LLC ).(Related
                        (1 pg)               document(s):51 Notice, 52 Notice) (Baker, Reese) (Entered:
12/18/2023                                   12/18/2023)

                        56                   Withdraw Document (Filed By Galleria 2425 Owner, LLC ).(Related
                        (4 pgs)              document(s):33 Emergency Motion) (Baker, Reese) (Entered:
12/18/2023                                   12/18/2023)

12/18/2023              57                   Courtroom Minutes. Time Hearing Held: 2:30. Appearances: Reese
                                             Baker and James Pope for the Debtor, Patrick Fitzmaurice and Ryan
                                             Steinbrunner for National Bank of Kuwait, Jana Whitworth for the US
                                             Trustee, Robert MacNaughton for 2425 West Loop, LLC. Stephen
                                             Sather for 2425 WL. LLC. (Related document(s):34 Emergency
                                             Motion to Determine Adequate Assurance Utility Payments) Objection
                                             filed. Scarlet McGeorge sworn. Direct and cross examination
         Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 8 of 431
                                            conducted by counsel. Debtor exhibit 34-2 was admitted. Debtor to file
                                            a revised proposed order. (TraceyConrad) (Entered: 12/18/2023)

                        58                  Proposed Order RE: Order on Utility Deposits (after hearing) (Filed
                        (3 pgs)             By Galleria 2425 Owner, LLC ).(Related document(s):34 Emergency
12/18/2023                                  Motion) (Baker, Reese) (Entered: 12/18/2023)

                        59
                        (1 pg)                  PDF with attached Audio File. Court Date & Time [ 12/18/2023
                                            2:30:03 PM ]. File Size [ 14512 KB ]. Run Time [ 00:30:14 ]. (admin).
12/18/2023                                  (Entered: 12/18/2023)

                        60                  Order Granting Emergency Motion to Determine Adequate Assurance
                        (3 pgs)             (Related Doc # 34) Signed on 12/18/2023. (MarioRios) (Entered:
12/18/2023                                  12/18/2023)

                        61                  AO 435 TRANSCRIPT ORDER FORM (Expedited (7 days)) by
                        (2 pgs)             National Bank of Kuwait, S.A.K.P., New York Branch / Ryan
                                            Steinbrunner. This is to order a transcript of Hearing, December 18,
                                            2023 before Judge Jeffrey P. Norman. Court Reporter/Transcriber:
                                            Veritext Legal Solutions (Filed By National Bank of Kuwait, S.A.K.P.,
                                            New York Branch ). (Steinbrunner, Ryan) Electronically Forwarded to
                                            Veritext Legal Solutions on 12/19/2023. Estimated Date of
                                            Completion: 12/26/2023. Modified on 12/19/2023 (BenjaminRomero).
12/19/2023                                  (Entered: 12/19/2023)

                        62                  Order Granting Motion For Relief From Stay (Related Doc # 24)
12/19/2023              (1 pg)              Signed on 12/19/2023. (MarioRios) (Entered: 12/19/2023)

                        63                  Motion to Extend Deadline to File Schedules or Provide Required
                        (4 pgs; 2 docs)     Information Filed by Debtor Galleria 2425 Owner, LLC (Attachments:
12/20/2023                                  # 1 Proposed Order) (Baker, Reese) (Entered: 12/20/2023)

                        64                  Order Denying Motion To Extend Deadline to File Schedules or
                        (1 pg)              Provide Required Information (Related Doc # 63) Signed on
12/20/2023                                  12/20/2023. (MarioRios) (Entered: 12/20/2023)

                        65                  BNC Certificate of Mailing. (Related document(s):60 Order on
                        (5 pgs)             Emergency Motion) No. of Notices: 3. Notice Date 12/20/2023.
12/20/2023                                  (Admin.) (Entered: 12/20/2023)

                        66                  BNC Certificate of Mailing. (Related document(s):62 Order on
                        (3 pgs)             Emergency Motion) No. of Notices: 3. Notice Date 12/21/2023.
12/21/2023                                  (Admin.) (Entered: 12/21/2023)

                        67                  Application to Employ Reese Bake as Attorney. Objections/Request
                        (17 pgs; 6 docs)    for Hearing Due in 21 days. Filed by Debtor Galleria 2425 Owner,
                                            LLC Hearing scheduled for 1/31/2024 at 11:00 AM at Houston,
                                            Courtroom 403 (JPN). (Attachments: # 1 Exhibit Rule 2014 # 2
                                            Exhibit Rule 2016 # 3 Exhibit Disclosures # 4 Exhibit Rates # 5
12/22/2023                                  Proposed Order) (Baker, Reese) (Entered: 12/22/2023)

                        68                  Notice of Appearance and Request for Notice Filed by Howard Marc
                        (2 pgs)             Spector Filed by on behalf of CC2 TX, LLC (Spector, Howard)
12/22/2023                                  (Entered: 12/22/2023)
         Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 9 of 431
                        69                   BNC Certificate of Mailing. (Related document(s):64 Order on Motion
                        (4 pgs)              to Extend Deadline to File Schedules) No. of Notices: 31. Notice Date
12/22/2023                                   12/22/2023. (Admin.) (Entered: 12/22/2023)

                        70                   Schedule A/B: Property for Non-Individual And Schedules D, E/F, G,
                        (80 pgs; 3 docs)     H and Statement of Financial Affairs (Filed By Galleria 2425 Owner,
                                             LLC ). (Attachments: # 1 Exhibit SOFA Exhibit 3 # 2 Exhibit SOFA
12/23/2023                                   Exhibit 4) (Baker, Reese) (Entered: 12/23/2023)

                        71                   Transcript RE: hearing held on 12/18/23 before Judge JEFFREY P.
                        (29 pgs; 2 docs)     NORMAN. Transcript is available for viewing in the Clerk's Office.
                                             Within 21 days, parties are advised to comply with privacy
                                             requirements of Fed. R. Bank. P. 9037, ensuring that certain protected
                                             information is redacted from transcripts prior to their availability on
                                             PACER. Filed by Transcript access will be restricted through
12/26/2023                                   03/25/2024. (VeritextLegalSolutions) (Entered: 12/26/2023)

                        72                   Motion to Convert Case from Chapter 11 to Chapter 7 . Fee Amount
                        (706 pgs; 12 docs)   $15. Filed by Creditor National Bank of Kuwait, S.A.K.P., New York
                                             Branch Hearing scheduled for 1/31/2024 at 11:00 AM at Houston,
                                             Courtroom 403 (JPN). (Attachments: # 1 Exhibit A Conrad Declaration
                                             # 2 Conrad Declaration Exhibit 1 # 3 Conrad Declaration Exhibit 2 # 4
                                             Conrad Declaration Exhibit 3 # 5 Conrad Declaration Exhibit 4 # 6
                                             Conrad Declaration Exhibit 5 # 7 Conrad Declaration Exhibit 6 # 8
                                             Conrad Declaration Exhibit 7 # 9 Conrad Declaration Exhibit 8 # 10
                                             Conrad Declaration Exhibit 9 # 11 Exhibit B Proposed Order) (Conrad,
12/27/2023                                   Charles) (Entered: 12/27/2023)

                                             Receipt of Motion to Convert Case from Chapter 11 to Chapter 7( 23-
                                             34815) [motion,mcnv7] ( 15.00) Filing Fee. Receipt number
                                             AXXXXXXXX. Fee amount $ 15.00. (U.S. Treasury) (Entered:
12/27/2023                                   12/27/2023)

                        73                   BNC Certificate of Mailing. (Related document(s):71 Transcript) No.
12/28/2023              (4 pgs)              of Notices: 4. Notice Date 12/28/2023. (Admin.) (Entered: 12/28/2023)

                        74                   Certificate Amended Certificate of Service (Filed By National Bank of
                        (4 pgs)              Kuwait, S.A.K.P., New York Branch ).(Related document(s):72 Motion
                                             to Convert Case from Chapter 11 to Chapter 7) (Conrad, Charles)
01/03/2024                                   (Entered: 01/03/2024)

                        75                   Notice Notice of Hearing. (Related document(s):72 Motion to Convert
                        (4 pgs)              Case from Chapter 11 to Chapter 7) Filed by National Bank of Kuwait,
01/04/2024                                   S.A.K.P., New York Branch (Conrad, Charles) (Entered: 01/04/2024)

                        76                   Equity Security Holders (Filed By Galleria 2425 Owner, LLC ).
01/10/2024              (1 pg)               (Baker, Reese) (Entered: 01/10/2024)

                                             Meeting of Creditors Held. Debtor appeared and participated by and
                                             through its designated representatives, Dward Darjean and Ali
                                             Choudhri. Hearing concluded on January 10, 2024. (Related
                                             document(s):9 Meeting of Creditors Chapter 11 for Non-Individual
01/10/2024                                   Debtor Set) (Whitworth, Jana) (Entered: 01/10/2024)

                                             Adversary Case 4:23-ap-3259 Closed. (MarioRios) (Entered:
01/11/2024                                   01/11/2024)
        Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD            Page 10 of 431
                        77                   Objection Limited Objection of National Bank of Kuwait, S.A.K.P.,
                        (7 pgs; 2 docs)      New York Branch to Application to Employ Attorneys (related
                                             document(s):67 Application to Employ). Filed by National Bank of
                                             Kuwait, S.A.K.P., New York Branch (Attachments: # 1 Proposed
01/12/2024                                   Order) (Conrad, Charles) (Entered: 01/12/2024)

                        78                   Response (related document(s):72 Motion to Convert Case from
                        (8 pgs)              Chapter 11 to Chapter 7). Filed by 2425 WL, LLC (Sather, Stephen)
01/19/2024                                   (Entered: 01/19/2024)

                        79                   Debtor-In-Possession Monthly Operating Report for Filing Period
                        (13 pgs; 2 docs)     ending 12/31/2023, $9448 disbursed (Filed By Galleria 2425 Owner,
                                             LLC ). (Attachments: # 1 Exhibit Bank account statement) (Baker,
01/22/2024                                   Reese) (Entered: 01/22/2024)

                        80                   Response (related document(s):72 Motion to Convert Case from
                        (260 pgs; 12 docs)   Chapter 11 to Chapter 7). Filed by Galleria 2425 Owner, LLC
                                             (Attachments: # 1 Exhibit 1 Amendment to Galleria 2425 JV # 2
                                             Exhibit 1B Replacement agreement # 3 Exhibit 3 Email on Sonder
                                             lease # 4 Exhibit 4 Presentation of NBK and Sonder lease # 5 Exhibit 5
                                             Effective ownership # 6 Exhibit 5A Michael Carter email # 7 Exhibit 6
                                             Internal Notes NBK # 8 Exhibit Jetall paying rent # 9 Exhibit 8 Grove
                                             transcript # 10 Exhibit 9 Motion to inspect and statements # 11 Exhibit
                                             10 Hearing transcript involving Tang) (Baker, Reese) (Entered:
01/22/2024                                   01/22/2024)

                        81                   Application to Employ Robert Norris as Accountant.
                        (10 pgs; 3 docs)     Objections/Request for Hearing Due in 21 days. Filed by Debtor
                                             Galleria 2425 Owner, LLC Hearing scheduled for 2/21/2024 at 11:00
                                             AM at Houston, Courtroom 403 (JPN). (Attachments: # 1 Proposed
                                             Order # 2 Exhibit Declaration of Robert Norris) (Baker, Reese)
01/24/2024                                   (Entered: 01/24/2024)

                        82                   Certificate of Service (Filed By Galleria 2425 Owner, LLC ).(Related
                        (11 pgs; 2 docs)     document(s):81 Application to Employ) (Attachments: # 1 mailing
01/25/2024                                   matrix) (Baker, Reese) (Entered: 01/25/2024)

                        83                   Motion for Expedited Consideration (related document(s):72 Motion to
                        (37 pgs; 6 docs)     Convert Case from Chapter 11 to Chapter 7, 75 Notice)., Motion
                                             National Bank of Kuwait, S.A.K.P., New York Branch's Expedited
                                             Motion for Service of Subpoena by U.S. Marshal's Office Filed by
                                             Creditor National Bank of Kuwait, S.A.K.P., New York Branch
                                             (Attachments: # 1 Exhibit A Proposed Order # 2 Exhibit B # 3 Exhibit
                                             C # 4 Exhibit D # 5 Exhibit E) (Conrad, Charles) (Entered:
01/25/2024                                   01/25/2024)

                        84                   Order Authorizing Service of Subpoena by U.S. Marshal's Office
                        (7 pgs)              Signed on 1/26/2024 (Related document(s):83 Motion for Expedited
01/26/2024                                   Consideration, Generic Motion) (MarioRios) (Entered: 01/26/2024)

                        85                   Objection - The United States Trustee's Limited Objection and
                        (5 pgs)              Reservation of Rights to Debtor's Application to Employ Attorneys
                                             [ECF 67] (related document(s):67 Application to Employ). Filed by
01/26/2024                                   US Trustee (Whitworth, Jana) (Entered: 01/26/2024)
        Case 4:24-cv-04836    Document 8-1        Filed on 04/23/25 in TXSD              Page 11 of 431
                        86                    BNC Certificate of Mailing. (Related document(s):84 Generic Order)
                        (10 pgs)              No. of Notices: 4. Notice Date 01/28/2024. (Admin.) (Entered:
01/28/2024                                    01/28/2024)

                        87                    Witness List, Exhibit List (Filed By National Bank of Kuwait,
                        (1003 pgs; 47 docs)   S.A.K.P., New York Branch ).(Related document(s):67 Application to
                                              Employ, 72 Motion to Convert Case from Chapter 11 to Chapter 7, 75
                                              Notice) (Attachments: # 1 Exhibit 1 # 2 Exhibit 1.1 # 3 Exhibit 1.2 # 4
                                              Exhibit 1.3 # 5 Exhibit 1.4 # 6 Exhibit 2 # 7 Exhibit 2.1 # 8 Exhibit 2.2
                                              # 9 Exhibit 2.3 # 10 Exhibit 2.4 # 11 Exhibit 2.5 # 12 Exhibit 2.6 # 13
                                              Exhibit 2.7 # 14 Exhibit 3 # 15 Exhibit 4 # 16 Exhibit 5 # 17 Exhibit 6
                                              # 18 Exhibit 7 # 19 Exhibit 8 # 20 Exhibit 9 # 21 Exhibit 10 # 22
                                              Exhibit 11 # 23 Exhibit 12 # 24 Exhibit 13 # 25 Exhibit 14 # 26
                                              Exhibit 15 # 27 Exhibit 16 # 28 Exhibit 17 # 29 Exhibit 18 # 30
                                              Exhibit 19 # 31 Exhibit 20 # 32 Exhibit 21 # 33 Exhibit 22 # 34
                                              Exhibit 23 # 35 Exhibit 24 # 36 Exhibit 25 # 37 Exhibit 26 # 38
                                              Exhibit 27 # 39 Exhibit 28 # 40 Exhibit 29 # 41 Exhibit 30 # 42
                                              Exhibit 31 # 43 Exhibit 32 # 44 Exhibit 33 # 45 Exhibit 34 # 46
01/29/2024                                    Exhibit 35) (Conrad, Charles) (Entered: 01/29/2024)

                        88                    Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (644 pgs; 31 docs)    (Related document(s):72 Motion to Convert Case from Chapter 11 to
                                              Chapter 7) (Attachments: # 1 Exhibit 1 Projections # 2 Exhibit 3
                                              Internal Notes of NBK # 3 Exhibit 4 Amendment to Galleria 2425 JV #
                                              4 Exhibit 5 Replacement of Zaheer # 5 Exhibit 6 Suitable replacement
                                              # 6 Exhibit 7 Include Sonder lease in appraisal # 7 Exhibit 8 Michael
                                              Carter email # 8 Exhibit 10 Jetall paying rent # 9 Exhibit 11 Groves vs
                                              Dalio case # 10 Exhibit 12 Motion to inspect # 11 Exhibit 13
                                              Transcript before Judge Lopez # 12 Exhibit 14 Funds for operation #
                                              13 Exhibit 17A Expungement # 14 Exhibit 17B Expungement # 15
                                              Exhibit 17C Expungement # 16 Exhibit 18 Lease Agreement tenant #
                                              17 Exhibit 19 Divorce appeal order # 18 Exhibit 20 Brochure of
                                              building # 19 Exhibit 21 Cushman Wakefield appraisal # 20 Exhibit 22
                                              Michael Carter affidavit # 21 Exhibit 23 Deposition of Michael Carter
                                              # 22 Exhibit 24 Carter email on effective equity owner # 23 Exhibit 25
                                              Vaxanix Bio # 24 Exhibit 26 Email from Zaheer # 25 Exhibit 27A
                                              Information on IWG # 26 Exhibit 27A1 Information on IWG # 27
                                              Exhibit 28 Presentation on Sonder lease # 28 Exhibit 29 Change in
                                              Ownership of Galleria # 29 Exhibit 30 Request to Keep Zaheer # 30
                                              Exhibit 31 Email on standstill agreement) (Baker, Reese) (Entered:
01/29/2024                                    01/29/2024)

                        89                    Omnibus Reply In support of Motion Pursuant to 11 USC 1112(b) to
                        (13 pgs)              Convert Chapter 11 Case to Chapter 7 (related document(s):72 Motion
                                              to Convert Case from Chapter 11 to Chapter 7). Filed by National
                                              Bank of Kuwait, S.A.K.P., New York Branch (Conrad, Charles)
01/29/2024                                    (Entered: 01/29/2024)

                        90                    Witness List, Exhibit List (Filed By National Bank of Kuwait,
                        (404 pgs; 12 docs)    S.A.K.P., New York Branch ).(Related document(s):87 Witness List,
                                              Exhibit List) (Attachments: # 1 Exhibit 37 (Exhibit 36 to be filed under
                                              seal) # 2 Exhibit 38 # 3 Exhibit 39 # 4 Exhibit 40 # 5 Exhibit 41 # 6
                                              Exhibit 42 # 7 Exhibit 42.1 # 8 Exhibit 43 # 9 Exhibit 43.1 # 10
                                              Exhibit 43.2 # 11 Exhibit 43.3) (Conrad, Charles) (Entered:
01/30/2024                                    01/30/2024)

01/30/2024              91                    Debtor-In-Possession Monthly Operating Report for Filing Period
                        (9 pgs; 3 docs)       ending 12/31/2023, $60220 disbursed (Filed By Galleria 2425 Owner,
        Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD             Page 12 of 431
                                            LLC ). (Attachments: # 1 Exhibit Bank statement # 2 Exhibit Income
                                            report) (Baker, Reese) (Entered: 01/30/2024)

                        92                  Motion to Seal Settlement Agreement and Other Confidential
                        (6 pgs; 2 docs)     Documents Filed by Creditor National Bank of Kuwait, S.A.K.P., New
                                            York Branch (Attachments: # 1 Exhibit A Proposed Order) (Conrad,
01/30/2024                                  Charles) (Entered: 01/30/2024)

                        93                  Sealed Document Confidential Settlement Agreement (Filed By
                        (221 pgs; 7 docs)   National Bank of Kuwait, S.A.K.P., New York Branch ). (Attachments:
                                            # 1 ECF 90-1 Exhibit 37 # 2 ECF 90-2 Exhibit 38 # 3 ECF 90-3
                                            Exhibit 39 # 4 ECF 90-4 Exhibit 40 # 5 ECF 90-7 Exhibit 42.1 # 6
01/30/2024                                  ECF 90-8 Exhibit 43) (Conrad, Charles) (Entered: 01/30/2024)

                        94                  Response (related document(s):72 Motion to Convert Case from
                        (4 pgs)             Chapter 11 to Chapter 7). Filed by Galleria 2425 Owner, LLC (Baker,
01/30/2024                                  Reese) (Entered: 01/30/2024)

                        95                  Chapter 11 Plan of Reorganization Filed by Galleria 2425 Owner,
01/30/2024              (24 pgs)            LLC. (Baker, Reese) (Entered: 01/30/2024)

                        96                  Disclosure Statement Filed by Galleria 2425 Owner, LLC. (Baker,
01/30/2024              (43 pgs)            Reese) (Entered: 01/30/2024)

                        97                  Courtroom Minutes. Time Hearing Held: 11:00. Appearances: Reese
                                            Baker for the debtor, Jana Whitworth for the US Trustee,. (Related
                                            document(s):67 Application to Employ, 72 Motion to Convert Case
                                            from Chapter 11 to Chapter 7) Arguments heard on Application to
                                            Employ. National Bank of Kuwait opposed to the application and
                                            requested to know who is paying Mr. Baker. Application is Abated
                                            until Mr. Baker discloses who is paying him. Once the Court receives
                                            this information, the Court will set a response deadline and reset the
                                            application for hearing. Evidentiary hearing held on the Motion to
                                            Convert. Opening Statements made. Dward Darjean sworn. Direct and
                                            cross examination conducted. No cross examination by Mr. Bank.
                                            Debtor reserved their rights to recall the witness. Bank exhibits at ECF
                                            No 87-24 and 87-39 were admitted. Ali Choudhri sworn. Direct and
                                            cross examination conducted. No cross by Mr. Baker. Debtor to recall
                                            the witness. National Bank of Kuwait rest. Oral motion by Mr. Baker
                                            to Deny the Motion to Convert. Oral motion was Denied by the Court.
                                            Ali Choudhri recalled by Mr Baker. Direct and cross examination
                                            conducted. Exhibits at ECF No. 88-1 was admitted as a projection, 90-
                                            9, 90-7, 87-2 and 88-18 were admitted. Faisal Shah sworn and
                                            questioned by the Court and counsel. Closing arguments heard. The
                                            Court announced a finding for the record. The Court will prepare and
                                            enter an order. Chapter 11 Trustee to be appointed. (TraceyConrad)
01/31/2024                                  (Entered: 01/31/2024)

                        98                  AO 435 TRANSCRIPT ORDER FORM (3-Day) by National Bank of
                        (2 pgs)             Kuwait S.A.K.P., New York Branch / Charles Conrad. This is to order
                                            a transcript of Hearing, January 31, 2024 before Judge Jeffrey P.
                                            Norman. Court Reporter/Transcriber: Veritext Legal Solutions (Filed
                                            By National Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad,
                                            Charles) Electronically forwarded to Veritext Legal Solutions on
                                            2/1/2024. Estimated completion date: 2/4/2024. Modified on 2/1/2024
01/31/2024                                  (AaronJackson). (Entered: 01/31/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 13 of 431
                        99                  Order Abating Motion to Convert Case to Chapter 7 and Appointing
                        (1 pg)              Chapter 11 Trustee. (Related Doc # 72). Trustee Signed on 1/31/2024.
01/31/2024                                  (MarioRios) (Entered: 01/31/2024)

                        100                 Order Abating Application to Employ (Related Doc # 67) Signed on
02/01/2024              (1 pg)              2/1/2024. (MarioRios) (Entered: 02/01/2024)

                        101                 Order Mooting Motion To Seal (Related Doc # 92) Signed on
02/01/2024              (1 pg)              2/1/2024. (MarioRios) (Entered: 02/01/2024)

                        102                 Order Abating Rulings Signed on 2/1/2024 (Related document(s):81
                        (1 pg)              Application to Employ, 95 Chapter 11 Plan, 96 Disclosure Statement)
02/01/2024                                  (MarioRios) (Entered: 02/01/2024)

                        103
                        (1 pg)                  PDF with attached Audio File. Court Date & Time [ 1/31/2024
                                            10:59:34 AM ]. File Size [ 29079 KB ]. Run Time [ 01:00:35 ].
02/01/2024                                  (admin). (Entered: 02/01/2024)

                        104
                        (1 pg)                  PDF with attached Audio File. Court Date & Time [ 1/31/2024
                                            12:01:20 PM ]. File Size [ 10768 KB ]. Run Time [ 00:22:26 ].
02/01/2024                                  (admin). (Entered: 02/01/2024)

                        105
                        (1 pg)                  PDF with attached Audio File. Court Date & Time [ 1/31/2024
                                            12:26:47 PM ]. File Size [ 49448 KB ]. Run Time [ 01:43:01 ].
02/01/2024                                  (admin). (Entered: 02/01/2024)

                        106
                        (1 pg)                  PDF with attached Audio File. Court Date & Time [ 1/31/2024
                                            2:19:40 PM ]. File Size [ 63063 KB ]. Run Time [ 02:11:23 ]. (admin).
02/01/2024                                  (Entered: 02/01/2024)

                        107                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Ali
                        (2 pgs)             Choudhri. This is to order a transcript of Hearing, 1/31/2024 before
                                            Judge Jeffrey P. Norman. Court Reporter/Transcriber: Veritext Legal
                                            Solutions. (BrendaLacy) Copy request electronically forwarded to
                                            Veritext Legal Solutions on 2/2/2024. Estimated completion date is
02/02/2024                                  2/3/2024. Modified on 2/2/2024 (DanielBerger). (Entered: 02/02/2024)

                        108                 BNC Certificate of Mailing. (Related document(s):99 Order on Motion
                        (4 pgs)             to Convert Case to Chapter 7) No. of Notices: 32. Notice Date
02/03/2024                                  02/03/2024. (Admin.) (Entered: 02/03/2024)

                        109                 BNC Certificate of Mailing. (Related document(s):100 Order on
                        (4 pgs)             Application to Employ) No. of Notices: 4. Notice Date 02/03/2024.
02/03/2024                                  (Admin.) (Entered: 02/03/2024)

                        110                 BNC Certificate of Mailing. (Related document(s):102 Generic Order)
                        (4 pgs)             No. of Notices: 4. Notice Date 02/03/2024. (Admin.) (Entered:
02/03/2024                                  02/03/2024)

                        111                 BNC Certificate of Mailing. (Related document(s):101 Order on
                        (3 pgs)             Motion to Seal) No. of Notices: 1. Notice Date 02/03/2024. (Admin.)
02/03/2024                                  (Entered: 02/03/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 14 of 431
                        112                 Notice of Process Receipt and Return of service of subpoena to testify:
02/05/2024              (5 pgs)             Ali Choudhri. (FrancesCarbia) (Entered: 02/06/2024)

                        113                 Disclosure of Compensation of Attorney for Debtor (Filed By Galleria
02/07/2024              (4 pgs)             2425 Owner, LLC ). (Baker, Reese) (Entered: 02/07/2024)

                        114                 Emergency Motion of THE UNITED STATES TRUSTEE FOR ORDER
                        (11 pgs; 2 docs)    APPROVING APPOINTMENT OF CHRISTOPHER R. MURRAY AS
                                            CHAPTER 11 TRUSTEE (in compliance with the Order entered at
                                            ECF 99) Filed by U.S. Trustee US Trustee (Attachments: # 1 Proposed
                                            Order [proposed] Order Approving Appt) (Whitworth, Jana) (Entered:
02/09/2024                                  02/09/2024)

                        115                 Motion for Relief from Stay to Liquidate Claims in Pending
                        (12 pgs; 2 docs)    Proceeding. Fee Amount $199. Filed by Creditor Sonder USA Inc.
                                            Hearing scheduled for 2/28/2024 at 09:30 AM at Houston, Courtroom
                                            403 (JPN). (Attachments: # 1 Proposed Order) (Wilson, Broocks)
02/09/2024                                  (Entered: 02/09/2024)

                                            Receipt of Motion for Relief From Stay( 23-34815) [motion,mrlfsty] (
                                            199.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount $ 199.00.
02/09/2024                                  (U.S. Treasury) (Entered: 02/09/2024)

                        116                 Order Granting Emergency Motion Appointing Christopher Murray
                        (1 pg)              (Related Doc # 114) Signed on 2/9/2024. (MarioRios) (Entered:
02/09/2024                                  02/09/2024)

                        117                 US Trustee's Notice of Appointment of Christopher R. Murray as
02/09/2024              (4 pgs)             Chapter 11 Trustee. (Whitworth, Jana) (Entered: 02/09/2024)

                        118                 BNC Certificate of Mailing. (Related document(s):116 Order on
                        (4 pgs)             Emergency Motion) No. of Notices: 4. Notice Date 02/11/2024.
02/11/2024                                  (Admin.) (Entered: 02/11/2024)

                        119                 BNC Certificate of Mailing. (Related document(s):117 US Trustee's
                        (7 pgs)             Notice) No. of Notices: 32. Notice Date 02/11/2024. (Admin.)
02/11/2024                                  (Entered: 02/11/2024)

                        120                 Application to Employ Shannon & Lee LLP as Bankruptcy Counsel to
                        (33 pgs; 4 docs)    Chapter 11 Trustee. Objections/Request for Hearing Due in 21 days.
                                            Filed by Trustee Christopher Murray Hearing scheduled for 3/14/2024
                                            at 11:00 AM at Houston, Courtroom 403 (JPN). (Attachments: # 1
                                            Exhibit A - Engagement Letter # 2 Exhibit B - Shannon Declaration #
02/12/2024                                  3 Proposed Order) (Shannon, R. J.) (Entered: 02/12/2024)

                        121                 Bond of Chapter 11 Trustee of $300,000 (Murray, Christopher)
02/13/2024              (2 pgs)             (Entered: 02/13/2024)

                        122                 Stipulation By Christopher Murray and Sonder USA Inc. to Continue
                        (3 pgs)             Hearing and Extend Response Deadline regarding Sonder USA Inc.'s
                                            Motion to Modify the Stay to Allow Liquidation of Claim. Does this
                                            document include an agreed order or otherwise request that the judge
                                            sign a document? Yes. (Filed By Christopher Murray ).(Related
                                            document(s):115 Motion for Relief From Stay) (Shannon, R. J.)
02/20/2024                                  (Entered: 02/20/2024)
        Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD             Page 15 of 431
                        123                Stipulation and Agreed Order Setting Hearing Signed on 2/20/2024
                        (3 pgs)            (Related document(s):115 Motion for Relief From Stay) Hearing
                                           scheduled for 3/27/2024 at 09:30 AM at Houston, Courtroom 403
02/20/2024                                 (JPN). (MarioRios) (Entered: 02/20/2024)

                        124                BNC Certificate of Mailing. (Related document(s):123 Order Setting
                        (6 pgs)            Hearing) No. of Notices: 5. Notice Date 02/22/2024. (Admin.)
02/22/2024                                 (Entered: 02/22/2024)

                        125                Order Granting Application to Employ (Related Doc # 120) Signed on
03/08/2024              (3 pgs)            3/8/2024. (MarioRios) (Entered: 03/08/2024)

                        126                BNC Certificate of Mailing. (Related document(s):125 Order on
                        (6 pgs)            Application to Employ) No. of Notices: 6. Notice Date 03/10/2024.
03/10/2024                                 (Admin.) (Entered: 03/11/2024)

                        127                Motion for 2004 Examination. Filed by Debtor Galleria 2425 Owner,
03/15/2024              (8 pgs)            LLC (Baker, Reese) (Entered: 03/15/2024)

                        128                Motion for 2004 Examination. Filed by Debtor Galleria 2425 Owner,
03/15/2024              (7 pgs)            LLC (Baker, Reese) (Entered: 03/15/2024)

                        129                Amended Motion for 2004 Examination. Filed by Debtor Galleria
03/15/2024              (8 pgs)            2425 Owner, LLC (Baker, Reese) (Entered: 03/15/2024)

                        130                Amended Motion for 2004 Examination. Filed by Debtor Galleria
03/15/2024              (7 pgs)            2425 Owner, LLC (Baker, Reese) (Entered: 03/15/2024)

                        131                Operating Report for Filing Period January 2024, $112.00 disbursed
                        (12 pgs)           (Filed By Christopher R Murray ). (Murray, Christopher) (Entered:
03/20/2024                                 03/20/2024)

                        132                Operating Report for Filing Period February 2024, $0.00 disbursed
                        (9 pgs)            (Filed By Christopher R Murray ). (Murray, Christopher) (Entered:
03/20/2024                                 03/20/2024)

                        133                Emergency Motion - Trustee's Emergency Motion for Interim and
                        (33 pgs; 4 docs)   Final Orders Authorizing the Use of Cash Collateral Filed by Trustee
                                           Christopher R Murray (Attachments: # 1 Exhibit A - Budget # 2
                                           Proposed Order (Interim) # 3 Proposed Order (Final)) (Shannon, R. J.)
03/20/2024                                 (Entered: 03/20/2024)

                        134                Motion to Quash Rule 2004 Examination Notices re 129 130 Filed by
                        (42 pgs; 9 docs)   Creditor National Bank of Kuwait, S.A.K.P., New York Branch
                                           (Attachments: # 1 Exhibit A Proposed Order # 2 Conrad Declaration
                                           ISO Motion # 3 Exhibit 1 # 4 Exhibit 2 # 5 Exhibit 3 # 6 Exhibit 4 # 7
                                           Exhibit 5 # 8 Exhibit 6 to be filed under seal) (Conrad, Charles)
03/20/2024                                 (Entered: 03/20/2024)

                        135                Motion to Seal National Bank of Kuwait's Motion to File Under Seal
                        (6 pgs)            Settlement Agreement Filed by Creditor National Bank of Kuwait,
03/20/2024                                 S.A.K.P., New York Branch (Conrad, Charles) (Entered: 03/20/2024)

03/20/2024              136                Sealed Document Exhibit 6 to Conrad Declaration [134-8] (Filed By
                        (16 pgs)           National Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad,
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 16 of 431
                                             Charles) (Entered: 03/20/2024)

                        137                  Order Setting Hearing Signed on 3/20/2024 (Related document(s):133
                        (1 pg)               Emergency Motion for Interim and Final Orders Authorizing the Use
                                             of Cash Collateral) Hearing scheduled for 3/22/2024 at 09:45 AM at
03/20/2024                                   telephone and video conference. (trc4) (Entered: 03/20/2024)

                        138                  Stipulation By Christopher R Murray and Sonder USA Inc.. Does this
                        (3 pgs)              document include an agreed order or otherwise request that the judge
                                             sign a document? Yes. (Filed By Christopher R Murray ).(Related
                                             document(s):115 Motion for Relief From Stay) (Shannon, R. J.)
03/20/2024                                   (Entered: 03/20/2024)

                        139                  Order Granting Motion To Quash (Related Doc # 134) Signed on
03/21/2024              (1 pg)               3/21/2024. (mar4) (Entered: 03/21/2024)

                        140                  Second Stipulation and Agreed Order Continuing Hearing Signed on
                        (3 pgs)              3/21/2024 (Related document(s):115 Motion for Relief From Stay)
                                             Hearing scheduled for 5/1/2024 at 09:30 AM at Houston,
03/21/2024                                   Courtroom 403 (JPN). (mar4) (Entered: 03/21/2024)

                        141                  Order Granting Motion To Seal (Related Doc # 135) Signed on
03/21/2024              (1 pg)               3/21/2024. (mar4) (Entered: 03/21/2024)

                        142                  Certificate of Service regarding Order Setting Hearing (Filed By
                        (6 pgs)              Christopher R Murray ).(Related document(s):133 Emergency Motion,
03/21/2024                                   137 Order Setting Hearing) (Shannon, R. J.) (Entered: 03/21/2024)

                        143                  Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (541 pgs; 18 docs)   document(s):133 Emergency Motion) (Attachments: # 1 Exhibit # 2
                                             Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit # 6 Exhibit # 7 Exhibit # 8
                                             Exhibit # 9 Exhibit # 10 Exhibit # 11 Exhibit # 12 Exhibit # 13 Exhibit
                                             # 14 Exhibit # 15 Exhibit # 16 Exhibit # 17 Exhibit) (Shannon, R. J.)
03/21/2024                                   (Entered: 03/21/2024)

                        144                  Objection of Certain Taxing Authorities to the Trustee's Emergency
                        (4 pgs)              Motion for Interim and Final Orders Authorizing the Use of Cash
                                             Collateral (related document(s):133 Emergency Motion). Filed by City
                                             of Houston, Houston Community College System, Houston ISD
03/21/2024                                   (Andresen, Jeannie) (Entered: 03/21/2024)

                        145                  Motion for Entry of an Order (A) Authorizing the Trustee to Enter into
                        (36 pgs; 3 docs)     an Agreement with Jones Lang LaSalle Americas, Inc. to Serve as
                                             Property Manager and (B) Granting Related Relief Filed by Trustee
                                             Christopher R Murray Hearing scheduled for 4/24/2024 at 11:00 AM at
                                             Houston, Courtroom 403 (JPN). (Attachments: # 1 Exhibit A - JLL
                                             Agreement # 2 Proposed Order) (Shannon, R. J.) (Entered:
03/21/2024                                   03/21/2024)

                        146                  Ex Parte Motion to Expedite Hearing (related document(s):145
                        (3 pgs; 2 docs)      Generic Motion). Filed by Trustee Christopher R Murray
                                             (Attachments: # 1 Proposed Order) (Shannon, R. J.) (Entered:
03/21/2024                                   03/21/2024)

                        147                  Objection (related document(s):133 Emergency Motion). Filed by
03/22/2024              (5 pgs)              2425 WL, LLC (Sather, Stephen) (Entered: 03/22/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 17 of 431
                        148                 Adversary case 24-03043. Nature of Suit: (21 (Validity, priority or
                        (17 pgs; 2 docs)    extent of lien or other interest in property)),(14 (Recovery of
                                            money/property - other)) Complaint by 2425 WL, LLC against
                                            National Bank of Kuwait, S.A.K.P., New York Branch. Fee Amount
                                            $350 (Attachments: # 1 Exhibit Adverary Cover Sheet) (Sather,
03/22/2024                                  Stephen) (Entered: 03/22/2024)

                        149                 Objection TO CHAPTER 11 TRUSTEES MOTION TO USE CASH
                        (8 pgs)             COLLATERAL (related document(s):133 Emergency Motion). Filed by
03/22/2024                                  Galleria 2425 Owner, LLC (Baker, Reese) (Entered: 03/22/2024)

                        150                 Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (79 pgs; 11 docs)   (Related document(s):133 Emergency Motion) (Attachments: # 1
                                            Exhibit 1 Settlement Terms by NBK # 2 Exhibit 2 Proposed Budget #
                                            3 Exhibit 3 Letter of Passman Jones # 4 Exhibit 4 Phllips letter # 5
                                            Exhibit 5 Vaxanix lease terms # 6 Exhibit 6 Phoenix lease # 7 Exhibit
                                            7 2425 WL, LLC Proof of claim # 8 Exhibit 8 Deed of Trust of 2425
                                            WL, LLC # 9 Exhibit 9 Affidavit of JLL officer # 10 Exhibit 10 Letter
03/22/2024                                  to trustee) (Baker, Reese) (Entered: 03/22/2024)

                        151                 Notice of Appearance and Request for Notice Filed by Ali Choudhri
03/22/2024              (1 pg)              (th4) (Entered: 03/22/2024)

                        152                 Order Setting Hearing Signed on 3/22/2024 (Related document(s):146
                        (1 pg)              Motion to Expedite Hearing) Hearing scheduled for 3/26/2024 at
                                            11:00 AM at Houston, Courtroom 403 (JPN). (mar4). Related
                                            document(s) 145 Motion for Entry of an Order (A) Authorizing the
                                            Trustee to Enter into an Agreement with Jones Lang LaSalle
                                            Americas, Inc. to Serve as Property Manager and (B) Granting
                                            Related Relief filed by Trustee Christopher R Murray. Modified on
03/22/2024                                  3/27/2024 (MarioRios). (Entered: 03/22/2024)

                                            Hearing Reset On (Related document(s): Hearing rescheduled for
                                            4/5/2024 at 09:00 AM at Houston, Courtroom 403 (JPN). (mar4).
                                            Related document(s) 145 Motion for Entry of an Order (A) Authorizing
                                            the Trustee to Enter into an Agreement with Jones Lang LaSalle
                                            Americas, Inc. to Serve as Property Manager and (B) Granting
                                            Related Relief filed by Trustee Christopher R Murray. Modified on
03/22/2024                                  3/27/2024 (MarioRios). (Entered: 03/22/2024)

                        153                 Courtroom Minutes. Time Hearing Held: 9:45. Appearances: Reese
                                            Baker for the Debtor, Patrick Fitzmaurice, Andrew Troop and Charles
                                            Conrad for National Bank of Kuwait, Jana Whitworth for the US
                                            Trustee, Stephen Sather for 2425W LLC, John Dillman and Jeannie
                                            Andresen for Various Counties, RJ Shannon for the Trustee, and Ali
                                            Choudhri for self. (Related document(s):133 Emergency Motion For
                                            Interim Use of Cash Collatera) Objections filed by the Debtor, Taxing
                                            Authorities, and 2425WLLC. Opening statements made. Trustee
                                            exhibits at ECF No. 143-3,4,7,8,9, and 10 were admitted. Christopher
                                            Murray sworn. Direct and cross examination conducted. Parties rest.
                                            The Court will enter the proposed order at docket [133-2]. A Final
                                            Cash Collateral hearing will be set for April 5, 2024 at 9:00 am. The
                                            hearing on ECF No. 145 will reset to the same date and time. (trc4)
03/22/2024                                  (Entered: 03/22/2024)

03/22/2024              154                 Interim Order Authorizing Cash Collateral and Setting Hearing Signed
                        (7 pgs)             on 3/22/2024 (Related document(s):133 Emergency Motion) Hearing
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD              Page 18 of 431
                                            scheduled for 4/5/2024 at 09:00 AM at Houston, Courtroom 403
                                            (JPN). (mar4) (Entered: 03/22/2024)

                        155                 BNC Certificate of Mailing. (Related document(s):137 Order Setting
                        (4 pgs)             Hearing) No. of Notices: 5. Notice Date 03/22/2024. (Admin.)
03/22/2024                                  (Entered: 03/23/2024)

                        156                 BNC Certificate of Mailing. (Related document(s):139 Order on
                        (4 pgs)             Motion To Quash) No. of Notices: 5. Notice Date 03/23/2024.
03/23/2024                                  (Admin.) (Entered: 03/23/2024)

                        157                 BNC Certificate of Mailing. (Related document(s):140 Order Setting
                        (6 pgs)             Hearing) No. of Notices: 5. Notice Date 03/23/2024. (Admin.)
03/23/2024                                  (Entered: 03/23/2024)

                        158                 BNC Certificate of Mailing. (Related document(s):141 Order on
                        (3 pgs)             Motion to Seal) No. of Notices: 1. Notice Date 03/23/2024. (Admin.)
03/23/2024                                  (Entered: 03/23/2024)

                        159                 BNC Certificate of Mailing. (Related document(s):152 Order Setting
                        (4 pgs)             Hearing) No. of Notices: 6. Notice Date 03/24/2024. (Admin.)
03/24/2024                                  (Entered: 03/24/2024)

                        160                 BNC Certificate of Mailing. (Related document(s):154 Order Setting
                        (10 pgs)            Hearing) No. of Notices: 6. Notice Date 03/24/2024. (Admin.)
03/24/2024                                  (Entered: 03/24/2024)

                        161                 Summons Service Executed on National Bank of Kuwait, S.A.K.P.,
03/25/2024              (2 pgs)             New York Branch 3/25/2024. (Sather, Stephen) (Entered: 03/25/2024)

                        162                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Ali
                        (2 pgs)             Choudhri. This is to order a transcript of Proceedings held on
                                            3/22/2024 before Judge Jeffrey P. Norman. Court Reporter/Transcriber:
                                            Access Transcripts. (mew4) Electronically forwarded to Access
                                            Transcripts, LLC on 3/28/2024. Estimated completion date: 3/29/2024.
03/28/2024                                  Modified on 3/28/2024 (AaronJackson). (Entered: 03/28/2024)

                        163                 First Amended Chapter 11 Plan Filed by Galleria 2425 Owner, LLC.
                        (31 pgs; 2 docs)    (Attachments: # 1 Exhibit Projections) (Baker, Reese) (Entered:
04/01/2024                                  04/01/2024)

                        164                 Disclosure Statement Filed by Galleria 2425 Owner, LLC.
                        (50 pgs; 2 docs)    (Attachments: # 1 Exhibit Projections) (Baker, Reese) (Entered:
04/01/2024                                  04/01/2024)

                        165                 Transcript RE: Emergency Motion for Interim Use of Cash Collateral
                        (39 pgs; 2 docs)    held on 3/22/24 before Judge Jeffrey P. Norman. Transcript is available
                                            for viewing in the Clerk's Office. Within 21 days, parties are advised to
                                            comply with privacy requirements of Fed. R. Bank. P. 9037, ensuring
                                            that certain protected information is redacted from transcripts prior to
                                            their availability on PACER. Filed by Transcript access will be
                                            restricted through 07/1/2024. (AccessTranscripts) (Entered:
04/02/2024                                  04/02/2024)

04/02/2024              166                 Order Setting Hearing Signed on 4/2/2024 (Related document(s):164
                        (1 pg)              Disclosure Statement) Hearing scheduled for 5/3/2024 at 09:30 AM
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD              Page 19 of 431
                                              at Houston, Courtroom 403 (JPN). (mar4) (Entered: 04/02/2024)

                        167                   Objection to Final Cash Collateral Order (related document(s):133
                        (6 pgs)               Emergency Motion). Filed by 2425 WL, LLC (Sather, Stephen)
04/02/2024                                    (Entered: 04/02/2024)

                        168                   Objection OF GALLERIA 2425 OWNER, LLC TO CHAPTER 11
                        (10 pgs)              TRUSTEES MOTION TO USE CASH COLLATERAL AND
                                              APPLICATION TO EMPLOY JONES LANG LASALLE AMERICAS,
                                              INC. AS THE PROPERTY MANAGER (related document(s):133
                                              Emergency Motion, 145 Generic Motion). Filed by Galleria 2425
04/02/2024                                    Owner, LLC (Baker, Reese) (Entered: 04/02/2024)

                        169                   Order on Hearing on April 5, 2024. Signed on 4/3/2024 (Related
                        (1 pg)                document(s):133 Emergency Motion, 145 Generic Motion) (mar4)
04/03/2024                                    (Entered: 04/03/2024)

                        170                   Witness List (Filed By City of Houston, Houston Community College
                        (20 pgs; 4 docs)      System, Houston ISD ).(Related document(s):133 Emergency Motion,
                                              144 Objection) (Attachments: # 1 Exhibit 1 - City of Houston POC # 2
                                              Exhibit EXH 2 - Houston ISD POC # 3 Exhibit EXH 3 - Houston
04/03/2024                                    Comm College POC) (Andresen, Jeannie) (Entered: 04/03/2024)

                        171                   Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (579 pgs; 21 docs)    document(s):133 Emergency Motion, 145 Generic Motion)
                                              (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5
                                              Exhibit # 6 Exhibit # 7 Exhibit # 8 Exhibit # 9 Exhibit # 10 Exhibit #
                                              11 Exhibit # 12 Exhibit # 13 Exhibit # 14 Exhibit # 15 Exhibit # 16
                                              Exhibit # 17 Exhibit # 18 Exhibit # 19 Exhibit # 20 Exhibit) (Shannon,
04/03/2024                                    R. J.) (Entered: 04/03/2024)

                        172                   Notice of Revised Proposed Final Cash Collateral Order. (Related
                        (27 pgs; 3 docs)      document(s):133 Emergency Motion, 145 Generic Motion) Filed by
                                              Christopher R Murray (Attachments: # 1 Exhibit A - Redline of
                                              Proposed Final Cash Collateral Order # 2 Exhibit B - Revised
                                              Proposed Final Cash Collateral Order) (Shannon, R. J.) (Entered:
04/03/2024                                    04/03/2024)

                        173                   Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (1000 pgs; 48 docs)   (Related document(s):133 Emergency Motion, 145 Generic Motion)
                                              (Attachments: # 1 Exhibit 1 # 2 Exhibit 3 Internal Notes # 3 Exhibit 4
                                              # 4 Exhibit 5 # 5 Exhibit 6 # 6 Exhibit 7 # 7 Exhibit 8 # 8 Exhibit 10 #
                                              9 Exhibit 11 # 10 Exhibit 12 # 11 Exhibit 13 # 12 Exhibit 14 # 13
                                              Exhibit 15 # 14 Exhibit 15A # 15 Exhibit 16 # 16 Exhibit 16A # 17
                                              Exhibit 17A # 18 Exhibit 17B # 19 Exhibit 17C # 20 Exhibit 18 # 21
                                              Exhibit 19 # 22 Exhibit 20 # 23 Exhibit 21 # 24 Exhibit 22 # 25
                                              Exhibit 23 # 26 Exhibit 24 # 27 Exhibit 25 # 28 Exhibit 26 # 29
                                              Exhibit Exh 27 # 30 Exhibit 27A # 31 Exhibit 27A 1 # 32 Exhibit 27B
                                              # 33 Exhibit 28 # 34 Exhibit 29 # 35 Exhibit 30 # 36 Exhibit 31 # 37
                                              Exhibit 33 # 38 Exhibit 36 # 39 Exhibit 37 # 40 Exhibit 40 # 41
                                              Exhibit 41 # 42 Exhibit 42 # 43 Exhibit 43 # 44 Exhibit 44 # 45
                                              Exhibit 45 # 46 Exhibit 46 # 47 Exhibit 47) (Baker, Reese) (Entered:
04/03/2024                                    04/03/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 20 of 431
                        174                 Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (53 pgs; 3 docs)    (Related document(s):133 Emergency Motion, 145 Generic Motion,
                                            173 Witness List, Exhibit List) (Attachments: # 1 Exhibit 39 # 2
04/03/2024                                  Exhibit 48) (Baker, Reese) (Entered: 04/03/2024)

                        175                 MOTION to Appear Pro Hac Vice for Jack Rose (Fee Paid: $100,
                        (4 pgs; 3 docs)     receipt number AXXXXXXXX) Filed by Attorney Jack Rose Hearing
                                            scheduled for 4/10/2024 at 11:00 AM at Houston, Courtroom 403
                                            (JPN). (Attachments: # 1 Exhibit Federal bar # 2 Exhibit State bar)
04/04/2024                                  (Baker, Reese) (Entered: 04/04/2024)

                        176                 Order Granting Motion To Appear pro hac vice for Jack J Rose
04/04/2024              (1 pg)              (Related Doc # 175) Signed on 4/4/2024. (mar4) (Entered: 04/04/2024)

                        177                 Omnibus Reply - Trustee's Omnibus Reply to Objections to Cash
                        (20 pgs; 2 docs)    Collateral Motion and Motion to Enter into JLL Agreement (related
                                            document(s):133 Emergency Motion, 145 Generic Motion). Filed by
                                            Christopher R Murray (Attachments: # 1 Exhibit A) (Shannon, R. J.)
04/04/2024                                  (Entered: 04/04/2024)

                        178                 Response (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (7 pgs)             Branch ).(Related document(s):167 Objection, 168 Objection)
04/04/2024                                  (Conrad, Charles) (Entered: 04/04/2024)

                        179                 Notice OF REVISED PROPOSED CASH COLLATERAL ORDER
                        (16 pgs; 2 docs)    FILED BY GALLERIA 2425 OWNER, LLC AND 2425 WL, LLC.
                                            (Related document(s):133 Emergency Motion) Filed by Galleria 2425
                                            Owner, LLC (Attachments: # 1 Proposed Order) (Baker, Reese)
04/04/2024                                  (Entered: 04/04/2024)

                        180                 BNC Certificate of Mailing. (Related document(s):165 Transcript) No.
04/04/2024              (4 pgs)             of Notices: 5. Notice Date 04/04/2024. (Admin.) (Entered: 04/04/2024)

                        181                 BNC Certificate of Mailing. (Related document(s):166 Order Setting
                        (4 pgs)             Hearing) No. of Notices: 5. Notice Date 04/04/2024. (Admin.)
04/04/2024                                  (Entered: 04/04/2024)

                        182                 Notice of Intended Demonstrative Exhibit. (Related document(s):133
                        (2 pgs)             Emergency Motion, 145 Generic Motion, 179 Notice) Filed by
04/05/2024                                  Christopher R Murray (Shannon, R. J.) (Entered: 04/05/2024)

                        183                 Courtroom Minutes. Time Hearing Held: 9:00. Appearances: RJ
                                            Shannon for the Trustee, Reese Baker for the Debtor, Jack Rose for
                                            2425WL,LLC, Patrick Fitzmaurice for National Bank of Kuwait,
                                            Jeannie Andresen for Harris County, et al., Stephen Sather for
                                            2425WL, LLC., Robert MacNaughton for 2425 West Loop, LLC.
                                            (Related document(s):133 Emergency Motion to Approve Cash
                                            Collateral, 145 Motion For Entry of Order) No opposition to 145.
                                            Relief requested is granted. The Court will sign the proposed order.
                                            Evidentiary hearing held on 133. Arguments heard. Chris Murray
                                            sworn. Direct and cross examination conducted. Trustee exhibits 171-1
                                            thru 171-5, 171-10 thru 171-15 were admitted. Closing statement
04/05/2024                                  made. Matter taken under advisement. (trc4) (Entered: 04/05/2024)

04/05/2024              184                 Order Granting Trustee's Motion For Entry of an Order (A)
                        (2 pgs)             Authorizing the Trustee to Ener into an Agreement with Jones Lang
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 21 of 431
                                            Lasalle Americas, Inc. to Serve as Property Manager and (B) Granting
                                            Related Relief (Related Doc # 145) Signed on 4/5/2024. (trc4)
                                            (Entered: 04/05/2024)

                        185
                        (1 pg)                  PDF with attached Audio File. Court Date & Time [ 4/5/2024
                                            8:59:45 AM ]. File Size [ 36998 KB ]. Run Time [ 01:17:05 ]. (admin).
04/05/2024                                  (Entered: 04/05/2024)

                        186                 AO 435 TRANSCRIPT ORDER FORM (3-Day) by National Bank of
                        (2 pgs)             Kuwait, S.A.K. P., New York Branch / Charles Conrad. This is to order
                                            a transcript of Hearing, April 5, 2024 before Judge Jeffrey P. Norman.
                                            Court Reporter/Transcriber: Veritext Legal Solutions (Filed By
                                            National Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad,
                                            Charles) Electronically Forwarded to Veritext Legal Solutions on
                                            04/09/2024. Estimated Date of Completion: 04/12/2024. Modified on
04/05/2024                                  4/9/2024 (BenjaminRomero). (Entered: 04/05/2024)

                        187                 Final Order Authorizing the Trustee to Use Cash Collateral (Related
04/05/2024              (10 pgs)            Doc # 133) Signed on 4/5/2024. (trc4) (Entered: 04/05/2024)

                        188                 Motion For Sale of Real Property Free and Clear of Liens as Described
                        (50 pgs; 2 docs)    in Section 363(f). Objections/Request for Hearing Due in 21 days. Fee
                                            Amount $199. Filed by Trustee Christopher R Murray Hearing
                                            scheduled for 5/1/2024 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                            (Attachments: # 1 Proposed Order) (Shannon, R. J.) (Entered:
04/05/2024                                  04/05/2024)

                                            Receipt of Motion for Sale of Property( 23-34815) [motion,msale363]
                                            ( 199.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount $
04/05/2024                                  199.00. (U.S. Treasury) (Entered: 04/05/2024)

                        189                 BNC Certificate of Mailing. (Related document(s):169 Generic Order)
                        (4 pgs)             No. of Notices: 5. Notice Date 04/05/2024. (Admin.) (Entered:
04/05/2024                                  04/05/2024)

                        190                 BNC Certificate of Mailing. (Related document(s):176 Order on
                        (4 pgs)             Motion to Appear pro hac vice) No. of Notices: 5. Notice Date
04/06/2024                                  04/06/2024. (Admin.) (Entered: 04/06/2024)

                        191                BNC Certificate of Mailing. (Related document(s):184 Generic Order)
                        (5 pgs)            No. of Notices: 5. Notice Date 04/07/2024. (Admin.) (Entered:
04/07/2024                                 04/07/2024)

                        192                BNC Certificate of Mailing. (Related document(s):187 Order on
                        (13 pgs)           Emergency Motion) No. of Notices: 5. Notice Date 04/07/2024.
04/07/2024                                 (Admin.) (Entered: 04/07/2024)

                        193                Certificate Of Service (Filed By Galleria 2425 Owner, LLC ).(Related
                        (4 pgs)            document(s):166 Order Setting Hearing) (Baker, Reese) (Entered:
04/09/2024                                 04/09/2024)

                        194                Chapter 11 Plan of Reorganization Filed by National Bank of Kuwait,
04/10/2024              (24 pgs)           S.A.K.P., New York Branch. (Conrad, Charles) (Entered: 04/10/2024)
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 22 of 431
                        195                Disclosure Statement Filed by National Bank of Kuwait, S.A.K.P., New
04/10/2024              (46 pgs)           York Branch. (Conrad, Charles) (Entered: 04/10/2024)

                        196                Motion for Approval Motion for Entry of Order (I) Conditionally
                        (47 pgs; 3 docs)   Approving Disclosure Statement; (II) Scheduling a Combined
                                           Disclosure Statement Approval and Plan Confirmation Hearing, (III)
                                           Establishing Plan and Disclosure Statement Objection and Reply
                                           Deadlines and Related Procedures, (IV) Approving the Solicitation
                                           Procedures, (V) Approving the Combined Hearing Notice, and (VI)
                                           Granting Related Relief. Objections/Request for Hearing Due in 21
                                           days. Filed by Creditor National Bank of Kuwait, S.A.K.P., New York
                                           Branch (Attachments: # 1 Exhibit A - Proposed Order # 2 Service List)
04/10/2024                                 (Conrad, Charles) (Entered: 04/10/2024)

                        197                Notice of Proposed Stalking Horse Agreement. (Related
                        (46 pgs; 2 docs)   document(s):188 Motion for Sale of Property) Filed by Christopher R
                                           Murray (Attachments: # 1 Exhibit A - Stalking Horse Agreement)
04/10/2024                                 (Shannon, R. J.) (Entered: 04/10/2024)

                        198                Order Setting Hearing Signed on 4/11/2024 (Related document(s):195
                        (1 pg)             Disclosure Statement, 196 Motion for Approval) Hearing scheduled
                                           for 4/25/2024 at 02:30 PM at Houston, Courtroom 403 (JPN). (mar4)
04/11/2024                                 Modified on 4/11/2024 (MarioRios). (Entered: 04/11/2024)

                        199                Declaration re: Unsworn Declaration of Mailing (Filed By National
                        (6 pgs)            Bank of Kuwait, S.A.K.P., New York Branch ).(Related
                                           document(s):198 Order Setting Hearing) (Conrad, Charles) (Entered:
04/12/2024                                 04/12/2024)

                        200                Declaration re: Unsworn Declaration of Mailing (Filed By National
                        (6 pgs)            Bank of Kuwait, S.A.K.P., New York Branch ).(Related
                                           document(s):196 Motion for Approval) (Conrad, Charles) (Entered:
04/12/2024                                 04/12/2024)

                        201                AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Ali
                        (2 pgs)            Choudri. This is to order a transcript of Motion hearing on 4/5/24 before
                                           Judge Jeffrey P. Norman. Court Reporter/Transcriber: Veritext Legal
                                           Solutions (Filed By Ali Choudhri ). (cmk4) Copy request electronically
                                           forwarded to Veritext Legal Solutions on 4/15/2024. Estimated
                                           completion date is 4/16/2024. Modified on 4/15/2024 (DanielBerger).
04/12/2024                                 (Entered: 04/12/2024)

                        202                Transcript RE: held on 04/05/24 before Judge Jeffrey P. Norman.
                        (50 pgs; 2 docs)   Transcript is available for viewing in the Clerk's Office. Within 21 days,
                                           parties are advised to comply with privacy requirements of Fed. R.
                                           Bank. P. 9037, ensuring that certain protected information is redacted
                                           from transcripts prior to their availability on PACER. Filed by
                                           Transcript access will be restricted through 07/11/2024.
04/12/2024                                 (VeritextLegalSolutions) (Entered: 04/12/2024)

                        203                BNC Certificate of Mailing. (Related document(s):198 Order Setting
                        (4 pgs)            Hearing) No. of Notices: 5. Notice Date 04/13/2024. (Admin.) (Entered:
04/13/2024                                 04/13/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD           Page 23 of 431
                        204                Notice of Appearance and Request for Notice Filed by Kyung Shik Lee
                        (2 pgs)            Filed by on behalf of Christopher R Murray (Lee, Kyung) (Entered:
04/14/2024                                 04/14/2024)

                        205                Application to Employ Hilco Real Estate, LLC as Real Estate Broker.
                        (32 pgs; 4 docs)   Objections/Request for Hearing Due in 21 days. Filed by Trustee
                                           Christopher R Murray Hearing scheduled for 5/15/2024 at 11:00 AM at
                                           Houston, Courtroom 403 (JPN). (Attachments: # 1 Exhibit 1 - Kaup
                                           Declaration # 2 Exhibit 2 - Engagement Agreement # 3 Proposed Order)
04/17/2024                                 (Shannon, R. J.) (Entered: 04/17/2024)

                        206                Ex Parte Motion to Expedite Hearing (related document(s):188 Motion
                        (4 pgs; 2 docs)    for Sale of Property, 205 Application to Employ). Filed by Trustee
                                           Christopher R Murray (Attachments: # 1 Proposed Order) (Shannon, R.
04/17/2024                                 J.) (Entered: 04/17/2024)

                        207                Motion to Continue Hearing On (related document(s):196 Motion for
                        (7 pgs; 2 docs)    Approval). Filed by Creditor 2425 WL, LLC (Attachments: # 1
04/17/2024                                 Proposed Order) (Sather, Stephen) (Entered: 04/17/2024)

                        208                BNC Certificate of Mailing. (Related document(s):202 Transcript) No.
04/17/2024              (4 pgs)            of Notices: 5. Notice Date 04/17/2024. (Admin.) (Entered: 04/17/2024)

                        209                Objection TO TRUSTEES MOTION FOR EXPEDITED HEARING
                        (5 pgs)            (related document(s):206 Motion to Expedite Hearing). Filed by 2425
04/18/2024                                 WL, LLC (Sather, Stephen) (Entered: 04/18/2024)

                        210                Motion For Sale of Estate's Claims against Sonder USA Inc. and Sonder
                        (14 pgs; 2 docs)   Canada, Inc. Free and Clear of Liens as Described in Section 363(f).
                                           Objections/Request for Hearing Due in 21 days. Fee Amount $199.
                                           Filed by Trustee Christopher R Murray Hearing scheduled for 5/15/2024
                                           at 11:00 AM at Houston, Courtroom 403 (JPN). (Attachments: # 1
04/18/2024                                 Proposed Order) (Shannon, R. J.) (Entered: 04/18/2024)

                                           Receipt of Motion for Sale of Property( 23-34815) [motion,msale363] (
                                           199.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount $ 199.00.
04/18/2024                                 (U.S. Treasury) (Entered: 04/18/2024)

                        211                Motion to Withdraw as Attorney. Objections/Request for Hearing Due
                        (5 pgs)            in 21 days. Filed by Creditor 2425 WL, LLC Hearing scheduled for
                                           5/15/2024 at 11:00 AM at telephone and video conference. (Rose, Jack)
04/18/2024                                 (Entered: 04/18/2024)

                        212                Order Setting Hearing Signed on 4/18/2024 (Related document(s):207
                        (1 pg)             Motion to Continue/Reschedule Hearing) Hearing scheduled for
                                           4/22/2024 at 02:00 PM at Houston, Courtroom 403 (JPN). (mar4)
04/18/2024                                 (Entered: 04/18/2024)

                        213                Order Granting Motion to Expedite 206 and Setting Hearing Signed on
                        (1 pg)             4/18/2024 (Related document(s):205 Application to Employ) Hearing
                                           scheduled for 5/1/2024 at 11:00 AM at Houston, Courtroom 403
                                           (JPN). (mar4) Modified on 4/18/2024 (MarioRios). (Entered:
04/18/2024                                 04/18/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 24 of 431
                        214                Response Statement in Response to (related document(s):207 Motion to
                        (8 pgs; 2 docs)    Continue/Reschedule Hearing). Filed by National Bank of Kuwait,
                                           S.A.K.P., New York Branch (Attachments: # 1 Mailing Matrix) (Conrad,
04/18/2024                                 Charles) (Entered: 04/18/2024)

                        215                Certificate of Service for Order Setting Hearing (Filed By 2425 WL,
                        (4 pgs)            LLC ).(Related document(s):207 Motion to Continue/Reschedule
                                           Hearing, 212 Order Setting Hearing) (Sather, Stephen) (Entered:
04/19/2024                                 04/19/2024)

                        216                Motion to Reconsider (related document(s):133 Emergency Motion, 187
                        (8 pgs)            Order on Emergency Motion). Filed by Creditor 2425 WL, LLC (Sather,
04/19/2024                                 Stephen) (Entered: 04/19/2024)

                        217                Notice of Supplemental Declaration of Eric Kaup in Support of the
                        (9 pgs; 2 docs)    Trustee's Application to Employ Hilco Real Estate, LLC as Real Estate
                                           Broker Effective as of April 15, 2024. (Related document(s):205
                                           Application to Employ) Filed by Christopher R Murray (Attachments: #
                                           1 Exhibit A - Supplemental Kaup Declaration) (Shannon, R. J.)
04/19/2024                                 (Entered: 04/19/2024)

                        218                Certificate of Service re Order Setting Hearing [ECF No. 213] (Filed
                        (4 pgs)            By Christopher R Murray ).(Related document(s):205 Application to
                                           Employ, 206 Motion to Expedite Hearing, 213 Order Setting Hearing)
04/19/2024                                 (Shannon, R. J.) (Entered: 04/19/2024)

                        219                Notice of Appearance and Request for Notice Filed by Melissa S
                        (2 pgs)            Hayward Filed by on behalf of Hayward PLLC (Hayward, Melissa)
04/19/2024                                 (Entered: 04/19/2024)

                        220                Operating Report for Filing Period March 2024, $134,901.84 disbursed
                        (9 pgs)            (Filed By Christopher R Murray ). (Murray, Christopher) (Entered:
04/20/2024                                 04/20/2024)

                        221                BNC Certificate of Mailing. (Related document(s):212 Order Setting
                        (4 pgs)            Hearing) No. of Notices: 5. Notice Date 04/20/2024. (Admin.) (Entered:
04/20/2024                                 04/20/2024)

                        222                BNC Certificate of Mailing. (Related document(s):213 Order Setting
                        (4 pgs)            Hearing) No. of Notices: 5. Notice Date 04/20/2024. (Admin.) (Entered:
04/20/2024                                 04/20/2024)

                        223                Order Denying Motion To Reconsider (Related Doc # 216) Signed on
04/22/2024              (1 pg)             4/22/2024. (mar4) (Entered: 04/22/2024)

                        224                Order Denying Form of Order 210-1 Signed on 4/22/2024 (Related
                        (1 pg)             document(s):210 Motion for Sale of Property) (mar4) (Entered:
04/22/2024                                 04/22/2024)

                        225                Courtroom Minutes. Time Hearing Held: 2:00. Appearances: RJ
                                           Shannon for the Trustee, Reese Baker for the Debtor, Patrick
                                           Fitzmaurice for the NBK, Stephen Sather for 2425 WLoop, LLC.
                                           (Related document(s):207 Motion to Continue/Reschedule Hearing)
                                           Arguments heard. Matter taken under advisement. The Court will enter
04/22/2024                                 an order. (trc4) (Entered: 04/22/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 25 of 431
                        226                Amended Motion to Reconsider (related document(s):187 Order on
                        (8 pgs; 2 docs)    Emergency Motion). Filed by Creditor 2425 WL, LLC Hearing
                                           scheduled for 5/22/2024 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                           (Attachments: # 1 Proposed Order) (Sather, Stephen) (Entered:
04/22/2024                                 04/22/2024)

                        227
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 4/22/2024
                                           2:02:38 PM ]. File Size [ 2512 KB ]. Run Time [ 00:05:14 ]. (admin).
04/22/2024                                 (Entered: 04/22/2024)

                        228                Order on Motion to Continue Hearing Signed on 4/22/2024 (Related
                        (2 pgs)            document(s):207 Motion to Continue/Reschedule Hearing) (mar4)
04/22/2024                                 (Entered: 04/22/2024)

                        229                Disclosure of Compensation of Attorney for Debtor (Filed By Galleria
04/23/2024              (4 pgs)            2425 Owner, LLC ). (Baker, Reese) (Entered: 04/23/2024)

                        230                Stipulation By Christopher R Murray and Sonder USA Inc. Does this
                        (3 pgs)            document include an agreed order or otherwise request that the judge
                                           sign a document? Yes. (Filed By Christopher R Murray ).(Related
                                           document(s):115 Motion for Relief From Stay) (Shannon, R. J.)
04/23/2024                                 (Entered: 04/23/2024)

                        231                Third Stipulation and Order Setting Hearing Signed on 4/24/2024
                        (3 pgs)            (Related document(s):115 Sonder USA Inc's Motion for Relief From
                                           Stay) Hearing scheduled for 6/5/2024 at 09:30 AM at Houston,
04/24/2024                                 Courtroom 403 (JPN). (mar4) (Entered: 04/24/2024)

                        232                Response/Objection Filed by Galleria 2425 Owner, LLC. (Related
                        (20 pgs; 3 docs)   document(s):195 Disclosure Statement, 196 Motion for Approval)
                                           (Attachments: # 1 Exhibit A Information from Jerry Alexander # 2
                                           Exhibit A1 Fact sheet on Jerry Alexander) (Baker, Reese) (Entered:
04/24/2024                                 04/24/2024)

                        233                Objection (related document(s):196 Motion for Approval). Filed by
04/24/2024              (7 pgs)            2425 WL, LLC (Sather, Stephen) (Entered: 04/24/2024)

                        234                Response/Objection Filed by Ali Choudhri. (Related document(s):195
04/24/2024              (5 pgs)            Disclosure Statement) (dm4) (Entered: 04/24/2024)

                        235                BNC Certificate of Mailing. (Related document(s):223 Order on Motion
                        (4 pgs)            To Reconsider) No. of Notices: 6. Notice Date 04/24/2024. (Admin.)
04/24/2024                                 (Entered: 04/24/2024)

                        236                BNC Certificate of Mailing. (Related document(s):224 Generic Order)
                        (4 pgs)            No. of Notices: 6. Notice Date 04/24/2024. (Admin.) (Entered:
04/24/2024                                 04/24/2024)

                        237                BNC Certificate of Mailing. (Related document(s):228 Generic Order)
                        (5 pgs)            No. of Notices: 6. Notice Date 04/24/2024. (Admin.) (Entered:
04/24/2024                                 04/24/2024)

04/25/2024              238                Omnibus Reply Filed by National Bank of Kuwait, S.A.K.P., New York
                        (8 pgs)            Branch. (Related document(s):194 Chapter 11 Plan, 195 Disclosure
                                           Statement, 196 Motion for Approval, 232 Response/Objection, 233
        Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD            Page 26 of 431
                                            Objection, 234 Response/Objection) (Troop, Andrew) (Entered:
                                            04/25/2024)

                        239                 Order Regarding Approval of Disclosure Statement and Motion for Enty
                        (2 pgs)             of Order Signed on 4/25/2024 (Related document(s):195 Disclosure
04/25/2024                                  Statement, 196 Motion for Approval) (mar4) (Entered: 04/25/2024)

                        240                 Motion of Chapter 11 Trustee for An Order Establishing Procedures for
                        (17 pgs; 2 docs)    Interim Compensation and Reimbursement of Expenses for
                                            Professionals and Trustee Filed by Trustee Christopher R Murray
                                            Hearing scheduled for 6/5/2024 at 11:00 AM at Houston, Courtroom
                                            403 (JPN). (Attachments: # 1 Proposed Order) (Shannon, R. J.)
04/26/2024                                  (Entered: 04/26/2024)

                        241                 Notice of Rule 2004 Examination of National Bank of Kuwait, S.A.K.P.,
                        (10 pgs)            New York Branch. Filed by Christopher R Murray (Shannon, R. J.)
04/26/2024                                  (Entered: 04/26/2024)

                        242                 Objection (related document(s):188 Motion for Sale of Property). Filed
04/26/2024              (11 pgs)            by 2425 WL, LLC (Sather, Stephen) (Entered: 04/26/2024)

                        243                 Objection TO CHAPTER 11 TRUSTEES MOTION FOR ENTRY OF AN
                        (9 pgs; 2 docs)     ORDER: (I) APPROVING PROCEDURES FOR THE SALE OF
                                            PROPERTY FREE AND CLEAR OF ALL LIENS, CLAIM AND
                                            ENCUMBRANCES; (II) SCHEDULING AN AUCTION; (III)
                                            AUTHORIZING ENTRY INTO THE STALKING HORSE PURCHASE
                                            AGREEMENT; (IV) APPROVING ASSUMPTION AND ASSIGNMENT
                                            PROCEDURES; (V) APPROVING FORM OF NOTICE; AND (VI)
                                            GRANTING RELATED RELIEF (related document(s):188 Motion for
                                            Sale of Property). Filed by Galleria 2425 Owner, LLC (Attachments: #
04/26/2024                                  1 Exhibit Hilco Agreement) (Baker, Reese) (Entered: 04/26/2024)

                        244                 Objection to Claim Number 14 by Claimant National Bank of Kuwait.
                        (21 pgs; 2 docs)    National Bank of Kuwait with request for valuation of security, payment
                                            of fully secured claims, and modification of undersecured claims..
                                            Hearing scheduled for 6/18/2024 at 11:00 AM at Houston, Courtroom
                                            403 (JPN). (Attachments: # 1 Proposed Order) (Sather, Stephen)
04/26/2024                                  (Entered: 04/26/2024)

                        245                 BNC Certificate of Mailing. (Related document(s):231 Order Setting
                        (6 pgs)             Hearing) No. of Notices: 6. Notice Date 04/26/2024. (Admin.) (Entered:
04/26/2024                                  04/26/2024)

                        246                 BNC Certificate of Mailing. (Related document(s):239 Generic Order)
                        (5 pgs)             No. of Notices: 6. Notice Date 04/27/2024. (Admin.) (Entered:
04/27/2024                                  04/27/2024)

                        247                 Omnibus Reply to Objections to the Bid Procedures Motion (related
                        (248 pgs; 6 docs)   document(s):188 Motion for Sale of Property). Filed by Christopher R
                                            Murray (Attachments: # 1 Exhibit A - April 5, 2024, Hearing Transcript
                                            # 2 Exhibit B - Proposal Forwarded by Ali Choudhri # 3 Exhibit C -
                                            June 7, 2023, State Court Hearing Transcript # 4 Exhibit D - April 12,
                                            2023, State Court Hearing Transcript # 5 Exhibit E - Proposed HST
04/28/2024                                  Lease) (Shannon, R. J.) (Entered: 04/28/2024)
        Case 4:24-cv-04836    Document 8-1         Filed on 04/23/25 in TXSD            Page 27 of 431
                        248                  Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (295 pgs; 10 docs)   document(s):188 Motion for Sale of Property) (Attachments: # 1 Exhibit
                                             # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit # 6 Exhibit # 7 Exhibit #
04/28/2024                                   8 Exhibit # 9 Exhibit) (Shannon, R. J.) (Entered: 04/28/2024)

                        249                  Witness List, Exhibit List (Filed By National Bank of Kuwait, S.A.K.P.,
                        (2 pgs)              New York Branch ).(Related document(s):188 Motion for Sale of
                                             Property, 205 Application to Employ) (Conrad, Charles) (Entered:
04/29/2024                                   04/29/2024)

                        250                  Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (758 pgs; 40 docs)   (Related document(s):188 Motion for Sale of Property, 205 Application
                                             to Employ) (Attachments: # 1 Exhibit 1 Projections # 2 Exhibit 1A
                                             Updated projections # 3 Exhibit 3 internal notes of NBK for loan # 4
                                             Exhibit 4 Amendment to Galleria 2425 JV # 5 Exhibit 5 Replacement of
                                             Zaheer # 6 Exhibit 6 Email on suitable replacement # 7 Exhibit 7 Email
                                             on Sonder lease in appraisal # 8 Exhibit 8 Email from Michael Carter #
                                             9 Exhibit 10 Jetall paying rent # 10 Exhibit 11 Groves vs Dalio
                                             documents # 11 Exhibit 12 Motion to Inspect documents # 12 Exhibit
                                             13 Transcript Judge Lopez and Tang # 13 Exhibit 14 Funds for
                                             operation # 14 Exhibit 14A unredacted funds for operation # 15 Exhibit
                                             17A Expungement order # 16 Exhibit 17 B Expungement order # 17
                                             Exhibit 17C Expungement order # 18 Exhibit 18 Metswall lease # 19
                                             Exhibit 19 Divorce appeal order # 20 Exhibit 21 Cushman Wakefield
                                             appraisal # 21 Exhibit 22 Michael Carter affidavit # 22 Exhibit 23
                                             Deposition of Mic # 23 Exhibit 24 Email from Michael Carter # 24
                                             Exhibit 25 Vaxanix # 25 Exhibit 26 Email from Zaheer # 26 Exhibit 27
                                             Management IWG # 27 Exhibit 27 A Information on IWG # 28 Exhibit
                                             28 Presentation of NBK # 29 Exhibit 29 Change of Ownership # 30
                                             Exhibit 30 Email on Zaheer # 31 Exhibit 31 Email from Michael Carter
                                             on standstill agreement # 32 Exhibit 32 2425 WL Offer # 33 Exhibit 33
                                             Confidentiality Agreement Hilco # 34 Exhibit 34A Jerry Alexander
                                             information # 35 Exhibit 34B Jerry Alexander fact sheet # 36 Exhibit 35
                                             Offer to purchase NBK claims # 37 Exhibit 36 Settlement Agreement #
                                             38 Exhibit 37 Formation of QB Loop Property # 39 Exhibit 38 Offer to
04/29/2024                                   purchase note) (Baker, Reese) (Entered: 04/29/2024)

                        251                  Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (284 pgs; 12 docs)   (Related document(s):188 Motion for Sale of Property, 205 Application
                                             to Employ) (Attachments: # 1 Exhibit 39 Letter of intent # 2 Exhibit
                                             Proposed lease for Vananix # 3 Exhibit 41 Valuation by BassVal # 4
                                             Exhibit 42 Adversary proceeding # 5 Exhibit 43 Offer to purchase # 6
                                             Exhibit 44 Letter from Wetwiska to Pilbury # 7 Exhibit 45 Email from
                                             buyer # 8 Exhibit 46 Wetwitska letter June 2023 # 9 Exhibit 47
                                             Purchase Agreement # 10 Exhibit 48 Hunan ShaShang Trading lease
                                             proposal # 11 Exhibit 49 Letter from Choudhri to Pilsbury) (Baker,
04/29/2024                                   Reese) (Entered: 04/29/2024)

                        252                  Amended Chapter 11 Plan Filed by 2425 WL, LLC, Galleria 2425
                        (23 pgs)             Owner, LLC. (Related document(s):95 Chapter 11 Plan) (Sather,
04/29/2024                                   Stephen) (Entered: 04/29/2024)

                        253                  Amended Disclosure Statement Filed by 2425 WL, LLC, Galleria 2425
                        (42 pgs)             Owner, LLC. (Related document(s):164 Disclosure Statement) (Sather,
04/29/2024                                   Stephen) (Entered: 04/29/2024)
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD             Page 28 of 431
                        254                  Order Approving Motion For Sale of Property under Section 363(b)
04/29/2024              (29 pgs)             (Related Doc # 188) Signed on 4/29/2024. (mar4) (Entered: 04/29/2024)

                        255                  Response/Objection Filed by National Bank of Kuwait, S.A.K.P., New
                        (32 pgs; 3 docs)     York Branch. (Related document(s):163 Amended Chapter 11 Plan, 164
                                             Disclosure Statement, 252 Amended Chapter 11 Plan, 253 Amended
                                             Disclosure Statement) (Attachments: # 1 Exhibit A - Proposed Order # 2
04/29/2024                                   Service List) (Conrad, Charles) (Entered: 04/29/2024)

                        256                  Objection (related document(s):205 Application to Employ). Filed by
                        (10 pgs; 3 docs)     Galleria 2425 Owner, LLC (Attachments: # 1 Exhibit Declaration of
                                             Choudhri # 2 Exhibit Confidentiality Agreement) (Baker, Reese)
04/29/2024                                   (Entered: 04/29/2024)

                        262                  Objection (related document(s):205 Application to Employ). Filed by
04/29/2024              (7 pgs)              Ali Choudhri (jld4) (Entered: 05/02/2024)

                        257                  Order Granting Application to Employ (Related Doc # 205) Signed on
04/30/2024              (2 pgs)              4/30/2024. (mar4) (Entered: 04/30/2024)

                        258                  Witness List, Exhibit List (Filed By National Bank of Kuwait, S.A.K.P.,
                        (3 pgs)              New York Branch ).(Related document(s):164 Disclosure Statement,
                                             166 Order Setting Hearing, 253 Amended Disclosure Statement)
05/01/2024                                   (Conrad, Charles) (Entered: 05/01/2024)

                        259                  Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (442 pgs; 20 docs)   (Related document(s):253 Amended Disclosure Statement)
                                             (Attachments: # 1 Exhibit 1 Plan # 2 Exhibit 2 Disclosure Statement # 3
                                             Exhibit 3 Cushman Wakefield appraisal # 4 Exhibit 4 Presentation # 5
                                             Exhibit 5 2425 WL Offer to buy # 6 Exhibit 6 Hilco agreement # 7
                                             Exhibit 7 Offer to purchase # 8 Exhibit 8 Letter of intent # 9 Exhibit 9
                                             Proposed lease Vananix # 10 Exhibit 10 Appraisal # 11 Exhibit 11
                                             Wetwiska letter # 12 Exhibit 12 Purchase Agreement # 13 Exhibit 13
                                             Hunan SanShang lease # 14 Exhibit 14 Letter Choudhri to Pilsbury # 15
                                             Exhibit 15 Proof of funds # 16 Exhibit 16 Metswall lease # 17 Exhibit
                                             17 Jerry Alexander statement # 18 Exhibit 18 Jerry Alexander fact
                                             statement # 19 Exhibit 19 Vananix lease) (Baker, Reese) (Entered:
05/01/2024                                   05/01/2024)

                        260                  Notice National Bank of Kuwait, S.A.K.P., New York Branch's Notice of
                        (7 pgs)              Election Pursuant to 11 U.S.C. 1111(b) and Fed. R. Bankr. P. 3014.
                                             (Related document(s):252 Amended Chapter 11 Plan) Filed by National
                                             Bank of Kuwait, S.A.K.P., New York Branch (Conrad, Charles)
05/01/2024                                   (Entered: 05/01/2024)

                        261                  BNC Certificate of Mailing. (Related document(s):254 Order on Motion
                        (32 pgs)             for Sale of Property under Section 363(b)) No. of Notices: 6. Notice
05/01/2024                                   Date 05/01/2024. (Admin.) (Entered: 05/01/2024)

                        263                  Order Regarding Hybrid Hearing and Amended Disclosure Statement.
                        (1 pg)               Order Signed on 5/2/2024 (Related document(s):253 Amended
05/02/2024                                   Disclosure Statement) (mar4) (Entered: 05/02/2024)

05/02/2024              264                  Notice of Bid Deadline and Auction with the Sale of Property. (Related
                        (3 pgs)              document(s):254 Order on Motion for Sale of Property under Section
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 29 of 431
                                           363(b)) Filed by Christopher R Murray (Shannon, R. J.) (Entered:
                                           05/02/2024)

                        265                Notice of Bid Procedures. (Related document(s):254 Order on Motion
                        (10 pgs; 2 docs)   for Sale of Property under Section 363(b)) Filed by Christopher R
                                           Murray (Attachments: # 1 Exhibit A - Bid Procedures (As of May 2,
05/02/2024                                 2024)) (Shannon, R. J.) (Entered: 05/02/2024)

                        266                Notice of Assumption and Assignment Procedures. (Related
                        (5 pgs)            document(s):254 Order on Motion for Sale of Property under Section
                                           363(b)) Filed by Christopher R Murray (Shannon, R. J.) (Entered:
05/02/2024                                 05/02/2024)

                        267                Response/Objection Filed by National Bank of Kuwait, S.A.K.P., New
                        (15 pgs; 2 docs)   York Branch. (Related document(s):252 Amended Chapter 11 Plan, 253
                                           Amended Disclosure Statement) (Attachments: # 1 Exhibit A Proposed
05/02/2024                                 Order) (Conrad, Charles) (Entered: 05/02/2024)

                        268                Certificate Amended Certificate of Service (Filed By National Bank of
                        (6 pgs)            Kuwait, S.A.K.P., New York Branch ).(Related document(s):267
05/02/2024                                 Response/Objection) (Conrad, Charles) (Entered: 05/02/2024)

                        269                BNC Certificate of Mailing. (Related document(s):257 Order on
                        (5 pgs)            Application to Employ) No. of Notices: 6. Notice Date 05/02/2024.
05/02/2024                                 (Admin.) (Entered: 05/02/2024)

                        270                Objection to Claim Number 13,14 by Claimant National Bank of
                        (30 pgs; 2 docs)   Kuwait. National Bank of Kuwait with request for valuation of security,
                                           payment of fully secured claims, and modification of undersecured
                                           claims.. Hearing scheduled for 6/18/2024 at 11:00 AM at Houston,
                                           Courtroom 403 (JPN). (Attachments: # 1 Proposed Order) (Sather,
05/03/2024                                 Stephen) (Entered: 05/03/2024)

                        271                Order Granting Motion To Withdraw As Attorney (Related Doc # 211)
05/03/2024              (1 pg)             Signed on 5/3/2024. (mar4) (Entered: 05/03/2024)

                        272                Courtroom Minutes. Time Hearing Held: 9:30. Appearances: Reese
                                           Baker for the debtor, Dierdre Brown for Ali Chaudhary, Kyung Lee for
                                           Trustee Chris Murray, Robert MacNaughton for 2425 West Loop LLC,
                                           Andrew Troop, Charles Conrad and Patrick Fitzmaurice for National
                                           Bank of Kuwait. (Related document(s):253 Amended Disclosure
                                           Statement) Arguments heard. Matter taken under advisement. (trc4)
05/03/2024                                 (Entered: 05/03/2024)

                        273
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 5/3/2024
                                           9:29:48 AM ]. File Size [ 15247 KB ]. Run Time [ 00:31:46 ]. (admin).
05/03/2024                                 (Entered: 05/03/2024)

                        274                Order Vacating Order Signed on 5/3/2024 (Related document(s):239
05/03/2024              (1 pg)             Generic Order) (mar4) (Entered: 05/03/2024)

                        275                Order Denying Approval Of Disclosure Statement Signed on 5/3/2024
                        (3 pgs)            (Related document(s):253 Amended Disclosure Statement) (mar4)
05/03/2024                                 (Entered: 05/03/2024)
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD            Page 30 of 431
                        276                 Order and Notice Approving Disclosure Statement 194 Setting
                        (1 pg)              Confirmation Hearing and deadlines. Signed on 5/3/2024 (Related
                                            document(s):252 Amended Chapter 11 Plan Confirmation hearing to
                                            be held on 6/7/2024 at 09:30 AM at Houston, Courtroom 403 (JPN).
05/03/2024                                  (mar4) (Entered: 05/03/2024)

                        277                 AO 435 TRANSCRIPT ORDER FORM (Expedited (7 days)) by
                        (2 pgs)             National Bank of Kuwait, S.A.K.P., New York Branch / Charles Conrad.
                                            This is to order a transcript of Hearing held May 3, 2024 before Judge
                                            Jeffrey P. Norman. Court Reporter/Transcriber: Veritext Legal Solutions
                                            (Filed By National Bank of Kuwait, S.A.K.P., New York Branch ).
                                            (Conrad, Charles) Electronically Forwarded to Veritext Legal Solutions
                                            on 05/07/2024. Estimated Date of Completion: 05/14/2024. Modified on
05/03/2024                                  5/7/2024 (BenjaminRomero). (Entered: 05/03/2024)

                        278                 BNC Certificate of Mailing. (Related document(s):263 Generic Order)
                        (4 pgs)             No. of Notices: 6. Notice Date 05/04/2024. (Admin.) (Entered:
05/04/2024                                  05/04/2024)

                        279                 BNC Certificate of Mailing. (Related document(s):274 Order Vacating
                        (5 pgs)             Order) No. of Notices: 42. Notice Date 05/05/2024. (Admin.) (Entered:
05/05/2024                                  05/05/2024)

                        280                 BNC Certificate of Mailing. (Related document(s):271 Order on Motion
                        (4 pgs)             to Withdraw as Attorney) No. of Notices: 6. Notice Date 05/05/2024.
05/05/2024                                  (Admin.) (Entered: 05/05/2024)

                        281                 BNC Certificate of Mailing. (Related document(s):275 Order Denying
                        (6 pgs)             Approval Of Disclosure Statement) No. of Notices: 6. Notice Date
05/05/2024                                  05/05/2024. (Admin.) (Entered: 05/05/2024)

                        282                 BNC Certificate of Mailing. (Related document(s):276 Order Setting
                        (4 pgs)             Hearing) No. of Notices: 6. Notice Date 05/05/2024. (Admin.) (Entered:
05/05/2024                                  05/05/2024)

                        283                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Ali
                        (2 pgs)             Choudhri. This is to order a transcript of Proceedings held on
                                            05/03/2024 before Judge Jeffrey P. Norman. Court Reporter/Transcriber:
                                            Trinity Transcription Services. (mew4) Electronically Forwarded to
                                            Original Transcription Company, Veritext Legal Solutions on
                                            05/07/2024. Estimated Date of Completion: 05/08/2024. Modified on
05/06/2024                                  5/7/2024 (BenjaminRomero). (Entered: 05/06/2024)

                        284                 Objection to Claim Number 13,14 by Claimant National Bank of
                        (242 pgs; 2 docs)   Kuwait. National Bank of Kuwait. Hearing scheduled for 6/18/2024 at
                                            11:00 AM at Houston, Courtroom 403 (JPN). (Attachments: # 1
05/06/2024                                  Proposed Order) (Sather, Stephen) (Entered: 05/06/2024)

                        285                 Objection to Confirmation of Plan Filed by City of Houston, Houston
                        (5 pgs)             Community College System, Houston ISD. (Related document(s):252
05/06/2024                                  Amended Chapter 11 Plan) (Andresen, Jeannie) (Entered: 05/06/2024)

                        286                 Objection to Confirmation of Plan Filed by City of Houston, Houston
                        (5 pgs)             Community College System, Houston ISD. (Related document(s):194
05/06/2024                                  Chapter 11 Plan) (Andresen, Jeannie) (Entered: 05/06/2024)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD             Page 31 of 431
                        287                  Notice of Appeal filed. (related document(s):187 Order on Emergency
                        (2 pgs)              Motion, 223 Order on Motion To Reconsider). Fee Amount $298.
                                             Appellant Designation due by 05/20/2024. (Sather, Stephen) (Entered:
05/06/2024                                   05/06/2024)

                                             Receipt of Notice of Appeal( 23-34815) [appeal,ntcapl] ( 298.00) Filing
                                             Fee. Receipt number AXXXXXXXX. Fee amount $ 298.00. (U.S. Treasury)
05/07/2024                                   (Entered: 05/07/2024)

                        288                  Motion to Continue Hearing On (related document(s):194 Chapter 11
                        (7 pgs; 2 docs)      Plan). Filed by Creditor 2425 WL, LLC (Attachments: # 1 Proposed
05/07/2024                                   Order) (Sather, Stephen) (Entered: 05/07/2024)

                        289                Emergency Motion National Bank of Kuwait's Emergency Motion to
                        (13 pgs; 3 docs)   Dismiss 2425 WL, LLC's Amended Motion for Reconsideration of the
                                           Final Cash Collateral Order [ECF #226] Filed by Creditor National Bank
                                           of Kuwait, S.A.K.P., New York Branch (Attachments: # 1 Exhibit A
05/07/2024                                 Proposed Order # 2 Service List) (Conrad, Charles) (Entered: 05/07/2024)

                        290                Declaration re: Unsworn Declaration of Mailing (Filed By National Bank
                        (97 pgs; 8 docs)   of Kuwait, S.A.K.P., New York Branch ).(Related document(s):276 Order
                                           Setting Hearing) (Attachments: # 1 Exhibit A Disclosure Statement # 2
                                           Exhibit B NBK Chapter 11 Plan # 3 Exhibit C Form Ballot # 4 Exhibit D
                                           Confirmation Hearing Notice # 5 Exhibit E Unimpaired Claims Notice of
                                           Non-Voting Status # 6 Exhibit F Impaired Claims Notice of Non-Voting
                                           Status # 7 Exhibit G Mailing List) (Conrad, Charles) (Entered:
05/07/2024                                 05/07/2024)

                        291                Order Granting Motion to Dismiss Amended Motion for Reconsideration
                        (1 pg)             226 Signed on 5/7/2024 (Related document(s):289 Emergency Motion)
05/07/2024                                 (mar4) (Entered: 05/07/2024)

                        292                Order Denying Motion To Continue/Reschedule Hearing On(Related Doc
05/08/2024              (1 pg)             # 288) Signed on 5/8/2024. (mar4) (Entered: 05/08/2024)

                        293                Motion to Strike. Objections/Request for Hearing Due in 21 days (related
                        (15 pgs; 3 docs)   document(s):284 Objection to Claim). Filed by Creditor National Bank of
                                           Kuwait, S.A.K.P., New York Branch (Attachments: # 1 Exhibit A Proposed
05/08/2024                                 Order # 2 Service List) (Conrad, Charles) (Entered: 05/08/2024)

                        294                Motion to Expedite Hearing (related document(s):293 Motion to Strike).
                        (13 pgs; 3 docs)   Filed by Creditor National Bank of Kuwait, S.A.K.P., New York Branch
                                           (Attachments: # 1 Exhibit A Proposed Order # 2 Service List) (Conrad,
05/08/2024                                 Charles) (Entered: 05/08/2024)

                        295                Transcript RE: trial held on 5/3/24 before Judge JEFFREY P. NORMAN.
                        (25 pgs; 2 docs)   Transcript is available for viewing in the Clerk's Office. Within 21 days,
                                           parties are advised to comply with privacy requirements of Fed. R. Bank.
                                           P. 9037, ensuring that certain protected information is redacted from
                                           transcripts prior to their availability on PACER. Filed by Transcript access
                                           will be restricted through 08/6/2024. (VeritextLegalSolutions) (Entered:
05/08/2024                                 05/08/2024)

05/08/2024              296                Amended Notice of Appeal filed. (related document(s):187 Order on
                        (13 pgs)           Emergency Motion, 223 Order on Motion To Reconsider). Fee Amount
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD             Page 32 of 431
                                          $298. Appellant Designation due by 05/22/2024. (Sather, Stephen)
                                          (Entered: 05/08/2024)

                        297               Election to Appeal to District Court . (Sather, Stephen) (Entered:
05/08/2024                                05/08/2024)

                                          Receipt of Notice of Appeal( 23-34815) [appeal,ntcapl] ( 298.00) Filing
                                          Fee. Receipt number AXXXXXXXX. Fee amount $ 298.00. (U.S. Treasury)
05/08/2024                                (Entered: 05/08/2024)

                        298               Amended Motion to Continue Hearing On (related document(s):194
                        (7 pgs; 2 docs)   Chapter 11 Plan). Filed by Creditor 2425 WL, LLC Hearing scheduled for
                                          5/15/2024 at 11:00 AM at Houston, Courtroom 403 (JPN). (Attachments: #
05/08/2024                                1 Proposed Order) (Sather, Stephen) (Entered: 05/08/2024)

                        299               Order Granting Motion to Expedite 294 and Setting Hearing Signed on
                        (1 pg)            5/9/2024 (Related document(s):293 Motion to Strike, 298 Motion to
                                          Continue/Reschedule Hearing) Hearing scheduled for 5/13/2024 at 01:00
                                          PM at Houston, Courtroom 403 (JPN). (mar4) Modified on 5/9/2024
05/09/2024                                (MarioRios). (Entered: 05/09/2024)

                        300               Clerk's Notice of Filing of an Appeal. On 05/06/2024, 2425 WL, LLC filed
                        (1 pg)            a notice of appeal. The appeal has been assigned to U.S. District Judge
                                          Keith P Ellison, Civil Action 4:24cv1746. Parties notified (Related
05/09/2024                                document(s):287 Notice of Appeal) (bwl4) (Entered: 05/09/2024)

                        301               Clerk's Notice of Filing of an Amended Appeal. On 05/08/2024, 2425 WL,
                        (1 pg)            LLC filed a notice of appeal. The appeal has been assigned to U.S. District
                                          Judge Keith P Ellison, Civil Action 4:24cv1746. Parties notified (Related
05/09/2024                                document(s):296 Notice of Appeal) (bwl4) (Entered: 05/09/2024)

                        302               Amended Chapter 11 Plan Filed by 2425 WL, LLC, Galleria 2425 Owner,
                        (28 pgs)          LLC. (Related document(s):95 Chapter 11 Plan) (Sather, Stephen)
05/09/2024                                (Entered: 05/09/2024)

                        303               Disclosure Statement Filed by 2425 WL, LLC, Galleria 2425 Owner, LLC.
05/09/2024              (49 pgs)          (Sather, Stephen) (Entered: 05/09/2024)

                        304               Notice of Hearing. (Related document(s):298 Motion to
                        (4 pgs)           Continue/Reschedule Hearing) Filed by 2425 WL, LLC (Sather, Stephen)
05/09/2024                                (Entered: 05/09/2024)

                        305               Motion to Expedite Hearing (related document(s):303 Disclosure
                        (8 pgs; 2 docs)   Statement). Filed by Creditor 2425 WL, LLC (Attachments: # 1 Proposed
05/09/2024                                Order) (Sather, Stephen) (Entered: 05/09/2024)

                        306               Certificate Certificate of Service re Court's Order Setting Hearings (Filed
                        (7 pgs)           By National Bank of Kuwait, S.A.K.P., New York Branch ).(Related
                                          document(s):299 Order Setting Hearing) (Conrad, Charles) (Entered:
05/09/2024                                05/09/2024)

                        307               BNC Certificate of Mailing. (Related document(s):291 Generic Order) No.
05/09/2024              (4 pgs)           of Notices: 6. Notice Date 05/09/2024. (Admin.) (Entered: 05/09/2024)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD            Page 33 of 431
                        308                Objection (related document(s):210 Motion for Sale of Property). Filed by
05/09/2024              (2 pgs)            Sonder USA Inc. (Wilson, Broocks) (Entered: 05/09/2024)

                        309                Order Granting Motion 305 in Part and Setting Hearing Signed on
                        (1 pg)             5/10/2024 (Related document(s):303 Disclosure Statement) Status
                                           conference to be held on 5/24/2024 at 09:00 AM at Houston,
05/10/2024                                 Courtroom 403 (JPN). (mar4) (Entered: 05/10/2024)

                        310                Witness List, Exhibit List (Filed By National Bank of Kuwait, S.A.K.P.,
                        (3 pgs)            New York Branch ).(Related document(s):293 Motion to Strike) (Conrad,
05/10/2024                                 Charles) (Entered: 05/10/2024)

                        311                Certificate of Service (Filed By 2425 WL, LLC ).(Related
                        (4 pgs)            document(s):309 Order Setting Hearing) (Sather, Stephen) (Entered:
05/10/2024                                 05/10/2024)

                        312                Response (related document(s):293 Motion to Strike). Filed by 2425 WL,
                        (66 pgs; 3 docs)   LLC (Attachments: # 1 Exhibit # 2 Exhibit) (Sather, Stephen) (Entered:
05/10/2024                                 05/10/2024)

                        313                Response Verified Statement in Response to Amended Motion to Continue
                        (13 pgs; 3 docs)   Hearing on Confirmation of Plan Filed by National Bank of Kuwait
                                           (related document(s):298 Motion to Continue/Reschedule Hearing). Filed
                                           by National Bank of Kuwait, S.A.K.P., New York Branch (Attachments: #
                                           1 Exhibit A - Proposed Order # 2 Service List) (Conrad, Charles) (Entered:
05/10/2024                                 05/10/2024)

                        314                BNC Certificate of Mailing. (Related document(s):292 Order on Motion to
                        (4 pgs)            Continue/Reschedule Hearing) No. of Notices: 6. Notice Date 05/10/2024.
05/10/2024                                 (Admin.) (Entered: 05/10/2024)

                        315                BNC Certificate of Mailing. (Related document(s):295 Transcript) No. of
05/11/2024              (4 pgs)            Notices: 6. Notice Date 05/11/2024. (Admin.) (Entered: 05/11/2024)

                        316                BNC Certificate of Mailing. (Related document(s):299 Order Setting
                        (4 pgs)            Hearing) No. of Notices: 6. Notice Date 05/11/2024. (Admin.) (Entered:
05/11/2024                                 05/11/2024)

                        317                BNC Certificate of Mailing. (Related document(s):300 Clerk's Notice of
                        (4 pgs)            Filing of an Appeal) No. of Notices: 6. Notice Date 05/11/2024. (Admin.)
05/11/2024                                 (Entered: 05/11/2024)

                        318                BNC Certificate of Mailing. (Related document(s):301 Clerk's Notice of
                        (4 pgs)            Filing of an Appeal) No. of Notices: 6. Notice Date 05/11/2024. (Admin.)
05/11/2024                                 (Entered: 05/11/2024)

                        319                BNC Certificate of Mailing. (Related document(s):309 Order Setting
                        (4 pgs)            Hearing) No. of Notices: 6. Notice Date 05/12/2024. (Admin.) (Entered:
05/12/2024                                 05/12/2024)

                        320                Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (34 pgs; 4 docs)   document(s):210 Motion for Sale of Property) (Attachments: # 1 Exhibit #
05/13/2024                                 2 Exhibit # 3 Exhibit) (Shannon, R. J.) (Entered: 05/13/2024)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD            Page 34 of 431
                        321                Order Denying Motion To Strike (Related Doc # 293) Signed on
05/13/2024              (1 pg)             5/13/2024. (mar4) (Entered: 05/13/2024)

                        322                Witness List, Exhibit List (Filed By Sonder USA Inc. ).(Related
                        (2 pgs)            document(s):210 Motion for Sale of Property) (Wilson, Broocks) (Entered:
05/13/2024                                 05/13/2024)

                        323                Courtroom Minutes. Time Hearing Held: 1:00. Appearances: Reese Baker
                                           for the Debtor, Stephen Sather for WL LLC, RJ Shannon for the Trustee,
                                           Patrick Fitzmaurice for National Bank of Kuwait. (Related
                                           document(s):298 Motion to Continue/Reschedule Hearing) Parties agreed
                                           to reset confirmation hearing to June 17, 2024 at 9:00 am. The Court will
05/13/2024                                 enter an order. (trc4) (Entered: 05/13/2024)

                        324                Order Setting Hearing Signed on 5/13/2024 (Related document(s):194
                        (1 pg)             Chapter 11 Plan, Hearing scheduled for 6/17/2024 at 09:00 AM at
05/13/2024                                 Houston, Courtroom 403 (JPN). (mar4) (Entered: 05/13/2024)

                        325
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 5/13/2024
                                           12:59:45 PM ]. File Size [ 1392 KB ]. Run Time [ 00:02:54 ]. (admin).
05/13/2024                                 (Entered: 05/13/2024)

                        326                Notice of Revised Proposed Order. (Related document(s):210 Motion for
                        (13 pgs; 3 docs)   Sale of Property, 224 Generic Order) Filed by Christopher R Murray
                                           (Attachments: # 1 Exhibit A - Revised Proposed Order # 2 Exhibit B -
                                           Redline of Revised Proposed Order) (Shannon, R. J.) (Entered:
05/13/2024                                 05/13/2024)

                        327                Motion to Vacate. Objections/Request for Hearing Due in 21 days (related
                        (10 pgs; 2 docs)   document(s):254 Order on Motion for Sale of Property under Section
                                           363(b)). Filed by Debtor Galleria 2425 Owner, LLC Hearing scheduled for
                                           6/18/2024 at 11:00 AM at Houston, Courtroom 403 (JPN). (Attachments: #
05/13/2024                                 1 Proposed Order) (Baker, Reese) (Entered: 05/13/2024)

                        328                Declaration re: Unsworn Declaration of Mailing (Filed By National Bank
                        (13 pgs; 3 docs)   of Kuwait, S.A.K.P., New York Branch ).(Related document(s):194
                                           Chapter 11 Plan, 290 Declaration, 324 Order Setting Hearing)
                                           (Attachments: # 1 Exhibit A - Amended Confirmation Hearing Notice # 2
05/14/2024                                 Exhibit B - Mailing List) (Conrad, Charles) (Entered: 05/14/2024)

                        329                Notice of Withdrawal of Counsel for Ali Choudhri. Filed by Ali Choudhri
05/14/2024              (2 pgs)            (Brown, Deirdre) (Entered: 05/14/2024)

                        330                Motion to Vacate. Objections/Request for Hearing Due in 21 days (related
                        (12 pgs; 3 docs)   document(s):205 Application to Employ). Filed by Debtor Galleria 2425
                                           Owner, LLC Hearing scheduled for 6/18/2024 at 11:00 AM at Houston,
                                           Courtroom 403 (JPN). (Attachments: # 1 Proposed Order Denying
                                           employment # 2 Proposed Order Vacating Order) (Baker, Reese). Related
                                           document(s) 257 Order on Application to Employ. Modified on 5/15/2024
05/14/2024                                 (MarioRios). (Entered: 05/14/2024)

                        331                Order Denying Motion To Vacate (Related Doc # 330) Signed on
05/15/2024              (3 pgs)            5/15/2024. (mar4) (Entered: 05/15/2024)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD            Page 35 of 431
                        332                Notice Second Notice of Revised Proposed Order Regarding Sale of
                        (18 pgs; 4 docs)   Claims Against Sonder. (Related document(s):210 Motion for Sale of
                                           Property) Filed by Christopher R Murray (Attachments: # 1 Proposed
                                           Order Exhibit A - Second Revised Proposed Order # 2 Proposed Order
                                           Exhibit B - Redline to Original Proposed Order # 3 Proposed Order
                                           Exhibit C - Redline to First Revised Proposed Order) (Murray,
05/15/2024                                 Christopher) (Entered: 05/15/2024)

                        333                Courtroom Minutes. Time Hearing Held: 11:00. Appearances: RJ Shannon
                                           for the Trustee, Stephen Sather for 2425 WLLC, Mack Wilson for Sonder,
                                           Andrew Troop for NBK, and Ali Choudhri for self/ pro se. (Related
                                           document(s):210 Motion for Sale of Property) Evidentiary hearing held.
                                           Chris Murray sworn. Direct and cross examination conducted. Arguments
                                           heard. Relief requested is granted. The Court will sign the proposed order
05/15/2024                                 at docket #332-1. (trc4) (Entered: 05/15/2024)

                        334
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 5/15/2024
                                           11:12:50 AM ]. File Size [ 257 KB ]. Run Time [ 00:00:32 ]. (admin).
05/15/2024                                 (Entered: 05/15/2024)

                        335
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 5/15/2024
                                           11:30:08 AM ]. File Size [ 689 KB ]. Run Time [ 00:01:26 ]. (admin).
05/15/2024                                 (Entered: 05/15/2024)

                        336
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 5/15/2024
                                           11:40:46 AM ]. File Size [ 13223 KB ]. Run Time [ 00:27:33 ]. (admin).
05/15/2024                                 (Entered: 05/15/2024)

                        337                Order Granting Motion For Sale of Property under Section 363(b) (Related
05/15/2024              (4 pgs)            Doc # 210) Signed on 5/15/2024. (mar4) (Entered: 05/15/2024)

                        338                Order Granting Motion in Part / Order on Motion for New Trial (Related
05/15/2024              (2 pgs)            Doc # 327) Signed on 5/15/2024. (mar4) (Entered: 05/15/2024)

                        339                BNC Certificate of Mailing. (Related document(s):321 Order on Motion to
                        (4 pgs)            Strike) No. of Notices: 6. Notice Date 05/15/2024. (Admin.) (Entered:
05/15/2024                                 05/15/2024)

                        340                BNC Certificate of Mailing. (Related document(s):324 Order Setting
                        (4 pgs)            Hearing) No. of Notices: 6. Notice Date 05/15/2024. (Admin.) (Entered:
05/15/2024                                 05/15/2024)

                        341                AO 435 TRANSCRIPT ORDER FORM (Expedited (7 days)) by National
                        (2 pgs)            Bank of Kuwait, S.A.K.P., New York Branch / Charles Conrad. This is to
                                           order a transcript of Hearing on May 13, 2024 before Judge Jeffrey P.
                                           Norman. Court Reporter/Transcriber: Veritext Legal Solutions (Filed By
                                           National Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad, Charles)
                                           Transcript request electronically forwarded to Veritext Legal Solutions on
                                           05/20/2024. Estimated Transcript Completion Date: 05/27/2024. Modified
05/16/2024                                 on 5/20/2024 (DMcKinnieRichardson). (Entered: 05/16/2024)

05/16/2024              342                AO 435 TRANSCRIPT ORDER FORM (Expedited (7 days)) by National
                        (2 pgs)            Bank of Kuwait, S.A.K.P., New York Branch / Charles Conrad. This is to
                                           order a transcript of Hearing on May 15, 2024 before Judge Jeffrey P.
                                           Norman. Court Reporter/Transcriber: Veritext Legal Solutions (Filed By
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD            Page 36 of 431
                                           National Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad, Charles)
                                           Transcript request electronically forwarded to Veritext Legal Solutions on
                                           05/20/2024. Estimated Transcript Completion Date: 05/27/2024. Modified
                                           on 5/20/2024 (DMcKinnieRichardson). (Entered: 05/16/2024)

                        343                Response/Objection Filed by National Bank of Kuwait, S.A.K.P., New
                        (21 pgs; 3 docs)   York Branch. (Related document(s):302 Amended Chapter 11 Plan, 303
                                           Disclosure Statement) (Attachments: # 1 Exhibit A Proposed Order # 2
05/17/2024                                 Service List) (Troop, Andrew) (Entered: 05/17/2024)

                        344                Motion to Vacate. Objections/Request for Hearing Due in 21 days (related
                        (27 pgs; 3 docs)   document(s):276 Order Setting Hearing). Filed by Debtor Galleria 2425
                                           Owner, LLC Hearing scheduled for 7/9/2024 at 11:00 AM at Houston,
                                           Courtroom 403 (JPN). (Attachments: # 1 Exhibit Objection to NBK
                                           Disclosure Statement # 2 Proposed Order) (Baker, Reese) (Entered:
05/17/2024                                 05/17/2024)

                        345                BNC Certificate of Mailing. (Related document(s):331 Order on Motion to
                        (7 pgs)            Vacate) No. of Notices: 40. Notice Date 05/17/2024. (Admin.) (Entered:
05/17/2024                                 05/17/2024)

                        346                BNC Certificate of Mailing. (Related document(s):338 Order on Motion to
                        (6 pgs)            Vacate) No. of Notices: 40. Notice Date 05/17/2024. (Admin.) (Entered:
05/17/2024                                 05/17/2024)

                        347                BNC Certificate of Mailing. (Related document(s):337 Order on Motion
                        (7 pgs)            for Sale of Property under Section 363(b)) No. of Notices: 6. Notice Date
05/17/2024                                 05/17/2024. (Admin.) (Entered: 05/17/2024)

                        348                Motion to Extend Time to Respond to Objections to Disclosure STatement
                        (6 pgs; 2 docs)    Filed by Creditor 2425 WL, LLC (Attachments: # 1 Proposed Order)
05/20/2024                                 (Sather, Stephen) (Entered: 05/20/2024)

                        349                Order Granting Motion to Extend Time. Deadline is Extended to 5:00
                        (1 pg)             PM on May 21, 2024. (Related Doc # 348) Signed on 5/20/2024. (mar4)
05/20/2024                                 (Entered: 05/20/2024)

                        350                Notice of Intent to Take Deposition of Charles Murray, Trustee. Filed by
05/20/2024              (13 pgs)           2425 WL, LLC (Sather, Stephen) (Entered: 05/20/2024)

                        351                Notice of Intent to Take Deposition of National Bank of Kuwait. Filed by
05/20/2024              (14 pgs)           2425 WL, LLC (Sather, Stephen) (Entered: 05/20/2024)

                        352                Motion for Authority to Purse Claims on Behalf of the Estate Filed by
                        (59 pgs; 2 docs)   Creditor 2425 WL, LLC Hearing scheduled for 6/18/2024 at 11:00 AM at
                                           Houston, Courtroom 403 (JPN). (Attachments: # 1 Proposed Order)
05/20/2024                                 (Sather, Stephen) (Entered: 05/20/2024)

                        353                Motion to Prohibit Credit Bidding by National Bank of Kuwait Filed by
                        (30 pgs; 2 docs)   Creditors 2425 WL, LLC, Ali Choudhri Hearing scheduled for 6/18/2024
                                           at 11:00 AM at Houston, Courtroom 403 (JPN). (Attachments: # 1
05/20/2024                                 Proposed Order) (Sather, Stephen) (Entered: 05/20/2024)

                        354                Operating Report for Filing Period April 2024, $72,710.85 disbursed
                        (14 pgs)           (Filed By Christopher R Murray ). (Murray, Christopher) (Entered:
05/21/2024                                 05/21/2024)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD            Page 37 of 431
                        355                Order Resetting Hearing Signed on 5/21/2024 (Related document(s):353
                        (1 pg)             Generic Motion) Hearing rescheduled for 6/17/2024 at 09:00 AM at
05/21/2024                                 Houston, Courtroom 403 (JPN). (mar4) (Entered: 05/21/2024)

                        356                Order Resetting Hearing Signed on 5/21/2024 (Related document(s):352
                        (1 pg)             Generic Motion) Hearing rescheduled for 7/1/2024 at 09:00 AM at
05/21/2024                                 Houston, Courtroom 403 (JPN). (mar4) (Entered: 05/21/2024)

                        357                Order Denying Motion (Related Doc # 240) Signed on 5/21/2024. (mar4)
05/21/2024              (1 pg)             (Entered: 05/21/2024)

                        358                Emergency Motion to Extend Time to Respond to Objection to Disclosure
                        (6 pgs; 2 docs)    Statement filed by National Bank of Kuwait Filed by Creditor Ali Choudhri
05/21/2024                                 (Attachments: # 1 Proposed Order) (dm4) (Entered: 05/21/2024)

                        359                Order Denying Motion To Vacate (Related Doc # 344) Signed on
05/21/2024              (3 pgs)            5/21/2024. (mar4) (Entered: 05/21/2024)

                        360                Emergency Motion to Extend Time to Respond Filed by Creditor Ali
05/21/2024              (8 pgs; 2 docs)    Choudhri (Attachments: # 1 Proposed Order) (bli4) (Entered: 05/21/2024)

                        361                Statement National Bank of Kuwait, S.A.K.P., New York Branch's
                        (8 pgs; 2 docs)    Statement Regarding Emergency Motion to Extend Time to Respond to
                                           Objection to Disclosure Statement filed by National Bank of Kuwait (Filed
                                           By National Bank of Kuwait, S.A.K.P., New York Branch ).(Related
                                           document(s):358 Emergency Motion, 360 Emergency Motion)
05/21/2024                                 (Attachments: # 1 Service List) (Troop, Andrew) (Entered: 05/21/2024)

                        362                Order Denying Emergency Motion (Related Doc # 360) Signed on
05/21/2024              (1 pg)             5/21/2024. (mar4) (Entered: 05/21/2024)

                        363                Certificate Of Service (Filed By 2425 WL, LLC ).(Related
                        (6 pgs)            document(s):352 Generic Motion, 353 Generic Motion) (Sather, Stephen)
05/21/2024                                 Modified on 5/21/2024 (ChrisKrus). (Entered: 05/21/2024)

                        364                Response to Objections to Disclosure Statement filed by National Bank of
05/21/2024              (12 pgs)           Kuwait. Filed by 2425 WL, LLC (Sather, Stephen) (Entered: 05/21/2024)

                        365                Fourth Amended Chapter 11 Plan Filed by 2425 WL, LLC, Galleria 2425
05/21/2024              (24 pgs)           Owner, LLC. (Sather, Stephen) (Entered: 05/21/2024)

                        366                Amended Disclosure Statement Filed by 2425 WL, LLC, Galleria 2425
                        (129 pgs)          Owner, LLC. (Related document(s):303 Disclosure Statement) (Sather,
05/21/2024                                 Stephen) (Entered: 05/21/2024)

                        367                Notice of Redlined Fourth Amended Joint Plan and Redlined Disclosure
                        (69 pgs; 3 docs)   Statement for Fourth Amended Joint Plan. (Related document(s):309
                                           Order Setting Hearing) Filed by 2425 WL, LLC, Galleria 2425 Owner,
                                           LLC (Attachments: # 1 Redlined Fourth Amended Joint Plan # 2 Redlined
                                           Disclosure Statement for Fourth Amended Joint Plan) (Sather, Stephen)
05/21/2024                                 (Entered: 05/21/2024)

                        368                Order Canceling Status Conference and Requiring Repleading Signed on
                        (1 pg)             5/22/2024 (Related document(s):303 Disclosure Statement) (mar4)
05/22/2024                                 (Entered: 05/22/2024)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD            Page 38 of 431
                        369                BNC Certificate of Mailing. (Related document(s):349 Order on Motion to
                        (4 pgs)            Extend Time) No. of Notices: 6. Notice Date 05/22/2024. (Admin.)
05/22/2024                                 (Entered: 05/22/2024)

                        370                Notice of Deficiency Regarding a Bankruptcy Appeal (Related
                        (1 pg)             document(s):287 Notice of Appeal, 296 Notice of Appeal) (bwl4)
05/23/2024                                 (Entered: 05/23/2024)

                        371                AO 435 TRANSCRIPT ORDER FORM (Ordinary (30 days)) by Chyna
                        (1 pg)             Christensen. This is to order a transcript of Trustee Emergency Motion for
                                           Interim & Final Orders Authorizing Use of Cash Collateral & Ex Parte
                                           Motion to Expedite Hearing on 04/05/2024 before Judge Jeffrey P.
                                           Norman. Court Reporter/Transcriber: Access Transcripts (Filed By 2425
                                           WL, LLC ). (Sather, Stephen) Copy request electronically forwarded to
                                           Veritext Legal Solutions on 5/24/2024. Estimated completion date is
05/23/2024                                 6/24/2024. Modified on 5/24/2024 (DanielBerger). (Entered: 05/23/2024)

                        372                BNC Certificate of Mailing. (Related document(s):359 Order on Motion to
                        (7 pgs)            Vacate) No. of Notices: 40. Notice Date 05/23/2024. (Admin.) (Entered:
05/23/2024                                 05/23/2024)

                        373                BNC Certificate of Mailing. (Related document(s):355 Order Setting
                        (4 pgs)            Hearing) No. of Notices: 6. Notice Date 05/23/2024. (Admin.) (Entered:
05/23/2024                                 05/23/2024)

                        374                BNC Certificate of Mailing. (Related document(s):356 Order Setting
                        (4 pgs)            Hearing) No. of Notices: 6. Notice Date 05/23/2024. (Admin.) (Entered:
05/23/2024                                 05/23/2024)

                        375                BNC Certificate of Mailing. (Related document(s):357 Generic Order) No.
05/23/2024              (4 pgs)            of Notices: 6. Notice Date 05/23/2024. (Admin.) (Entered: 05/23/2024)

                        376                BNC Certificate of Mailing. (Related document(s):362 Order on
                        (4 pgs)            Emergency Motion) No. of Notices: 6. Notice Date 05/23/2024. (Admin.)
05/23/2024                                 (Entered: 05/23/2024)

                        377                Fifth Amended Chapter 11 Plan Filed by 2425 WL, LLC, Galleria 2425
                        (109 pgs)          Owner, LLC. (Related document(s):95 Chapter 11 Plan) (Sather, Stephen)
05/24/2024                                 (Entered: 05/24/2024)

                        378                Disclosure Statement Filed by 2425 WL, LLC, Galleria 2425 Owner, LLC.
05/24/2024              (129 pgs)          (Sather, Stephen) (Entered: 05/24/2024)

                        379                BNC Certificate of Mailing. (Related document(s):368 Generic Order) No.
05/24/2024              (4 pgs)            of Notices: 6. Notice Date 05/24/2024. (Admin.) (Entered: 05/24/2024)

                        380                Appellant Designation of Contents For Inclusion in Record On Appeal
                        (3 pgs)            (related document(s):287 Notice of Appeal, 296 Notice of Appeal).
05/27/2024                                 (Sather, Stephen) (Entered: 05/27/2024)

                        381                Motion To Stay Pending Appeal (related document(s):337 Order on
                        (12 pgs; 2 docs)   Motion for Sale of Property under Section 363(b))., Emergency Motion
                                           Filed by Creditor Sonder USA Inc. (Attachments: # 1 Proposed Order)
05/28/2024                                 (Wilson, Broocks) (Entered: 05/28/2024)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD            Page 39 of 431
                        382                Transcript RE: hearing held on 5/13/24 before Judge JEFFREY P.
                        (6 pgs; 2 docs)    NORMAN. Transcript is available for viewing in the Clerk's Office.
                                           Within 21 days, parties are advised to comply with privacy requirements
                                           of Fed. R. Bank. P. 9037, ensuring that certain protected information is
                                           redacted from transcripts prior to their availability on PACER. Filed by
                                           Transcript access will be restricted through 08/26/2024.
05/28/2024                                 (VeritextLegalSolutions) (Entered: 05/28/2024)

                        383                Transcript RE: hearing held on 5/15/24 before Judge JEFFREY P.
                        (26 pgs; 2 docs)   NORMAN. Transcript is available for viewing in the Clerk's Office.
                                           Within 21 days, parties are advised to comply with privacy requirements
                                           of Fed. R. Bank. P. 9037, ensuring that certain protected information is
                                           redacted from transcripts prior to their availability on PACER. Filed by
                                           Transcript access will be restricted through 08/26/2024.
05/28/2024                                 (VeritextLegalSolutions) (Entered: 05/28/2024)

                        384                Order Approving Disclosure Statement and Setting Hearing on
                        (1 pg)             Confirmation Signed on 5/28/2024 (Related document(s):378 Disclosure
                                           Statement) Confirmation hearing to be held on 6/17/2024 at 09:00 AM
                                           at Houston, Courtroom 403 (JPN). Last day to Object to Confirmation
05/28/2024                                 6/10/2024. (trc4) (Entered: 05/28/2024)

                        385                Order Setting Hearing Signed on 5/28/2024 (Related document(s):381
                        (1 pg)             Motion To Stay Pending Appeal) Hearing scheduled for 6/4/2024 at
                                           10:00 AM at Houston, Courtroom 403 (JPN). (trc4) (Entered:
05/28/2024                                 05/28/2024)

                        386                Certificate of Service (Filed By Sonder USA Inc. ).(Related
                        (4 pgs)            document(s):385 Order Setting Hearing) (Wilson, Broocks) (Entered:
05/29/2024                                 05/29/2024)

                        387                Notice of Appeal filed. (related document(s):337 Order on Motion for Sale
                        (2 pgs)            of Property under Section 363(b)). Fee Amount $298. Appellant
05/29/2024                                 Designation due by 06/12/2024. (Wilson, Broocks) (Entered: 05/29/2024)

                        388                  Election to Appeal to District Court regarding Sonder USA Inc.'s Notice
05/29/2024                                   of Appeal. (Wilson, Broocks) (Entered: 05/29/2024)

                                             Receipt of Notice of Appeal( 23-34815) [appeal,ntcapl] ( 298.00) Filing
                                             Fee. Receipt number AXXXXXXXX. Fee amount $ 298.00. (U.S. Treasury)
05/29/2024                                   (Entered: 05/29/2024)

                        389                  Objection (related document(s):381 Motion To Stay Pending Appeal,
                        (6 pgs)              Emergency Motion). Filed by 2425 WL, LLC (Sather, Stephen)
05/29/2024                                   (Entered: 05/29/2024)

                        390                  Response and Limited Objection to Sonder USA Inc.'s Motion to Modify
                        (3 pgs)              the Stay to Allow Liquidation of Claim (related document(s):115 Motion
                                             for Relief From Stay). Filed by Christopher R Murray (Shannon, R. J.)
05/29/2024                                   (Entered: 05/29/2024)

                        391                  Certificate of Service (Filed By 2425 WL, LLC ).(Related
                        (4 pgs)              document(s):377 Amended Chapter 11 Plan, 378 Disclosure Statement,
                                             384 Order Approving Disclosure Statement) (Sather, Stephen) (Entered:
05/30/2024                                   05/30/2024)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD            Page 40 of 431
                        392                  BNC Certificate of Mailing. (Related document(s):384 Order Approving
                        (5 pgs)              Disclosure Statement) No. of Notices: 40. Notice Date 05/30/2024.
05/30/2024                                   (Admin.) (Entered: 05/30/2024)

                        393                  BNC Certificate of Mailing. (Related document(s):385 Order Setting
                        (4 pgs)              Hearing) No. of Notices: 6. Notice Date 05/30/2024. (Admin.) (Entered:
05/30/2024                                   05/30/2024)

                        394                  Certificate of Service (Amended) (Filed By 2425 WL, LLC ).(Related
                        (4 pgs)              document(s):377 Amended Chapter 11 Plan, 378 Disclosure Statement,
                                             384 Order Approving Disclosure Statement) (Sather, Stephen) (Entered:
05/31/2024                                   05/31/2024)

                        395                  Motion to Withdraw as Attorney. Objections/Request for Hearing Due
                        (4 pgs; 2 docs)      in 21 days. Filed by Defendant Azeemeh Zaheer (Attachments: # 1
05/31/2024                                   Proposed Order) (Drinnon, Rodney) (Entered: 05/31/2024)

                        396                  BNC Certificate of Mailing. (Related document(s):382 Transcript) No.
05/31/2024              (4 pgs)              of Notices: 6. Notice Date 05/31/2024. (Admin.) (Entered: 05/31/2024)

                        397                  BNC Certificate of Mailing. (Related document(s):383 Transcript) No.
05/31/2024              (4 pgs)              of Notices: 6. Notice Date 05/31/2024. (Admin.) (Entered: 05/31/2024)

                        398                  Clerk's Notice of Filing of an Appeal. On 05/29/2034, Sonder USA Inc.
                        (1 pg)               filed a notice of appeal. The appeal has been assigned to U.S. District
                                             Judge Keith P Ellison, Civil Action 24cv02073. Parties notified (Related
06/03/2024                                   document(s):387 Notice of Appeal) (hl4) (Entered: 06/03/2024)

                        399                  Order Denying Motion To Withdraw As Attorney (Related Doc # 395)
06/03/2024              (1 pg)               Signed on 6/3/2024. (trc4) (Entered: 06/03/2024)

                        400                  Exhibit List, Witness List (Filed By Sonder USA Inc. ).(Related
                        (515 pgs; 10 docs)   document(s):385 Order Setting Hearing) (Attachments: # 1 Exhibit 1 -
                                             Sonder POC # 2 Exhibit 2 - NBK Plan # 3 Exhibit 3 - Motion to Sell # 4
                                             Objection to NBK Claim # 5 Exhibit 5 - Revised Sale Order Notice
                                             (5.13) # 6 Exhibit 6 - ECF 336 # 7 Exhibit 7 - Sale Order # 8 Exhibit 8 -
                                             Debtor's Plan # 9 Exhibit 9 - Notice of Appeal) (Wilson, Broocks)
06/03/2024                                   (Entered: 06/03/2024)

                        401                  Objection to Confirmation of Plan Filed by 2425 WL, LLC. (Related
                        (12 pgs)             document(s):194 Chapter 11 Plan) (Sather, Stephen) (Entered:
06/03/2024                                   06/03/2024)

                        402                  Objection to Claim Number 7 by Claimant 2425 WL LLC Hearing
                        (255 pgs; 15 docs)   scheduled for 7/24/2024 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                             (Attachments: # 1 Proposed Order # 2 Declaration of Christopher R.
                                             Murray # 3 Exhibit A - 2425 WL Deed of Trust # 4 Exhibit B - Foreign
                                             Registration Application # 5 Exhibit C - NBK Loan Agreement # 6
                                             Exhibit D - NBK Note # 7 Exhibit E - NBK Deed of Trust # 8 Exhibit F
                                             - NBK Assignment of Leases and Rents # 9 Exhibit G - Sworn
                                             Document Transferring Tax Lien # 10 Exhibit H - Tax Lien Contract #
                                             11 Exhibit I - Galleria 2425 JV Company Agreement # 12 Exhibit J -
                                             Galleria 2425 JV Unanimous Consent # 13 Exhibit K - 2425 WL
                                             Promissory Note # 14 Exhibit L - Settlement Statement for 2018
06/03/2024                                   Transaction) (Shannon, R. J.) (Entered: 06/03/2024)
        Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD             Page 41 of 431
                        403                 Objection to Claim Number 21,22 by Claimant Ali Choudhri Hearing
                        (35 pgs; 5 docs)    scheduled for 7/24/2024 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                            (Attachments: # 1 Proposed Order # 2 Declaration of Christopher R.
                                            Murray # 3 Exhibit A - Assignment from Choudhri to NBK # 4 Exhibit
                                            B - Confidential Settlement Agreement) (Shannon, R. J.) (Entered:
06/03/2024                                  06/03/2024)

                        404                 Objection to Claim Number 23,24 by Claimant Jetall Capital, LLC
                        (9 pgs; 3 docs)     Hearing scheduled for 7/24/2024 at 11:00 AM at Houston, Courtroom
                                            403 (JPN). (Attachments: # 1 Proposed Order # 2 Declaration of
06/03/2024                                  Christopher R. Murray) (Shannon, R. J.) (Entered: 06/03/2024)

                        405                 Adversary case 24-03117. Nature of Suit: (13 (Recovery of
                        (221 pgs; 9 docs)   money/property - 548 fraudulent transfer)),(14 (Recovery of
                                            money/property - other)), (91 (Declaratory judgment)),(81
                                            (Subordination of claim or interest)) Complaint by Christopher Murray
                                            against Jetall Companies, Inc.. Fee Amount $350 (Attachments: # 1
                                            Adversary Coversheet # 2 Exhibit A - Jetall Lease with Amendments # 3
                                            Exhibit B - 2018 Deed to Debtor # 4 Exhibit C - Settlement Statement
                                            to 2018 Transaction # 5 Exhibit D - NBK Loan Agreement # 6 Exhibit E
                                            - NBK Note # 7 Exhibit F - NBK Deed of Trust # 8 Exhibit G - NBK
                                            Assignment of Leases and Rents) (Shannon, R. J.) (Entered:
06/03/2024                                  06/03/2024)

                        406                 Motion to Continue Hearing On (related document(s):194 Chapter 11
                        (7 pgs; 2 docs)     Plan, 377 Amended Chapter 11 Plan). Filed by Creditor 2425 WL, LLC
                                            Hearing scheduled for 6/4/2024 at 10:00 AM at Houston, Courtroom
                                            403 (JPN). (Attachments: # 1 Proposed Order) (Sather, Stephen)
06/03/2024                                  (Entered: 06/03/2024)

                        407                 Motion to Continue Hearing On (related document(s):284 Objection to
                        (7 pgs; 2 docs)     Claim). Filed by Creditor 2425 WL, LLC Hearing scheduled for
                                            6/4/2024 at 10:00 AM at Houston, Courtroom 403 (JPN). (Attachments:
06/03/2024                                  # 1 Proposed Order) (Sather, Stephen) (Entered: 06/03/2024)

                        408                 Response to Sonder USA Inc's Emergency Motion for Limited Stay
                        (4 pgs)             Pending Appeal (related document(s):381 Motion To Stay Pending
                                            Appeal, Emergency Motion). Filed by Christopher R Murray (Shannon,
06/03/2024                                  R. J.) (Entered: 06/03/2024)

                        409                 Response/Objection Filed by Galleria 2425 Owner, LLC. (Related
06/03/2024              (21 pgs)            document(s):194 Chapter 11 Plan) (Baker, Reese) (Entered: 06/03/2024)

                        410                 Objection to Confirmation of Plan Filed by Arin-Air Inc.. (Related
                        (6 pgs)             document(s):377 Amended Chapter 11 Plan) (Cerasuolo, Gary)
06/03/2024                                  (Entered: 06/03/2024)

06/04/2024              411                 Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (44 pgs; 9 docs)    document(s):381 Motion To Stay Pending Appeal, Emergency Motion,
                                            406 Motion to Continue/Reschedule Hearing, 407 Motion to
                                            Continue/Reschedule Hearing) (Attachments: # 1 Exhibit 1 -NYS
                                            Department of State, Division of Corporations Entity Information for
                                            2425 WL LLC # 2 Exhibit 2 - NYS Department of State, Division of
                                            Corporations Filing History for 2425 WL LLC # 3 Exhibit 3 - Certified
                                            Copy of Articles of Organization of 2425 WL LLC # 4 Exhibit 4 -
                                            Certified Copy of Certificate of Publication of 2425 WL LLC # 5
                                            Exhibit 5 - Certified Copy of Special Warranty Deed from 2425 WL
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 42 of 431
                                           LLC to Galleria 2425 Owner, LLC # 6 Exhibit 6 - Settlement Statement
                                           Regarding 2018 Sale of Property from 2425 WL LLC to Galleria 2425
                                           Owner, LLC # 7 Exhibit 7 - Debtor's Original Petition [ECF No. 1] # 8
                                           Exhibit 8 - Debtor's Amended Petition [ECF No. 10]) (Shannon, R. J.)
                                           (Entered: 06/04/2024)

                        412                Order Striking Hearings On(Related Doc # 406 and # 407) Signed on
06/04/2024              (1 pg)             6/4/2024. (trc4) (Entered: 06/04/2024)

                        413                Emergency Motion for Continuance of Confirmation Hearings Filed by
                        (7 pgs; 2 docs)    Creditor 2425 WL, LLC (Attachments: # 1 Proposed Order) (Sather,
06/04/2024                                 Stephen) (Entered: 06/04/2024)

                        414                Emergency Motion for Continuance of Hearing on Objection to Claiim
                        (7 pgs; 2 docs)    of National Bank of Kuwait Filed by Creditor 2425 WL, LLC
                                           (Attachments: # 1 Proposed Order) (Sather, Stephen) (Entered:
06/04/2024                                 06/04/2024)

                        415                Order Striking Emergency Motions (Related Doc # 413), Striking
                        (1 pg)             Emergency Motion (Related Doc # 414) Signed on 6/4/2024. (trc4)
06/04/2024                                 (Entered: 06/04/2024)

                        416                Courtroom Minutes. Time Hearing Held: 10:00. Appearances: Broocks
                                           Wilson for Sonder USA, RJ Shannon for the Trustee, Stephen Sather for
                                           2425WL, Reese Baker for the Debtor, Charles Conrad and Andrew
                                           Troop for NBK. (Related document(s):381 Emergency Motion To Stay
                                           Pending Appeal) Arguments heard. Sonder exhibits at docket 400-1 thru
                                           400-9 were admitted. Matter taken under advisement. (trc4) (Entered:
06/04/2024                                 06/04/2024)

                        417
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 6/4/2024
                                           9:59:46 AM ]. File Size [ 6104 KB ]. Run Time [ 00:12:43 ]. (admin).
06/04/2024                                 (Entered: 06/04/2024)

                        418                Order Setting Hearing Signed on 6/4/2024 (Related document(s): 406
                        (1 pg)             and 407 Motions to Continue) Status conference on Objection to
                                           Claim 284 to be held on 6/18/2024 at 11:00 AM at Houston,
                                           Courtroom 403 (JPN). Parties ordered to confer and determine
06/04/2024                                 confirmation hearing date. (trc4) (Entered: 06/04/2024)

                        419                Order Denying Stay Pending Appeal (Related Doc # 381) Signed on
06/04/2024              (1 pg)             6/4/2024. (trc4) (Entered: 06/04/2024)

                        420                Amended Motion to Withdraw as Attorney. Objections/Request for
                        (7 pgs; 2 docs)    Hearing Due in 21 days. Filed by Defendant Azeemeh Zaheer Hearing
                                           scheduled for 7/9/2024 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                           (Attachments: # 1 Proposed Order) (Drinnon, Rodney) (Entered:
06/04/2024                                 06/04/2024)

                        421                AO 435 TRANSCRIPT ORDER FORM (Expedited (7 days)) by
                        (2 pgs)            Broocks "Mack" Wilson. This is to order a transcript of Hearing May
                                           15, 2024 before Judge Jeffrey P. Norman. Court Reporter/Transcriber:
                                           Veritext Legal Solutions (Filed By Sonder USA Inc. ). (Lim, Lloyd)
                                           Copy request electronically forwarded to Veritext Legal Solutions on
                                           06/06/24. Transcript estimated date of completion: 06/13/24. Modified
06/04/2024                                 on 6/6/2024 (DMcKinnieRichardson). (Entered: 06/04/2024)
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD             Page 43 of 431
                        422                  Witness List (Filed By 2425 WL, LLC ).(Related document(s):353
                        (369 pgs; 13 docs)   Generic Motion) (Attachments: # 1 Exhibit 1: Claim 13 # 2 Exhibit 2:
                                             Claim 14 # 3 Exhibit 3: Amended Objection to Claims of Natinal Bank
                                             of Kuwait # 4 Exhibit 4: Second Amended Petition # 5 Exhibit 5:
                                             Motion for Entry of Order Authorizing Creditor to Pursue Estate Claims
                                             # 6 Exhibit 6: Letter from Stephen Sather to Christopher Murray # 7
                                             Exhibit 7: Complaint in Adv. Non. 23-6009 # 8 Exhibit 8: Information
                                             from Jerry Alexander # 9 Exhibit 9: Fact Sheet from Jerry Alexander #
                                             10 Exhibit 10: Email from RJ Shannon # 11 Exhibit 11: Notice of Rule
                                             2004 Exam of National Bank of Kuwait # 12 Exhibit 12: Final Order on
                                             Motion for Use of Cash Collateral) (Sather, Stephen) (Entered:
06/04/2024                                   06/04/2024)

                        423                  Notice of Appeal filed. (related document(s):276 Order Setting Hearing,
                        (7 pgs; 3 docs)      359 Order on Motion to Vacate). Fee Amount $298. Appellant
                                             Designation due by 06/18/2024. (Attachments: # 1 Exhibit 276 Order
                                             Approving Disclosure Statement # 2 Exhibit 359 Order Denying
06/04/2024                                   Motion) (Baker, Reese) (Entered: 06/04/2024)

                        424                  Courtroom Minutes. Time Hearing Held: 9:30. Appearances: Mack
                                             Wilson for Sonder USA, Reese Baker for the Debtor, RJ Shannon for
                                             the Trustee. (Related document(s):115 Motion for Relief From Stay)
                                             Parties agreed to continue this matter. Hearing rescheduled for
                                             7/9/2024 at 09:30 AM at Houston, Courtroom 403 (JPN). Stay to
06/05/2024                                   remain in effect. (trc4) (Entered: 06/05/2024)

                        425
                        (1 pg)                   PDF with attached Audio File. Court Date & Time [ 6/5/2024
                                             9:29:46 AM ]. File Size [ 1793 KB ]. Run Time [ 00:03:44 ]. (admin).
06/05/2024                                   (Entered: 06/05/2024)

06/05/2024              426                  Election to Appeal to District Court . (bwl4) (Entered: 06/05/2024)

                        427                  Clerk's Notice of Filing of an Appeal. On 06/04/2024, Galleria 2425
                        (1 pg)               Owner, LLC filed a notice of appeal. The appeal has been assigned to
                                             U.S. District Judge Keith P Ellison, Civil Action 4:24cv2111. Parties
                                             notified (Related document(s):423 Notice of Appeal) (bwl4) (Entered:
06/05/2024                                   06/05/2024)

                        428                  Notice - Ballot Summary regarding the Chapter 11 Plan of Liquidation
                        (18 pgs; 2 docs)     of the Debtor by National Bank of Kuwait S.A.K.P., New York Branch.
                                             (Related document(s):194 Chapter 11 Plan, 195 Disclosure Statement,
                                             276 Order Setting Hearing) Filed by Christopher R Murray
                                             (Attachments: # 1 Exhibit A - Ballots Actually Received by Close of
06/05/2024                                   Business on June 3, 2024) (Shannon, R. J.) (Entered: 06/05/2024)

                        429                  Appellee Designation of Contents for Inclusion in Record of Appeal
                        (6 pgs)              (related document(s):287 Notice of Appeal, 296 Notice of Appeal).
06/05/2024                                   (Shannon, R. J.) (Entered: 06/05/2024)

                        430                  Response (related document(s):284 Objection to Claim). (Attachments:
                        (10 pgs; 2 docs)     # 1 Exhibit A - Proposed Order) (Conrad, Charles) (Entered:
06/05/2024                                   06/05/2024)
        Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD            Page 44 of 431
                        431                BNC Certificate of Mailing. (Related document(s):399 Order on Motion
                        (4 pgs)            to Withdraw as Attorney) No. of Notices: 6. Notice Date 06/05/2024.
06/05/2024                                 (Admin.) (Entered: 06/05/2024)

                        432                BNC Certificate of Mailing. (Related document(s):398 Clerk's Notice of
                        (4 pgs)            Filing of an Appeal) No. of Notices: 6. Notice Date 06/05/2024.
06/05/2024                                 (Admin.) (Entered: 06/05/2024)

                        433                BNC Certificate of Mailing. (Related document(s):412 Order on Motion
                        (4 pgs)            to Continue/Reschedule Hearing) No. of Notices: 7. Notice Date
06/06/2024                                 06/06/2024. (Admin.) (Entered: 06/06/2024)

                        434                BNC Certificate of Mailing. (Related document(s):415 Order on
                        (4 pgs)            Emergency Motion) No. of Notices: 7. Notice Date 06/06/2024.
06/06/2024                                 (Admin.) (Entered: 06/06/2024)

                        435                BNC Certificate of Mailing. (Related document(s):418 Order Setting
                        (4 pgs)            Hearing) No. of Notices: 7. Notice Date 06/06/2024. (Admin.) (Entered:
06/06/2024                                 06/06/2024)

                        436                BNC Certificate of Mailing. (Related document(s):419 Order on Motion
                        (4 pgs)            To Stay Pending Appeal) No. of Notices: 7. Notice Date 06/06/2024.
06/06/2024                                 (Admin.) (Entered: 06/06/2024)

                        437                Notice - Contract & Cure Schedule. (Related document(s):254 Order on
                        (3 pgs)            Motion for Sale of Property under Section 363(b), 266 Notice) Filed by
06/07/2024                                 Christopher R Murray (Shannon, R. J.) (Entered: 06/07/2024)

                        438                Certificate of Service regarding Assumption & Assignment Notice,
                        (16 pgs; 6 docs)   Contract & Cure Schedule, and Notice of Plans of Reorganization
                                           (Filed By Christopher R Murray ).(Related document(s):254 Order on
                                           Motion for Sale of Property under Section 363(b), 266 Notice, 437
                                           Notice) (Attachments: # 1 Exhibit 1 - Notice of Assumption and
                                           Assignment Procedures 266 # 2 Exhibit 2 - Contract and Cure Schedule
                                           # 3 Exhibit 3 - Notice of Plans of Reorganization Proposed in
                                           Bankruptcy Case # 4 Exhibit 4 - U.S.P.S. Service List # 5 Exhibit 5 -
06/07/2024                                 Email Service List) (Shannon, R. J.) (Entered: 06/07/2024)

                        439                Notice of Appearance and Request for Notice Filed by Mark Edwin
                        (2 pgs)            Smith Filed by on behalf of 2425 WL, LLC (Smith, Mark) (Entered:
06/07/2024                                 06/07/2024)

                        440                Objection National Bank of Kuwait, S.A.K.P., New York Branch's
                        (30 pgs; 4 docs)   Limited Objection to Motion to Continue Hearings on Confirmation of
                                           Plan Filed by National Bank of Kuwait and Joint Plan Proposed by
                                           2425 WL, LLC and Debtor, and Sale of Property (related
                                           document(s):406 Motion to Continue/Reschedule Hearing). Filed by
                                           National Bank of Kuwait, S.A.K.P., New York Branch (Attachments: #
                                           1 Exhibit A # 2 Exhibit B # 3 Service List) (Troop, Andrew) (Entered:
06/07/2024                                 06/07/2024)

06/07/2024              441                Additional Attachments Re: SUPPLEMENT TO EMERGENCY
                        (7 pgs)            MOTION TO CONTINUE HEARING ON CONFIRMATION OF PLAN
                                           FILED BY NATIONAL BANK OF KUWAIT AND JOINT PLAN
                                           PROPOSED BY 2425 WL, LLC AND DEBTOR (related
                                           document(s):406 Motion to Continue/Reschedule Hearing) (Filed By
        Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD            Page 45 of 431
                                           2425 WL, LLC ).(Related document(s):406 Motion to
                                           Continue/Reschedule Hearing) (Smith, Mark) (Entered: 06/07/2024)

                        442                Additional Attachments Re: AMENDED SUPPLEMENT TO
                        (8 pgs; 2 docs)    EMERGENCY MOTION TO CONTINUE HEARING ON
                                           CONFIRMATION OF PLAN FILED BY NATIONAL BANK OF
                                           KUWAIT AND JOINT PLAN PROPOSED BY 2425 WL, LLC AND
                                           DEBTOR (related document(s):406 Motion to Continue/Reschedule
                                           Hearing) (Filed By 2425 WL, LLC ).(Related document(s):406 Motion
                                           to Continue/Reschedule Hearing) (Attachments: # 1 Exhibit A) (Smith,
06/07/2024                                 Mark) (Entered: 06/07/2024)

                        443                Additional Attachments Re: SECOND AMENDED SUPPLEMENT TO
                        (8 pgs; 2 docs)    EMERGENCY MOTION TO CONTINUE HEARING ON
                                           CONFIRMATION OF PLAN FILED BY NATIONAL BANK OF
                                           KUWAIT AND JOINT PLAN PROPOSED BY 2425 WL, LLC AND
                                           DEBTOR (related document(s):406 Motion to Continue/Reschedule
                                           Hearing, 441 Additional Attachments, 442 Additional Attachments)
                                           (Filed By 2425 WL, LLC ).(Related document(s):406 Motion to
                                           Continue/Reschedule Hearing, 441 Additional Attachments, 442
                                           Additional Attachments) (Attachments: # 1 Exhibit A) (Smith, Mark)
06/07/2024                                 (Entered: 06/07/2024)

                        444                Adversary case 24-03120. Nature of Suit: (02 (Other (e.g. other actions
                        (37 pgs; 5 docs)   that would have been brought in state court if unrelated to bankruptcy)))
                                           Notice of Removal Ali Choudhri. Fee Amount $350 (Attachments: # 1
                                           Exhibit A Docket Sheet # 2 Exhibit B Original Petition # 3 Exhibit C
                                           Amended Petition # 4 Exhibit D Second Amended Petition) (Conrad,
06/07/2024                                 Charles) (Entered: 06/07/2024)

                        445                Notice of Appearance and Request for Notice Filed by David Neal Stern
                        (2 pgs)            Filed by on behalf of 2425 WL, LLC (Stern, David) (Entered:
06/07/2024                                 06/07/2024)

                        446                BNC Certificate of Mailing. (Related document(s):427 Clerk's Notice of
                        (4 pgs)            Filing of an Appeal) No. of Notices: 7. Notice Date 06/07/2024.
06/07/2024                                 (Admin.) (Entered: 06/07/2024)

                        447                Additional Attachments Re: National Bank of Kuwait, S.A.K.P., New
                        (8 pgs; 2 docs)    York Branch's Supplement To Its Limited Objection to Motion to
                                           Continue Hearings on Confirmation of Plan Filed by National Bank of
                                           Kuwait and Joint Plan Proposed by 2425 WL, LLC and the Debtor, and
                                           Sale of Property (related document(s):440 Objection) (Filed By
                                           National Bank of Kuwait, S.A.K.P., New York Branch ).(Related
                                           document(s):440 Objection) (Attachments: # 1 Exhibit A - Proposed
06/09/2024                                 Order) (Conrad, Charles) (Entered: 06/09/2024)

                        448                Emergency Motion National Bank of Kuwait, S.A.K.P., New York
                        (15 pgs; 3 docs)   Branch's Emergency Motion to (I) Vacate Order Approving 2425 WL,
                                           LLC and Debtor's Disclosure Statement, (II) Suspend Solicitation of
                                           Votes, and (III) Cancel Confirmation Hearing Filed by Creditor
                                           National Bank of Kuwait, S.A.K.P., New York Branch (Attachments: #
                                           1 Exhibit A Proposed Order # 2 Service List) (Conrad, Charles)
06/09/2024                                 (Entered: 06/09/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 46 of 431
                        449                Certificate Supplemental Certificate of Service (Filed By National Bank
                        (6 pgs)            of Kuwait, S.A.K.P., New York Branch ).(Related document(s):447
06/09/2024                                 Additional Attachments) (Conrad, Charles) (Entered: 06/09/2024)

                        450                Order Setting Response Deadline Signed on 6/10/2024 (Related
06/10/2024              (1 pg)             document(s):448 Emergency Motion) (mar4) (Entered: 06/10/2024)

                                           ENTRY MADE FOR ADMINISTRATIVE PURPOSES Hearing Set On
                                           (Related document(s):378 Disclosure Statement) Hearing scheduled
                                           for 6/17/2024 at 09:00 AM at Houston, Courtroom 403 (JPN). See
06/10/2024                                 also ECF#384. (mar4) (Entered: 06/10/2024)

                        451                Order Denying Motion To Continue/Reschedule Hearing On(Related
06/10/2024              (1 pg)             Doc # 406) Signed on 6/10/2024. (mar4) (Entered: 06/10/2024)

                                           Hearing Set On (Related document(s):194 Chapter 11 Plan, 377
                                           Amended Chapter 11 Plan) Hearing scheduled for 6/17/2024 at 09:00
06/10/2024                                 AM at Houston, Courtroom 403 (JPN). (mar4) (Entered: 06/10/2024)

                        452                Status Report (Filed By Christopher R Murray ).(Related
                        (2 pgs)            document(s):254 Order on Motion for Sale of Property under Section
06/10/2024                                 363(b)) (Murray, Christopher) (Entered: 06/10/2024)

                                           Receipt of Notice of Appeal( 23-34815) [appeal,ntcapl] ( 298.00) Filing
                                           Fee. Receipt number AXXXXXXXX. Fee amount $ 298.00. (U.S. Treasury)
06/10/2024                                 (Entered: 06/10/2024)

                        453                Objection to Confirmation of Plan Filed by CC2 TX, LLC. (Related
                        (5 pgs)            document(s):377 Amended Chapter 11 Plan) (Spector, Howard)
06/10/2024                                 (Entered: 06/10/2024)

                        454                Objection to Confirmation of Plan Filed by CC2 TX, LLC. (Related
                        (5 pgs)            document(s):194 Chapter 11 Plan) (Spector, Howard) (Entered:
06/10/2024                                 06/10/2024)

                        455                Objection (related document(s):353 Generic Motion). Filed by National
                        (30 pgs; 6 docs)   Bank of Kuwait, S.A.K.P., New York Branch (Attachments: # 1 Exhibit
                                           A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D Proposed Order # 5 Service
06/10/2024                                 List) (Conrad, Charles) (Entered: 06/10/2024)

                        456                Disclosure of Compensation of Attorney for Debtor (Filed By Galleria
06/10/2024              (4 pgs)            2425 Owner, LLC ). (Baker, Reese) (Entered: 06/10/2024)

                        457                Response/Objection Filed by National Bank of Kuwait, S.A.K.P., New
                        (25 pgs; 3 docs)   York Branch. (Related document(s):377 Amended Chapter 11 Plan)
                                           (Attachments: # 1 Exhibit A Proposed Order # 2 Service List) (Conrad,
06/10/2024                                 Charles) (Entered: 06/10/2024)

                        458                Notice Of Appearance. Filed by Galleria 2425 Owner, LLC (Steidley,
06/10/2024              (2 pgs)            Jeffrey) (Entered: 06/10/2024)

                        459                Objection to Confirmation of Plan Filed by Christopher R Murray.
                        (3 pgs)            (Related document(s):377 Amended Chapter 11 Plan, 378 Disclosure
06/10/2024                                 Statement) (Shannon, R. J.) (Entered: 06/10/2024)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD            Page 47 of 431
                        460                  Objection to Galleria 2524 Owner, LLC and 2425 WL, LLC's Proposed
                        (8 pgs; 2 docs)      Chapter 11 Plan. Filed by Rodney Drinnon (Attachments: # 1 Proposed
06/10/2024                                   Order) (Drinnon, Rodney) (Entered: 06/10/2024)

                        461                  Notice of Appearance and Request for Notice Filed by Patrick L Hughes
                        (3 pgs)              Filed by on behalf of Landry's Inc. (Hughes, Patrick) (Entered:
06/10/2024                                   06/10/2024)

                        462                  Objection to Confirmation of Plan Filed by Harris County, ATTN:
                        (4 pgs)              Property Tax Division. (Related document(s):377 Amended Chapter 11
06/10/2024                                   Plan) (Fuertes, Susan) (Entered: 06/10/2024)

                        463                  Emergency Motion OF GALLERIA 2425 OWNER, LLC (i) TO
                        (14 pgs; 3 docs)     PROHIBIT CREDIT BIDDING BY NATIONAL BANK OF KUWAIT,
                                             S.A.K.P., NEW YORK BRANCH (NBK), (ii) TO CONTINUE AUCTION
                                             SALE OF PROPERTY AT 2425 WEST LOOP SOUTH, (iii) TO ALLOW
                                             2425 WL, LLC TO PURSUE CLAIMS AGAINST NBK, AND (iv)
                                             OTHER MATTERS Filed by Debtor Galleria 2425 Owner, LLC
                                             (Attachments: # 1 Proposed Order # 2 Exhibit 1 Email from attorney for
06/10/2024                                   trustee) (Baker, Reese) (Entered: 06/10/2024)

                        464                  Emergency Motion to Compel National Bank of Kuwait to Produce a
                        (476 pgs; 12 docs)   Prepared Witness(es) and for Other Relief Filed by Creditor 2425 WL,
                                             LLC (Attachments: # 1 Exhibit Exhibit 1 # 2 Exhibit Exhibit 2 # 3
                                             Exhibit Exhibit 3 # 4 Exhibit Exhibit 4 # 5 Exhibit Exhibit 5 # 6 Exhibit
                                             Exhibit 6 # 7 Exhibit Exhibit 7 # 8 Exhibit Exhibit 8 # 9 Exhibit Exhibit
                                             9 # 10 Proposed Order Proposed Order # 11 Service List) (Smith, Mark)
06/10/2024                                   (Entered: 06/10/2024)

                        465                  Order Denying Emergency Motion (Related Doc # 464) Signed on
06/11/2024              (1 pg)               6/11/2024. (mar4) (Entered: 06/11/2024)

                        466                  Order Denying Emergency Motion (Related Doc # 463) Signed on
06/11/2024              (1 pg)               6/11/2024. (mar4) (Entered: 06/11/2024)

                        467                  Emergency Motion of the Trustee for Protective Order, or in the
                        (148 pgs; 18 docs)   Alternative, to Quash and Related Relief Filed by Trustee Christopher R
                                             Murray (Attachments: # 1 Proposed Order # 2 Index of Exhibits # 3
                                             Exhibit A - Notice of Proposed Deposition # 4 Exhibit B - Notice of
                                             June 6 Deposition # 5 Exhibit C - June 5, 2024, Communications # 6
                                             Exhibit D - Email Cancelling June 6 Deposition # 7 Exhibit E -
                                             Notification Email Indicating A. Choudhri Accessing Trustee's
                                             Production # 8 Exhibit F - Trustee's Notice of Deposition of 2425 WL
                                             LLC # 9 Exhibit G - Trustee's Notice of Deposition of the Debtor # 10
                                             Exhibit H - Trustee's Deposition Subpoena re 2425 WL LLC # 11
                                             Exhibit I - Trustee's Document Subpoena re 2425 WL LLC # 12 Exhibit
                                             J - Trustee's Deposition Subpoena re Debtor # 13 Exhibit K - Trustee's
                                             Document Subpoena re Debtor # 14 Exhibit L - May 16, 2024,
                                             Communication re Trustee's Availability # 15 Exhibit M - June 10,
                                             2024, Communication re Rescheduling Deposition # 16 Exhibit N -
                                             June 10, 2024, at 11:42 p.m. Email Sending Notice of Proposed
                                             Deposition # 17 Exhibit O - June 11, 2024, Email re Alternative
06/11/2024                                   Arrangements) (Shannon, R. J.) (Entered: 06/11/2024)

06/11/2024              468                  Order Granting in Part and Setting Hearing Signed on 6/11/2024
                        (2 pgs)              (Related document(s):467 Emergency Motion) Hearing scheduled for
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 48 of 431
                                           6/17/2024 at 09:00 AM at Houston, Courtroom 403 (JPN). (mar4)
                                           (Entered: 06/11/2024)

                        469                Emergency Motion Emergency Verified Motion to Authorize National
                        (20 pgs; 4 docs)   Bank of Kuwait, S.A.K.P., New York Branch to Vote on Galleria 2425
                                           Owner, LLC and 2425 WL, LLC's Fifth Amended Joint Chapter 11 Plan
                                           of Reorganization Filed by Creditor National Bank of Kuwait, S.A.K.P.,
                                           New York Branch (Attachments: # 1 Exhibit A Ballots # 2 Exhibit B
                                           Proposed Order # 3 Service List) (Troop, Andrew) (Entered:
06/11/2024                                 06/11/2024)

                        470                Notice Notice of Intent to Adduce Testimony from a Remote Location by
                        (7 pgs)            Telephone and Video Technology. (Related document(s):377 Amended
                                           Chapter 11 Plan) Filed by National Bank of Kuwait, S.A.K.P., New
06/11/2024                                 York Branch (Troop, Andrew) (Entered: 06/11/2024)

                        471                Notice Notice of Intent to Adduce Testimony from a Remote Location by
                        (7 pgs)            Telephone and Video Technology. (Related document(s):377 Amended
                                           Chapter 11 Plan) Filed by National Bank of Kuwait, S.A.K.P., New
06/11/2024                                 York Branch (Troop, Andrew) (Entered: 06/11/2024)

                        472                Order Setting Hearing and to Show Cause Signed on 6/12/2024 (Related
                        (1 pg)             document(s):469 Emergency Motion to Authorize National Bank of
                                           Kuwait, SAKP, New York Branch to vote on Fifth Amended Plan)
                                           Hearing scheduled for 6/14/2024 at 10:00 AM at Houston,
06/12/2024                                 Courtroom 403 (JPN). (trc4) (Entered: 06/12/2024)

                        473                Notice Notice of Hearing. (Related document(s):469 Emergency
                        (7 pgs)            Motion, 472 Order Setting Hearing) Filed by National Bank of Kuwait,
06/12/2024                                 S.A.K.P., New York Branch (Troop, Andrew) (Entered: 06/12/2024)

                        474                Withdraw Document (Filed By 2425 WL, LLC ).(Related
                        (2 pgs)            document(s):377 Amended Chapter 11 Plan, 378 Disclosure Statement)
06/12/2024                                 (Stern, David) (Entered: 06/12/2024)

                        475                Response (Filed By 2425 WL, LLC ).(Related document(s):448
06/12/2024              (6 pgs)            Emergency Motion) (Stern, David) (Entered: 06/12/2024)

                        476                BNC Certificate of Mailing. (Related document(s):450 Generic Order)
                        (5 pgs)            No. of Notices: 7. Notice Date 06/12/2024. (Admin.) (Entered:
06/12/2024                                 06/12/2024)

                        477                BNC Certificate of Mailing. (Related document(s):451 Order on Motion
                        (5 pgs)            to Continue/Reschedule Hearing) No. of Notices: 7. Notice Date
06/12/2024                                 06/12/2024. (Admin.) (Entered: 06/12/2024)

                        478                Notice of Intent to Adduce Testimony from a Remote LOcation by
                        (5 pgs; 2 docs)    Telephone and Video Technology. Filed by 2425 WL, LLC
06/12/2024                                 (Attachments: # 1 Service List) (Smith, Mark) (Entered: 06/12/2024)

                        479                Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)    LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                           2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark) (Entered:
06/12/2024                                 06/12/2024)
        Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD          Page 49 of 431
                        480               Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)   LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                          2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark) (Entered:
06/12/2024                                06/12/2024)

                        481               Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)   LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                          2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark) (Entered:
06/12/2024                                06/12/2024)

                        482               Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)   LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                          2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark) (Entered:
06/12/2024                                06/12/2024)

                        483               Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)   LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                          2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark) (Entered:
06/12/2024                                06/12/2024)

                        484                Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)    LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                           2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark)
06/12/2024                                 (Entered: 06/12/2024)

                        485                Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)    LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                           2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark)
06/13/2024                                 (Entered: 06/13/2024)

                        486                Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)    LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                           2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark)
06/13/2024                                 (Entered: 06/13/2024)

                        487                Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)    LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                           2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark)
06/13/2024                                 (Entered: 06/13/2024)

                        488                Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)    LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                           2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark)
06/13/2024                                 (Entered: 06/13/2024)

                        489                Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)    LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                           2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark)
06/13/2024                                 (Entered: 06/13/2024)

                        490                Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)    LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                           2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark)
06/13/2024                                 (Entered: 06/13/2024)
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD              Page 50 of 431
                        491                   Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)       LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                              2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark)
06/13/2024                                    (Entered: 06/13/2024)

                        492                   Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)       LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                              2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark)
06/13/2024                                    (Entered: 06/13/2024)

                        493                   Notice OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE
                        (5 pgs; 2 docs)       LOCATION BY TELEPHONE AND VIDEO TECHNOLOGY. Filed by
                                              2425 WL, LLC (Attachments: # 1 Service List) (Smith, Mark)
06/13/2024                                    (Entered: 06/13/2024)

                        494                   Order Mooting Emergency Motion (Related Doc # 469) Signed on
06/13/2024              (1 pg)                6/13/2024. (mar4) (Entered: 06/13/2024)

                        495                   Order Mooting Emergency Motion (Related Doc # 448) Signed on
06/13/2024              (1 pg)                6/13/2024. (mar4) (Entered: 06/13/2024)

                        496                   Exhibit List (Filed By Arin-Air Inc. ).(Related document(s):410
                        (12 pgs; 2 docs)      Objection to Confirmation of the Plan) (Attachments: # 1 Exhibit
06/13/2024                                    Exhibit 1) (Cerasuolo, Gary) (Entered: 06/13/2024)

                        497                   Exhibit List (Filed By City of Houston, Houston Community College
                        (11 pgs; 4 docs)      System, Houston ISD ).(Related document(s):194 Chapter 11 Plan,
                                              285 Objection to Confirmation of the Plan, 286 Objection to
                                              Confirmation of the Plan, 377 Amended Chapter 11 Plan)
                                              (Attachments: # 1 Exhibit 1 - City of Houston Tax Statement # 2
                                              Exhibit 2 - Houston ISD Statement # 3 Exhibit 3 - HCCS Statement)
06/13/2024                                    (Andresen, Jeannie) (Entered: 06/13/2024)

                        498                   Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (360 pgs; 24 docs)    document(s):194 Chapter 11 Plan, 353 Generic Motion) (Attachments:
                                              # 1 Exhibit # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit # 6 Exhibit
                                              # 7 Exhibit # 8 Exhibit # 9 Exhibit # 10 Exhibit # 11 Exhibit # 12
                                              Exhibit # 13 Exhibit # 14 Exhibit # 15 Exhibit # 16 Exhibit # 17
                                              Exhibit # 18 Exhibit # 19 Exhibit # 20 Exhibit # 21 Exhibit # 22
06/13/2024                                    Exhibit # 23 Exhibit) (Shannon, R. J.) (Entered: 06/13/2024)

06/13/2024              499                   Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (3038 pgs; 92 docs)   (Related document(s):194 Chapter 11 Plan, 353 Generic Motion)
                                              (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 #
                                              5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                                              Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14
                                              Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18
                                              Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21 # 22
                                              Exhibit 22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26
                                              Exhibit 26 # 27 Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30
                                              Exhibit 30 # 31 Exhibit 31 # 32 Exhibit 32 # 33 Exhibit 33 # 34
                                              Exhibit 34 # 35 Exhibit 35 # 36 Exhibit 36 # 37 Exhibit 37 # 38
                                              Exhibit 38 # 39 Exhibit 39 # 40 Exhibit 40 # 41 Exhibit 41 # 42
                                              Exhibit 42 # 43 Exhibit 44 # 44 Exhibit 45 # 45 Exhibit 46 # 46
                                              Exhibit 47 # 47 Exhibit 48 # 48 Exhibit 49 # 49 Exhibit 50 # 50
                                              Exhibit 51 # 51 Exhibit 52 # 52 Exhibit 53 # 53 Exhibit 54 # 54
                                              Exhibit 55 # 55 Exhibit 56 # 56 Exhibit 57 # 57 Exhibit 58 # 58
        Case 4:24-cv-04836    Document 8-1        Filed on 04/23/25 in TXSD            Page 51 of 431
                                              Exhibit 59 # 59 Exhibit 60 # 60 Exhibit 61 # 61 Exhibit 62 # 62
                                              Exhibit 63 # 63 Exhibit 64 # 64 Exhibit 65 # 65 Exhibit 66 # 66
                                              Exhibit 67 # 67 Exhibit 68 # 68 Exhibit 69 # 69 Exhibit 70 # 70
                                              Exhibit 71 # 71 Exhibit 72 # 72 Exhibit 73 # 73 Exhibit 74 # 74
                                              Exhibit 75 # 75 Exhibit 76 # 76 Exhibit 77 # 77 Exhibit 78 # 78
                                              Exhibit 79 # 79 Exhibit 80 # 80 Exhibit 81 # 81 Exhibit 82 # 82
                                              Exhibit 83 # 83 Exhibit 84 # 84 Exhibit 85 # 85 Exhibit 86 # 86
                                              Exhibit 87 # 87 Exhibit 88 # 88 Exhibit 89 # 89 Exhibit 90 # 90
                                              Exhibit 91 # 91 Exhibit 92) (Baker, Reese) (Entered: 06/13/2024)

                        500                   Exhibit List (Filed By 2425 WL, LLC ). (Attachments: # 1 EXHIBIT 1
                        (636 pgs; 16 docs)    # 2 EXHIBIT 2 # 3 EXHIBIT 3 # 4 EXHIBIT 4 # 5 EXHIBIT 5 # 6
                                              EXHIBIT 6 # 7 EXHIBIT 7 # 8 EXHIBIT 8 # 9 EXHIBIT 9 # 10
                                              EXHIBIT 10 # 11 EXHIBIT 11 # 12 EXHIBIT 12 # 13 EXHIBIT 13 #
                                              14 EXHIBIT 14 # 15 EXHIBIT 15) (Smith, Mark) (Entered:
06/13/2024                                    06/13/2024)

                        501                   Witness List, Exhibit List (Filed By National Bank of Kuwait,
                        (1298 pgs; 22 docs)   S.A.K.P., New York Branch ).(Related document(s):194 Chapter 11
                                              Plan) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
                                              Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                                              Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit
                                              13 # 14 Exhibit 15 # 15 Exhibit 16 # 16 Exhibit 17 # 17 Exhibit 18 #
                                              18 Exhibit 19 # 19 Exhibit 20 # 20 Exhibit 21 # 21 Exhibit 22) (Troop,
06/13/2024                                    Andrew) (Entered: 06/13/2024)

                        502                   Witness List (Filed By Jetall Companies, Inc. ). (MacGeorge, Jennifer)
06/13/2024              (6 pgs)               (Entered: 06/13/2024)

                        503                   Exhibit List (Filed By 2425 WL, LLC ).(Related document(s):500
                        (1177 pgs; 25 docs)   Exhibit List) (Attachments: # 1 EXHIBIT 16 # 2 EXHIBIT 17 # 3
                                              EXHIBIT 18 # 4 EXHIBIT 19 # 5 EXHIBIT 20 # 6 EXHIBIT 21 # 7
                                              EXHIBIT 22 # 8 EXHIBIT 23 # 9 EXHIBIT 24 # 10 EXHIBIT 25 #
                                              11 EXHIBIT 26 # 12 EXHIBIT 27 # 13 EXHIBIT 28 # 14 EXHIBIT
                                              30 # 15 EXHIBIT 31 # 16 EXHIBIT 32 # 17 EXHIBIT 33 # 18
                                              EXHIBIT 34 # 19 EXHIBIT 35 # 20 EXHIBIT 36 # 21 EXHIBIT 37 #
                                              22 EXHIBIT 38 # 23 EXHIBIT 39 # 24 EXHIBIT 40) (Smith, Mark)
06/13/2024                                    (Entered: 06/13/2024)

                        504                   Exhibit List (Filed By 2425 WL, LLC ).(Related document(s):500
                        (1238 pgs; 54 docs)   Exhibit List, 503 Exhibit List) (Attachments: # 1 EXHIBIT 41 # 2
                                              EXHIBIT 42 # 3 Exhibit 43 # 4 EXHIBIT 44 # 5 EXHIBIT 45 # 6
                                              EXHIBIT 46 # 7 EXHIBIT 47 # 8 EXHIBIT 48 # 9 EXHIBIT 49 # 10
                                              EXHIBIT 50 # 11 EXHIBIT 51 # 12 EXHIBIT 52 # 13 EXHIBIT 53 #
                                              14 EXHIBIT 54 # 15 EXHIBIT 55 # 16 EXHIBIT 56 # 17 EXHIBIT
                                              57 # 18 EXHIBIT 58 # 19 EXHIBIT 59 # 20 EXHIBIT 60 # 21
                                              EXHIBIT 61 # 22 EXHIBIT 62 # 23 EXHIBIT 63 # 24 EXHIBIT 64 #
                                              25 EXHIBIT 65 # 26 EXHIBIT 66 # 27 EXHIBIT 67 # 28 EXHIBIT
                                              68 # 29 EXHIBIT 69 # 30 EXHIBIT 70 # 31 EXHIBIT 71 # 32
                                              EXHIBIT 72 # 33 EXHIBIT 73 # 34 EXHIBIT 74 # 35 EXHIBIT 75 #
                                              36 EXHIBIT 76 # 37 EXHIBIT 77 # 38 EXHIBIT 78 # 39 EXHIBIT
                                              79 # 40 EXHIBIT 80 # 41 EXHIBIT 81 # 42 EXHIBIT 82 # 43
                                              EXHIBIT 83 # 44 EXHIBIT 84 # 45 EXHIBIT 85 # 46 EXHIBIT 86 #
                                              47 EXHIBIT 87 # 48 EXHIBIT 88 # 49 EXHIBIT 89 # 50 EXHIBIT
                                              90 # 51 EXHIBIT 91 # 52 EXHIBIT 92 # 53 EXHIBIT 29) (Smith,
06/13/2024                                    Mark) (Entered: 06/13/2024)
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 52 of 431
                        505                  Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (145 pgs; 17 docs)   document(s):467 Emergency Motion, 468 Order Setting Hearing)
                                             (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5
                                             Exhibit # 6 Exhibit # 7 Exhibit # 8 Exhibit # 9 Exhibit # 10 Exhibit #
                                             11 Exhibit # 12 Exhibit # 13 Exhibit # 14 Exhibit # 15 Exhibit # 16
06/13/2024                                   Exhibit) (Shannon, R. J.) (Entered: 06/13/2024)

                        506                  Emergency Motion to Cancel Plan Confirmation Hearing Scheduled
                        (10 pgs; 2 docs)     for June 17, 2024, For Failure to Comply With Service Obligations
                                             Filed by Creditor 2425 WL, LLC (Attachments: # 1 Proposed Order)
06/13/2024                                   (Stern, David) (Entered: 06/13/2024)

                        507                  Order Denying Emergency Motion (Related Doc # 506) Signed on
06/13/2024              (1 pg)               6/13/2024. (mar4) (Entered: 06/13/2024)

                        508                  Witness List, Exhibit List (Filed By National Bank of Kuwait,
                        (216 pgs; 8 docs)    S.A.K.P., New York Branch ).(Related document(s):353 Generic
                                             Motion) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
                                             Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7) (Troop, Andrew)
06/13/2024                                   (Entered: 06/13/2024)

                        509                  Exhibit List, Witness List (Filed By Ali Choudhri ). (srh4) (Entered:
06/13/2024              (6 pgs)              06/13/2024)

                        510                  BNC Certificate of Mailing. (Related document(s):465 Order on
                        (5 pgs)              Emergency Motion) No. of Notices: 7. Notice Date 06/13/2024.
06/13/2024                                   (Admin.) (Entered: 06/13/2024)

                        511                  BNC Certificate of Mailing. (Related document(s):466 Order on
                        (5 pgs)              Emergency Motion) No. of Notices: 7. Notice Date 06/13/2024.
06/13/2024                                   (Admin.) (Entered: 06/13/2024)

                        512                  BNC Certificate of Mailing. (Related document(s):468 Order Setting
                        (6 pgs)              Hearing) No. of Notices: 7. Notice Date 06/13/2024. (Admin.)
06/13/2024                                   (Entered: 06/13/2024)

                        552
06/13/2024              (5 pgs)              Exhibit List (Filed By Ali Choudhri ). (dah4) (Entered: 06/20/2024)

                        553
06/13/2024              (5 pgs)              Exhibit List (Filed By Ali Choudhri ). (dah4) (Entered: 06/20/2024)

                        513                  Order Regarding Hearing Scheduled for June 17, 2024 Signed on
                        (2 pgs)              6/14/2024 (Related document(s):194 Chapter 11 Plan, 286 Objection
                                             to Confirmation of the Plan, 353 Generic Motion, 401 Objection to
                                             Confirmation of the Plan, 409 Response/Objection, 454 Objection to
                                             Confirmation of the Plan, 455 Objection, 467 Emergency Motion)
06/14/2024                                   (mar4) (Entered: 06/14/2024)

                        514                  Brief (Filed By National Bank of Kuwait, S.A.K.P., New York Branch
                        (231 pgs; 6 docs)    ).(Related document(s):194 Chapter 11 Plan) (Attachments: # 1 Carter
                                             Declaration # 2 Schedule 1 # 3 Exhibit A # 4 Exhibit B Proposed
                                             Confirmation Order # 5 Service List) (Troop, Andrew) (Entered:
06/14/2024                                   06/14/2024)
        Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD             Page 53 of 431
                        515                 Notice of Appearance and Request for Notice Filed by H. Gray Burks
                        (2 pgs)             IV Filed by on behalf of 2425 WL, LLC (Burks, H.) (Entered:
06/14/2024                                  06/14/2024)

                        516                 Notice Notice of Filing Plan Supplement to Chapter 11 Plan of
                        (36 pgs; 2 docs)    Liquidation of the Debtor by National Bank of Kuwait, S.A.K.P., New
                                            York Branch. (Related document(s):194 Chapter 11 Plan) Filed by
                                            National Bank of Kuwait, S.A.K.P., New York Branch (Attachments: #
06/14/2024                                  1 Service List) (Troop, Andrew) (Entered: 06/14/2024)

                        517                 Exhibit List (Filed By 2425 WL, LLC ).(Related document(s):500
                        (21 pgs; 4 docs)    Exhibit List) (Attachments: # 1 Exhibit 93 # 2 Exhibit 94 # 3 Exhibit
06/14/2024                                  95) (Burks, H.) (Entered: 06/14/2024)

                        518                 BNC Certificate of Mailing. (Related document(s):472 Order Setting
                        (5 pgs)             Hearing) No. of Notices: 7. Notice Date 06/14/2024. (Admin.)
06/14/2024                                  (Entered: 06/14/2024)

                        519                 Emergency Motion National Bank of Kuwait, S.A.K.P., New York
                        (7 pgs; 2 docs)     Branch's Emergency Motion in Limine to Exclude Pre-Settlement
                                            Claims Filed by Creditor National Bank of Kuwait, S.A.K.P., New
                                            York Branch (Attachments: # 1 Proposed Order) (Troop, Andrew)
06/15/2024                                  (Entered: 06/15/2024)

                        520                 Witness List (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (2 pgs)             Branch ).(Related document(s):353 Generic Motion, 508 Witness List,
06/15/2024                                  Exhibit List) (Troop, Andrew) (Entered: 06/15/2024)

                        521                 Exhibit List (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (462 pgs; 6 docs)   Branch ).(Related document(s):194 Chapter 11 Plan, 501 Witness List,
                                            Exhibit List) (Attachments: # 1 Exhibit 14 # 2 Exhibit 23 # 3 Exhibit
                                            24 # 4 Exhibit 25 # 5 Exhibit 26) (Troop, Andrew) (Entered:
06/15/2024                                  06/15/2024)

                        522                 BNC Certificate of Mailing. (Related document(s):494 Order on
                        (5 pgs)             Emergency Motion) No. of Notices: 7. Notice Date 06/15/2024.
06/15/2024                                  (Admin.) (Entered: 06/15/2024)

                        523                 BNC Certificate of Mailing. (Related document(s):495 Order on
                        (5 pgs)             Emergency Motion) No. of Notices: 7. Notice Date 06/15/2024.
06/15/2024                                  (Admin.) (Entered: 06/15/2024)

                        524                 BNC Certificate of Mailing. (Related document(s):507 Order on
                        (5 pgs)             Emergency Motion) No. of Notices: 8. Notice Date 06/15/2024.
06/15/2024                                  (Admin.) (Entered: 06/15/2024)

                        525                 Response to Motion in Limine (related document(s):519 Emergency
                        (5 pgs)             Motion). Filed by 2425 WL, LLC (Sather, Stephen) (Entered:
06/16/2024                                  06/16/2024)

                        526                 Supplemental Response/Objection Filed by 2425 WL, LLC. (Related
                        (14 pgs)            document(s):194 Chapter 11 Plan) (Sather, Stephen) (Entered:
06/16/2024                                  06/16/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD           Page 54 of 431
                        527                 Exhibit List (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (67 pgs; 4 docs)    Branch ).(Related document(s):194 Chapter 11 Plan, 501 Witness List,
                                            Exhibit List, 521 Exhibit List) (Attachments: # 1 Exhibit 28 # 2
06/16/2024                                  Exhibit 29 # 3 Exhibit 30) (Troop, Andrew) (Entered: 06/16/2024)

                        528                 Notice Notice of Filing Revised Findings of Fact, Conclusions of Law,
                        (100 pgs; 2 docs)   and Order Confirming Chapter 11 Plan of Liquidation of the Debtor by
                                            National Bank of Kuwait, S.A.K.P., New York Branch. (Related
                                            document(s):194 Chapter 11 Plan, 514 Brief, 521 Exhibit List) Filed
                                            by National Bank of Kuwait, S.A.K.P., New York Branch
                                            (Attachments: # 1 Service List) (Troop, Andrew) (Entered:
06/16/2024                                  06/16/2024)

                        529                 Response (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (12 pgs)            Branch ).(Related document(s):526 Response/Objection) (Troop,
06/16/2024                                  Andrew) (Entered: 06/16/2024)

                        530                 BNC Certificate of Mailing. (Related document(s):513 Generic Order)
                        (6 pgs)             No. of Notices: 8. Notice Date 06/16/2024. (Admin.) (Entered:
06/16/2024                                  06/16/2024)

                        531                 Exhibit List (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (12 pgs; 2 docs)    Branch ).(Related document(s):501 Witness List, Exhibit List, 508
                                            Witness List, Exhibit List, 521 Exhibit List, 527 Exhibit List)
                                            (Attachments: # 1 Exhibit 31 / Exhibit 8) (Troop, Andrew) (Entered:
06/17/2024                                  06/17/2024)

                        532                 Withdraw Document (Filed By CC2 TX, LLC ).(Related
                        (2 pgs)             document(s):454 Objection to Confirmation of the Plan) (Spector,
06/17/2024                                  Howard) (Entered: 06/17/2024)

                        533                 Order Denying Emergency Motion (Related Doc # 519) Signed on
06/17/2024              (1 pg)              6/17/2024. (mar4) (Entered: 06/17/2024)

                        534                 Objection to Authorize Creditor to Pursue Claims on Behalf of the
                        (8 pgs)             Estate (related document(s):352 Generic Motion). Filed by Christopher
06/17/2024                                  R Murray (Shannon, R. J.) (Entered: 06/17/2024)

                        535                 Order Denying Motion to Prohibit Credit Bidding (Related Doc # 353)
06/17/2024              (4 pgs)             Signed on 6/17/2024. (mar4) (Entered: 06/17/2024)

                        536                 Courtroom Minutes. Time Hearing Held: 9:00. Appearances: RJ
                                            Shannon for the Trustee, Mark Smith and Stephen Sather for 2425 WL.
                                            (Related document(s):467 Emergency Motion for Protective Order)
                                            Arguments heard. Exhibits at ECF No. 505-1 thru 505-16 were
                                            admitted. Exhibits at ECF No. 467-15, 467-16 and 467-17 were
06/17/2024                                  admitted. Matter taken under advisement. (trc4) (Entered: 06/18/2024)

06/17/2024              537                 Courtroom Minutes. Time Hearing Held: 9:00. Appearances: Ali
                                            Choudhri for self/pro se, Gray Burks and Stephen Sather for 2425 WL,
                                            Reese Baker for the Debtor, Patrick Fitzmaurice, Andrew Troop and
                                            Charles Conrad for National Bank of Kuwait. (Related Document 353
                                            Motion to Prohibit Credit Bidding) Evidentiary hearing held. Opening
                                            Statements made by all parties. Michael Carter, Russell Ingrum, Jerry
                                            Alexander, Jeff Steidley, Jim Wetwiska, Christopher Murray, Thomas
                                            Phillips, Charles Conrad, and RJ Shannon sworn. Direct and cross
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 55 of 431
                                            examinations conducted by counsel. Exhibits at ECF No. 499-6 thru
                                            499-10, 499-83 pages 2 thru 6 only, 508-7, 499-36, 499-41, 90-3, 90-8,
                                            498-1, 463-2, and 499-44 were admitted. The Court takes Judicial
                                            Notice of Proof of Claims 13-1, 14-1 and any objections, the Claims
                                            Register, the calendar for July 2023, and the Order at ECF No. 187.
                                            Closing arguments made by all parties. For the reasons stated on the
                                            record, relief requested is Denied. The Court will prepare and enter an
                                            order. Confirmation hearing continued to 6/19/2024 at 09:00 AM at
                                            Houston, Courtroom 403 (JPN). (trc4) (Entered: 06/18/2024)

                        538                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Ali
                        (2 pgs)             Choudhri. This is to order a transcript of proceedings held on
                                            6/17/2024 before Judge Jeffrey P. Norman. Court Reporter/Transcriber:
                                            Veritext Legal Solutions. (mew4) Transcript request electronically
                                            forwarded to Veritext Legal Solutions on 6/20/2024. Estimated
                                            completion date: 6/21/2024. Modified on 6/20/2024 (AaronJackson).
06/18/2024                                  (Entered: 06/18/2024)

                        539                 Ex Parte Motion to Seal Filed by Trustee Christopher R Murray
                        (22 pgs; 4 docs)    (Attachments: # 1 Proposed Order # 2 Exhibit A - Request No. 1
                                            Production Log # 3 Exhibit B - Privilege Log) (Shannon, R. J.)
06/18/2024                                  (Entered: 06/18/2024)

                        540                 Courtroom Minutes. Time Hearing Held: 11:00. Appearances: Andrew
                                            Troop for National Bank of Kuwait, Stephen Sather for 2425 WL,
                                            LLC. (Related document(s):284 Objection to Claim) Status conference
                                            held. Parties agree to discovery deadlines. Trial date set for September
                                            24, 2024. One day trial. The Court will enter a scheduling order setting
06/18/2024                                  date and deadlines. (trc4) (Entered: 06/18/2024)

                        541                 AO 435 TRANSCRIPT ORDER FORM (Expedited (7 days)) by
                        (2 pgs)             National Bank of Kuwait, S.A.K.P., New York Branch / Charles
                                            Conrad. This is to order a transcript of hearing held on June 17, 2024
                                            before Judge Jeffrey P. Norman. Court Reporter/Transcriber: Veritext
                                            Legal Solutions (Filed By National Bank of Kuwait, S.A.K.P., New
                                            York Branch ). (Conrad, Charles) Copy request electronically
                                            forwarded to Veritext Legal Solutions on 6/20/2024. Estimated
                                            completion date: 6/21/2024. Modified on 6/20/2024 (AaronJackson).
06/18/2024                                  (Entered: 06/18/2024)

                        542                 Order Granting Motion To Seal (Related Doc # 539) Signed on
06/18/2024              (1 pg)              6/18/2024. (mar4) (Entered: 06/18/2024)

                        543                 Scheduling Order Signed on 6/18/2024 (Related document(s):284
                        (2 pgs)             Objection to Claim, 430 Response) Discovery due by 8/23/2024. Trial
                                            date set for 9/24/2024 at 09:00 AM at Houston, Courtroom 403
06/18/2024                                  (JPN). (mar4) (Entered: 06/18/2024)

                        544
                        (1 pg)                  PDF with attached Audio File. Court Date & Time [ 6/18/2024
                                            10:59:43 AM ]. File Size [ 1601 KB ]. Run Time [ 00:03:20 ]. (admin).
06/18/2024                                  (Entered: 06/18/2024)

06/18/2024              545                 Record Transmitted under Rule 8010(b). On 06/18/2024, the appeal
                        (1 pg)              was transmitted to the U.S. District Court, assigned Judge Keith P
                                            Ellison, Civil Action 24cv1746. All appellate filings must now be
                                            made in the United States District Court with the civil action caption
        Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD             Page 56 of 431
                                            and case number. (Related document(s):287 Notice of Appeal, 296
                                            Notice of Appeal) (hl4) (Entered: 06/18/2024)

                        546                 Exhibit List (Filed By 2425 WL, LLC ).(Related document(s):517
                        (15 pgs; 7 docs)    Exhibit List) (Attachments: # 1 Exhibit 96 # 2 Exhibit 97 # 3 Exhibit
                                            98 # 4 Exhibit 99 # 5 Exhibit 100 # 6 Exhibit 101) (Burks, H.)
06/18/2024                                  (Entered: 06/18/2024)

                        547                 Notice of Withdrawal of Objection of Certain Taxing Authorities to
                        (2 pgs)             Chapter 11 Plan of Liquidation of NBK. (Related document(s):194
                                            Chapter 11 Plan, 286 Objection to Confirmation of the Plan, 528
                                            Notice) Filed by City of Houston, Houston Community College
06/18/2024                                  System, Houston ISD (Andresen, Jeannie) (Entered: 06/18/2024)

                        548                 Exhibit List, Witness List (Filed By Jetall Companies, Inc. ).
                        (93 pgs; 4 docs)    (Attachments: # 1 Exhibit Exhibit 94 # 2 Exhibit Exhibit 95 # 3
06/19/2024                                  Exhibit Exhibit 96) (MacGeorge, Jennifer) (Entered: 06/19/2024)

                        549                 Courtroom Minutes. Time Hearing Held: 9:00. Appearances: Andrew
                                            Troop, Patrick Fitzmaurice, Charles Conrad and Kwame Akuffo for
                                            National Bank of Kuwait, Reese Baker for the Debtor, RJ Shannon for
                                            the Trustee, Gray Burks and Stephen Sather for 2425WL,Jana
                                            Whitworth for the US Trustee. (Related document(s):194 Chapter 11
                                            Plan) Confirmation hearing held. Rule invoked. Parties stipulate to the
                                            admission of exhibits at ECF No. 501-1 thru 501-22, 499-1 thru 499-
                                            10, 499-12, 499-34, 546-1 thru 546-6. Ali Choudhri made an oral
                                            motion to continue hearing. Motion denied. Opening statements made.
                                            Michael Carter sworn. Direct and cross examination by counsel. ECF
                                            No. 508-7 admitted. The Court takes Judicial Notice of the proposed
                                            plan and the Claims Register. Chris Murray sworn. Direct and cross
                                            examination by counsel. ECF No. 428 was admitted. NBK rest. Allen
                                            Hollimon sworn. Direct and cross examination by counsel. Ali
                                            Choudhri sworn. Direct and cross examination by counsel. 2425 WL
                                            rest. Closing arguments. Matter taken under advisement. (trc4)
06/19/2024                                  (Entered: 06/19/2024)

                        550                 Appellant Designation of Contents For Inclusion in Record On Appeal
                        (3 pgs)             (related document(s):387 Notice of Appeal)., Statement of Issues on
                                            Appeal (related document(s):387 Notice of Appeal). (Wilson, Broocks)
06/19/2024                                  (Entered: 06/19/2024)

                        551                 BNC Certificate of Mailing. (Related document(s):533 Order on
                        (5 pgs)             Emergency Motion) No. of Notices: 8. Notice Date 06/19/2024.
06/19/2024                                  (Admin.) (Entered: 06/19/2024)

                        554                 Order Regarding Emergency Motion for Protective Order Signed on
                        (2 pgs)             6/20/2024 (Related document(s):467 Emergency Motion) (mar4)
06/20/2024                                  (Entered: 06/20/2024)

                        555                 Transcript RE: trial held on 1/31/24 before Judge JEFFREY P.
                        (227 pgs; 2 docs)   NORMAN. Transcript is available for viewing in the Clerk's Office.
                                            Within 21 days, parties are advised to comply with privacy
                                            requirements of Fed. R. Bank. P. 9037, ensuring that certain protected
                                            information is redacted from transcripts prior to their availability on
                                            PACER. Filed by Transcript access will be restricted through
06/20/2024                                  09/18/2024. (VeritextLegalSolutions) (Entered: 06/20/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 57 of 431
                        556                 BNC Certificate of Mailing. (Related document(s):535 Generic Order)
                        (8 pgs)             No. of Notices: 8. Notice Date 06/20/2024. (Admin.) (Entered:
06/20/2024                                  06/20/2024)

                        557                 BNC Certificate of Mailing. (Related document(s):543 Scheduling
                        (6 pgs)             Order) No. of Notices: 8. Notice Date 06/20/2024. (Admin.) (Entered:
06/20/2024                                  06/20/2024)

                        558                 BNC Certificate of Mailing. (Related document(s):542 Order on
                        (4 pgs)             Motion to Seal) No. of Notices: 1. Notice Date 06/20/2024. (Admin.)
06/20/2024                                  (Entered: 06/20/2024)

                        559                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Ali
                        (2 pgs)             Choudhri. This is to order a transcript of 6/19/24 Plan confirmation
                                            before Judge Jeffrey P. Norman. Court Reporter/Transcriber: Veritext
                                            Legal Solutions (Filed By Galleria 2425 Owner, LLC ). (cmk4)
                                            Transcript request electronically forwarded to Veritext Legal Solutions
                                            on 6/21/2024. Estimated completion date: 6/22/2024. Modified on
06/21/2024                                  6/21/2024 (AaronJackson). (Entered: 06/21/2024)

                        560                 AO 435 TRANSCRIPT ORDER FORM (Expedited (7 days)) by
                        (2 pgs)             National Bank of Kuwait, S.A.K.P., New York Branch / Charles
                                            Conrad. This is to order a transcript of proceeding held June 19, 2024
                                            before Judge Jeffrey P. Norman. Court Reporter/Transcriber: Veritext
                                            Legal Solutions (Filed By National Bank of Kuwait, S.A.K.P., New
                                            York Branch ). (Conrad, Charles) Transcript request electronically
                                            forwarded to Veritext Legal Solutions on 6/21/2024. Estimated
                                            completion date: 6/28/2024. Modified on 6/21/2024 (AaronJackson).
06/21/2024                                  (Entered: 06/21/2024)

                        561                 Notice of Successful Bidder, Backup Bidder, and Sale Hearing.
                        (5 pgs)             (Related document(s):254 Order on Motion for Sale of Property under
                                            Section 363(b), 264 Notice, 265 Notice) Filed by Christopher R
06/21/2024                                  Murray (Shannon, R. J.) (Entered: 06/21/2024)

                        562                 Motion of Debtor for Enforcement of Agreement with Hattie Kurth
                        (10 pgs; 4 docs)    Parker Filed by Debtor Galleria 2425 Owner, LLC Hearing scheduled
                                            for 8/7/2024 at 01:30 PM at Houston, Courtroom 403 (JPN).
                                            (Attachments: # 1 Proposed Order # 2 Exhibit Proposed order on May
                                            21, 2024 # 3 Exhibit Mailing matrix) (Baker, Reese) (Entered:
06/21/2024                                  06/21/2024)

                        563                 Notice of Withdrawal of Motion at docket 562 - filed in incorrect case.
                        (1 pg)              (Related document(s):562 Generic Motion) Filed by Galleria 2425
06/21/2024                                  Owner, LLC (Baker, Reese) (Entered: 06/21/2024)

                        564                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Ali
                        (1 pg)              Choudhri. This is to order a transcript of Plan Confirmation 6/19/24
                                            before Judge Jeffrey P. Norman. Court Reporter/Transcriber: GLR
                                            Transcribing Services (Filed By Galleria 2425 Owner, LLC ). (cmk4)
06/21/2024                                  (Entered: 06/21/2024)

                        565                 Memorandum Opinion of Bankruptcy Judge Signed on 6/22/2024
                        (18 pgs)            (Related document(s):194 Chapter 11 Plan) (trc4) (Entered:
06/22/2024                                  06/22/2024)
        Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD             Page 58 of 431
                        566                 Order Confirming Chapter 11 Plan of Liquidation of the Debtor by
                        (41 pgs)            National Bank of Kuwait, S.A.K.P New York Branch Signed on
                                            6/22/2024 (Related document(s):194 Chapter 11 Plan) (trc4) (Entered:
06/22/2024                                  06/22/2024)

                        567                 BNC Certificate of Mailing. (Related document(s):554 Generic Order)
                        (6 pgs)             No. of Notices: 8. Notice Date 06/22/2024. (Admin.) (Entered:
06/22/2024                                  06/22/2024)

                        568                 BNC Certificate of Mailing. (Related document(s):555 Transcript) No.
06/23/2024              (5 pgs)             of Notices: 8. Notice Date 06/23/2024. (Admin.) (Entered: 06/23/2024)

                        569                 Operating Report for Filing Period May 2024, $65702.46 disbursed
                        (12 pgs)            (Filed By Christopher R Murray ). (Murray, Christopher) (Entered:
06/24/2024                                  06/24/2024)

                        570                 Transcript RE: held on 06/19/24 before Judge JEFFREY P. NORMAN.
                        (270 pgs; 2 docs)   Transcript is available for viewing in the Clerk's Office. Within 21
                                            days, parties are advised to comply with privacy requirements of Fed.
                                            R. Bank. P. 9037, ensuring that certain protected information is
                                            redacted from transcripts prior to their availability on PACER. Filed by
                                            Transcript access will be restricted through 09/23/2024.
06/25/2024                                  (VeritextLegalSolutions) (Entered: 06/25/2024)

                        571                 Notice of Rule 2004 Examination of St. Christopher Holdings Ltd.
06/26/2024              (12 pgs)            Filed by Christopher R Murray (Shannon, R. J.) (Entered: 06/26/2024)

                        572                 BNC Certificate of Mailing. (Related document(s):566 Order
                        (46 pgs)            Confirming Chapter 11 Plan) No. of Notices: 42. Notice Date
06/26/2024                                  06/26/2024. (Admin.) (Entered: 06/26/2024)

                        573                 BNC Certificate of Mailing. (Related document(s):565 Opinion) No.
06/26/2024              (22 pgs)            of Notices: 8. Notice Date 06/26/2024. (Admin.) (Entered: 06/26/2024)

                        574                 Response (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (15 pgs; 3 docs)    Branch ).(Related document(s):352 Generic Motion, 534 Objection)
                                            (Attachments: # 1 Proposed Order # 2 Service List) (Troop, Andrew)
06/27/2024                                  (Entered: 06/27/2024)

                        575                 Application for Compensation and Reimbursement of Fees and
                        (21 pgs; 3 docs)    Expenses Pursuant to 11 U.S.C. § 506(b) and Fed.R.Bkr.P. 2016(a) for
                                            Howard Marc Spector, Creditor's Attorney, Period: 12/22/2023 to
                                            6/27/2024, Fee: $13702.50, Expenses: $66.87. Objections/Request for
                                            Hearing Due in 21 days. Filed by Attorney Howard Marc Spector
                                            Hearing scheduled for 7/24/2024 at 11:00 AM at Houston, Courtroom
                                            403 (JPN). (Attachments: # 1 Exhibit A - Invoices # 2 Proposed Order)
06/28/2024                                  (Spector, Howard) (Entered: 06/28/2024)

                        576                 Notice of Hearing. (Related document(s):575 Application for
                        (5 pgs)             Compensation) Filed by CC2 TX, LLC (Spector, Howard) (Entered:
06/28/2024                                  06/28/2024)

                        577                 BNC Certificate of Mailing. (Related document(s):570 Transcript) No.
06/28/2024              (5 pgs)             of Notices: 8. Notice Date 06/28/2024. (Admin.) (Entered: 06/28/2024)
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD             Page 59 of 431
                        578                   Courtroom Minutes. Time Hearing Held: 9:00. Appearances: RJ
                                              Shannon for the Trustee, and Charles Conrad for NBK. (Related
                                              document(s):352 Motion For Authority to Pursue Claims) No
                                              appearance by or for the movant. For the reasons stated on the record,
07/01/2024                                    relief requested is denied. (trc4) (Entered: 07/01/2024)

                        579                   Order Denying Motion (Related Doc # 352) Signed on 7/1/2024.
07/01/2024              (1 pg)                (mar4) (Entered: 07/01/2024)

                        580
                        (1 pg)                    PDF with attached Audio File. Court Date & Time [ 7/1/2024
                                              8:59:46 AM ]. File Size [ 1984 KB ]. Run Time [ 00:04:08 ]. (admin).
07/01/2024                                    (Entered: 07/01/2024)

                        581                   Order Granting Motion To Withdraw As Attorney. (Related Doc # 420)
07/01/2024              (1 pg)                Signed on 7/1/2024. (mar4) (Entered: 07/01/2024)

                        582                   Response - Limited Objection and Reservation of Rights to Contract
                        (8 pgs)               and Cure Schedule and the Potential Assumption and Assignment of
                                              Unexpired Leases and Contracts in Connection with Sale -. Filed by
                                              RGN-MCA Houston LIII, LLC, RGN-MCA Houston LII, LLC
07/01/2024                                    (Shriro, Michelle) (Entered: 07/01/2024)

                        583                   AO 435 TRANSCRIPT ORDER FORM (14-Day) by National Bank of
                        (2 pgs)               Kuwait, S.A.K.P., New York Branch / Charles Conrad. This is to order
                                              a transcript of proceeding held July 1, 2024 before Judge Jeffrey P.
                                              Norman. Court Reporter/Transcriber: Veritext Legal Solutions (Filed
                                              By National Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad,
                                              Charles) Transcript request electronically forwarded to Veritext Legal
                                              Solutions on 7/2/2024. Estimated completion date: 7/16/2024.
07/01/2024                                    Modified on 7/2/2024 (AaronJackson). (Entered: 07/01/2024)

                        584                  Objection and Reservation of Rights. Filed by 2425 West Loop, LLC
07/01/2024              (6 pgs)              (MacNaughton, James) (Entered: 07/01/2024)

                        585                  Motion to Amend (related document(s):535 Generic Order). Filed by
                        (2 pgs; 2 docs)      Creditor 2425 WL, LLC (Attachments: # 1 Proposed Order) (Sather,
07/01/2024                                   Stephen) (Entered: 07/01/2024)

                        586                  Amended Motion to Amend (related document(s):535 Generic Order).
                        (8 pgs; 2 docs)      Filed by Creditor 2425 WL, LLC (Attachments: # 1 Proposed Order)
07/02/2024                                   (Sather, Stephen) (Entered: 07/02/2024)

                        587                  Appellee Designation of Contents for Inclusion in Record of Appeal
                        (2 pgs)              (related document(s):387 Notice of Appeal). (Sather, Stephen) (Entered:
07/02/2024                                   07/02/2024)

                        588                  Order Granting Motion To Amend in Part (Related Doc # 586) Signed
07/03/2024              (3 pgs)              on 7/3/2024. (mar4) (Entered: 07/03/2024)

                        589                  Witness List, Exhibit List (Filed By QB Loop Property LP ). (Mayer,
07/03/2024              (2 pgs)              Simon) (Entered: 07/03/2024)

07/03/2024              590                  Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (582 pgs; 31 docs)   document(s):254 Order on Motion for Sale of Property under Section
                                             363(b), 561 Notice) (Attachments: # 1 Exhibit 1 - Bid Procedures
        Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD             Page 60 of 431
                                          Motion 188 # 2 Exhibit 2 - Notice of Proposed Stalking Horse
                                          Agreement 197 # 3 Exhibit 3 - Notice of Bid Deadline and Auction in
                                          Connection with the Sale of Property 264 # 4 Exhibit 4 - Notice of Bid
                                          Procedures 265 # 5 Exhibit 5 - Certificate of Service Regarding Sale
                                          Documents (May 2, 2024) # 6 Exhibit 6 - Email Serving Sale Process
                                          Documents (May 2, 2024) # 7 Exhibit 7 - Certificate of Service
                                          Regarding Sale Documents (May 11, 2024) # 8 Exhibit 8 - Email
                                          Serving Sale Process Documents (May 11, 2024) # 9 Exhibit 9 -
                                          Houston Chronicle Affidavit of Publication # 10 Exhibit 10 - Houston
                                          Chronicle Publication # 11 Exhibit 11 - Certificate of Service Regarding
                                          Assumption & Assignment Notice, Contract & Cure Schedule, and
                                          Notice of Plans of Reorganization 438 # 12 Exhibit 12 - Signature Sheet
                                          re Hand Delivery of Assumption & Assignment Notice, Contract &
                                          Cure Schedule, and Notice of Plans of Reorganization # 13 Exhibit 13 -
                                          Special Warranty Deed to Debtor # 14 Exhibit 14 - Debtor's Schedules
                                          and SOFA 70 # 15 Exhibit 15 - Example Hilco Advertisements re Sale
                                          of Property # 16 Exhibit 16 - Screenshot of Property Webpage # 17
                                          Exhibit 17 - Screenshot of LoopNet Property Webpage # 18 Exhibit 18 -
                                          Screenshot of CREXi Property Webpage # 19 Exhibit 19 - Hilco
                                          Brochure re Property # 20 Exhibit 20 - Images of Signage at Property #
                                          21 Exhibit 21 - QB Loop Property LP Bid Package (Financial
                                          Information Redacted) # 22 Exhibit 22 - Notice of Auction # 23 Exhibit
                                          23 - Auction Procedures # 24 Exhibit 24 - Transcript of Auction # 25
                                          Exhibit 25 - Redline of QP Loop Property LP APA (subject to final
                                          execution) to Stalking Horse APA # 26 Exhibit 26 - Email re Houston
                                          Taxing Authorities Payoff Amount # 27 Exhibit 27 - Email re Harris
                                          County Taxing Authorities Payoff Amount # 28 Exhibit 28 - Proof of
                                          Claim No. 12 (CC2 TX, LLC) # 29 Exhibit 29 - Calculation of CC2 TX,
                                          LLC Payoff Amount # 30 Exhibit 30 - Confirmation Order 566)
                                          (Shannon, R. J.) (Entered: 07/03/2024)

                        591               Response (related document(s):403 Objection to Claim). (Attachments:
07/03/2024              (6 pgs; 2 docs)   # 1 Proposed Order) (Burks, H.) (Entered: 07/03/2024)

                        592               Response (related document(s):403 Objection to Claim). (Attachments:
07/03/2024              (6 pgs; 2 docs)   # 1 Proposed Order) (Burks, H.) (Entered: 07/03/2024)

                        593               Response (related document(s):404 Objection to Claim). (Attachments:
07/03/2024              (6 pgs; 2 docs)   # 1 Proposed Order) (Burks, H.) (Entered: 07/03/2024)

                        594               Response (related document(s):404 Objection to Claim). (Attachments:
07/03/2024              (5 pgs; 2 docs)   # 1 Proposed Order) (Burks, H.) (Entered: 07/03/2024)

                        595               Response (related document(s):402 Objection to Claim). (Attachments:
07/03/2024              (5 pgs; 2 docs)   # 1 Proposed Order) (Burks, H.) (Entered: 07/03/2024)

                        596               BNC Certificate of Mailing. (Related document(s):579 Generic Order)
                        (5 pgs)           No. of Notices: 8. Notice Date 07/03/2024. (Admin.) (Entered:
07/03/2024                                07/03/2024)

                        597               BNC Certificate of Mailing. (Related document(s):581 Order on Motion
                        (5 pgs)           to Withdraw as Attorney) No. of Notices: 8. Notice Date 07/03/2024.
07/03/2024                                (Admin.) (Entered: 07/03/2024)

                        598               Witness List (Filed By Sonder USA Inc. ).(Related document(s):115
07/05/2024              (3 pgs)           Motion for Relief From Stay) (Wilson, Broocks) (Entered: 07/05/2024)
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 61 of 431
                        599                 Witness List, Exhibit List (Filed By National Bank of Kuwait, S.A.K.P.,
                        (83 pgs; 4 docs)    New York Branch ).(Related document(s):254 Order on Motion for Sale
                                            of Property under Section 363(b), 561 Notice) (Attachments: # 1 Exhibit
07/05/2024                                  1 # 2 Exhibit 2 # 3 Exhibit 3) (Troop, Andrew) (Entered: 07/05/2024)

                        600                 Disclosure of Compensation of Attorney for Debtor (Filed By Galleria
07/05/2024              (4 pgs)             2425 Owner, LLC ). (Baker, Reese) (Entered: 07/05/2024)

                        601                 Exhibit List (Filed By Christopher R Murray ).(Related
                        (90 pgs; 6 docs)    document(s):254 Order on Motion for Sale of Property under Section
                                            363(b), 561 Notice, 590 Witness List, Exhibit List) (Attachments: # 1
                                            Exhibit 31 - Murray Declaration # 2 Exhibit 32 - Azuse Declaration # 3
                                            Exhibit 33 - Branch-Muhammad Declaration # 4 Exhibit 34 - Revised
                                            Calculation of CC2 TX, LLC Payoff Amount # 5 Exhibit 35 - Form of
                                            Sale Order (Version with Executed APA attached to be filed prior to
07/05/2024                                  Hearing)) (Shannon, R. J.) (Entered: 07/05/2024)

                        602                 BNC Certificate of Mailing. (Related document(s):588 Order on Motion
                        (7 pgs)             to Amend) No. of Notices: 9. Notice Date 07/05/2024. (Admin.)
07/05/2024                                  (Entered: 07/05/2024)

                        603                 Notice of Appeal filed. (related document(s):566 Order Confirming
                        (47 pgs; 2 docs)    Chapter 11 Plan). Fee Amount $298. Appellant Designation due by
                                            07/22/2024. (Attachments: # 1 Exhibit 1) (Burks, H.) (Entered:
07/06/2024                                  07/06/2024)

                        604                 Hybrid Hearing Order Signed on 7/7/2024 (Related document(s):1
07/07/2024              (1 pg)              Voluntary Petition (Chapter 11)) (mar4) (Entered: 07/07/2024)

                        605                 Notice of Proposed Sale Order. (Related document(s):254 Order on
                        (114 pgs; 3 docs)   Motion for Sale of Property under Section 363(b), 266 Notice, 561
                                            Notice) Filed by Christopher R Murray (Attachments: # 1 Exhibit 1 -
                                            Proposed Sale Order # 2 Exhibit 2 - Redline to July 5 Draft Sale Order)
07/07/2024                                  (Shannon, R. J.) (Entered: 07/07/2024)

                        606                 Notice of Revised Proposed Order. (Related document(s):254 Order on
                        (78 pgs; 3 docs)    Motion for Sale of Property under Section 363(b), 266 Notice, 561
                                            Notice, 605 Notice) Filed by Christopher R Murray (Attachments: # 1
                                            Exhibit 1 - Revised Proposed Order # 2 Exhibit 2 - Redline of Changes
07/08/2024                                  to Proposed Order) (Shannon, R. J.) (Entered: 07/08/2024)

                        607                 Courtroom Minutes. Time Hearing Held: 9:30 and 2:00. Appearances:
                                            RJ Shannon for the Trustee, Mack Wilson for Saunders USA, Andrew
                                            Troop and Patrick Fitzmaurice for National Bank of Kuwait, Michelle
                                            Shriro for RGN-MCA Houston, Simon Mayer for QB Loop, Robert
                                            MacNaughton and Stephen Sather for 2425WL LLC, Reese Baker for
                                            the Debtor. (Related document(s):254 Order on Motion for Sale of
                                            Property under Section 363(b)) Proposed order filed at docket [606-1].
                                            No opposition to proposed order. The Court will sign and enter the
07/08/2024                                  order. (trc4) (Entered: 07/08/2024)

07/08/2024              608                 Order (A) Approving Asset Purchase Agreement Between the Trustee
                        (72 pgs)            and QB Loop Property LP; (B) Approving the Sale of the Property Free
                                            and Clear of All Liens, Claims, Encumbrances, and Other Interests; (C)
                                            Approving Assumption and Assignment of Executory Contracts and
                                            Leases; (D) Determining the Amounts Necessary to Cure Such
                                            Executory Contracts and Unexpired Leases; and (E) Granting Related
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 62 of 431
                                           Relief Signed on 7/8/2024 (Related document(s):188 Motion for Sale of
                                           Property) (trc4) (Entered: 07/08/2024)

                                           Receipt of Notice of Appeal( 23-34815) [appeal,ntcapl] ( 298.00) Filing
                                           Fee. Receipt number AXXXXXXXX. Fee amount $ 298.00. (U.S. Treasury)
07/09/2024                                 (Entered: 07/09/2024)

                        609                Notice of Withdrawal. (Related document(s):115 Motion for Relief
                        (1 pg)             From Stay) Filed by Sonder USA Inc. (Wilson, Broocks) (Entered:
07/09/2024                                 07/09/2024)

                        610                Amended Notice of Withdrawal. (Related document(s):115 Motion for
                        (1 pg)             Relief From Stay, 609 Notice) Filed by Sonder USA Inc. (Wilson,
07/09/2024                                 Broocks) (Entered: 07/09/2024)

                        611                Amended Notice of Withdrawal. (Related document(s):115 Motion for
                        (2 pgs)            Relief From Stay, 609 Notice, 610 Notice) Filed by Sonder USA Inc.
07/09/2024                                 (Wilson, Broocks) (Entered: 07/09/2024)

                        612                Response (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (16 pgs; 3 docs)   Branch ).(Related document(s):430 Response) (Attachments: # 1
                                           Proposed Order # 2 Service List) (Troop, Andrew) (Entered:
07/09/2024                                 07/09/2024)

                        613                **Withdrawn at DKT 691** Motion for Entry of an Order Approving
                        (7 pgs; 2 docs)    the Assumption and Assignment of Additional Leases Pursuant to the
                                           Sale Order Filed by Interested Party QB Loop Property LP Hearing
                                           scheduled for 8/14/2024 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                           (Attachments: # 1 Proposed Order) (Mayer, Simon) Modified on
07/10/2024                                 9/3/2024 (TraceyConrad). (Entered: 07/10/2024)

                        614                Ex Parte Motion for Expedited Consideration (related document(s):613
                        (4 pgs; 2 docs)    Generic Motion). Filed by Interested Party QB Loop Property LP
                                           (Attachments: # 1 Proposed Order) (Mayer, Simon) (Entered:
07/10/2024                                 07/10/2024)

                        615                AO 435 TRANSCRIPT ORDER FORM (14-Day) by National Bank of
                        (2 pgs)            Kuwait, S.A.K.P., New York Branch / Charles Conrad. This is to order a
                                           transcript of proceeding held July 8, 2024 before Judge Jeffrey P.
                                           Norman. Court Reporter/Transcriber: Veritext Legal Solutions (Filed By
                                           National Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad,
                                           Charles) Electronically forwarded to Veritext Legal Solutions on
                                           8/1/2024. Estimated completion date: 8/15/2024. Modified on 8/1/2024
07/10/2024                                 (CSRodriguez). (Entered: 07/10/2024)

                        616                Order Granting Motion to Expedite and Setting Hearing Signed on
                        (1 pg)             7/10/2024 (Related document(s):613 Generic Motion) Hearing
                                           scheduled for 8/7/2024 at 11:00 AM at Houston, Courtroom 403
07/10/2024                                 (JPN). (mar4) (Entered: 07/10/2024)

                        617                BNC Certificate of Mailing. (Related document(s):604 Generic Order)
                        (5 pgs)            No. of Notices: 10. Notice Date 07/10/2024. (Admin.) (Entered:
07/10/2024                                 07/10/2024)
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 63 of 431
                        618                BNC Certificate of Mailing. (Related document(s):608 Generic Order)
                        (76 pgs)           No. of Notices: 10. Notice Date 07/10/2024. (Admin.) (Entered:
07/10/2024                                 07/10/2024)

07/11/2024              619                Election to Appeal to District Court . (hl4) (Entered: 07/11/2024)

                        620                Certificate of Service (Filed By QB Loop Property LP ).(Related
                        (5 pgs)            document(s):613 Generic Motion) (Mayer, Simon) (Entered:
07/11/2024                                 07/11/2024)

                        621                Certificate of Service (Filed By QB Loop Property LP ).(Related
                        (5 pgs)            document(s):616 Order Setting Hearing) (Mayer, Simon) (Entered:
07/11/2024                                 07/11/2024)

                        622                Clerk's Notice of Filing of an Appeal. On 07/06/2024, 2425 WL, LLC
                        (1 pg)             filed a notice of appeal. The appeal has been assigned to U.S. District
                                           Judge Keith P Ellison, Civil Action 24-cv-02590. Parties notified
                                           (Related document(s):603 Notice of Appeal) (hl4) (Entered:
07/11/2024                                 07/11/2024)

                        623                Notice of Deficiency Regarding a Bankruptcy Appeal (Related
07/12/2024              (1 pg)             document(s):423 Notice of Appeal) (hl4) (Entered: 07/12/2024)

                        624                Interim Application for Compensation (First) for Shannon & Lee LLP,
                        (67 pgs; 5 docs)   Attorney, Period: 2/9/2024 to 6/30/2024, Fee: $519,400.00, Expenses:
                                           $10,579.56. Objections/Request for Hearing Due in 21 days. Filed by
                                           Attorneys R. J. Shannon, Shannon & Lee LLP Hearing scheduled for
                                           8/14/2024 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                           (Attachments: # 1 Proposed Order # 2 Exhibit A - Shannon & Lee LLP
                                           First Interim Fee Statement # 3 Exhibit B - Summary of Fees by Project
                                           Category # 4 Exhibit C - Invoices/Account Statements Reflecting
07/12/2024                                 Reimbursable Expenses) (Shannon, R. J.) (Entered: 07/12/2024)

                        625                BNC Certificate of Mailing. (Related document(s):616 Order Setting
                        (5 pgs)            Hearing) No. of Notices: 10. Notice Date 07/13/2024. (Admin.)
07/13/2024                                 (Entered: 07/13/2024)

                        626                BNC Certificate of Mailing. (Related document(s):622 Clerk's Notice of
                        (5 pgs)            Filing of an Appeal) No. of Notices: 10. Notice Date 07/13/2024.
07/13/2024                                 (Admin.) (Entered: 07/13/2024)

                        627                Order Granting Motion to Dismiss Amended Complaint (Related Doc #
07/15/2024              (2 pgs)            21) Signed on 7/15/2024. (trc4) (Entered: 07/15/2024)

                        628                Transcript RE: trial held on 7/1/24 before Judge Jeffrey P. Norman.
                        (7 pgs; 2 docs)    Transcript is available for viewing in the Clerk's Office. Within 21 days,
                                           parties are advised to comply with privacy requirements of Fed. R.
                                           Bank. P. 9037, ensuring that certain protected information is redacted
                                           from transcripts prior to their availability on PACER. Filed by
                                           Transcript access will be restricted through 10/15/2024.
07/16/2024                                 (VeritextLegalSolutions) (Entered: 07/16/2024)

07/17/2024              629                Application to Employ Gordon, Arata, Montgomery, Barnett,
                        (33 pgs; 4 docs)   McCollam, Duplantis & Eagan, LLC as Special Insurance Recovery
                                           Counsel. Objections/Request for Hearing Due in 21 days. Filed by
                                           Trustee Christopher R Murray Hearing scheduled for 8/21/2024 at 11:00
        Case 4:24-cv-04836    Document 8-1        Filed on 04/23/25 in TXSD             Page 64 of 431
                                             AM at Houston, Courtroom 403 (JPN). (Attachments: # 1 Exhibit A -
                                             Engagement Agreement # 2 Exhibit B - Weinstock Declaration # 3
                                             Proposed Order) (Shannon, R. J.) (Entered: 07/17/2024)

                        630                  BNC Certificate of Mailing. (Related document(s):628 Transcript) No.
07/19/2024              (5 pgs)              of Notices: 11. Notice Date 07/19/2024. (Admin.) (Entered: 07/19/2024)

                        631                  Operating Report for Filing Period June 2024, $75,644.86 disbursed
                        (13 pgs)             (Filed By Christopher R Murray ). (Murray, Christopher) (Entered:
07/20/2024                                   07/20/2024)

                        632                  Reply (related document(s):402 Objection to Claim, 403 Objection to
                        (31 pgs)             Claim, 404 Objection to Claim, 591 Response, 592 Response, 593
                                             Response, 594 Response, 595 Response). (Shannon, R. J.) (Entered:
07/20/2024                                   07/20/2024)

                        633                  Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (827 pgs; 34 docs)   document(s):402 Objection to Claim, 403 Objection to Claim, 404
                                             Objection to Claim) (Attachments: # 1 Exhibit 1 - Proof of Claim No. 7
                                             (Amended) # 2 Exhibit 2 - CFPB Appendix A to Part 1024 # 3 Exhibit 3
                                             - 2021 Complaint against NBK # 4 Exhibit 4 - Loan Agreement between
                                             Debtor and NBK # 5 Exhibit 5 - Note Issued by Debtor to NBK # 6
                                             Exhibit 6 - Deed of Trust Granted by Debtor to NBK # 7 Exhibit 7 -
                                             Assignment of Leases and Rents Debtor to NBK # 8 Exhibit 8 - Sworn
                                             Document Authorizing Transfer of Tax Lien # 9 Exhibit 9 - Tax Lien
                                             Contract # 10 Exhibit 10 - Debtor Corporate Org Chart # 11 Exhibit 11 -
                                             Debtor's Application for Registration as a Foreign LLC # 12 Exhibit 12
                                             - Galleria 2425 JV, LLC Company Agreement dated 5/23/2018 # 13
                                             Exhibit 13 - Galleria 2425 JV, LLC Application for Registration as a
                                             Foreign LLC # 14 Exhibit 14 - Galleria 2425 JV, LLC Unanimous
                                             Consent of Members 2021 # 15 Exhibit 15 - Notice of Deposition and
                                             Subpoena DT # 16 Exhibit 16 - Deposition Subpoena # 17 Exhibit 17 -
                                             Document Subpoena # 18 Exhibit 18 - June 7, 2024 Emails re
                                             Discovery # 19 Exhibit 19 - Notice of Appearance of Mark Smith # 20
                                             Exhibit 20 - June 26, 2024, Emails re Discovery # 21 Exhibit 21 - July
                                             16, 2024, Email re Discovery # 22 Exhibit 22 - Proof of Claim No. 21 #
                                             23 Exhibit 23 - Assignment of Tax Liens # 24 Exhibit 24 - Plaintiff's
                                             Third Amended Complaint in AP No. 24-03120 # 25 Exhibit 25 - Proof
                                             of Claim No. 22 # 26 Exhibit 26 - Confidential Settlement Agreement #
                                             27 Exhibit 27 - Ali Choudhri Net Worth Affidavit # 28 Exhibit 28 -
                                             Proof of Claim No. 23 # 29 Exhibit 30 - Lease and Amendments with
                                             Jetall Comanies, Inc. # 30 Exhibit 30 - Debtor's Schedules and SOFA #
                                             31 Exhibit 31 - Proof of Claim No. 24 # 32 Exhibit 32 - Hearing
                                             Transcript 1.31.24 # 33 Exhibit 33 - Internal Notes of NBK on Loan)
07/22/2024                                   (Shannon, R. J.) (Entered: 07/22/2024)

                        634                  Proposed Order RE: Agreed Order on Trustee's Objection to Claim No.
                        (2 pgs)              21 of Ali Choudhri (Tax Liens) (Filed By Ali Choudhri ).(Related
07/22/2024                                   document(s):403 Objection to Claim) (Burks, H.) (Entered: 07/22/2024)

                        635                  Witness List, Exhibit List (Filed By 2425 WL, LLC ).(Related
                        (158 pgs; 13 docs)   document(s):595 Response) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 #
                                             3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8
                                             Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12)
07/22/2024                                   (Burks, H.) (Entered: 07/22/2024)

07/22/2024              636                  Witness List, Exhibit List (Filed By National Bank of Kuwait, S.A.K.P.,
                        (410 pgs; 11 docs)   New York Branch ).(Related document(s):402 Objection to Claim, 403
        Case 4:24-cv-04836    Document 8-1         Filed on 04/23/25 in TXSD             Page 65 of 431
                                             Objection to Claim, 404 Objection to Claim, 575 Application for
                                             Compensation) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3
                                             # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                                             Exhibit 9 # 10 Exhibit 10) (Troop, Andrew) (Entered: 07/22/2024)

                        637                  Witness List, Exhibit List (Filed By 2425 WL, LLC ).(Related
                        (198 pgs; 14 docs)   document(s):635 Witness List, Exhibit List) (Attachments: # 1 Exhibit 1
                                             # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7
                                             Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 #
07/22/2024                                   12 Exhibit 12 # 13 Exhibit 13) (Burks, H.) (Entered: 07/22/2024)

                        638                  Witness List, Exhibit List (Filed By Ali Choudhri ).(Related
                        (9 pgs; 3 docs)      document(s):592 Response) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2)
07/22/2024                                   (Burks, H.) (Entered: 07/22/2024)

                        639                  Response (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (3 pgs)              Branch ).(Related document(s):634 Proposed Order) (Troop, Andrew)
07/22/2024                                   (Entered: 07/22/2024)

                        640                  Agreed Order on Trustee's Claim Objection No. 21 of Ali Choudhri (Tax
                        (2 pgs)              Liens) Signed on 7/22/2024 (Related document(s):403 Objection to
07/22/2024                                   Claim) (trc4) (Entered: 07/22/2024)

                        641                  Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (29 pgs; 5 docs)     document(s):402 Objection to Claim, 403 Objection to Claim, 404
                                             Objection to Claim, 633 Witness List, Exhibit List) (Attachments: # 1
                                             Exhibit 34 -Choudhri Intervening Petition # 2 Exhibit 35 - HCDC Order
                                             requiring Bond and Payments # 3 Exhibit 36 - HCDC Certificate of
                                             Cash in Lieu of Bond ($400k) # 4 Exhibit 37 - HCDC Certificate of
07/23/2024                                   Cash in Lieu of Bond ($80k)) (Shannon, R. J.) (Entered: 07/23/2024)

                        642                  Order Granting Application For Compensation (Related Doc # 575).
                        (2 pgs)              Granting for CC2 TX, LLC, fees awarded: $13702.50, expenses
07/23/2024                                   awarded: $66.87 Signed on 7/23/2024. (trc4) (Entered: 07/23/2024)

                        643                  Motion for Ex Parte Relief Filed by Creditors 2425 WL, LLC, Ali
                        (9 pgs; 3 docs)      Choudhri, Jetall Capital, LLC (Attachments: # 1 Affidavit # 2 Proposed
07/23/2024                                   Order) (Burks, H.) (Entered: 07/23/2024)

                        644                  Courtroom Minutes. Time Hearing Held: 11:00. Appearances: RJ
                                             Shannon for the Trustee, Gray Burks for Galleria 2425 WL, et al..
                                             (Related document(s):402 Objection to Claim, 403 Objection to Claim,
                                             404 Objection to Claim) Motion for Ex Parte Relief/Continue Hearings
                                             filed by 2425WL, LLC et al at docket 643. Arguments heard. Hearings
                                             continued to 9/6/2024 at 09:00 AM at Houston, Courtroom 403
07/24/2024                                   (JPN). (trc4) (Entered: 07/24/2024)

                        645                  AO 435 TRANSCRIPT ORDER FORM (14-Day) by National Bank of
                        (2 pgs)              Kuwait, S.A.K.P., New York Branch / Charles Conrad. This is to order a
                                             transcript of proceeding on July 24, 2024 before Judge Jeffrey P.
                                             Norman. Court Reporter/Transcriber: Veritext Legal Solutions (Filed By
                                             National Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad,
                                             Charles) Electronically Forwarded to Veritext Legal Solutions on
                                             7/29/2024. Estimated Date of Completion: 8/12/2024. Modified on
07/24/2024                                   7/29/2024 (BrandisIsom). (Entered: 07/24/2024)
        Case 4:24-cv-04836    Document 8-1         Filed on 04/23/25 in TXSD            Page 66 of 431
                        646                  BNC Certificate of Mailing. (Related document(s):642 Order on
                        (6 pgs)              Application for Compensation) No. of Notices: 11. Notice Date
07/25/2024                                   07/25/2024. (Admin.) (Entered: 07/25/2024)

                        647                  BNC Certificate of Mailing. (Related document(s):640 Order on Claim
                        (6 pgs)              Objection) No. of Notices: 12. Notice Date 07/25/2024. (Admin.)
07/25/2024                                   (Entered: 07/25/2024)

                        648                  AO 435 TRANSCRIPT ORDER FORM (14-Day) by Charles Conrad.
                        (2 pgs)              This is to order a transcript of Proceedings held on 7/8/2024 before
                                             Judge Jeffrey P. Norman. Court Reporter/Transcriber: Veritext Legal
                                             Solutions. (mew4) This is a duplicate of docket entry 615. {Modified on
07/25/2024                                   8/1/2024 (CSRodriguez). (Entered: 07/31/2024)

                        649                  Objection to QB Loop's Property LP's Motion for Entry of an Order
                        (8 pgs; 2 docs)      Approving the Assumption and Assignment of Additional Leases
                                             Pursuant to the Sale Order (related document(s):613 Generic Motion).
                                             Filed by Christopher R Murray (Attachments: # 1 Proposed Order)
08/01/2024                                   (Shannon, R. J.) (Entered: 08/01/2024)

                        650                  Response (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (6 pgs; 2 docs)      Branch ).(Related document(s):613 Generic Motion, 649 Objection)
                                             (Attachments: # 1 Proposed Order) (Troop, Andrew) (Entered:
08/02/2024                                   08/02/2024)

                        651                  Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (354 pgs; 11 docs)   document(s):613 Generic Motion) (Attachments: # 1 Exhibit 1 - Sale
                                             Order # 2 Exhibit 2 - Bid Procedures Order # 3 Exhibit 3 - Trustee's
                                             Complaint Against Jetall # 4 Exhibit 4 - Jetall's Answer to Trustee's
                                             Complaint # 5 Exhibit 5 - Proof of Claim No. 20 # 6 Exhibit 6 - Proof of
                                             Claim No. 23 # 7 Exhibit 7 - Proof of Claim No. 24 # 8 Exhibit 8 - 2425
                                             West Loop (Metwell) Limited Objection # 9 Exhibit 9 - 07/30/24 Letter
                                             from QB Loop # 10 Exhibit 10 - 8/1/24 Response Letter from Trustee)
08/05/2024                                   (Shannon, R. J.) (Entered: 08/05/2024)

                        652                  Witness List, Exhibit List (Filed By National Bank of Kuwait, S.A.K.P.,
                        (3 pgs)              New York Branch ).(Related document(s):613 Generic Motion)
08/05/2024                                   (Conrad, Charles) (Entered: 08/05/2024)

                        653                  Witness List, Exhibit List (Filed By National Bank of Kuwait, S.A.K.P.,
                        (83 pgs; 4 docs)     New York Branch ).(Related document(s):613 Generic Motion, 652
                                             Witness List, Exhibit List) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
08/05/2024                                   Exhibit 3) (Conrad, Charles) (Entered: 08/05/2024)

                        654                  Witness List, Exhibit List (Filed By QB Loop Property LP ).(Related
                        (116 pgs; 3 docs)    document(s):613 Generic Motion) (Attachments: # 1 Exhibit 1 # 2
08/06/2024                                   Exhibit 2) (Mayer, Simon) (Entered: 08/06/2024)

                        655                  Application for Administrative Expenses . Objections/Request for
                        (35 pgs; 7 docs)     Hearing Due in 21 days. Filed by Debtor Galleria 2425 Owner, LLC
                                             Hearing scheduled for 9/4/2024 at 11:00 AM at Houston, Courtroom
                                             403 (JPN). (Attachments: # 1 Proposed Order # 2 Judge Norman
                                             Summary Form # 3 Exhibit B # 4 Time Records # 5 Mailing Matrix # 6
08/06/2024                                   Experience List) (Baker, Reese) (Entered: 08/06/2024)
        Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD             Page 67 of 431
                        656                 Certificate of Service (Filed By Galleria 2425 Owner, LLC ).(Related
                        (4 pgs; 2 docs)     document(s):655 Application for Administrative Expenses)
                                            (Attachments: # 1 Mailing Matrix) (Baker, Reese) (Entered:
08/06/2024                                  08/06/2024)

                        657                 Courtroom Minutes. Time Hearing Held: 11:00. Appearances: Simon
                                            Mayer for QB Loop, Robert MacNaughton for 2424 West Loop, RJ
                                            Shannon for the Trustee, Patrick Fitzmaurice and Charles Conrad for
                                            National Bank of Kuwait, Gray Burks for Jetall Companies. (Related
                                            document(s):613 Motion For Entry of Order) Mr Simon gave the Court
                                            a brief status update on the pending purchase of the property. Parties
                                            have not reached an agreement. Movant requested a continuance. No
                                            objections to continuing the hearing. Hearing rescheduled for 9/4/2024
                                            at 11:00 AM at Houston, Courtroom 403 (JPN). (trc4) (Entered:
08/07/2024                                  08/07/2024)

                        658                 Notice of Failure to Close under Successful Bid. (Related
                        (5 pgs)             document(s):608 Generic Order) Filed by Christopher R Murray
08/09/2024                                  (Shannon, R. J.) (Entered: 08/09/2024)

                        659                 Appellant Designation of Contents For Inclusion in Record On Appeal
                        (7 pgs)             (related document(s):603 Notice of Appeal)., Statement of Issues on
                                            Appeal (related document(s):603 Notice of Appeal). (Burks, H.)
08/09/2024                                  (Entered: 08/09/2024)

                        660                 Witness List, Exhibit List (Filed By Shannon & Lee LLP ).(Related
                        (62 pgs; 14 docs)   document(s):624 Application for Compensation) (Attachments: # 1
                                            Exhibit 1 - Order Approving Employment 125 # 2 Exhibit 2 -
                                            Engagement Letter [120-1] # 3 Exhibit 3 - S&L Fee Statement through
                                            6.20.24 # 4 Exhibit 4 - K. Lee CV # 5 Exhibit 5 - R. Shannon CV # 6
                                            Exhibit 6 - Account Statement re Service Expense # 7 Exhibit 7 -
                                            Receipt re Delaware UCC-1 Search # 8 Exhibit 8 - Receipt re
                                            Publication Notice of Sale # 9 Exhibit 9 - Receipt of Attempted Service
                                            on Debtor # 10 Exhibit 10 - Receipt of Attempted Service on 2425 WL
                                            LLC # 11 Exhibit 11 - Receipt of Attempted Service on A. Choudhri #
                                            12 Exhibit 12 - Receipt for Transcript of Dep of NBK # 13 Exhibit 13 -
08/12/2024                                  Receipt re Transcript of Auction) (Shannon, R. J.) (Entered: 08/12/2024)

                        661                 Order Granting in part, Denying in part Application For Compensation
                        (3 pgs)             (Related Doc # 624). Granting in part, Denying in part for Shannon &
                                            Lee LLP, fees awarded: $454170.00, expenses awarded: $10579.56
08/12/2024                                  Signed on 8/12/2024. (trc4) (Entered: 08/12/2024)

                        662                 Transcript RE: trial held on 7/24/24 before Judge JEFFREY P.
                        (13 pgs; 2 docs)    NORMAN. Transcript is available for viewing in the Clerk's Office.
                                            Within 21 days, parties are advised to comply with privacy requirements
                                            of Fed. R. Bank. P. 9037, ensuring that certain protected information is
                                            redacted from transcripts prior to their availability on PACER. Filed by
                                            Transcript access will be restricted through 11/12/2024.
08/12/2024                                  (VeritextLegalSolutions) (Entered: 08/12/2024)

08/13/2024              663                 AO 435 TRANSCRIPT ORDER FORM (14-Day) by National Bank of
                        (2 pgs)             Kuwait, S.A.K.P., New York Branch / Charles Conrad. This is to order a
                                            transcript of proceeding held August 7, 2024 before Judge Jeffrey P.
                                            Norman. Court Reporter/Transcriber: Veritext Legal Solutions (Filed By
                                            National Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad,
                                            Charles) Electronically forwarded to Veritext Legal Solutions on
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 68 of 431
                                           8/14/2024. Estimated date of completion 8/15/24. (RebeccaBecknal).
                                           (Entered: 08/13/2024)

                        664                SUPPLEMENTAL Record Transmitted under Rule 8010(b). On
                        (1 pg)             5/6/2024, 5/8/2024, the appeal was transmitted to the U.S. District
                                           Court, assigned Judge Keith P Ellison, Civil Action 4:24cv1746. All
                                           appellate filings must now be made in the United States District Court
                                           with the civil action caption and case number. (Related document(s):287
08/14/2024                                 Notice of Appeal, 297 Election to Appeal) (bwl4) (Entered: 08/14/2024)

                        665                BNC Certificate of Mailing. (Related document(s):661 Order on
                        (7 pgs)            Application for Compensation) No. of Notices: 11. Notice Date
08/14/2024                                 08/14/2024. (Admin.) (Entered: 08/14/2024)

                        666                Order Granting Application to Employ and Granting Other Related
                        (3 pgs)            Relief (Related Doc # 629) Signed on 8/15/2024. (trc4) (Entered:
08/15/2024                                 08/15/2024)

                        667                Transcript RE: held on 07/08/24 before Judge JEFFREY P. NORMAN.
                        (9 pgs; 2 docs)    Transcript is available for viewing in the Clerk's Office. Within 21 days,
                                           parties are advised to comply with privacy requirements of Fed. R.
                                           Bank. P. 9037, ensuring that certain protected information is redacted
                                           from transcripts prior to their availability on PACER. Filed by
                                           Transcript access will be restricted through 11/13/2024.
08/15/2024                                 (VeritextLegalSolutions) (Entered: 08/15/2024)

                        668                BNC Certificate of Mailing. (Related document(s):662 Transcript) No.
08/15/2024              (5 pgs)            of Notices: 11. Notice Date 08/15/2024. (Admin.) (Entered: 08/15/2024)

                        671                Final Order By District Court Judge Keith P. Ellison, Re: Appeal on
                        (1 pg)             Civil Action Number: 4:24-cv-1746 , Pending before the Court is the
                                           Appellee Christopher R. Murrays Unopposed Motion for Enlargement
                                           of Period to File Appellee Brief (Dkt. No. 9) (the Motion). After
                                           reviewing the Motion, the record, and the applicable law, the Court is of
                                           the opinion that it should be GRANTED. The deadline for Christopher
                                           R. Murray, Trustee to file his appellees brief is extended to September
08/16/2024                                 18, 2024. Signed on 8/16/2024 (jm4) (Entered: 08/19/2024)

                        669                BNC Certificate of Mailing. (Related document(s):666 Order on
                        (7 pgs)            Application to Employ) No. of Notices: 11. Notice Date 08/17/2024.
08/17/2024                                 (Admin.) (Entered: 08/17/2024)

                        670                BNC Certificate of Mailing. (Related document(s):667 Transcript) No.
08/18/2024              (5 pgs)            of Notices: 11. Notice Date 08/18/2024. (Admin.) (Entered: 08/18/2024)

                        672                Order Denying Application For Administrative Expenses (Related Doc
08/19/2024              (1 pg)             # 655) Signed on 8/19/2024. (trc4) (Entered: 08/19/2024)
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 69 of 431
                        673                Final Order By District Court Judge Keith P. Ellison, Re: Appeal on
                        (1 pg)             Civil Action Number: 24-cv-01746 , Pending before the Court is the
                                           Unopposed Motion for Enlargement of Period to File Appellee Brief
                                           (the Motion) filed by the Appellee National Bank of Kuwait, S.A.K.P.,
                                           New York Branch (NBK). ECF No. 12. After reviewing the Motion, the
                                           record, and the applicable law, the Court is of the opinion that it should
                                           be GRANTED. The deadline for NBK to file its Appellees Brief is
                                           extended to and including September 18, 2024. Signed on 8/19/2024
08/19/2024                                 (jm4) (Entered: 08/20/2024)

                        674                Operating Report for Filing Period July 2024, $109850.57 disbursed
                        (13 pgs)           (Filed By Christopher R Murray ). (Murray, Christopher) (Entered:
08/20/2024                                 08/20/2024)

                        675
08/21/2024              (3 pgs)            Trustee's Report of Sale (Murray, Christopher) (Entered: 08/21/2024)

                        676                Notice Notice of Confirmation and Effective Date of Chapter 11 Plan of
                        (49 pgs; 3 docs)   Liquidation of the Debtor by National Bank of Kuwait, S.A.K.P., New
                                           York Branch. (Related document(s):566 Order Confirming Chapter 11
                                           Plan, 675 Trustee's Report of Sale) Filed by National Bank of Kuwait,
                                           S.A.K.P., New York Branch (Attachments: # 1 Exhibit A # 2 mailing
08/21/2024                                 matrix) (Troop, Andrew) (Entered: 08/21/2024)

                        677                BNC Certificate of Mailing. (Related document(s):671 Order District
                        (5 pgs)            Court re: Appeal) No. of Notices: 10. Notice Date 08/21/2024. (Admin.)
08/21/2024                                 (Entered: 08/21/2024)

                        678                BNC Certificate of Mailing. (Related document(s):672 Order on
                        (5 pgs)            Application for Administrative Expenses) No. of Notices: 10. Notice
08/21/2024                                 Date 08/21/2024. (Admin.) (Entered: 08/21/2024)

                        679                BNC Certificate of Mailing. (Related document(s):671 Order District
                        (5 pgs)            Court re: Appeal) No. of Notices: 0. Notice Date 08/21/2024. (Admin.)
08/21/2024                                 (Entered: 08/21/2024)

                        680                Application for Compensation for Christopher R Murray, Trustee
                        (6 pgs; 2 docs)    Chapter 11, Period: 2/9/2024 to 8/21/2024, Fee: $187540.95, Expenses:
                                           $0. Objections/Request for Hearing Due in 21 days. Filed by Attorney
                                           Christopher R Murray Hearing scheduled for 9/25/2024 at 11:00 AM at
                                           Houston, Courtroom 403 (JPN). (Attachments: # 1 Proposed Order)
08/22/2024                                 (Murray, Christopher) (Entered: 08/22/2024)

                        681                BNC Certificate of Mailing. (Related document(s):673 Order District
                        (5 pgs)            Court re: Appeal) No. of Notices: 10. Notice Date 08/22/2024. (Admin.)
08/22/2024                                 (Entered: 08/23/2024)

                        682                BNC Certificate of Mailing. (Related document(s):673 Order District
                        (5 pgs)            Court re: Appeal) No. of Notices: 0. Notice Date 08/22/2024. (Admin.)
08/22/2024                                 (Entered: 08/23/2024)

                        683                 Certificate of Service (Filed By Christopher R Murray ).(Related
                        (5 pgs)             document(s):680 Application for Compensation) (Murray, Christopher)
08/23/2024                                  (Entered: 08/23/2024)
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD             Page 70 of 431
                        684                   Appellee Designation of Contents for Inclusion in Record of Appeal
                        (412 pgs; 2 docs)     (related document(s):603 Notice of Appeal, 659 Appellant
                                              Designation, Statement of Issues on Appeal). (Attachments: # 1 Item
                                              32 - Transcript of June 17, 2024 Hearing) (Conrad, Charles) (Entered:
08/23/2024                                    08/23/2024)

                        685
                        (1 pg)                    PDF with attached Audio File. Court Date & Time [ 8/7/2024
                                              11:00:18 AM ]. File Size [ 3048 KB ]. Run Time [ 00:06:21 ]. (admin).
08/26/2024                                    (Entered: 08/26/2024)

                        686                   Copy Order Dismissing Appeal in 4:24cv2111 Signed by Judge Keith
                        (1 pg)                P Ellison)on 8/27/2024 (Related document(s):423 Notice of Appeal)
08/27/2024                                    (hlc4) (Entered: 08/29/2024)

                        687                   Transcript RE: held on 08/07/24 before Judge JEFFREY P. NORMAN.
                        (11 pgs; 2 docs)      Transcript is available for viewing in the Clerk's Office. Within 21
                                              days, parties are advised to comply with privacy requirements of Fed.
                                              R. Bank. P. 9037, ensuring that certain protected information is
                                              redacted from transcripts prior to their availability on PACER. Filed by
                                              Transcript access will be restricted through 11/27/2024.
08/29/2024                                    (VeritextLegalSolutions) (Entered: 08/29/2024)

                        688                   Response (related document(s):284 Objection to Claim, 430 Response,
                        (27 pgs; 3 docs)      543 Scheduling Order, 612 Response). (Attachments: # 1 Exhibit A -
                                              Proposed Order # 2 Service List) (Troop, Andrew) (Entered:
08/30/2024                                    08/30/2024)

                        689                   BNC Certificate of Mailing. (Related document(s):686 Generic Order)
                        (5 pgs)               No. of Notices: 10. Notice Date 08/31/2024. (Admin.) (Entered:
08/31/2024                                    08/31/2024)

                        690                   BNC Certificate of Mailing. (Related document(s):687 Transcript) No.
                        (5 pgs)               of Notices: 10. Notice Date 09/01/2024. (Admin.) (Entered:
09/01/2024                                    09/01/2024)

                        691                   Withdraw Document (Filed By QB Loop Property LP ).(Related
                        (2 pgs)               document(s):613 Generic Motion) (Mayer, Simon) (Entered:
09/03/2024                                    09/03/2024)

09/04/2024              692                   Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (1535 pgs; 28 docs)   document(s):402 Objection to Claim) (Attachments: # 1 Exhibit 1 -
                                              POC No. 7 (Amended) # 2 Exhibit 2 - Purported 2425 WL Note # 3
                                              Exhibit 3 - Purported 2425 WL Deed of Trust # 4 Exhibit 4 -
                                              Settlement Statement re 5/23/2018 Transaction # 5 Exhibit 5 - 01.31.24
                                              Hearing Transcript # 6 Exhibit 6 - 12 C.F.R. Pt. 1024, App. A
                                              (Westlaw) # 7 Exhibit 7 - NBK Loan Memo # 8 Exhibit 8 - NBK Loan
                                              Agreement # 9 Exhibit 9 - NBK Note # 10 Exhibit 10 - NBK Deed of
                                              Trust # 11 Exhibit 11 - NBK Assignment of Rents # 12 Exhibit 12 -
                                              Mezzanine Loan Agreement # 13 Exhibit 13 - Authorization of
                                              Transfer of Tax Lien # 14 Exhibit 14 - Tax Lien Contract # 15 Exhibit
                                              15 - Zaheer Drawing of Debtor's Corporate Structure # 16 Exhibit 16 -
                                              Debtor Foreign LLC Registration # 17 Exhibit 17 - Galleria 2425 JV
                                              Foreign LLC Application # 18 Exhibit 18 - 05.23.2018 Galleria 2425
                                              JV Company Agreement # 19 Exhibit 19 - Galleria 2425 JV
                                              Unanimous Consent # 20 Exhibit 20 - Notice of Rejection in Stage
                                              Stores Bankruptcy # 21 Exhibit 21 - 9.14.2021 Notice of Foreclosure
                                              NBK # 22 Exhibit 22 - Debtor's Original Petition Against NBK # 23
        Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD            Page 71 of 431
                                             Exhibit 23 - 09.15.2021 Notice of Foreclosure by 2425 WL LLC # 24
                                             Exhibit 24 - Unrecorded Substitute Trustee's Deed # 25 Exhibit 25 -
                                             Written Discovery on 2425 WL LLC # 26 Exhibit 26 - 07.30.2024
                                             Email from R. Shannon to G. Burks re Written Discovery on 2425 WL
                                             LLC # 27 Exhibit 27 - Shannon Declaration re Deemed Admissions in
                                             Connection with Written Discovery) (Shannon, R. J.) (Entered:
                                             09/04/2024)

                        693                  Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (239 pgs; 12 docs)   document(s):403 Objection to Claim) (Attachments: # 1 Exhibit 1 -
                                             POC 22 # 2 Exhibit 2 - Confidential Settlement Agreement # 3 Exhibit
                                             3 - Debtor's Original Petition Against NBK # 4 Exhibit 4 - Choudhri's
                                             Petition in Intervention Against NBK # 5 Exhibit 5 - Choudhri
                                             Complaint Against NBK AP No. 23-06009 # 6 Exhibit 6 - Temporary
                                             Injunction Against NBK # 7 Exhibit 7 - Clerk's Certificate of Cash
                                             Deposit ($400k) # 8 Exhibit 8 - Clerks Certificate of Cash Deposit
                                             ($80k) # 9 Exhibit 9 - Trustee's Written Discovery on A. Choudhri # 10
                                             Exhibit 07.30.24 Email from R. Shannon to G. Burks re Written
                                             Discovery # 11 Exhibit 11 - Shannon Declaration re Deemed
09/04/2024                                   Admissions of A. Choudhri) (Shannon, R. J.) (Entered: 09/04/2024)

                        694                  Witness List, Exhibit List (Filed By Christopher R Murray ).(Related
                        (271 pgs; 10 docs)   document(s):404 Objection to Claim) (Attachments: # 1 Exhibit 1 -
                                             POC 23 # 2 Exhibit 24 - POC 24 # 3 Exhibit 3 - Lease Agreement with
                                             Jetall Companies, Inc. # 4 Exhibit 4 - Property Management
                                             Agreement with Jetall Companies, Inc. # 5 Exhibit 5 - Debtor's
                                             Schedules [ECF No. 70] # 6 Exhibit 6 - POC 20 # 7 Exhibit 7 - Written
                                             Discovery on Jetall Capital, LLC # 8 Exhibit 08 - 07.30.24 Email from
                                             R. Shannon to G. Burks re Jetall Capital Written Discovery # 9 Exhibit
                                             9 - Shannon Declaration re Deemed Admissions and Production of
09/04/2024                                   Trustee's Ex 4) (Shannon, R. J.) (Entered: 09/04/2024)

                        695                  Witness List, Exhibit List (Filed By Jetall Capital, LLC ).(Related
                        (38 pgs; 6 docs)     document(s):594 Response) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2
                                             # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5) (Burks, H.) (Entered:
09/04/2024                                   09/04/2024)

                        696                  Witness List, Exhibit List (Filed By Jetall Capital, LLC ).(Related
                        (50 pgs; 4 docs)     document(s):593 Response) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2
09/04/2024                                   # 3 Exhibit 3) (Burks, H.) (Entered: 09/04/2024)

                        697                  Witness List, Exhibit List (Filed By Ali Choudhri ).(Related
                        (10 pgs; 4 docs)     document(s):638 Witness List, Exhibit List) (Attachments: # 1 Exhibit
09/04/2024                                   1 # 2 Exhibit 2 # 3 Exhibit 3) (Burks, H.) (Entered: 09/04/2024)

                        698                  Proposed Order Submission After Hearing (Filed By Galleria 2425
                        (4 pgs)              Owner, LLC ).(Related document(s):67 Application to Employ)
09/04/2024                                   (Baker, Reese) (Entered: 09/04/2024)

                        699                  Notice of Filing Form of Order for Application to Employ of Baker &
                        (4 pgs; 2 docs)      Associates. (Related document(s):698 Proposed Order Submission
                                             After Hearing (Greensheet)) Filed by Galleria 2425 Owner, LLC
09/04/2024                                   (Attachments: # 1 Exhibit) (Baker, Reese) (Entered: 09/04/2024)

                        700                  Operating Report for Filing Period August 2024, $5,017,554.55
                        (15 pgs)             disbursed (Filed By Christopher R Murray ). (Murray, Christopher)
09/04/2024                                   (Entered: 09/04/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 72 of 431
                        701                 Order Authorizing Employment of Reese Baker and Baker and
                        (2 pgs)             Associates from 12/5/2023 to 2/8/2024 (Related Doc # 67) Signed on
09/05/2024                                  9/5/2024. (trc4) (Entered: 09/05/2024)

                        702                 Order Granting Motion for Summary Judgment Signed on 9/5/2024
                        (4 pgs)             (Related document(s):688 Motion for Summary Judgment/Response)
                                            ORDERED that the Motion for Summary Judgment is GRANTED,
                                            and 2425 WLs Amended Objection to Claims 284 of National Bank of
09/05/2024                                  Kuwait is OVERRULED. (trc4) (Entered: 09/05/2024)

                        703                 Final Application for Administrative Expenses . Objections/Request
                        (35 pgs; 7 docs)    for Hearing Due in 21 days. Filed by Debtor Galleria 2425 Owner,
                                            LLC Hearing scheduled for 10/9/2024 at 11:00 AM at Houston,
                                            Courtroom 403 (JPN). (Attachments: # 1 Proposed Order # 2 Judge
                                            Norman's Summary Form # 3 Exhibit B # 4 Time Records # 5 Mailing
09/05/2024                                  Matrix # 6 Experience List) (Baker, Reese) (Entered: 09/05/2024)

                        704                 Certificate of Service (Filed By Galleria 2425 Owner, LLC ).(Related
                        (4 pgs; 2 docs)     document(s):703 Application for Administrative Expenses)
                                            (Attachments: # 1 Mailing Matrix) (Baker, Reese) (Entered:
09/05/2024                                  09/05/2024)

                        705                 Emergency Motion to Terminate or Deny Objections to Claim as
                        (7 pgs; 2 docs)     Moot; or Alternatively Continue Hearings Filed by Creditors 2425
                                            WL, LLC, Ali Choudhri, Jetall Capital, LLC (Attachments: # 1
09/05/2024                                  Proposed Order) (Burks, H.) (Entered: 09/05/2024)

                        706                 Objection to Emergency Motion to Terminate or Deny Objections to
                        (8 pgs; 2 docs)     Claim as Moot or Alternatively Continue Hearings (related
                                            document(s):705 Emergency Motion). Filed by Christopher R Murray
                                            (Attachments: # 1 Proposed Order) (Shannon, R. J.) (Entered:
09/06/2024                                  09/06/2024)

                        707                 Courtroom Minutes. Time Hearing Held: 9:00. Appearances: RJ
                                            Shannon for Trustee,Gray Burks for Claimant Ali Choudhri. (Related
                                            document(s):402 Objection to Claim) Evidentiary hearing held.
                                            Exhibits admitted on the record ECF no. 692-16 to 692-27 during
                                            opening arguments by RJ Shannon. Direct and Cross Examination of
                                            Azeemeh Zaheer. Exhibit ECF no. 692-16 admitted during Direct
                                            Examination. Direct and Cross Examination of Christopher Wyatt.
                                            Court orally denied Emergency Motion to Terminate or Deny
                                            Objection to Claim 705 for reasons stated on record. Court findings for
                                            RJ Shannon to submit Proposed Findings and Facts. Claim objections
                                            22, 23, and 24 are denied for reasons stated on record. (srh4) (Entered:
09/06/2024                                  09/06/2024)

                        708                 Order Granting Claim Objection Signed on 9/6/2024 (Related
09/06/2024              (1 pg)              document(s):403 Objection to Claim) (trc4) (Entered: 09/06/2024)

                        709                 Order Granting Claim Objection Signed on 9/6/2024 (Related
09/06/2024              (1 pg)              document(s):404 Objection to Claim) (trc4) (Entered: 09/06/2024)

09/06/2024              710                 AO 435 TRANSCRIPT ORDER FORM (3-Day) by National Bank of
                        (2 pgs)             Kuwait, S.A.K.P., New York Branch / Charles Conrad. This is to order
                                            a transcript of proceeding held September 6, 2024 before Judge Jeffrey
                                            P. Norman. Court Reporter/Transcriber: Veritext Legal Solutions (Filed
                                            By National Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad,
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 73 of 431
                                            Charles) Electronically forwarded to Veritext Legal Solutions on
                                            9/12/2024. Estimated completion date: 9/15/2024. Modified on
                                            9/12/2024 (ChristinaLasley). (Entered: 09/06/2024)

                        711                 BNC Certificate of Mailing. (Related document(s):701 Order on
                        (6 pgs)             Application to Employ) No. of Notices: 10. Notice Date 09/07/2024.
09/07/2024                                  (Admin.) (Entered: 09/07/2024)

                        712                 BNC Certificate of Mailing. (Related document(s):702 Generic Order)
                        (8 pgs)             No. of Notices: 10. Notice Date 09/07/2024. (Admin.) (Entered:
09/07/2024                                  09/07/2024)

                        713                 BNC Certificate of Mailing. (Related document(s):708 Order on Claim
                        (5 pgs)             Objection) No. of Notices: 11. Notice Date 09/08/2024. (Admin.)
09/08/2024                                  (Entered: 09/08/2024)

                        714                 BNC Certificate of Mailing. (Related document(s):709 Order on Claim
                        (5 pgs)             Objection) No. of Notices: 11. Notice Date 09/08/2024. (Admin.)
09/08/2024                                  (Entered: 09/08/2024)

                        715                 Motion to Withdraw as Attorney. Objections/Request for Hearing Due
                        (7 pgs; 2 docs)     in 21 days. Filed by Attorney Barron & Newburger, P.C. Hearing
                                            scheduled for 10/1/2024 at 11:00 AM at Houston, Courtroom 403
                                            (JPN). (Attachments: # 1 Proposed Order) (Sather, Stephen) (Entered:
09/09/2024                                  09/09/2024)

                        716                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by R.J.
                        (1 pg)              Shannon. This is to order a transcript of Objection to Claim
                                            09/06/2024 before Judge Jeffrey P. Norman. Court
                                            Reporter/Transcriber: Veritext Legal Solutions (Filed By Christopher R
                                            Murray ). (Shannon, R. J.) Copy request was electronically forwarded
                                            to Veritext Legal Solutions on 09/16/2024. Estimated date of
                                            completion: 09/17/2024. Modified on 9/16/2024
09/09/2024                                  (DMcKinnieRichardson). (Entered: 09/09/2024)

                        717                 Order Disallowing Proof of Claim and Referral to United States
                        (3 pgs)             Attorney Signed on 9/9/2024 (Related document(s):402 Objection to
                                            Claim) The Court sustains the Chapter 11 Trustees Objection at ECF
                                            No. 402, and orders that Proof of Claim 7-2 is disallowed in its
09/09/2024                                  entirety. (trc4) (Entered: 09/09/2024)

                        718                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Kyle
                        (1 pg)              Hirsch. This is to order a transcript of 09/06/2024 before Judge Jeffrey
                                            P. Norman. Court Reporter/Transcriber: Veritext Legal Solutions (Filed
                                            By Kyle Hirsch ). (Hirsch, Kyle) Copy request electronically
                                            forwarded to Veritext Legal Solutions on 09/16/2024. Estimated date
                                            of completion: 09/17/2024. Modified on 9/16/2024
09/11/2024                                  (DMcKinnieRichardson). (Entered: 09/11/2024)

                        719                 Transfer of Claim Transfer Agreement 3001 (e) 2 Transferor:
                        (3 pgs; 2 docs)     Nationwide Security (Claim No. 25) To Guaranteed Claim Funding
09/11/2024                                  LLC Fee Amount $28 (Sar, Nathalie) (Entered: 09/11/2024)

                                            Receipt of Transfer of Claim( 23-34815) [claims,trclm] ( 28.00) Filing
                                            Fee. Receipt number AXXXXXXXX. Fee amount $ 28.00. (U.S. Treasury)
09/11/2024                                  (Entered: 09/11/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD              Page 74 of 431
                        720                 BNC Certificate of Mailing. (Related document(s):717 Order on Claim
                        (7 pgs)             Objection) No. of Notices: 11. Notice Date 09/11/2024. (Admin.)
09/11/2024                                  (Entered: 09/11/2024)

                        721                 Transfer of Claim Transfer Agreement 3001 (e) 1 Transferor: Zindler
                        (3 pgs; 2 docs)     Cleaning Service Co To Guaranteed Claim Funding LLC Fee Amount
09/12/2024                                  $28 (Sar, Nathalie) (Entered: 09/12/2024)

                                            Receipt of Transfer of Claim( 23-34815) [claims,trclm] ( 28.00) Filing
                                            Fee. Receipt number AXXXXXXXX. Fee amount $ 28.00. (U.S. Treasury)
09/12/2024                                  (Entered: 09/12/2024)

                        722                 BNC Certificate of Mailing. (Related document(s):719 Transfer of
                        (5 pgs)             Claim) No. of Notices: 1. Notice Date 09/14/2024. (Admin.) (Entered:
09/14/2024                                  09/14/2024)

                        723                 BNC Certificate of Mailing. (Related document(s):721 Transfer of
                        (5 pgs)             Claim) No. of Notices: 1. Notice Date 09/15/2024. (Admin.) (Entered:
09/15/2024                                  09/15/2024)

                        724                 Motion to Pay Ordinary Course Expenses as Allowed Administrative
                        (5 pgs; 2 docs)     Claims under the Confirmed Plan. Objections/Request for Hearing
                                            Due in 21 days. Filed by Liquidator Christopher Murray Hearing
                                            scheduled for 10/30/2024 at 11:00 AM at Houston, Courtroom 403
                                            (JPN). (Attachments: # 1 Proposed Order) (Murray, Christopher)
09/16/2024                                  (Entered: 09/16/2024)

                        725                 Motion for Ex Parte Relief Filed by Liquidator Christopher Murray
                        (2 pgs; 2 docs)     (Attachments: # 1 Proposed Order) (Murray, Christopher) (Entered:
09/16/2024                                  09/16/2024)

                        726                 Certificate of Service (Filed By Christopher Murray ).(Related
                        (6 pgs)             document(s):724 Motion to Pay, 725 Motion for Ex Parte Relief)
09/16/2024                                  (Murray, Christopher) (Entered: 09/16/2024)

                        727                 Order Setting Hearing Signed on 9/16/2024 (Related document(s):724
                        (1 pg)              Motion to Pay) Motion for Expedited Hearing at ECF 725 is Granted.
                                            Hearing scheduled for 10/1/2024 at 11:00 AM at Houston,
09/16/2024                                  Courtroom 403 (JPN). (trc4) (Entered: 09/16/2024)

                        728                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Ali
                        (2 pgs)             Choudhri. This is to order a transcript of Objection to claim hearin on
                                            9/6/24 before Judge Jeffrey P. Norman. Court Reporter/Transcriber:
                                            Veritext Legal Solutions (Filed By Ali Choudhri ). (cmk4) Copy
                                            request electronically forwarded to Veritext Legal Solutions on
                                            9/20/2024. Estimated completion date: 9/21/2024. Modified on
09/16/2024                                  9/20/2024 (HopeMcFarlin). (Entered: 09/16/2024)

                        729                 Transcript RE: trial held on 9/6/24 before Judge JEFFREY P.
                        (99 pgs; 2 docs)    NORMAN. Transcript is available for viewing in the Clerk's Office.
                                            Within 21 days, parties are advised to comply with privacy
                                            requirements of Fed. R. Bank. P. 9037, ensuring that certain protected
                                            information is redacted from transcripts prior to their availability on
                                            PACER. Filed by Transcript access will be restricted through
09/16/2024                                  12/16/2024. (VeritextLegalSolutions) (Entered: 09/16/2024)
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 75 of 431
                        730                  Order Granting Application For Compensation (Related Doc # 680).
                        (1 pg)               Granting for Christopher R Murray, fees awarded: $187540.95,
                                             expenses awarded: $0.00 Signed on 9/17/2024. (trc4) (Entered:
09/17/2024                                   09/17/2024)

                        731                  AO 435 TRANSCRIPT ORDER FORM (14-Day) by Connie Nim.
                        (1 pg)               This is to order a transcript of Proceedings held on 9/6/2024 before
                                             Judge Jeffrey P. Norman. Court Reporter/Transcriber: Veritext Legal
                                             Solutions. (mew4) Copy request electronically forwarded to Veritext
                                             Legal Solutions on 9/20/2024. Estimated completion date 10/4/2024
09/17/2024                                   Modified on 9/20/2024 (BrittanyNicklaus). (Entered: 09/17/2024)

                        732                  BNC Certificate of Mailing. (Related document(s):727 Order Setting
                        (6 pgs)              Hearing) No. of Notices: 11. Notice Date 09/18/2024. (Admin.)
09/18/2024                                   (Entered: 09/18/2024)

                        733                  BNC Certificate of Mailing. (Related document(s):729 Transcript) No.
                        (6 pgs)              of Notices: 11. Notice Date 09/19/2024. (Admin.) (Entered:
09/19/2024                                   09/19/2024)

                        734                  BNC Certificate of Mailing. (Related document(s):730 Order on
                        (6 pgs)              Application for Compensation) No. of Notices: 11. Notice Date
09/19/2024                                   09/19/2024. (Admin.) (Entered: 09/19/2024)

                        735                  Order Resetting Hearing Signed on 9/20/2024 (Related
                        (1 pg)               document(s):715 Motion to Withdraw as Attorney) Hearing scheduled
                                             for 10/9/2024 at 11:00 AM at Houston, Courtroom 403 (JPN). (trc4)
09/20/2024                                   (Entered: 09/20/2024)

                        736                  Notice Of Hearing. (Related document(s):735 Order Resetting
                        (6 pgs)              Hearing) Filed by Barron & Newburger, P.C. (Sather, Stephen)
09/20/2024                                   (Entered: 09/20/2024)

                        737                  BNC Certificate of Mailing. (Related document(s):735 Order Resetting
                        (6 pgs)              Hearing) No. of Notices: 11. Notice Date 09/22/2024. (Admin.)
09/22/2024                                   (Entered: 09/22/2024)

                        738                  MOTION to Appear Pro Hac Vice for J Carl Cecere (Fee Paid: $100,
                        (1 pg)               receipt number AXXXXXXXX) Filed by Creditor 2425 WL, LLC Hearing
                                             scheduled for 10/30/2024 at 11:00 AM at Houston, Courtroom 403
09/23/2024                                   (JPN). (Cecere, Joseph) (Entered: 09/23/2024)

                        739                  Emergency Motion for Withdrawal and Substitution of Counsel Filed
                        (4 pgs; 2 docs)      by Creditor 2425 WL, LLC (Attachments: # 1 Proposed Order) (Burks,
09/23/2024                                   H.) (Entered: 09/23/2024)

                        740                  Motion to Reconsider (related document(s):717 Order on Claim
                        (512 pgs; 16 docs)   Objection). Filed by Creditor 2425 WL, LLC Hearing scheduled for
                                             10/30/2024 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                             (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5
                                             Exhibit # 6 Exhibit # 7 Exhibit # 8 Exhibit # 9 Exhibit # 10 Exhibit #
                                             11 Exhibit # 12 Exhibit # 13 Exhibit # 14 Exhibit # 15 Proposed
09/23/2024                                   Order) (Sather, Stephen) (Entered: 09/23/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 76 of 431
                        741                 Order Granting Motion for J. Carl Cecere To Appear pro hac vice
                        (1 pg)              (Related Doc # 738) Note: Instructions to request Texas Southern
                                            CM/ECF registration through PACER are found here Signed on
09/24/2024                                  9/24/2024. (trc4) (Entered: 09/24/2024)

                        742                 Order Granting Emergency Motion For Withdrawal and Substitution of
                        (1 pg)              Counsel (Related Doc # 739) Signed on 9/24/2024. (trc4) (Entered:
09/24/2024                                  09/24/2024)

                        743                 Order Denying Motion To Reconsider (Related Doc # 740) Signed on
09/24/2024              (3 pgs)             9/24/2024. (trc4) (Entered: 09/24/2024)

                        744                 Objection NBK's Objection to the Fee Application of Baker &
                        (116 pgs; 3 docs)   Associates (related document(s):703 Application for Administrative
                                            Expenses). Filed by National Bank of Kuwait, S.A.K.P., New York
                                            Branch (Attachments: # 1 Exhibit A # 2 Exhibit B) (Conrad, Charles)
09/25/2024                                  (Entered: 09/25/2024)

                        745                 Adversary case 24-03198. Nature of Suit: (91 (Declaratory judgment))
                        (80 pgs; 2 docs)    Complaint for Declaratory Judgment by QB Loop Property LP against
                                            Christopher Murray, Chapter 11 Trustee. Fee Amount $350
09/25/2024                                  (Attachments: # 1 Exhibit 1) (Mayer, Simon) (Entered: 09/25/2024)

                        746                 Application for Compensation for Services as Special Insurance
                        (31 pgs; 3 docs)    Counsel to the Trustee for Gordon, Arata, Montgomery, Barnett,
                                            McCollam, Duplantis & Eagan, LLC, Special Counsel, Period:
                                            5/14/2024 to 8/21/2024, Fee: $5887.50, Expenses: $.
                                            Objections/Request for Hearing Due in 21 days. Filed by Attorney
                                            Gordon, Arata, Montgomery, Barnett, McCollam, Duplantis & Eagan,
                                            LLC Hearing scheduled for 10/30/2024 at 11:00 AM at Houston,
                                            Courtroom 403 (JPN). (Attachments: # 1 Proposed Order # 2 Exhibit A
09/25/2024                                  - Fee Statements) (Shannon, R. J.) (Entered: 09/25/2024)

                        747                 Final Application for Compensation for Services as General
                        (63 pgs; 6 docs)    Bankruptcy Counsel to the Trustee for Shannon & Lee LLP, Attorney,
                                            Period: 7/1/2024 to 8/21/2024, Fee: $202660.00, Expenses: $2733.98.
                                            Objections/Request for Hearing Due in 21 days. Filed by Attorney
                                            Shannon & Lee LLP Hearing scheduled for 10/30/2024 at 11:00 AM at
                                            Houston, Courtroom 403 (JPN). (Attachments: # 1 Exhibit A - S&L
                                            Final Fee Statement # 2 Exhibit B - Summary of Fees by Category # 3
                                            Exhibit C - Invoices in Support of Reimbursement Request # 4 Exhibit
                                            D - Statement of Experience # 5 Proposed Order) (Shannon, R. J.)
09/25/2024                                  (Entered: 09/25/2024)

                        748                 Objection of Liquidation Trustee to Final Fee Application of Baker &
                        (3 pgs)             Associates (related document(s):703 Application for Administrative
                                            Expenses). Filed by Christopher Murray (Shannon, R. J.) (Entered:
09/25/2024                                  09/25/2024)

                        749                 BNC Certificate of Mailing. (Related document(s):741 Order on
                        (6 pgs)             Motion to Appear pro hac vice) No. of Notices: 11. Notice Date
09/26/2024                                  09/26/2024. (Admin.) (Entered: 09/26/2024)

                        750                 BNC Certificate of Mailing. (Related document(s):742 Order on
                        (6 pgs)             Emergency Motion) No. of Notices: 11. Notice Date 09/26/2024.
09/26/2024                                  (Admin.) (Entered: 09/26/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 77 of 431
                        751                 BNC Certificate of Mailing. (Related document(s):743 Order on
                        (8 pgs)             Motion To Reconsider) No. of Notices: 11. Notice Date 09/26/2024.
09/26/2024                                  (Admin.) (Entered: 09/26/2024)

                        752                 Witness List, Exhibit List (Filed By Christopher Murray ).(Related
                        (3 pgs; 2 docs)     document(s):724 Motion to Pay) (Attachments: # 1 Exhibit 1) (Murray,
09/27/2024                                  Christopher) (Entered: 09/27/2024)

                        753                 Emergency Motion to Modify Order Setting Hearing Filed by
                        (4 pgs; 2 docs)     Liquidator Christopher Murray (Attachments: # 1 Proposed Order)
09/27/2024                                  (Murray, Christopher) (Entered: 09/27/2024)

                        754                 Order Setting Virtual Hearing Signed on 9/27/2024 (Related
                        (1 pg)              document(s):724 Motion to Pay) Motion to Modify Order at ECF 753
                                            is Granted. Hearing rescheduled for 10/4/2024 at 09:00 AM at
09/27/2024                                  telephone and video conference. (trc4) (Entered: 09/27/2024)

                        755                 Certificate of Service re Order Setting Virtual Hearing [ECF No. 754]
                        (6 pgs)             (Filed By Christopher Murray ).(Related document(s):724 Motion to
                                            Pay, 754 Order Setting Hearing) (Shannon, R. J.) (Entered:
09/27/2024                                  09/27/2024)

                        756                 BNC Certificate of Mailing. (Related document(s):754 Order Setting
                        (6 pgs)             Hearing) No. of Notices: 11. Notice Date 09/29/2024. (Admin.)
09/29/2024                                  (Entered: 09/29/2024)

                        757                 Order Granting Liquidation Trustee's Motion To Treat Ordinary Course
                        (1 pg)              Expenses as Allowed Administrative Claims Under the Confirmed
                                            Plan (Related Doc # 724) Signed on 10/1/2024. (trc4) (Entered:
10/01/2024                                  10/01/2024)

                        758                 Emergency Motion National Bank of Kuwait, S.A.K.P., New York
                        (77 pgs; 8 docs)    Branch's Emergency Motion to Enforce the Gate-Keeping Provisions
                                            of the Confirmed Chapter 11 Plan Filed by Creditor National Bank of
                                            Kuwait, S.A.K.P., New York Branch (Attachments: # 1 Exhibit 1 # 2
                                            Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6
                                            Proposed Order # 7 Service List) (Conrad, Charles) (Entered:
10/02/2024                                  10/02/2024)

                        759                 Order Setting Hearing Signed on 10/2/2024 (Related document(s):758
                        (1 pg)              Emergency Motion to Enforce the Gate-Keeping Provisions of the
                                            Confirmed Chapter 11 Plan) Hearing scheduled for 10/10/2024 at
                                            01:30 PM at Houston, Courtroom 403 (JPN). (trc4) (Entered:
10/02/2024                                  10/02/2024)

                        760                 Certificate of Service (Filed By National Bank of Kuwait, S.A.K.P.,
                        (8 pgs)             New York Branch ).(Related document(s):759 Order Setting Hearing)
10/03/2024                                  (Conrad, Charles) (Entered: 10/03/2024)

                        761                 BNC Certificate of Mailing. (Related document(s):757 Order on
                        (6 pgs)             Motion to Pay) No. of Notices: 10. Notice Date 10/03/2024. (Admin.)
10/03/2024                                  (Entered: 10/04/2024)

10/04/2024              762                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Sonder
                        (1 pg)              USA Inc.. This is to order a transcript of Objection to Claim
                                            09/06/2024 before Judge Jeffrey P. Norman. Court
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD              Page 78 of 431
                                            Reporter/Transcriber: Veritext Legal Solutions (Filed By Sonder USA
                                            Inc. ). (Wilson, Broocks) Copy request electronically forwarded to
                                            Veritext Legal Solutions on 10/4/2024. Estimated completion date:
                                            10/5/2024. Modified on 10/4/2024 (HopeMcFarlin). (Entered:
                                            10/04/2024)

                        763                 Witness List, Exhibit List (Filed By Galleria 2425 Owner, LLC ).
                        (37 pgs; 2 docs)    (Related document(s):703 Application for Administrative Expenses)
10/04/2024                                  (Attachments: # 1 Exhibit 1) (Baker, Reese) (Entered: 10/04/2024)

                        764                 Motion to Set Hearing. Filed by Creditor 2425 WL, LLC
                        (244 pgs; 5 docs)   (Attachments: # 1 Proposed Order # 2 Exhibit # 3 Exhibit # 4 Exhibit)
10/04/2024                                  (Cecere, Joseph) (Entered: 10/04/2024)

                        765                 BNC Certificate of Mailing. (Related document(s):759 Order Setting
                        (6 pgs)             Hearing) No. of Notices: 10. Notice Date 10/04/2024. (Admin.)
10/04/2024                                  (Entered: 10/04/2024)

                        766                 Order Denying Motion To Correct or Supplement the Record (Related
10/07/2024              (1 pg)              Doc # 764) Signed on 10/7/2024. (trc4) (Entered: 10/07/2024)

                        767                 Order Granting Barron and Newburger's Motion To Withdraw As
                        (1 pg)              Counsel for 2425WL, LLC (Related Doc # 715) Signed on 10/7/2024.
10/07/2024                                  (trc4) (Entered: 10/07/2024)

                        768                 Witness List, Exhibit List (Filed By National Bank of Kuwait,
                        (407 pgs; 9 docs)   S.A.K.P., New York Branch ).(Related document(s):703 Application
                                            for Administrative Expenses) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2
                                            # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8
10/07/2024                                  Exhibit 8) (Conrad, Charles) (Entered: 10/07/2024)

                        769                 Notice of Appeal filed. (related document(s):717 Order on Claim
                        (13 pgs; 3 docs)    Objection, 743 Order on Motion To Reconsider). Fee Amount $298.
                                            Appellant Designation due by 10/21/2024. (Attachments: # 1 Exhibit #
10/07/2024                                  2 Exhibit) (Cecere, Joseph) (Entered: 10/07/2024)

                        770                 Election to Appeal to District Court . (Cecere, Joseph) (Entered:
10/07/2024                                  10/07/2024)

                        771                 Additional Attachments Re: Supplement to Emergency Motion to
                        (11 pgs)            Enforce the Gate-Keeping Provisions of the Confirmed Chapter 11
                                            Plan (related document(s):758 Emergency Motion, 759 Order Setting
                                            Hearing, 760 Certificate) (Filed By National Bank of Kuwait,
                                            S.A.K.P., New York Branch ).(Related document(s):758 Emergency
                                            Motion, 759 Order Setting Hearing, 760 Certificate) (Troop, Andrew)
10/08/2024                                  (Entered: 10/08/2024)

                        772                 Clerk's Notice of Filing of an Appeal. On 10/07/2024, 2425 WL, LLC
                        (1 pg)              filed a notice of appeal. The appeal has been assigned to U.S. District
                                            Judge Keith P Ellison, Civil Action 4:24cv3834. Parties notified
                                            (Related document(s):769 Notice of Appeal) (bwl4) (Entered:
10/09/2024                                  10/09/2024)

10/09/2024              773                 Courtroom Minutes. Time Hearing Held: 1:30. Appearances: Reese
                                            Baker for Debtor, RJ Shannon for Chris Murray, Andrew Troop for
                                            National Bank of Kuwait. (Related document(s):703 Application for
                                            Administrative Expenses) Evidentiary Hearing Held. Opening
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 79 of 431
                                            Statements by Reese Baker, Rj Shannon, and Andrew Troop. ECF 703
                                            Admitted on record. Reese Baker sworn. Provided Testimony. Direct
                                            examination of Reese Baker by RJ Shannon. Cross examination by
                                            Andrew Troop. Arguments heard by all. Closing arguments by Reese
                                            Baker. Court will take it under advisement and enter an Order. (srh4)
                                            (Entered: 10/09/2024)

                        774
                        (1 pg)                  PDF with attached Audio File. Court Date & Time [ 10/9/2024
                                            1:34:21 PM ]. File Size [ 63864 KB ]. Run Time [ 02:13:03 ]. (admin).
10/09/2024                                  (Entered: 10/09/2024)

                        775                 Response (related document(s):758 Emergency Motion). Filed by Ali
10/09/2024              (4 pgs)             Choudhri (Cecere, Joseph) (Entered: 10/09/2024)

                        776                 BNC Certificate of Mailing. (Related document(s):766 Order on
                        (6 pgs)             Motion To Set Hearing) No. of Notices: 10. Notice Date 10/09/2024.
10/09/2024                                  (Admin.) (Entered: 10/09/2024)

                        777                 BNC Certificate of Mailing. (Related document(s):767 Order on
                        (6 pgs)             Motion to Withdraw as Attorney) No. of Notices: 10. Notice Date
10/09/2024                                  10/09/2024. (Admin.) (Entered: 10/09/2024)

                                            Receipt of Notice of Appeal( 23-34815) [appeal,ntcapl] ( 298.00)
                                            Filing Fee. Receipt number AXXXXXXXX. Fee amount $ 298.00. (U.S.
10/10/2024                                  Treasury) (Entered: 10/10/2024)

                        778                 Proposed Order RE: Agreed Order Granting Emergency Motion to
                        (3 pgs)             Enforce the Gate-Keeping Provisions of the Confirmed Chapter 11
                                            Plan (Filed By National Bank of Kuwait, S.A.K.P., New York Branch
                                            ).(Related document(s):758 Emergency Motion, 775 Response)
10/10/2024                                  (Conrad, Charles) (Entered: 10/10/2024)

                        779                 Order Granting Emergency Motion to Enforce the Gate-Keeping
                        (3 pgs)             Provisions of the Confirmed Chapter 11 Plan. (Related Doc # 758)
10/10/2024                                  Signed on 10/10/2024. (srh4) (Entered: 10/10/2024)

                        780                 Memorandum Order on Fee Application (Related Doc # 703) Signed
10/11/2024              (5 pgs)             on 10/11/2024. (trc4) (Entered: 10/11/2024)

                        781                 Certificate of Compliance with Court Order (Filed By National Bank
                        (8 pgs)             of Kuwait, S.A.K.P., New York Branch ).(Related document(s):779
10/11/2024                                  Order on Emergency Motion) (Conrad, Charles) (Entered: 10/11/2024)

                        782                 BNC Certificate of Mailing. (Related document(s):772 Clerk's Notice
                        (6 pgs)             of Filing of an Appeal) No. of Notices: 10. Notice Date 10/11/2024.
10/11/2024                                  (Admin.) (Entered: 10/11/2024)

                        783                 BNC Certificate of Mailing. (Related document(s):779 Order on
                        (8 pgs)             Emergency Motion) No. of Notices: 10. Notice Date 10/12/2024.
10/12/2024                                  (Admin.) (Entered: 10/12/2024)

                        784                 BNC Certificate of Mailing. (Related document(s):780 Order on
                        (10 pgs)            Application for Administrative Expenses) No. of Notices: 10. Notice
10/13/2024                                  Date 10/13/2024. (Admin.) (Entered: 10/13/2024)
        Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD           Page 80 of 431
                        785                Objection to Claim Number 6 by Claimant Rodney L. Drinnon Hearing
                        (9 pgs; 3 docs)    scheduled for 12/18/2024 at 11:00 AM at Houston, Courtroom 403
                                           (JPN). (Attachments: # 1 Proposed Order to Objection to Claim No. 6
                                           # 2 Declaration of Christropher R. Murray) (Shannon, R. J.) (Entered:
10/21/2024                                 10/21/2024)

                        786                Objection to Claim Number 8 by Claimant US Retailers LLC d/b/a
                        (8 pgs; 3 docs)    Cirro Energy Hearing scheduled for 12/18/2024 at 11:00 AM at
                                           Houston, Courtroom 403 (JPN). (Attachments: # 1 Proposed Order to
                                           Objection to Claim No. 8 # 2 Declaration of Christropher R. Murray)
10/21/2024                                 (Shannon, R. J.) (Entered: 10/21/2024)

                        787                Objection to Claim Number 9 by Claimant Nichamoff Law Firm
                        (8 pgs; 3 docs)    Hearing scheduled for 12/18/2024 at 11:00 AM at Houston, Courtroom
                                           403 (JPN). (Attachments: # 1 Proposed Order to Objection to Claim
                                           No. 9 # 2 Declaration of Christopher R. Murray) (Shannon, R. J.)
10/21/2024                                 (Entered: 10/21/2024)

                        788                Objection to Claim Number 11 by Claimant H.N.B Construction, LLC
                        (53 pgs; 7 docs)   Hearing scheduled for 12/18/2024 at 11:00 AM at Houston, Courtroom
                                           403 (JPN). (Attachments: # 1 Proposed Order to Objection to Claim
                                           No. 11 # 2 Declaration of Christopher R. Murray # 3 Exhibit A - HNB
                                           Lien Affidavit # 4 Exhibit B - Prism Lien Affidavit # 5 Exhibit C -
                                           Prism Payment # 6 Exhibit D - Arin-Air Lien Affidavit) (Shannon, R.
10/21/2024                                 J.) (Entered: 10/21/2024)

                        789                Objection to Claim Number 15 by Claimant Sonder USA Inc. Hearing
                        (9 pgs; 3 docs)    scheduled for 12/18/2024 at 11:00 AM at Houston, Courtroom 403
                                           (JPN). (Attachments: # 1 Proposed Order to Objection to Claim No. 15
                                           # 2 Declaration of Christopher R. Murray) (Shannon, R. J.) (Entered:
10/21/2024                                 10/21/2024)

                        790                Objection to Claim Number 17 by Claimant Arin-Air, Inc. Hearing
                        (8 pgs; 3 docs)    scheduled for 12/18/2024 at 11:00 AM at Houston, Courtroom 403
                                           (JPN). (Attachments: # 1 Proposed Order to Objection to Claim No. 17
                                           # 2 Declaration of Christopher R. Murray) (Shannon, R. J.) (Entered:
10/21/2024                                 10/21/2024)

                        791                Objection to Claim Number 19 by Claimant Lloyd E. Kelley Hearing
                        (9 pgs; 3 docs)    scheduled for 12/18/2024 at 11:00 AM at Houston, Courtroom 403
                                           (JPN). (Attachments: # 1 Proposed Order to Objection to Claim No. 19
                                           # 2 Declaration of Christopher R. Murray) (Shannon, R. J.) (Entered:
10/21/2024                                 10/21/2024)

                        792                Objection to Claim Number 25 by Claimant Nationwide Investigations
                        (9 pgs; 3 docs)    & Security, Inc. Assigned to Guaranteed Claim Funding LLC Hearing
                                           scheduled for 12/18/2024 at 11:00 AM at Houston, Courtroom 403
                                           (JPN). (Attachments: # 1 Proposed Order to Objection to Claim No. 25
                                           # 2 Declaration of Christopher R. Murray) (Shannon, R. J.) (Entered:
10/21/2024                                 10/21/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 81 of 431
                        793                 **Terminated. Corrected Objection filed at 795 ** Objection to Claim
                        (8 pgs; 3 docs)     Number by Claimant TK Elevator Corporation Hearing scheduled for
                                            12/18/2024 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                            (Attachments: # 1 Proposed Order to Objection to Claim Scheduled as
                                            Claim E/F 3.27 # 2 Declaration of Christopher R. Murray) (Shannon,
10/21/2024                                  R. J.)Modified on 11/12/2024 (trc4). (Entered: 10/21/2024)

                        794                 Objection to Claim Number by Claimant Cleaning Advanced Systems,
                        (8 pgs; 3 docs)     Inc. Hearing scheduled for 12/18/2024 at 11:00 AM at Houston,
                                            Courtroom 403 (JPN). (Attachments: # 1 Proposed Order to Objection
                                            to Claim No. 26 # 2 Declaration of Christopher R. Murray) (Shannon,
10/21/2024                                  R. J.) (Entered: 10/21/2024)

                        795                 Objection to Claim Number by Claimant TK Elevator Corporation -
                        (11 pgs; 5 docs)    (Corrected) Hearing scheduled for 12/18/2024 at 11:00 AM at
                                            Houston, Courtroom 403 (JPN). (Attachments: # 1 Proposed Order to
                                            Claim Scheduled as Claim E/F 3.27 # 2 Declaration of Christopher R.
                                            Murray # 3 Exhibit A - Invoice (4740) # 4 Exhibit B - Invoice (6185))
10/21/2024                                  (Shannon, R. J.) (Entered: 10/21/2024)

                        796                 Statement of Issues on Appeal (related document(s):717 Order on
                        (7 pgs)             Claim Objection, 743 Order on Motion To Reconsider). (Cecere,
10/21/2024                                  Joseph) (Entered: 10/21/2024)

                        797                 Order Granting in part, Denying in part Application For Compensation
                        (2 pgs)             (Related Doc # 746). Granting in part, Denying in part for Gordon,
                                            Arata, Montgomery, Barnett, McCollam, Duplantis & Eagan, LLC,
                                            fees awarded: $4963.50, expenses awarded: $0.00 Signed on
10/22/2024                                  10/22/2024. (trc4) (Entered: 10/22/2024)

                        798                 Order Approving Application For Compensation (Related Doc # 747).
                        (2 pgs)             Approving for Shannon & Lee LLP, Approving Application For
10/22/2024                                  Compensation Signed on 10/22/2024. (trc4) (Entered: 10/22/2024)

                        799                 BNC Certificate of Mailing. (Related document(s):797 Order on
                        (7 pgs)             Application for Compensation) No. of Notices: 10. Notice Date
10/24/2024                                  10/24/2024. (Admin.) (Entered: 10/24/2024)

                        800                 BNC Certificate of Mailing. (Related document(s):798 Order on
                        (7 pgs)             Application for Compensation) No. of Notices: 10. Notice Date
10/24/2024                                  10/24/2024. (Admin.) (Entered: 10/24/2024)

                        801                 Record Transmitted under Rule 8010(b). On 10/30/2024, the appeal
                        (1 pg)              was transmitted to the U.S. District Court, assigned Judge Keith P
                                            Ellison, Civil Action 4:24cv2590. All appellate filings must now be
                                            made in the United States District Court with the civil action caption
                                            and case number. (Related document(s):603 Notice of Appeal) (bwl4)
10/30/2024                                  (Entered: 10/30/2024)

                        802                 Motion to Comply With the Gatekeeping Provision of the Confirmed
                        (312 pgs; 8 docs)   Chapter 11 Plan Filed by Creditor Ali Choudhri Hearing scheduled for
                                            12/3/2024 at 09:00 AM at Houston, 515 Rusk Suite 3401.
                                            (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 #
                                            5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7) (Cecere, Joseph) (Entered:
10/30/2024                                  10/30/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 82 of 431
                        803                 AO 435 TRANSCRIPT ORDER FORM (3-Day) by R.J. Shannon.
                        (1 pg)              This is to order a transcript of Emergency Motion for Protective Order
                                            6/17/2024 before Judge Jeffrey P. Norman. Court Reporter/Transcriber:
                                            Veritext Legal Solutions (Filed By Christopher Murray ). (Shannon, R.
                                            J.) Copy request electronically forwarded to Veritext Legal Solutions
                                            on 10/31/2024. Estimated completion date: 11/3/2024. Modified on
10/31/2024                                  10/31/2024 (hem4). (Entered: 10/31/2024)

                        807                 Order Signed on 10/31/2024. Appellants claims are hereby
                        (1 pg)              DISMISSED due to Appellants failure to prosecute (re: Clerk's Notice
10/31/2024                                  of Appeal 769) (mmm4) (Entered: 11/04/2024)

                        808                 Order Signed on 10/31/2024 (Related document(s):769 Notice of
                        (1 pg)              Appeal. Appellants claims are hereby DISMISSED due to Appellants
10/31/2024                                  failure to prosecute. (mmm4) (Entered: 11/04/2024)

                        804                 Order Denying Motion to Comply (Related Doc # 802) Signed on
11/01/2024              (1 pg)              11/1/2024. (trc4) (Entered: 11/01/2024)

                        805                 BNC Certificate of Mailing. (Related document(s):804 Generic Order)
                        (6 pgs)             No. of Notices: 10. Notice Date 11/03/2024. (Admin.) (Entered:
11/03/2024                                  11/03/2024)

                        806                 Transcript RE: held on 6/17/2024 before Judge JEFFREY P.
                        (407 pgs; 2 docs)   NORMAN. Transcript is available for viewing in the Clerk's Office.
                                            Within 21 days, parties are advised to comply with privacy
                                            requirements of Fed. R. Bank. P. 9037, ensuring that certain protected
                                            information is redacted from transcripts prior to their availability on
                                            PACER. Filed by Transcript access will be restricted through
11/04/2024                                  02/3/2025. (VeritextLegalSolutions) (Entered: 11/04/2024)

                        809                 Appellee Designation of Contents for Inclusion in Record of Appeal
                        (4 pgs)             (related document(s):769 Notice of Appeal, 796 Statement of Issues on
11/04/2024                                  Appeal). (Shannon, R. J.) (Entered: 11/04/2024)

                        810                 Motion MOTION TO COMPLY WITH THE GATEKEEPING
                        (312 pgs; 8 docs)   PROVISIONS OF THE CONFIRMED CHAPTER 11 PLAN Filed by
                                            Creditor Ali Choudhri Hearing scheduled for 12/18/2024 at 11:00 AM
                                            at Houston, Courtroom 403 (JPN). (Attachments: # 1 Exhibit # 2
                                            Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit # 6 Exhibit # 7 Exhibit)
11/04/2024                                  (Cecere, Joseph) (Entered: 11/04/2024)

                        811                 Order Resetting Hearing Signed on 11/5/2024 (Related
                        (1 pg)              document(s):810 Motion to Comply with the Gatekeeping Provision of
                                            the Confirmed Ch 11 Plan) Hearing rescheduled for 12/3/2024 at
                                            09:00 AM at Houston, Courtroom 403 (JPN). (trc4) (Entered:
11/05/2024                                  11/05/2024)

                        812                 BNC Certificate of Mailing. (Related document(s):806 Transcript) No.
11/06/2024              (6 pgs)             of Notices: 8. Notice Date 11/06/2024. (Admin.) (Entered: 11/06/2024)

                        813                 BNC Certificate of Mailing. (Related document(s):807 Generic Order)
                        (6 pgs)             No. of Notices: 8. Notice Date 11/06/2024. (Admin.) (Entered:
11/06/2024                                  11/06/2024)
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD             Page 83 of 431
                        814                   BNC Certificate of Mailing. (Related document(s):808 Generic Order)
                        (6 pgs)               No. of Notices: 8. Notice Date 11/06/2024. (Admin.) (Entered:
11/06/2024                                    11/06/2024)

                        815                   BNC Certificate of Mailing. (Related document(s):811 Order Setting
                        (6 pgs)               Hearing) No. of Notices: 8. Notice Date 11/07/2024. (Admin.)
11/07/2024                                    (Entered: 11/07/2024)

                        816                   Emergency Motion NBK's Emergency Motion to Enforce Sale Order
                        (20 pgs; 3 docs)      Filed by Creditor National Bank of Kuwait, S.A.K.P., New York
                                              Branch (Attachments: # 1 Exhibit A # 2 Exhibit B) (Conrad, Charles)
11/18/2024                                    (Entered: 11/18/2024)

                        817                   Order Setting Hearing Signed on 11/18/2024 (Related
                        (1 pg)                document(s):816 Emergency Motion to Enforce Sale Order) Hearing
                                              scheduled for 11/21/2024 at 10:30 AM at Houston, Courtroom 403
11/18/2024                                    (JPN). (srh4) (Entered: 11/18/2024)

                        818                   Notice Notice of response Deadline and Hearing on NBK's Emergency
                        (5 pgs)               Motion to Enforce Sale Order. (Related document(s):816 Emergency
                                              Motion, 817 Order Setting Hearing) Filed by National Bank of Kuwait,
11/18/2024                                    S.A.K.P., New York Branch (Conrad, Charles) (Entered: 11/18/2024)

                        819                   Stipulation By Sonder USA Inc. and Christopher R. Murray,
                        (3 pgs)               Liquidating Trustee. Does this document include an agreed order or
                                              otherwise request that the judge sign a document? Yes. (Filed By
                                              Sonder USA Inc. ).(Related document(s):789 Objection to Claim)
11/18/2024                                    (Wilson, Broocks) (Entered: 11/18/2024)

                        820                   Stipulation and Agreed Order Modifying the Plan Objection Deadline
                        (3 pgs)               Signed on 11/19/2024 (Related document(s):789 Objection to Claim)
                                              Response deadline extended to December 11, 2024. Hearing on
11/19/2024                                    12/18/24 is a Status Conference. (trc4) (Entered: 11/19/2024)

                        821                   Objection Response to Objection to Proof of Claim No. 9 (Doc. 787).
                        (4 pgs)               Filed by Nichamoff Law PC, Borunda, P.C., The Norwood Firm, P.C.
11/19/2024                                    (Nichamoff, Seth) (Entered: 11/19/2024)

                        822                   Response to Trustee's Objection to Claim No.6. Filed by Rodney
11/19/2024              (9 pgs)               Drinnon (Drinnon, Rodney) (Entered: 11/19/2024)

                        823                   Witness List, Exhibit List (Filed By National Bank of Kuwait,
                        (1093 pgs; 22 docs)   S.A.K.P., New York Branch ).(Related document(s):816 Emergency
                                              Motion, 817 Order Setting Hearing, 818 Notice) (Attachments: # 1
                                              Exhibit 1 # 2 Exhibit 2A # 3 Exhibit 2B # 4 Exhibit 3 # 5 Exhibit 4 # 6
                                              Exhibit 5 # 7 Exhibit 6 # 8 Exhibit 7 # 9 Exhibit 8A # 10 Exhibit 8B #
                                              11 Exhibit 9 # 12 Exhibit 10A # 13 Exhibit 10B # 14 Exhibit 10C # 15
                                              Exhibit 11 # 16 Exhibit 12 # 17 Exhibit 12B # 18 Exhibit 12C # 19
                                              Exhibit 12D # 20 Exhibit 12E # 21 Exhibit 13) (Conrad, Charles)
11/20/2024                                    (Entered: 11/20/2024)

11/20/2024              824                   Response NBK's Response to Ali Choudhri's Motion to Comply with
                        (350 pgs; 6 docs)     the Gatekeeping Provisions of the Confirmed Chapter 11 Plan (related
                                              document(s):810 Generic Motion). Filed by National Bank of Kuwait,
                                              S.A.K.P., New York Branch (Attachments: # 1 Exhibit A # 2 Exhibit B
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 84 of 431
                                            # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E) (Conrad, Charles) (Entered:
                                            11/20/2024)

                        825                 Motion Filed by Creditor Ali Choudhri Hearing scheduled for
                        (71 pgs; 7 docs)    11/25/2024 at 11:00 AM at Houston, 515 Rusk Suite 3401.
                                            (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5
11/20/2024                                  Exhibit # 6 Exhibit) (Cecere, Joseph) (Entered: 11/20/2024)

                        826                 Witness List (Filed By Ali Choudhri ). (Attachments: # 1 Exhibit # 2
                        (60 pgs; 6 docs)    Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit) (Cecere, Joseph) (Entered:
11/20/2024                                  11/20/2024)

                        827                 BNC Certificate of Mailing. (Related document(s):817 Order Setting
                        (6 pgs)             Hearing) No. of Notices: 8. Notice Date 11/20/2024. (Admin.)
11/20/2024                                  (Entered: 11/20/2024)

                        828                 Courtroom Minutes. Time Hearing Held: 10:30. Appearances: Carl
                                            Cecere for Jettall Companies, Charles Conrad, Andrew Troop, Patrick
                                            Fitzmaurice for National Bank Kuwait, RJ Shannon for Trustee
                                            Christopher Murray. (Related document(s):816 Emergency Motion to
                                            Enforce Sale) Parties agree to withdraw Motion. Motion withdrawn on
11/21/2024                                  the record. (srh4) (Entered: 11/21/2024)

                        829                 Order Mooting Motion (Related Doc # 825) Signed on 11/21/2024.
11/21/2024              (1 pg)              (trc4) (Entered: 11/21/2024)

                        830
                        (1 pg)                  PDF with attached Audio File. Court Date & Time [ 11/21/2024
                                            10:29:42 AM ]. File Size [ 5000 KB ]. Run Time [ 00:10:25 ]. (admin).
11/21/2024                                  (Entered: 11/21/2024)

                        831                 BNC Certificate of Mailing. (Related document(s):820 Generic Order)
                        (8 pgs)             No. of Notices: 8. Notice Date 11/21/2024. (Admin.) (Entered:
11/21/2024                                  11/21/2024)

                        835                 Copy Final Judgement entered in 4:24cv2590 Signed on 11/21/2024 by
                        (1 pg)              Judge Keith P Ellison (Related document(s): 619 Election to Appeal)
11/21/2024                                  (hlc4) (Entered: 11/26/2024)

                        832                 BNC Certificate of Mailing. (Related document(s):829 Generic Order)
                        (6 pgs)             No. of Notices: 8. Notice Date 11/23/2024. (Admin.) (Entered:
11/23/2024                                  11/23/2024)

                        833                 Order Denying Motion (Related Doc # 810) Signed on 11/25/2024.
11/25/2024              (2 pgs)             Motion Denied with Prejudice. (trc4) (Entered: 11/25/2024)

                        834                 Response to Objection to Claim. Filed by Lloyd E Kelley
                        (4 pgs; 2 docs)     (Attachments: # 1 Proposed Order Proposed Order) (Pierce, James)
11/25/2024                                  (Entered: 11/25/2024)

                        836                 BNC Certificate of Mailing. (Related document(s):833 Generic Order)
                        (7 pgs)             No. of Notices: 8. Notice Date 11/27/2024. (Admin.) (Entered:
11/27/2024                                  11/27/2024)

11/28/2024              837                 BNC Certificate of Mailing. (Related document(s):835 Generic Order)
                        (6 pgs)             No. of Notices: 9. Notice Date 11/28/2024. (Admin.) (Entered:
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD            Page 85 of 431
                                              11/28/2024)

                        838                   Emergency Motion NBK's (Renewed) Emergency Motion to Enforce
                        (45 pgs; 6 docs)      Sale Order (Jetall Companies, Inc.) Filed by Creditor National Bank of
                                              Kuwait, S.A.K.P., New York Branch (Attachments: # 1 Exhibit A # 2
                                              Exhibit B Proposed Order # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E)
12/02/2024                                    (Conrad, Charles) (Entered: 12/02/2024)

                        839                   Emergency Motion NBK's Second Emergency Motion to Enforce Sale
                        (99 pgs; 3 docs)      Order (2425 WL, LLC) Filed by Creditor National Bank of Kuwait,
                                              S.A.K.P., New York Branch (Attachments: # 1 Exhibit A - Proposed
12/02/2024                                    Order # 2 Exhibit B) (Conrad, Charles) (Entered: 12/02/2024)

                        840                   Adversary case 24-03257. Nature of Suit: (01 (Determination of
                        (28 pgs; 3 docs)      removed claim or cause)) Notice of Removal Jetall Companies, Inc..
                                              Fee Amount $350 (Attachments: # 1 Exhibit A # 2 Exhibit B) (Conrad,
12/03/2024                                    Charles) (Entered: 12/03/2024)

                        841                   Opposition Motion Filed by Debtor Galleria 2425 Owner, LLC
                        (3 pgs)               Hearing scheduled for 12/3/2024 at 11:00 AM at Houston, 515 Rusk
12/03/2024                                    Suite 3401. (Cecere, Joseph) (Entered: 12/03/2024)

                        842                   Opposition Objection (related document(s):838 Emergency Motion,
                        (3 pgs)               839 Emergency Motion). Filed by Galleria 2425 Owner, LLC (Cecere,
12/03/2024                                    Joseph) (Entered: 12/03/2024)

                        843                   Order Setting Hearing Signed on 12/3/2024 (Related document(s):838
                        (1 pg)                Emergency Motion, 839 Emergency Motion) Hearing scheduled for
                                              12/5/2024 at 09:00 AM at Laredo, 1300 Victoria St. (srh4) (Entered:
12/03/2024                                    12/03/2024)

                        844                   Certificate of Service (Filed By National Bank of Kuwait, S.A.K.P.,
                        (3 pgs)               New York Branch ).(Related document(s):838 Emergency Motion, 839
                                              Emergency Motion, 843 Order Setting Hearing) (Conrad, Charles)
12/03/2024                                    (Entered: 12/03/2024)

                        845                   Order Striking Motion and Hearing (Related Doc # 841) Signed on
12/03/2024              (1 pg)                12/3/2024. (srh4) (Entered: 12/03/2024)

                        846                   Witness List, Exhibit List (Filed By National Bank of Kuwait,
                        (1182 pgs; 24 docs)   S.A.K.P., New York Branch ).(Related document(s):838 Emergency
                                              Motion, 839 Emergency Motion, 843 Order Setting Hearing)
                                              (Attachments: # 1 Exhibit 1 # 2 Exhibit 2-A # 3 Exhibit 2-B # 4
                                              Exhibit 3 # 5 Exhibit 4 # 6 Exhibit 5 # 7 Exhibit 6 # 8 Exhibit 7 # 9
                                              Exhibit 8-A # 10 Exhibit 8-B # 11 Exhibit 9 # 12 Exhibit 10-A # 13
                                              Exhibit 10-B # 14 Exhibit 10-C # 15 Exhibit 11 # 16 Exhibit 12 # 17
                                              Exhibit 12-B # 18 Exhibit 12-C # 19 Exhibit 12-D # 20 Exhibit 12-E #
                                              21 Exhibit 13 # 22 Exhibit 14 # 23 Exhibit 15) (Conrad, Charles)
12/04/2024                                    (Entered: 12/04/2024)

                        847                   Witness List (Filed By Galleria 2425 Owner, LLC ).(Related
                        (104 pgs; 8 docs)     document(s):843 Order Setting Hearing) (Attachments: # 1 Exhibit # 2
                                              Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit # 6 Exhibit # 7 Exhibit)
12/04/2024                                    (Cecere, Joseph) (Entered: 12/04/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 86 of 431
                        848                 Response (related document(s):838 Emergency Motion, 839
                        (122 pgs; 9 docs)   Emergency Motion). Filed by 2425 WL, LLC, Jetall Companies, Inc.
                                            (Attachments: # 1 Exhibit Exhibit 1 # 2 Exhibit Exhibit 1A # 3 Exhibit
                                            Exhibit 1B # 4 Exhibit Exhibit 2 # 5 Exhibit Exhibit 3 # 6 Exhibit
                                            Exhibit 4 # 7 Exhibit Exhibit 5 # 8 Proposed Order) (Cecere, Joseph)
12/04/2024                                  (Entered: 12/04/2024)

                        849                 Response (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (7 pgs; 2 docs)     Branch ).(Related document(s):838 Emergency Motion, 839
                                            Emergency Motion, 848 Response) (Attachments: # 1 Exhibit A)
12/04/2024                                  (Conrad, Charles) (Entered: 12/04/2024)

                        850                 Exhibit List (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (5 pgs; 2 docs)     Branch ).(Related document(s):838 Emergency Motion, 839
                                            Emergency Motion, 843 Order Setting Hearing, 846 Witness List,
                                            Exhibit List, 849 Response) (Attachments: # 1 Exhibit 16) (Conrad,
12/04/2024                                  Charles) (Entered: 12/04/2024)

                        851                 Witness List (Filed By Galleria 2425 Owner, LLC ). (Attachments: # 1
                        (136 pgs; 4 docs)   Exhibit # 2 Exhibit # 3 Exhibit) (Cecere, Joseph) (Entered:
12/04/2024                                  12/04/2024)

                        852                 Notice of Suggestion of Bankruptcy. Filed by Jetall Companies, Inc.
                        (6 pgs; 2 docs)     (Attachments: # 1 Exhibit Exhibit 1) (Cecere, Joseph) (Entered:
12/05/2024                                  12/05/2024)

                        853                 Courtroom Minutes. Time Hearing Held: 9:00. Appearances: Andrew
                                            Troop for National Bank of Kuwait, Carl Cecere for Jetall Companies,
                                            RJ Shannon for Trustee Chris Murray. ERO: Yes. (Related
                                            document(s):838 Emergency Motion, 839 Emergency Motion)
                                            Emergency hearing held. Court heard arguments from parties. Court
                                            will take ECF 838 under advisement and Court will grant ECF 839
                                            with modifications. Additionally, Court will request transfer of
                                            Jurisdiction for Western District Filing of Chapter 11 Involuntary
12/05/2024                                  Petition. (srh4) (Entered: 12/05/2024)

                        854
                        (1 pg)                  PDF with attached Audio File. Court Date & Time [ 12/5/2024
                                            9:00:19 AM ]. File Size [ 30907 KB ]. Run Time [ 01:04:23 ]. (admin).
12/05/2024                                  (Entered: 12/05/2024)

                        855                 Supplemental Response to the Motion to enforce Sale Order. Filed by
12/05/2024              (4 pgs)             Jetall Companies, Inc. (Cecere, Joseph) (Entered: 12/05/2024)

                        856                 Order Abating Ruling (Related Doc # 838, Related Doc # 839) Signed
12/05/2024              (1 pg)              on 12/5/2024. (srh4) (Entered: 12/05/2024)

                        857                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Carl
                        (2 pgs)             Cecere. This is to order a transcript of Motion to Enforce Sale Order,
                                            December 5, 2024 before Judge Jeffrey P. Norman. Court
                                            Reporter/Transcriber: Access Transcripts (Filed By Jetall Companies,
                                            Inc. ). (Cecere, Joseph) Electronically forwarded to Access on
                                            12/06/2024. Estimated completion date: 12/07/2024. Modified on
12/05/2024                                  12/6/2024 (gc4). (Entered: 12/05/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 87 of 431
                        858                 BNC Certificate of Mailing. (Related document(s):843 Order Setting
                        (6 pgs)             Hearing) No. of Notices: 9. Notice Date 12/05/2024. (Admin.)
12/05/2024                                  (Entered: 12/05/2024)

                        859                 BNC Certificate of Mailing. (Related document(s):845 Generic Order)
                        (3 pgs)             No. of Notices: 9. Notice Date 12/05/2024. (Admin.) (Entered:
12/05/2024                                  12/05/2024)

                        860                 Proposed Order RE: AGREED ORDER SUSTAINING TRUSTEES
                        (2 pgs)             OBJECTION TO CLAIM NO. 11 OF H.N.B. CONSTRUCTION, LLC
                                            (Filed By Christopher R Murray ).(Related document(s):788 Objection
12/06/2024                                  to Claim) (Shannon, R. J.) (Entered: 12/06/2024)

                        861                 Statement NBK's Supplement to Emergency Motions to Enforce Sale
                        (13 pgs; 2 docs)    Orders [ECF Nos. 838 and 839] (Filed By National Bank of Kuwait,
                                            S.A.K.P., New York Branch ).(Related document(s):843 Order Setting
                                            Hearing, 849 Response, 853 Courtroom Minutes, 856 Order on
                                            Emergency Motion, Order on Emergency Motion) (Attachments: # 1
12/06/2024                                  Exhibit A) (Conrad, Charles) (Entered: 12/06/2024)

                        862                 AO 435 TRANSCRIPT ORDER FORM (3-Day) by National Bank of
                        (2 pgs)             Kuwait, S.A.K.P., New York Branch / Andrew Troop. This is to order a
                                            transcript of Hearing held 12-5-2024 in Laredo before Judge Jeffrey P.
                                            Norman. Court Reporter/Transcriber: Access Transcripts (Filed By
                                            National Bank of Kuwait, S.A.K.P., New York Branch ). (Troop,
                                            Andrew) Copy request electronically forwarded to Access on
                                            12/06/2024. Estimated completion date: 12/09/2024. Modified on
12/06/2024                                  12/6/2024 (gc4). (Entered: 12/06/2024)

                        863                 Order Vacating Abatement Signed on 12/6/2024 (Related
                        (1 pg)              document(s):856 Order on Emergency Motion, Order on Emergency
12/06/2024                                  Motion) (srh4) (Entered: 12/06/2024)

                        864                 Order Sustaining Trustee's Objection to the Claim of TK Elevator
                        (2 pgs)             Corporation Signed on 12/6/2024 (Related document(s):795 Objection
12/06/2024                                  to Claim) (srh4) (Entered: 12/06/2024)

                        865                 Order Sustaining Trustee's Objection Claim No 26 of Cleaning
                        (2 pgs)             Advances Systems, Inc. Signed on 12/6/2024 (Related
12/06/2024                                  document(s):794 Objection to Claim) (srh4) (Entered: 12/06/2024)

                        866                 Order Sustaining Trustee's Objection to Claim No. 25 of Nationwide
                        (2 pgs)             Investigations & Security, Inc. Signed on 12/6/2024 (Related
12/06/2024                                  document(s):792 Objection to Claim) (srh4) (Entered: 12/06/2024)

                        867                 Order Sustaining Trustee's Objection to Claim No 17 of Arin-Air
                        (2 pgs)             Signed on 12/6/2024 (Related document(s):790 Objection to Claim)
12/06/2024                                  (srh4) (Entered: 12/06/2024)

                        868                 Order Sustaining Trustee's Objection to Claim No. 8 of US Retailers
                        (2 pgs)             LLC d/b/a/Cirro Energy Signed on 12/6/2024 (Related
12/06/2024                                  document(s):786 Objection to Claim) (srh4) (Entered: 12/06/2024)
        Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD            Page 88 of 431
                        869                 Agreed Order Sustaining Trustee's Objection to claim No. 11 of H.N.
                        (2 pgs)             B. Construction, LLC Signed on 12/6/2024 (Related document(s):788
12/06/2024                                  Objection to Claim) (srh4) (Entered: 12/06/2024)

                        870                 Memorandum Opinion of Bankruptcy Judge Signed on 12/6/2024
                        (4 pgs)             (Related document(s):838 Emergency Motion, 839 Emergency
12/06/2024                                  Motion) (srh4) (Entered: 12/06/2024)

                        871                 Order Granting Emergency Motion to Enforce Sale Order and
                        (3 pgs)             Requiring Jetall Companies, Inc. to Vacate Property (Related Doc #
12/06/2024                                  838) Signed on 12/6/2024. (srh4) (Entered: 12/06/2024)

                        872                 Order Releasing Deed of Trust Instrument No RP 2021-358619
                        (3 pgs)             (Related Doc # 839) Signed on 12/6/2024. (srh4) (Entered:
12/06/2024                                  12/06/2024)

                        873                 Transcript RE: Hearing on Emergency Motions held on 12/5/24 before
                        (43 pgs; 2 docs)    Judge Jeffrey P. Norman. Transcript is available for viewing in the
                                            Clerk's Office. Within 21 days, parties are advised to comply with
                                            privacy requirements of Fed. R. Bank. P. 9037, ensuring that certain
                                            protected information is redacted from transcripts prior to their
                                            availability on PACER. Filed by Transcript access will be restricted
12/07/2024                                  through 03/7/2025. (AccessTranscripts) (Entered: 12/07/2024)

                        874                 BNC Certificate of Mailing. (Related document(s):856 Order on
                        (3 pgs)             Emergency Motion) No. of Notices: 9. Notice Date 12/07/2024.
12/07/2024                                  (Admin.) (Entered: 12/07/2024)

                        875                 Notice of Appeal filed. (related document(s):870 Opinion, 871 Order
                        (19 pgs; 4 docs)    on Emergency Motion, 872 Order on Emergency Motion). Fee Amount
                                            $298. Appellant Designation due by 12/23/2024. (Attachments: # 1
                                            Exhibit # 2 Exhibit # 3 Exhibit) (Cecere, Joseph) (Entered:
12/08/2024                                  12/08/2024)

                                            Receipt of Notice of Appeal( 23-34815) [appeal,ntcapl] ( 298.00)
                                            Filing Fee. Receipt number B25763260. Fee amount $ 298.00. (U.S.
12/08/2024                                  Treasury) (Entered: 12/08/2024)

                        876                 BNC Certificate of Mailing. (Related document(s):863 Order Vacating
                        (4 pgs)             Order) No. of Notices: 42. Notice Date 12/08/2024. (Admin.) (Entered:
12/08/2024                                  12/08/2024)

                        877                 BNC Certificate of Mailing. (Related document(s):864 Generic Order)
                        (7 pgs)             No. of Notices: 9. Notice Date 12/08/2024. (Admin.) (Entered:
12/08/2024                                  12/08/2024)

                        878                 BNC Certificate of Mailing. (Related document(s):865 Generic Order)
                        (7 pgs)             No. of Notices: 9. Notice Date 12/08/2024. (Admin.) (Entered:
12/08/2024                                  12/08/2024)

                        879                BNC Certificate of Mailing. (Related document(s):866 Generic Order)
                        (4 pgs)            No. of Notices: 9. Notice Date 12/08/2024. (Admin.) (Entered:
12/08/2024                                 12/08/2024)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD            Page 89 of 431
                        880                  BNC Certificate of Mailing. (Related document(s):867 Generic Order)
                        (4 pgs)              No. of Notices: 9. Notice Date 12/08/2024. (Admin.) (Entered:
12/08/2024                                   12/08/2024)

                        881                  BNC Certificate of Mailing. (Related document(s):868 Generic Order)
                        (4 pgs)              No. of Notices: 9. Notice Date 12/08/2024. (Admin.) (Entered:
12/08/2024                                   12/08/2024)

                        882                  BNC Certificate of Mailing. (Related document(s):869 Generic Order)
                        (4 pgs)              No. of Notices: 9. Notice Date 12/08/2024. (Admin.) (Entered:
12/08/2024                                   12/08/2024)

                        883                  BNC Certificate of Mailing. (Related document(s):870 Opinion) No. of
12/08/2024              (6 pgs)              Notices: 9. Notice Date 12/08/2024. (Admin.) (Entered: 12/08/2024)

                        884                  BNC Certificate of Mailing. (Related document(s):871 Order on
                        (5 pgs)              Emergency Motion) No. of Notices: 9. Notice Date 12/08/2024.
12/08/2024                                   (Admin.) (Entered: 12/08/2024)

                        885                  BNC Certificate of Mailing. (Related document(s):872 Order on
                        (8 pgs)              Emergency Motion) No. of Notices: 9. Notice Date 12/08/2024.
12/08/2024                                   (Admin.) (Entered: 12/08/2024)

                        886                  Motion to Compel Filed by Interested Party Houston 2425 Galleria,
                        (21 pgs; 3 docs)     LLC (Attachments: # 1 Exhibit A # 2 Exhibit B Proposed Order)
12/09/2024                                   (Conrad, Charles) (Entered: 12/09/2024)

                        887                  Notice of Appeal filed. (related document(s):833 Generic Order). Fee
                        (9 pgs; 2 docs)      Amount $298. Appellant Designation due by 12/23/2024. (Attachments:
12/09/2024                                   # 1 Exhibit) (Cecere, Joseph) (Entered: 12/09/2024)

                                             Receipt of Notice of Appeal( 23-34815) [appeal,ntcapl] ( 298.00) Filing
                                             Fee. Receipt number AXXXXXXXX. Fee amount $ 298.00. (U.S. Treasury)
12/09/2024                                   (Entered: 12/09/2024)

                        888                  Election to Appeal to District Court NOA 875. (hl4) (Entered:
12/10/2024                                   12/10/2024)

                        889                  Clerk's Notice of Filing of an Appeal. On 12/08/2024, Jetall Companies
                        (1 pg)               filed a notice of appeal. The appeal has been assigned to U.S. District
                                             Judge Keith P Ellison, Civil Action 24cv4835. Parties notified (Related
12/10/2024                                   document(s):875 Notice of Appeal) (hl4) (Entered: 12/10/2024)

                        890                  Election to Appeal to District Court NOA 887. (hl4) (Entered:
12/10/2024                                   12/10/2024)

                        891                  Clerk's Notice of Filing of an Appeal. On 12/09/2024, Ali Choudhri
                        (1 pg)               filed a notice of appeal. The appeal has been assigned to U.S. District
                                             Judge Keith P Ellison, Civil Action 24cv4836. Parties notified (Related
12/10/2024                                   document(s):887 Notice of Appeal) (hl4) (Entered: 12/10/2024)

12/10/2024              892                  Motion Filed by Debtor Galleria 2425 Owner, LLC Hearing scheduled
                        (347 pgs; 20 docs)   for 12/18/2024 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                             (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5
                                             Exhibit # 6 Exhibit # 7 Exhibit # 8 Exhibit # 9 Exhibit # 10 Exhibit # 11
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 90 of 431
                                           Exhibit # 12 Exhibit # 13 Exhibit # 14 Exhibit # 15 Exhibit # 16 Exhibit
                                           # 17 Exhibit # 18 Exhibit # 19 Proposed Order) (Cecere, Joseph)
                                           (Entered: 12/10/2024)

                        893                Order Striking Document Signed on 12/10/2024 (Related
12/10/2024              (1 pg)             document(s):886 Motion to Compel) (trc4) (Entered: 12/10/2024)

                        894                Exhibit List (Filed By Nichamoff Law PC ).(Related document(s):787
12/10/2024              (27 pgs)           Objection to Claim) (Nichamoff, Seth) (Entered: 12/10/2024)

                        895                Emergency Motion NBK's Third Emergency Motion to Enforce Sale
                        (19 pgs; 3 docs)   Order (Jetall Companies, Inc. -- Lis Pendens) Filed by Creditor
                                           National Bank of Kuwait, S.A.K.P., New York Branch (Attachments: #
                                           1 Exhibit A # 2 Exhibit B Proposed Order) (Conrad, Charles) (Entered:
12/10/2024                                 12/10/2024)

                        896                Order Setting Hearing Signed on 12/11/2024 (Related document(s):895
                        (1 pg)             Emergency Motion to Enforce Sale Order) Hearing scheduled for
                                           12/20/2024 at 11:00 AM at Houston, Courtroom 403 (JPN). (trc4)
12/11/2024                                 (Entered: 12/11/2024)

                        897                Order Denying Emergency Motion (Related Doc # 892) Signed on
12/11/2024              (2 pgs)            12/11/2024. (trc4) (Entered: 12/11/2024)

                        898                Certificate of Service (Filed By National Bank of Kuwait, S.A.K.P.,
                        (3 pgs)            New York Branch ).(Related document(s):896 Order Setting Hearing)
12/11/2024                                 (Troop, Andrew) (Entered: 12/11/2024)

                        899                **Withdrawn at ECF 902** Response (related document(s):789
                        (4 pgs; 2 docs)    Objection to Claim, 820 Generic Order). (Attachments: # 1 Proposed
                                           Order) (Lim, Lloyd)Modified on 12/12/2024 (trc4). (Entered:
12/11/2024                                 12/11/2024)

                        900                BNC Certificate of Mailing. (Related document(s):873 Transcript) No.
12/11/2024              (6 pgs)            of Notices: 9. Notice Date 12/11/2024. (Admin.) (Entered: 12/11/2024)

                        901                Response (related document(s):789 Objection to Claim, 820 Generic
                        (4 pgs; 2 docs)    Order). (Attachments: # 1 Proposed Order) (Wilson, Broocks) (Entered:
12/11/2024                                 12/11/2024)

                        902                Withdraw Document (Filed By Sonder USA Inc. ).(Related
12/11/2024              (2 pgs)            document(s):899 Response) (Wilson, Broocks) (Entered: 12/11/2024)

                        903                BNC Certificate of Mailing. (Related document(s):893 Generic Order)
                        (3 pgs)            No. of Notices: 9. Notice Date 12/12/2024. (Admin.) (Entered:
12/12/2024                                 12/13/2024)

                        904                BNC Certificate of Mailing. (Related document(s):889 Clerk's Notice of
                        (6 pgs)            Filing of an Appeal) No. of Notices: 9. Notice Date 12/12/2024.
12/12/2024                                 (Admin.) (Entered: 12/13/2024)

                        905                BNC Certificate of Mailing. (Related document(s):891 Clerk's Notice of
                        (6 pgs)            Filing of an Appeal) No. of Notices: 9. Notice Date 12/12/2024.
12/12/2024                                 (Admin.) (Entered: 12/13/2024)
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD            Page 91 of 431
                        906                  Witness List (Filed By Rodney Drinnon ).(Related document(s):785
12/13/2024              (6 pgs)              Objection to Claim) (Drinnon, Rodney) (Entered: 12/13/2024)

                        907                  Exhibit List (Filed By Rodney Drinnon ).(Related document(s):785
                        (358 pgs; 5 docs)    Objection to Claim) (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit #
12/13/2024                                   4 Exhibit) (Drinnon, Rodney) (Entered: 12/13/2024)

                        908                  BNC Certificate of Mailing. (Related document(s):896 Order Setting
                        (6 pgs)              Hearing) No. of Notices: 9. Notice Date 12/13/2024. (Admin.) (Entered:
12/13/2024                                   12/13/2024)

                        909                  BNC Certificate of Mailing. (Related document(s):897 Generic Order)
                        (4 pgs)              No. of Notices: 9. Notice Date 12/13/2024. (Admin.) (Entered:
12/13/2024                                   12/13/2024)

                        910                  Exhibit List, Witness List (Filed By Christopher R Murray ).(Related
                        (346 pgs; 23 docs)   document(s):785 Objection to Claim, 787 Objection to Claim, 791
                                             Objection to Claim) (Attachments: # 1 Exhibit 1 - Proof of Claim No. 6
                                             filed by Rodney L. Drinnon # 2 Exhibit 2 - Trustee's Objection to Claim
                                             No. 6 of Rodney L. Drinnon # 3 Exhibit 3 - Declaration of Murray re
                                             Objection to Claim No. 6 # 4 Exhibit 4 - Drinnon's Response to
                                             Trustee's Objection to Claim No. 6 # 5 Exhibit 5 - Annotated Objection
                                             to Claim No. 6 of Rodney L. Drinnon # 6 Exhibit 6 - Proof of Claim No.
                                             9 filed by Nichamoff Law PC, Borunda, P.C., and the Norwood Firm,
                                             P.C. # 7 Exhibit 7 - Trustee's Objection to Claim No. 9 of Nichamoff
                                             Law PC, Borunda, P.C., and the Norwood Firm, P.C. # 8 Exhibit 8 -
                                             Declaration of Murray re Objection to Claim No. 9 # 9 Exhibit 9 -
                                             Response to Objection to Proof of Claim No. 9 # 10 Exhibit 10 -
                                             Annotated Objection to Claim No. 9 of Nichamoff Law PC, Borunda,
                                             P.C., and the Norwood Firm, P.C. # 11 Exhibit 11 - Confidential
                                             Settlement Agreement # 12 Exhibit 12 - Proof of Claim No. 14 filed by
                                             National Bank of Kuwait # 13 Exhibit 13 - Memorandum Opinion # 14
                                             Exhibit 14 - Order Confirming Chapter 11 Plan of Liquidation of the
                                             Debtor by National Bank of Kuwait, S.A.K.P. New York Branch # 15
                                             Exhibit 15 - Final Judgement re Appeal of Confirmation Order # 16
                                             Exhibit 16 - Proof of Claim No. 19 filed by Lloyd E. Kelley # 17
                                             Exhibit 17 - Trustee's Objection to Claim No. 19 of Lloyd E. Kelley #
                                             18 Exhibit 18 - Declaration of Murray re Objection to Claim No. 19 #
                                             19 Exhibit 19 - Kelley's Response to Objection to Claim and Motion to
                                             Compel Arbitration # 20 Exhibit 20 - Sonder Sale Order # 21 Exhibit 21
                                             - Deed of Trust Granted by the Debtor to NBK dated May 23, 2018 # 22
                                             Exhibit 22 - Absolute Assignment of Leases Granted by the Debtor to
12/16/2024                                   NBK dated May 23, 2018) (Shannon, R. J.) (Entered: 12/16/2024)

                        911                  Order Canceling Lis Pendens (Related Doc # 895) Signed on
12/17/2024              (3 pgs)              12/17/2024. (trc4) (Entered: 12/17/2024)

                        912                  Order Sustaining Objection to Claim Number 6 of Rodney Drinnon
                        (2 pgs)              Signed on 12/17/2024 (Related document(s):785 Objection to Claim)
12/17/2024                                   (trc4) (Entered: 12/17/2024)

                        913                  Order on Objection to Claim #19 of Lloyd E. Kelley Signed on
                        (1 pg)               12/17/2024 (Related document(s):791 Objection to Claim) (trc4)
12/17/2024                                   (Entered: 12/17/2024)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD            Page 92 of 431
                        914                Order on Objection to Claim Number 9 of The Nichamoff Law PC
                        (2 pgs)            Signed on 12/17/2024 (Related document(s):787 Objection to Claim)
12/17/2024                                 (trc4) (Entered: 12/17/2024)

                        915                Courtroom Minutes. Time Hearing Held: 11:00. Appearances: RJ
                                           Shannon for Chris Murray. (Related document(s):789 Objection to
                                           Claim Number 15 by Claimant Sonder USA Inc ) Status Conference
                                           held. Parties agreed to a Continuance. Hearing scheduled for
                                           2/18/2025 at 11:00 AM at Houston, Courtroom 403 (JPN). (srh4).
12/18/2024                                 (Entered: 12/18/2024)

                        916
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 12/18/2024
                                           11:04:25 AM ]. File Size [ 745 KB ]. Run Time [ 00:01:33 ]. (admin).
12/18/2024                                 (Entered: 12/18/2024)

                        918                BNC Certificate of Mailing. (Related document(s):911 Order on
                        (5 pgs)            Emergency Motion) No. of Notices: 9. Notice Date 12/19/2024.
12/19/2024                                 (Admin.) (Entered: 12/19/2024)

                        919                BNC Certificate of Mailing. (Related document(s):912 Order on Claim
                        (7 pgs)            Objection) No. of Notices: 9. Notice Date 12/19/2024. (Admin.)
12/19/2024                                 (Entered: 12/19/2024)

                        920                BNC Certificate of Mailing. (Related document(s):913 Order on Claim
                        (6 pgs)            Objection) No. of Notices: 10. Notice Date 12/19/2024. (Admin.)
12/19/2024                                 (Entered: 12/19/2024)

                        921                BNC Certificate of Mailing. (Related document(s):914 Order on Claim
                        (7 pgs)            Objection) No. of Notices: 10. Notice Date 12/19/2024. (Admin.)
12/19/2024                                 (Entered: 12/19/2024)

                        922                Statement of Issues on Appeal (related document(s):870 Opinion, 871
                        (6 pgs)            Order on Emergency Motion, 872 Order on Emergency Motion).
12/23/2024                                 (Cecere, Joseph) (Entered: 12/23/2024)

                        923                Appellant Designation of Contents For Inclusion in Record On Appeal
                        (6 pgs)            (related document(s):833 Generic Order). (Cecere, Joseph) (Entered:
12/23/2024                                 12/23/2024)

                        924                First Notice of Hearing on Amended Motion for Remand. Filed by Jetall
01/06/2025              (3 pgs)            Companies, Inc. (Rayome, Justin) (Entered: 01/06/2025)

01/07/2025                                 Adversary Case 4:24-ap-3257 Closed. (trc4) (Entered: 01/07/2025)

                        925                Docketed in Error - Notice of Deficiency Regarding a Bankruptcy
                        (1 pg)             Appeal (Related document(s):887 Notice of Appeal) (hl4)Modified on
01/08/2025                                 1/10/2025 (hl4). (Entered: 01/08/2025)

                        926                Motion to Withdraw as Attorney. Objections/Request for Hearing Due
                        (4 pgs; 2 docs)    in 21 days. Filed by Creditor Sonder USA Inc. (Attachments: # 1
01/10/2025                                 Proposed Order) (Wilson, Broocks) (Entered: 01/10/2025)

                        927                Order Granting Motion To Withdraw As Attorney (Related Doc # 926)
01/13/2025              (1 pg)             Signed on 1/13/2025. (trc4) (Entered: 01/13/2025)
        Case 4:24-cv-04836       Document 8-1     Filed on 04/23/25 in TXSD            Page 93 of 431
                        929                  USM 285 Return of Service Executed (Related document(s):871 Order
                        (8 pgs)              on Emergency Motion to Enforce Sale Order and Requiring Jetall
                                             Companies, Inc. to Vacate Property). Served on 12/23/2024 (jld4)
01/13/2025                                   (Entered: 01/17/2025)

                        930                  USM 285 Return of Service Executed (Related documents: 871 Order
                        (7 pgs)              on Emergency Motion to Enforce Sale Order and Requiring Jetall
                                             Companies, Inc. to Vacate Property and 917 Writ Issued). Served on
01/13/2025                                   12/23/2024). (jld4) (Entered: 01/17/2025)

                        928                  BNC Certificate of Mailing. (Related document(s):927 Order on Motion
                        (3 pgs)              to Withdraw as Attorney) No. of Notices: 9. Notice Date 01/15/2025.
01/15/2025                                   (Admin.) (Entered: 01/15/2025)

                        931                  Emergency Motion for Contempt Against Jetall Companies, Inc., Jetall
                        (18 pgs; 4 docs)     Capital, LLC, 2425 WL, LLC, and Justin Rayome for Violation of
                                             Bankruptcy Court's Orders Filed by Creditor National Bank of Kuwait,
                                             S.A.K.P., New York Branch (Attachments: # 1 Exhibit A # 2 Exhibit B #
01/17/2025                                   3 Exhibit C Proposed Order) (Conrad, Charles) (Entered: 01/17/2025)

                        932                  Order Setting Hearing Signed on 1/20/2025 (Related document(s):931
                        (1 pg)               Emergency Motion for Contempt) Hearing scheduled for 1/24/2025 at
                                             01:30 PM at Houston, Courtroom 403 (JPN). (trc4) (Entered:
01/20/2025                                   01/20/2025)

                        933                  Certificate of Service (Filed By National Bank of Kuwait, S.A.K.P.,
                        (3 pgs)              New York Branch ).(Related document(s):932 Order Setting Hearing)
01/21/2025                                   (Troop, Andrew) (Entered: 01/21/2025)

                        934                  Witness List, Exhibit List (Filed By National Bank of Kuwait, S.A.K.P.,
                        (282 pgs; 22 docs)   New York Branch ).(Related document(s):931 Emergency Motion, 932
                                             Order Setting Hearing) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
                                             Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8
                                             Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12
                                             # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17
                                             Exhibit 17-A # 18 Exhibit 17-B # 19 Exhibit 17-C # 20 Exhibit 17-D #
01/22/2025                                   21 Exhibit 18) (Conrad, Charles) (Entered: 01/22/2025)

                        935                  Notice of Appearance and Request for Notice Filed by J Eric Lockridge
                        (3 pgs)              Filed by on behalf of Sonder USA Inc. (Lockridge, J) (Entered:
01/23/2025                                   01/23/2025)

                        936                  Motion to Continue Hearing On (related document(s):931 Emergency
                        (6 pgs)              Motion). Filed by Creditor Jetall Capital, LLC (Rayome, Justin)
01/23/2025                                   (Entered: 01/23/2025)

                        937                  BNC Certificate of Mailing. (Related document(s):932 Order Setting
                        (3 pgs)              Hearing) No. of Notices: 9. Notice Date 01/23/2025. (Admin.) (Entered:
01/23/2025                                   01/23/2025)

                        938                  Exhibit List (Filed By Jetall Capital, LLC ).(Related document(s):931
                        (80 pgs; 4 docs)     Emergency Motion) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
01/24/2025                                   Exhibit 3) (Rayome, Justin) (Entered: 01/24/2025)
        Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD             Page 94 of 431
                        939                Order Setting Hearing Signed on 1/24/2025 (Related document(s):936
                        (1 pg)             Motion to Continue/Reschedule Hearing) Hearing scheduled for
                                           1/24/2025 at 01:30 PM at Houston, Courtroom 403 (JPN). (trc4)
01/24/2025                                 (Entered: 01/24/2025)

                        940                Exhibit List (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (14 pgs; 2 docs)   Branch ).(Related document(s):931 Emergency Motion, 934 Witness
                                           List, Exhibit List) (Attachments: # 1 Exhibit 19) (Conrad, Charles)
01/24/2025                                 (Entered: 01/24/2025)

                        941                Amended Motion to Continue Hearing On (related document(s):931
                        (7 pgs)            Emergency Motion). Filed by Creditor Jetall Capital, LLC (Rayome,
01/24/2025                                 Justin) (Entered: 01/24/2025)

                        942                Response (Filed By Jetall Capital, LLC ).(Related document(s):931
01/24/2025              (8 pgs)            Emergency Motion) (Rayome, Justin) (Entered: 01/24/2025)

                        943                Exhibit List (Filed By National Bank of Kuwait, S.A.K.P., New York
                        (12 pgs; 2 docs)   Branch ).(Related document(s):931 Emergency Motion, 934 Witness
                                           List, Exhibit List, 940 Exhibit List) (Attachments: # 1 Exhibit 20)
01/24/2025                                 (Conrad, Charles) (Entered: 01/24/2025)

                        944                Response (Filed By Jetall Capital, LLC ).(Related document(s):931
01/24/2025              (10 pgs)           Emergency Motion) (Rayome, Justin) (Entered: 01/24/2025)

                        945                Courtroom Minutes. Time Hearing Held: 1:30. Appearances: Charles
                                           Conrad, James Dickinson and Andrew Troop for National Bank of
                                           Kuwait and Houston 2425 Galleria LLC, . R.J. Shannon for Chris
                                           Murray, Lance Nguyen for Jetall Compnaies, Inc. Jetall Captial, LLC,
                                           2425 WL, LLC, and Justin Rayome. (Related document(s):931
                                           Emergency Motion for Contempt, 936 Motion to Continue/Reschedule
                                           Hearing) Cased called. Court granted Motion to Continue. ECF 931
                                           rescheduled to in person 01/29/2025 at 11:30 a.m. (srh4) (Entered:
01/24/2025                                 01/24/2025)

                        946                Order Granting Motion To Continue (Related Doc # 941) Signed on
                        (1 pg)             1/24/2025. Hearing on ECF 931 is continued to 1/29/2025 at 11:30
01/24/2025                                 AM at Houston, Courtroom 403 (JPN). (trc4) (Entered: 01/24/2025)

                        947                AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Justin
                        (1 pg)             Rayome. This is to order a transcript of Contempt Hearing 1/24/2025
                                           before Judge Jeffrey P. Norman. Court Reporter/Transcriber: Trinity
                                           Transcription Services (Filed By Jetall Capital, LLC ). (Rayome, Justin)
                                           Electronically forwarded to Trinity on 1/27/2025. Estimated completion
01/24/2025                                 date: 1/28/2025. Modified on 1/27/2025 (gc4). (Entered: 01/24/2025)

                        948                BNC Certificate of Mailing. (Related document(s):939 Order Setting
                        (3 pgs)            Hearing) No. of Notices: 9. Notice Date 01/26/2025. (Admin.) (Entered:
01/26/2025                                 01/26/2025)

                        949                BNC Certificate of Mailing. (Related document(s):946 Order on Motion
                        (3 pgs)            to Continue/Reschedule Hearing) No. of Notices: 9. Notice Date
01/26/2025                                 01/26/2025. (Admin.) (Entered: 01/26/2025)
        Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD             Page 95 of 431
                        950
                        (1 pg)                   PDF with attached Audio File. Court Date & Time [ 1/24/2025
                                             1:28:33 PM ]. File Size [ 7502 KB ]. Run Time [ 00:15:38 ]. (admin).
01/27/2025                                   (Entered: 01/27/2025)

                        951                  Adversary case 25-03016. Nature of Suit: (01 (Determination of
                        (78 pgs; 8 docs)     removed claim or cause)) Notice of Removal Jetall Companies, Inc..
                                             Fee Amount $350 (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit
                                             C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G) (Conrad,
01/27/2025                                   Charles) (Entered: 01/27/2025)

                        952                  Reply in Support of Emergency Motion for Contempt (related
                        (34 pgs; 3 docs)     document(s):931 Emergency Motion). Filed by National Bank of
                                             Kuwait, S.A.K.P., New York Branch (Attachments: # 1 Exhibit A # 2
01/27/2025                                   Exhibit B) (Conrad, Charles) (Entered: 01/27/2025)

                        953                  Affidavit Re: Proof of Service on Subpoena to Appear and Testify at a
                        (13 pgs)             Hearing or Trial (Gene McCubbin) (Filed By National Bank of Kuwait,
                                             S.A.K.P., New York Branch ).(Related document(s):931 Emergency
                                             Motion, 946 Order on Motion to Continue/Reschedule Hearing)
01/27/2025                                   (Conrad, Charles) (Entered: 01/27/2025)

                        954                  Motion To Substitute Attorney. Filed by Creditor Jetall Capital, LLC
                        (2 pgs)              Hearing scheduled for 1/29/2025 at 11:30 AM at Houston, Courtroom
01/27/2025                                   403 (JPN). (Rayome, Justin) (Entered: 01/27/2025)

                        955                  Witness List, Exhibit List (Filed By Houston 2425 Galleria, LLC,
                        (427 pgs; 29 docs)   National Bank of Kuwait, S.A.K.P., New York Branch ).(Related
                                             document(s):931 Emergency Motion, 946 Order on Motion to
                                             Continue/Reschedule Hearing, 952 Reply) (Attachments: # 1 Exhibit 1
                                             # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7
                                             Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 #
                                             12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16
                                             Exhibit 16 # 17 Exhibit 17-A # 18 Exhibit 17-B # 19 Exhibit 17-C # 20
                                             Exhibit 17-D # 21 Exhibit 18 # 22 Exhibit 19 # 23 Exhibit 20 # 24
                                             Exhibit 21 # 25 Exhibit 22 # 26 Exhibit 23 # 27 Exhibit 24 # 28 Exhibit
01/27/2025                                   25) (Conrad, Charles) (Entered: 01/27/2025)

                        956                  Response (Filed By Jetall Capital, LLC ).(Related document(s):931
01/27/2025              (5 pgs)              Emergency Motion) (Rayome, Justin) (Entered: 01/27/2025)

                        957                  Emergency Motion NBK's Fourth Emergency Motion to Enforce Sale
                        (73 pgs; 7 docs)     Order and Cancel Lis Pendens Recorded as Instrument Nos. RP-2024-
                                             477576, RP-2025-23705, RP-2025-25888 Filed by Creditor National
                                             Bank of Kuwait, S.A.K.P., New York Branch (Attachments: # 1 Exhibit
                                             A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F
01/27/2025                                   Proposed Order) (Conrad, Charles) (Entered: 01/27/2025)

                        958                  Order Canceling Lis Pendens Recorded as Instrument NOS. RP-2024-
                        (3 pgs)              477576, RP-2025-23705, AND RP-2025-25888 (Related Doc # 957)
01/28/2025                                   Signed on 1/28/2025. (trc4) (Entered: 01/28/2025)

                        959                  Order Granting Motion to Substitute Attorney adding Lance Hac
                        (1 pg)               Nguyen for Jetall Companies, Inc.; 2425 WL, LLC and Jetall Capital,
                                             LLC, terminating Justin Peter Louis Rayome. (Related Doc # 954)
01/28/2025                                   Signed on 1/28/2025. (trc4) (Entered: 01/28/2025)
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD            Page 96 of 431
                        960                Declaration re: service of filed pleadings (Filed By National Bank of
                        (2 pgs)            Kuwait, S.A.K.P., New York Branch ). (Conrad, Charles) (Entered:
01/28/2025                                 01/28/2025)

                        961                Emergency Motion NBK's Emergency Motion to Adduce Gene
                        (20 pgs; 3 docs)   McCubbin's Testimony Remotely for January 29, 2025 Hearing on
                                           Motion for Contempt [ECF No. 931] Filed by Creditor National Bank of
                                           Kuwait, S.A.K.P., New York Branch (Attachments: # 1 Exhibit A # 2
01/28/2025                                 Exhibit B Proposed Order) (Troop, Andrew) (Entered: 01/28/2025)

                        962                Motion to Quash or Modify Subpoena Filed by Creditor Ali Choudhri
                        (6 pgs; 2 docs)    Hearing scheduled for 2/4/2025 at 11:00 AM at Houston, Courtroom
                                           403 (JPN). (Attachments: # 1 Proposed Order) (Hood, Lori) (Entered:
01/28/2025                                 01/28/2025)

                        963                Notice of Appeal filed. (related document(s):958 Order on Emergency
                        (6 pgs; 2 docs)    Motion). Fee Amount $298. Appellant Designation due by 02/12/2025.
01/29/2025                                 (Attachments: # 1 Exhibit) (Rayome, Justin) (Entered: 01/29/2025)

                                           Receipt of Notice of Appeal( 23-34815) [appeal,ntcapl] ( 298.00) Filing
                                           Fee. Receipt number AXXXXXXXX. Fee amount $ 298.00. (U.S. Treasury)
01/29/2025                                 (Entered: 01/29/2025)

                        964                Election to Appeal to District Court NOA 963. (Rayome, Justin)
01/29/2025                                 (Entered: 01/29/2025)

                        965                Order Granting NBK's Emergency Motion to Adduce Testimony of
                        (2 pgs)            Gene McCubbin Remotely for January 29, 2025 Hearing on Motion for
                                           Contempt (Related Doc # 961) Signed on 1/29/2025. (trc4) (Entered:
01/29/2025                                 01/29/2025)

                        966                Order Denying Motion To Quash Subpoena (Related Doc # 962) Signed
01/29/2025              (2 pgs)            on 1/29/2025. (trc4) (Entered: 01/29/2025)

                        967                Courtroom Minutes. Time Hearing Held: 11:30. Appearances: Charles
                                           Conrad, James Dickinson and Andrew Troop for National Bank of
                                           Kuwait and Houston 2425 Galleria LLC,. Lance Nguyen for Jetall
                                           Companies, Inc. Jetall Captial, LLC, 2425 WL, LLC, and witness Justin
                                           Rayome and Gene McCubbin. (Related document(s):931 Emergency
                                           Motion) Witness Gene McCubbin sworn. Parties agreed to continue
                                           hearing and submit an agreed order on no fact findings. Hearing
                                           scheduled for 2/11/2025 at 02:30 PM at Houston, Courtroom 403
01/29/2025                                 (JPN). (srh4) (Entered: 01/29/2025)

                        968
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 1/29/2025
                                           11:29:20 AM ]. File Size [ 1784 KB ]. Run Time [ 00:03:43 ]. (admin).
01/29/2025                                 (Entered: 01/29/2025)

                        969
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 1/29/2025
                                           11:41:37 AM ]. File Size [ 1377 KB ]. Run Time [ 00:02:52 ]. (admin).
01/29/2025                                 (Entered: 01/29/2025)

01/29/2025              970                Transcript RE: EMERGENCY MOTION HEARING held on January
                        (16 pgs; 2 docs)   24, 2025 before Judge Jeffrey P. Norman. Transcript is available for
                                           viewing in the Clerk's Office. Within 21 days, parties are advised to
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 97 of 431
                                           comply with privacy requirements of Fed. R. Bank. P. 9037, ensuring
                                           that certain protected information is redacted from transcripts prior to
                                           their availability on PACER. Filed by Transcript access will be
                                           restricted through 04/29/2025. (Battaglia, Cheryl) (Entered: 01/29/2025)

                        971                Emergency Motion NBK's Emergency Motion to Correct Fourth
                        (8 pgs; 2 docs)    Enforcement Order Filed by Creditor National Bank of Kuwait,
                                           S.A.K.P., New York Branch (Attachments: # 1 Exhibit A Proposed
01/30/2025                                 Order) (Conrad, Charles) (Entered: 01/30/2025)

                        972                Corrected Order Canceling Lis Pendens Recorded as Instrument NOS.
                        (3 pgs)            RP-2024-477576, RP-2025-23705, AND RP-2025-25888 (Related Doc
01/30/2025                                 # 971) Signed on 1/30/2025. (trc4) (Entered: 01/30/2025)

                        973                Proposed Order Submission After Hearing (Filed By National Bank of
                        (2 pgs)            Kuwait, S.A.K.P., New York Branch ).(Related document(s):931
                                           Emergency Motion, 967 Courtroom Minutes) (Conrad, Charles)
01/30/2025                                 (Entered: 01/30/2025)

                        974                BNC Certificate of Mailing. (Related document(s):958 Order on
                        (5 pgs)            Emergency Motion) No. of Notices: 9. Notice Date 01/30/2025.
01/30/2025                                 (Admin.) (Entered: 01/30/2025)

                        975                BNC Certificate of Mailing. (Related document(s):959 Order on Motion
                        (3 pgs)            To Substitute Attorney) No. of Notices: 10. Notice Date 01/30/2025.
01/30/2025                                 (Admin.) (Entered: 01/30/2025)

                        976                Interim Order on Motion for Contempt (Related Doc # 931) Signed on
01/31/2025              (2 pgs)            1/31/2025. (srh4) (Entered: 01/31/2025)

                        977                BNC Certificate of Mailing. (Related document(s):965 Order on
                        (4 pgs)            Emergency Motion) No. of Notices: 10. Notice Date 01/31/2025.
01/31/2025                                 (Admin.) (Entered: 01/31/2025)

                        978                BNC Certificate of Mailing. (Related document(s):966 Order on Motion
                        (4 pgs)            To Quash) No. of Notices: 10. Notice Date 01/31/2025. (Admin.)
01/31/2025                                 (Entered: 01/31/2025)

                        979                BNC Certificate of Mailing. (Related document(s):970 Transcript) No.
02/01/2025              (6 pgs)            of Notices: 10. Notice Date 02/01/2025. (Admin.) (Entered: 02/01/2025)

                        980                BNC Certificate of Mailing. (Related document(s):972 Order on
                        (5 pgs)            Emergency Motion) No. of Notices: 10. Notice Date 02/01/2025.
02/01/2025                                 (Admin.) (Entered: 02/01/2025)

                        981                BNC Certificate of Mailing. (Related document(s):976 Order on
                        (4 pgs)            Emergency Motion) No. of Notices: 10. Notice Date 02/02/2025.
02/02/2025                                 (Admin.) (Entered: 02/02/2025)

                                           NOA 887 ready to be transmitted to district court 24cv4836 (hl4)
02/03/2025                                 (Entered: 02/03/2025)

02/03/2025              982                Clerk's Notice of Filing of an Appeal. On 01-29-2025, Jetall Companies
                        (1 pg)             Inc. et al filed a notice of appeal. The appeal has been assigned to U.S.
                                           District Judge Keith P Ellison, Civil Action 25cv0439. Parties notified
        Case 4:24-cv-04836    Document 8-1         Filed on 04/23/25 in TXSD            Page 98 of 431
                                             (Related document(s):963 Notice of Appeal) (hl4) (Entered:
                                             02/03/2025)

                        983                  Notice Supplemental Notice of Authority [Related to ECF No. 931].
                        (9 pgs)              (Related document(s):952 Reply, 967 Courtroom Minutes) Filed by
                                             National Bank of Kuwait, S.A.K.P., New York Branch (Conrad,
02/05/2025                                   Charles) (Entered: 02/05/2025)

                        984                  BNC Certificate of Mailing. (Related document(s):982 Clerk's Notice of
                        (6 pgs)              Filing of an Appeal) No. of Notices: 10. Notice Date 02/05/2025.
02/05/2025                                   (Admin.) (Entered: 02/05/2025)

                        985                  Witness List, Exhibit List (Filed By National Bank of Kuwait, S.A.K.P.,
                        (476 pgs; 35 docs)   New York Branch ).(Related document(s):955 Witness List, Exhibit
                                             List, 967 Courtroom Minutes) (Attachments: # 1 Exhibit 1 # 2 Exhibit 2
                                             # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8
                                             Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12
                                             # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17
                                             Exhibit 17-A # 18 Exhibit 17-B # 19 Exhibit 17-C # 20 Exhibit 17-D #
                                             21 Exhibit 18 # 22 Exhibit 19 # 23 Exhibit 20 # 24 Exhibit 21 # 25
                                             Exhibit 22 # 26 Exhibit 23 # 27 Exhibit 24 # 28 Exhibit 25 # 29 Exhibit
                                             26 # 30 Exhibit 27 # 31 Exhibit 28 # 32 Exhibit 29 # 33 Exhibit 30 # 34
02/06/2025                                   Exhibit 31) (Conrad, Charles) (Entered: 02/06/2025)

                        986                  Reply National Bank of Kuwait, S.A.K.P. New York Branch's
                        (15 pgs; 4 docs)     Supplement to the Emergency Motion for Contempt Against Jetall
                                             Companies, Inc., Jetall Capital, LLC, 2425 WL, LLC, and Justin
                                             Rayome for Violation of Bankruptcy Court's Order (related to ECF Nos.
                                             931 and 958)). Filed by National Bank of Kuwait, S.A.K.P., New York
                                             Branch (Attachments: # 1 Exhibit A # 2 Exhibit B Proposed Order # 3
02/10/2025                                   Exhibit C) (Conrad, Charles) (Entered: 02/10/2025)

                        987                  Witness List, Exhibit List (Filed By National Bank of Kuwait, S.A.K.P.,
                        (764 pgs; 38 docs)   New York Branch ).(Related document(s):932 Order Setting Hearing,
                                             934 Witness List, Exhibit List, 946 Order on Motion to
                                             Continue/Reschedule Hearing, 955 Witness List, Exhibit List, 967
                                             Courtroom Minutes, 985 Witness List, Exhibit List) (Attachments: # 1
                                             Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                                             Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11
                                             Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
                                             15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20
                                             Exhibit 20 # 21 Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24 Exhibit
                                             24 # 25 Exhibit 25 # 26 Exhibit 26 # 27 Exhibit 27 # 28 Exhibit 28 # 29
                                             Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 # 32 Exhibit 32 # 33 Exhibit
                                             33 # 34 Exhibit 34 # 35 Exhibit 35 # 36 Exhibit 36 # 37 Exhibit 37)
02/10/2025                                   (Conrad, Charles) (Entered: 02/10/2025)

                        988                  Response (Filed By Jetall Capital, LLC ).(Related document(s):976
02/10/2025              (4 pgs)              Order on Emergency Motion) (Rayome, Justin) (Entered: 02/10/2025)

                        989                  Declaration re: Return of Non-Service re Subpoena to Appear and
                        (4 pgs)              Testify - Ali Choudhri (Filed By National Bank of Kuwait, S.A.K.P.,
                                             New York Branch ).(Related document(s): 967 Courtroom Minutes)
02/10/2025                                   (Conrad, Charles) (Entered: 02/10/2025)

02/10/2025              990                  Declaration re: Return of Non-Service re Subpoena to Appear and
                        (4 pgs)              Testify - Jetall Capital LLC (Filed By National Bank of Kuwait,
        Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD             Page 99 of 431
                                           S.A.K.P., New York Branch ).(Related document(s): 967 Courtroom
                                           Minutes) (Conrad, Charles) (Entered: 02/10/2025)

                        991                Declaration re: Return of Non-Service re Subpoena to Appear and
                        (4 pgs)            Testify - Jetall Companies, Inc. (Filed By National Bank of Kuwait,
                                           S.A.K.P., New York Branch ).(Related document(s): 967 Courtroom
02/10/2025                                 Minutes) (Conrad, Charles) (Entered: 02/10/2025)

                        992                Notice of Appearance and Request for Notice Filed by Justin Peter
                        (2 pgs)            Louis Rayome Filed by on behalf of Jetall Capital, LLC (Rayome,
02/11/2025                                 Justin) (Entered: 02/11/2025)

                        993                Courtroom Minutes. Time Hearing Held: 2:30. Appearances: Charles
                                           Conrad, Patrick Fitzmaurice, Andrew Troop for National Bank of
                                           Kuwait and Houston 2425 Galleria LLC Lance Nguyen for Justin
                                           Rayome, Russell Beustring Limited appearances Jetall properties, David
                                           McClure for limited appearance for Jetall Companies and 2524 WL
                                           LLC Witness : Justin Rayome and Dward Darjean. (Related
                                           document(s):931 Emergency Motion) Evidentiary Hearing held.
                                           Documents ECF 987-1 thru 987-37 admitted on the record. Opening
                                           Arguments by Andrew Troop and Lance Nguyen. Direct examination of
                                           Justin Rayome by Patrick Fitzmaurice. Cross examination by Lance
                                           Nguyen of Justin Rayome. Cross examination by Russell Beustring of
                                           Justin Rayome. Direct examination of Dward Darjean by Patrick
                                           Fitzmaurice. Closing argument by Lance Nguyen, Russell Beaustring,
                                           David McClure, and Andrew Troop. Court will enter order granting
02/11/2025                                 Motion for Contempt. (srh4) (Entered: 02/11/2025)

                        994
                        (1 pg)                 PDF with attached Audio File. Court Date & Time [ 2/11/2025
                                           2:29:00 PM ]. File Size [ 70649 KB ]. Run Time [ 02:27:11 ]. (admin).
02/11/2025                                 (Entered: 02/11/2025)

                        995                Order on Emergency Motion for Contempt Signed on 2/12/2025
                        (6 pgs)            (Related document(s):931 Emergency Motion, 986 Reply) (srh4)
02/12/2025                                 (Entered: 02/12/2025)

                        996                Notice of Appeal filed. (related document(s):995 Generic Order). Fee
                        (9 pgs; 2 docs)    Amount $298. Appellant Designation due by 02/26/2025. (Attachments:
02/12/2025                                 # 1 Exhibit 1) (Rayome, Justin) (Entered: 02/12/2025)

                                           Receipt of Notice of Appeal( 23-34815) [appeal,ntcapl] ( 298.00) Filing
                                           Fee. Receipt number AXXXXXXXX. Fee amount $ 298.00. (U.S. Treasury)
02/12/2025                                 (Entered: 02/12/2025)

                        997                Election to Appeal to District Court for the Southern District of Texas.
02/12/2025                                 (Rayome, Justin) (Entered: 02/12/2025)

                        998                BNC Certificate of Mailing. (Related document(s):995 Generic Order)
                        (8 pgs)            No. of Notices: 10. Notice Date 02/14/2025. (Admin.) (Entered:
02/14/2025                                 02/14/2025)

02/16/2025              999                AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Jetall
                        (2 pgs)            Capital, LLC. This is to order a transcript of Motion for Contempt
                                           02/11/2025 before Judge Jeffrey P. Norman. Court Reporter/Transcriber:
                                           Trinity Transcription Services (Filed By Jetall Capital, LLC ). (Rayome,
                                           Justin) Electronically forwarded to Trinity on 2/18/2025. Estimated
       Case 4:24-cv-04836     Document 8-1      Filed on 04/23/25 in TXSD             Page 100 of 431
                                           completion date: 2/19/2025. Modified on 2/18/2025 (gc4). (Entered:
                                           02/16/2025)

                       1000                Courtroom Minutes. Time Hearing Held: 11:00. Appearances: Michelle
                                           Fiery for Sonder USA Inc., RJ Shannon for Christopher Murray,.
                                           (Related document(s):789 Objection to Claim) Case called. Parties
                                           agreed to a continuance. Hearing scheduled for 4/23/2025 at 11:00
02/18/2025                                 AM at Houston, Courtroom 403 (JPN). (srh4) (Entered: 02/18/2025)

                       1001
                       (1 pg)                  PDF with attached Audio File. Court Date & Time [ 2/18/2025
                                           10:59:00 AM ]. File Size [ 1625 KB ]. Run Time [ 00:03:23 ]. (admin).
02/18/2025                                 (Entered: 02/18/2025)

                       1002                Clerk's Notice of Filing of an Appeal. On 02/12/2025, Jetall Companies,
                       (1 pg)              Inc et al filed a notice of appeal. The appeal has been assigned to U.S.
                                           District Judge Keith P Ellison, Civil Action 4:25cv705. Parties notified
                                           (Related document(s):996 Notice of Appeal) (bwl4) (Entered:
02/18/2025                                 02/18/2025)

                       1003                DOCKETED IN ERROR - CORRECT NOTICE IS AT 1002 Clerk's
                       (1 pg)              Notice of Filing of an Appeal (Related document(s):996 Notice of
02/18/2025                                 Appeal) (sat4)Modified on 2/18/2025 (rbw4). (Entered: 02/18/2025)

                       1004                AO 435 TRANSCRIPT ORDER FORM (3-Day) by National Bank of
                       (2 pgs)             Kuwait, S.A.K.P. / Charles Conrad. This is to order a transcript of
                                           hearing 02/11/25 before Judge Jeffrey P. Norman. Court
                                           Reporter/Transcriber: Trinity Transcription Services (Filed By National
                                           Bank of Kuwait, S.A.K.P., New York Branch ). (Conrad, Charles) Copy
                                           request electronically forwarded to Trinity on 2/20/2025. Estimated
                                           completion date: 2/23/2025. Modified on 2/20/2025 (gc4). (Entered:
02/19/2025                                 02/19/2025)

                       1005                Chapter 11 Post-Confirmation Report for Quarter Ended 9/30/2024
                       (10 pgs)            (Filed By Christopher Murray ). (Murray, Christopher) (Entered:
02/19/2025                                 02/19/2025)

                       1006                Chapter 11 Post-Confirmation Report for Quarter Ended 12/31/2024
                       (10 pgs)            (Filed By Christopher Murray ). (Murray, Christopher) (Entered:
02/19/2025                                 02/19/2025)

                       1007                Transcript RE: EMERGENCY MOTION FOR CONTEMPT
                       (116 pgs; 2 docs)   HEARING held on February 11, 2025 before Judge Jeffrey P. Norman.
                                           Transcript is available for viewing in the Clerk's Office. Within 21 days,
                                           parties are advised to comply with privacy requirements of Fed. R.
                                           Bank. P. 9037, ensuring that certain protected information is redacted
                                           from transcripts prior to their availability on PACER. Filed by
                                           Transcript access will be restricted through 05/21/2025. (Battaglia,
02/20/2025                                 Cheryl) (Entered: 02/20/2025)

                       1008                BNC Certificate of Mailing. (Related document(s):1002 Clerk's Notice
                       (6 pgs)             of Filing of an Appeal) No. of Notices: 10. Notice Date 02/20/2025.
02/20/2025                                 (Admin.) (Entered: 02/20/2025)

                       1009                BNC Certificate of Mailing. (Related document(s):1003 Clerk's Notice
                       (6 pgs)             of Filing of an Appeal) No. of Notices: 10. Notice Date 02/20/2025.
02/20/2025                                 (Admin.) (Entered: 02/20/2025)
       Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD            Page 101 of 431
                       1010            BNC Certificate of Mailing. (Related document(s):1007 Transcript) No.
02/23/2025             (6 pgs)         of Notices: 10. Notice Date 02/23/2025. (Admin.) (Entered: 02/23/2025)

                       1011            Appellant Designation of Contents For Inclusion in Record On Appeal
                       (166 pgs)       (related document(s):995 Generic Order). (Rayome, Justin) (Entered:
02/26/2025                             02/26/2025)

                       1012            COPY Order entered in 4:24cv2073. Deficiencies in appeal due within 7
                       (1 pg)          days or the appeal will be dismissed. Signed by Judge Keith P Ellison
                                       on 3/7/2025 (Related document(s):398 Clerk's Notice of Filing of an
03/07/2025                             Appeal) (hlc4) (Entered: 03/10/2025)

                       1013            BNC Certificate of Mailing. (Related document(s):1012 Generic Order)
                       (6 pgs)         No. of Notices: 10. Notice Date 03/12/2025. (Admin.) (Entered:
03/12/2025                             03/12/2025)

                       1014            AO 435 TRANSCRIPT ORDER FORM (3-Day) by R.J. Shannon. This
                       (1 pg)          is to order a transcript of Order on Motion for Sale of Property under
                                       Section 363(b)) Proposed order filed at docket [606-1] on 7/08/2024 at
                                       2:00 p.m. before Judge Jeffrey P. Norman. Court Reporter/Transcriber:
                                       Veritext Legal Solutions (Filed By Shannon & Lee LLP ). (Shannon, R.
                                       J.) Copy request electronically forwarded to Veritext Legal Solutions on
                                       3/21/2025. Estimated completion date: 3/24/2025. Modified on
03/18/2025                             3/21/2025 (anc4). (Entered: 03/18/2025)

                       1015            Final Order By District Court Judge Keith P. Ellison, Re: Appeal on
                       (1 pg)          Civil Action Number:4:24-cv-2073 , The appellant has not designated
                                       the record as required by Fed. R. Bankr. P. 8009. The Court hereby
                                       DISMISSSES the appeal. Signed on 3/19/2025 (jm4) (Entered:
03/19/2025                             03/19/2025)

                       1016            BNC Certificate of Mailing. (Related document(s):1015 Order District
                       (6 pgs)         Court re: Appeal) No. of Notices: 10. Notice Date 03/21/2025. (Admin.)
03/21/2025                             (Entered: 03/21/2025)

                       1017            BNC Certificate of Mailing. (Related document(s):1015 Order District
                       (5 pgs)         Court re: Appeal) No. of Notices: 0. Notice Date 03/21/2025. (Admin.)
03/21/2025                             (Entered: 03/21/2025)

                       1018            Motion to Stay Contempt Order Filed by Creditors 2425 WL, LLC,
03/27/2025             (6 pgs)         Jetall Capital, LLC (Rayome, Justin) (Entered: 03/27/2025)

                       1019            Motion To Stay Pending Appeal. Filed by Creditors 2425 WL, LLC,
03/27/2025             (6 pgs)         Jetall Capital, LLC (Rayome, Justin) (Entered: 03/27/2025)

                       1020            Order Denying Motion To Stay Pending Appeal (Related Doc # 1019)
                       (1 pg)          Signed on 3/28/2025. This motion is a duplicate of the motion filed at
03/28/2025                             ECF No. 1018. Denied as Moot. (trc4) (Entered: 03/28/2025)

                       1021            Order Denying Motion to Stay Pending Appeal (Related Doc # 1018)
03/28/2025             (2 pgs)         Signed on 3/28/2025. (trc4) (Entered: 03/28/2025)

                       1022            BNC Certificate of Mailing. (Related document(s):1020 Order on
                       (3 pgs)         Motion To Stay Pending Appeal) No. of Notices: 10. Notice Date
03/30/2025                             03/30/2025. (Admin.) (Entered: 03/30/2025)
       Case 4:24-cv-04836   Document 8-1       Filed on 04/23/25 in TXSD           Page 102 of 431
                       1023               BNC Certificate of Mailing. (Related document(s):1021 Generic Order)
                       (7 pgs)            No. of Notices: 10. Notice Date 03/30/2025. (Admin.) (Entered:
03/30/2025                                03/30/2025)

                       1024               Motion to Approve Compromise under Rule 9019 regarding Trustee's
                       (30 pgs; 3 docs)   Objection to Claim No. 15 Filed by Sonder USA Inc [Dkt. No. 789]
                                          Filed by Liquidator Christopher Murray Hearing scheduled for
                                          5/22/2025 at 11:00 AM at Houston, Courtroom 403 (JPN).
                                          (Attachments: # 1 Exhibit A - Jackson Declaration # 2 Proposed Order)
04/18/2025                                (Shannon, R. J.) (Entered: 04/18/2025)

                                          Motion to Compromise at ECF 1024. Hearing Continued (Related
                                          document(s):789 Objection to Claim) Status Conference Continued to
                                          5/22/2025 at 11:00 AM at Houston, Courtroom 403 (JPN). (srh4)
04/18/2025                                (Entered: 04/18/2025)
Case 4:24-cv-04836          Document 8-1       Filed on 04/23/25 in TXSD       Page 103 of 431




                     THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


                                                )
                                                )
 In re:                                         )             Chapter 11
                                                )
 GALLERIA 2425 OWNER, LLC,                      )             Case No. 23-34815
                                                )
                                 Debtor.        )
                                                )
                  ________________________________________________

                                NOTICE OF APPEAL
                 _________________________________________________


          Notice is hereby given that creditor and real party in interest Ali Choudhri files this

appeal to the United States District Court for the Southern District of Texas from the

following order:

          a. the “Order Denying Motion (ECF 810)” [Dkt. No. 833],
             attached as Exhibit 1;

          Ali Choudhri is a creditor and real-party-in-interest in this bankruptcy case.
Case 4:24-cv-04836     Document 8-1      Filed on 04/23/25 in TXSD      Page 104 of 431




     The other parties to the appeal and their attorneys include the following:

Galleria 2425 Owner, LLC               Reese W Baker
                                       Baker & Associates
                Debtor                 950 Echo Lane
                                       Suite 300
                                       Houston, TX 77024
                                       713-869-9200
                                       Fax : 713-869-9100
                                       courtdocs@bakerassociates.net

                                       James Q. Pope
                                       The Pope Law Firm
                                       6161 Savoy Drive
                                       Ste 1125
                                       Houston, TX 77036
                                       713-449-4481
                                       ecf@thepopelawfirm.com

                                       Jeffrey W Steidley
                                       Steidley Law Firm
                                       3000 Weslayan
                                       Ste 200
                                       Houston, TX 77027
                                       713-523-9595
                                       Jeff@texlaw.us




                                          2
Case 4:24-cv-04836      Document 8-1    Filed on 04/23/25 in TXSD     Page 105 of 431




Christopher R Murray,                  Christopher R Murray
                                       Jones Murray LLP
                Trustee                602 Sawyer St
                                       Ste 400
                                       Houston, TX 77007
                                       832-529-1999
                                       Fax : 832-529-3393
                                       chris@jonesmurray.com

                                       R. J. Shannon
                                       Kyung Shik Lee
                                       Shannon & Lee LLP
                                       2100 Travis Street, STE 1525
                                       Houston, TX 77002
                                       713-714-5770
                                       rshannon@shannonleellp.com
                                       klee@shannonleellp.com

National Bank of Kuwait-New York       Charles C. Conrad
Branch                                 Ryan Steinbrunner
                 Plan proponent        609 Main Street Suite 2000
                                       Houston, TX 77002
                                       Telephone: (713) 276-7600
                                       Facsimile: (713) 276-7634
                                       charles.conrad@pillsburylaw.com
                                       ryan.steinbrunner@pillsburylaw.com

                                       Andrew M. Troop
                                       Patrick E. Fitzmaurice
                                        Kwame O. Akuffo
                                       31 West 52nd Street
                                       New York, NY 10019-6131
                                       Telephone: (212) 858-1000
                                       Facsimile: (212) 858-1500
                                       andrew.troop@pillsburylaw.com
                                       patrick.fitzmaurice@pillsburylaw.com




                                          3
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 106 of 431




                                         Respectfully submitted,

                                         /s/ J. Carl Cecere
                                         J. Carl Cecere
                                         State Bar No. 13268300
                                         (admitted pro hac vice)
                                         Cecere PC
                                         6035 McCommas Blvd.
                                         Dallas, TX 75206
                                         Telephone: 469-600-9455

                                         Attorney for 2425 WL, LLC and
                                         Ali Choudhri




                                     4
Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD   Page 107 of 431




                            CERTIFICATE OF SERVICE

      The undersigned certifies that on this 9th day of December, 2024, a true and
correct copy of the foregoing was served on the following in accordance with the
CM/ECF e-filing system, and upon all others who have consented to service in this
case by registering to receive notices in this case through the CM/ECF e-filing
system.

       Christopher R Murray               Charles C. Conrad
       Jones Murray LLP                   Ryan Steinbrunner
       602 Sawyer St                      609 Main Street Suite 2000
       Ste 400                            Houston, TX 77002
       Houston, TX 77007                  Telephone: (713) 276-7600
                                          Facsimile: (713) 276-7634
       832-529-1999
                                          charles.conrad@pillsburylaw.com
       Fax : 832-529-3393
                                          ryan.steinbrunner@pillsburylaw.com
       chris@jonesmurray.com


        R. J. Shannon                     Andrew M. Troop
       Shannon & Lee LLP                  Patrick E. Fitzmaurice
       2100 Travis Street, STE 1525        Kwame O. Akuffo
       Houston, TX 77002                  31 West 52nd Street
       713-714-5770                       New York, NY 10019-6131
                                          Telephone: (212) 858-1000
       rshannon@shannonleellp.com
                                          Facsimile: (212) 858-1500
                                          andrew.troop@pillsburylaw.com
                                          patrick.fitzmaurice@pillsburylaw.com

       Kyung Shik Lee                     Reese W Baker
       Shannon and Lee LLP                Baker & Associates
       2100 Travis St.                    950 Echo Lane
       Ste 1525                           Suite 300
       Houston, TX 77002                  Houston, TX 77024
                                          713-869-9200
       713-301-4751
                                          Fax : 713-869-9100
       klee@shannonleellp.com
                                          courtdocs@bakerassociates.net
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 108 of 431




      James Q. Pope                      Jeffrey W Steidley
      The Pope Law Firm                  Steidley Law Firm
      6161 Savoy Drive                   3000 Weslayan
      Ste 1125                           Ste 200
      Houston, TX 77036                  Houston, TX 77027
      713-449-4481                       713-523-9595
      ecf@thepopelawfirm.com             Jeff@texlaw.us


                                         /s/ J. Carl Cecere

                                         J. Carl Cecere
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 109 of 431




                              EXHIBIT 1
Case 4:24-cv-04836
      Case 23-34815 Document
                    Document 8-1
                             833 Filed
                                 Filed in
                                       onTXSB
                                          04/23/25
                                               on 11/25/24
                                                   in TXSD Page
                                                            Page1 110
                                                                  of 2 of 431
                                                                                                      United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                                ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                          November 25, 2024
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

IN RE:                                                       §
                                                             §        CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                                    §
                                                             §
             Debtor.                                         §
                                                             §
                                                             §        CHAPTER 11

                                  ORDER DENYING MOTION (ECF 810)

Before the Court is the Motion to Comply with the Gatekeeping Provisions of the Confirmed
Chapter 11 Plan filed by Ali Choudhri (“Choudhri”) and the National Bank of Kuwait’s (“NBK”)
Response to Ali Choudhri's Motion to Comply with the Gatekeeping Provisions of the Confirmed
Chapter 11 Plan (ECF No. 824). For the following reasons the motion is denied, with prejudice.

Choudhri by motion seeks to challenge or modify the “gatekeeping provisions” of the confirmed
Chapter 11 Plan in this case so that he can continue to litigate with NBK. The Court stresses that
the effect of the confirmed plan was to end the vexatious litigation between entities controlled by
Choudhri and NBK. Choudhri continues to raise factual and legal issues which this Court has
already considered and rejected.

The confirmed plan is under appeal but not by Choudhri only by a company he controls. The
Court doubts that Choudhri has standing to make the claims he makes by motion. Irrespective of
his lack of standing, he like all parties are bound by the terms of the confirmed plan. 1 There was
no stay pending appeal and the Court continues to stand on the record in this case. If this Court
has erred in any of its “gatekeeping provisions” then it welcomes an appropriate appellate review,
which the Court assumes is ongoing. However, it will not revisit factual and legal issues that it
has already litigated. The Court cannot sufficiently stress that Choudhri continues to raise and
argue the same basic facts and claims that this Court has found lacked foundation and merit.

Choudhri’s claims the Court has not considered the factual and legal arguments he makes in his
motion. The Court strongly rejects any such claim. The Court has had ample opportunity to assess
Mr. Choudhri’s factual and legal arguments and has repeatedly rejected them. Choudhri’s purpose
for pursuing these claims is improper and clearly vexatious.




1
    Section 1141(a) of the Bankruptcy Code explicitly states that a confirmed plan is binding on all parties.
1/2
Case 4:24-cv-04836
      Case 23-34815 Document
                    Document 8-1
                             833 Filed
                                 Filed in
                                       onTXSB
                                          04/23/25
                                               on 11/25/24
                                                   in TXSD Page
                                                            Page2 111
                                                                  of 2 of 431




The motion is all things denied, with prejudice. The movant is warned that future ongoing
litigation at the trial court level is subject to sanctions by this Court.

SO ORDERED.


       SIGNED 11/25/2024


                                               ___________________________________
                                               Jeffrey Norman
                                               United States Bankruptcy Judge




2/2
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 112 of 431




               THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION


                                     )
                                     )
In re:                               )           Chapter 11
                                     )
GALLERIA 2425 OWNER, LLC,            )           Case No. 23-34815
                                     )
                         Debtor.     )
                                     )
            ________________________________________________

 MOTION TO COMPLY WITH THE GATEKEEPING PROVISIONS OF THE
                  CONFIRMED CHAPTER 11 PLAN
         _________________________________________________

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.
IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE
GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY
BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

THERE WILL BE A HEARING ON THIS MOTION ON DECEMBER 18, 2024
AT 11:00 AM IN COURTROOM 403 AT 515 RUSK ST., HOUSTON, TEXAS
77002.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR RESPECTIVE
ATTORNEYS.
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD         Page 113 of 431




To the Honorable Court:

       Ali Choudhri 1 hereby files this motion to comply with the gatekeeping provisions

of the confirmed Chapter 11 Plan (Dkt. No. 566) (the “Plan”) and would respectfully show

as follows:

       1.      When the National Bank of Kuwait, S.A.K.B., New York Branch (“NBK”

or the “Bank”) proposed a plan of reorganization in this case (Dkt. No. 194), the Bank

snuck several provisions into its proposed plan that exist solely for its own benefit. The

Bank included itself among the “Exculpated Parties” that enjoy the Plan’s exculpation

provision, and among the “Released Parties” covered by the Plan’s third-party release, even

though the Bank is not a debtor in bankruptcy and has no connection to the Debtor, Galleria

2425 WL Owner, LLC or the bankruptcy estate other than as a lender. (See Plan arts.

I(A)(39) & (78); id. IX(C) & (D)) The Bank also granted itself the benefit of the Plan’s

gatekeeping provision, requiring parties to any litigation against the Bank bearing a

relationship to this bankruptcy—pending in any court, anywhere—to receive approval

from this Court before that litigation can continue. And the parties must obtain that

approval according to a procedure and standards appearing nowhere in the Bankruptcy

Code or the rules of state or federal procedure requiring them to demonstrate those claims



1
  Naissance Galleria, LLC has also raised claims against the Bank, but as the result of an injunction
entered in state court which is presently on appeal, Choudhri is not currently permitted to take
action on Naissance’s behalf. See Appellant’s Opening Br. at 12, Naissance Galleria, LLC v.
Zaheer, No. 01-23-00727-CV (Tex. App. Dec. 18, 2023) For that reason, Choudhri is filing this
motion solely on his own behalf but provides information on the claims brought by Naissance
Galleria, LLC for informational purposes. And because of the factually intertwined nature of the
claims asserted by Choudhri and Naissance, the Court should give Naissance’s claims the same
treatment as Choudhri’s for purposes of satisfying the gatekeeping provision.

                                                 2
Case 4:24-cv-04836        Document 8-1       Filed on 04/23/25 in TXSD       Page 114 of 431




are “colorable.” No legitimate bankruptcy purpose is furthered by extending this

gatekeeping provision to the Bank. And the litigation subjected to the gatekeeping

provision has no connection to, or effect on, the Debtor, the estate, or the Plan’s

consummation. Instead, extending the gatekeeping provision to the Bank is simply the

Bank’s reward for proposing the plan that the Court approved, a plan that already richly

rewards the Bank with the right to credit bid on the valuable asset at the center of this

bankruptcy—at a foreclosure sale the Bank itself arranged.

       2.      The Bank now demands that the Court enforce the terms of the Plan’s

gatekeeping provision and invites the Court to dismiss claims against the Bank in the

following three pending cases (the “Challenged Litigation”):

              Naissance Galleria, LLC v. Zaheer, et al., Cause No. 2023-
              43755, pending in the 80th District Court of Harris County,
              Texas;

              Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri
              v. NBK, Adversary Case No. 23-06009, pending in this Court;
              and

              Choudhri v. NBK and Zaheer, Adversary Case No. 23-03263,
              pending in this Court.


(See Dkt. No. 758 at 2-3; Dkt. No. 771)

       3.     But the Court should reject the Bank’s invitation. Gatekeeper provisions

certainly have their uses. And the Plan’s gatekeeping provision may have some legitimate

use in protecting the Trustee in this case. But the Bank’s demand to invoke that protection

for itself is a bridge too far. This Court’s gatekeeping services are not a party favor that the

Bank can obtain simply by participating in the bankruptcy. Nor are they a convenience

                                               3
Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD      Page 115 of 431




whereby the Bank can shed liabilities simply because it would like to be rid of them. The

only legitimate purposes for a gatekeeping order include protecting the Debtor, the estate,

and the implementation of a bankruptcy plan. None of those purposes are served here.

Allowing the Bank to make use of the Plan’s gatekeeping provision would therefore

contravene longstanding precedent, exceed the confines of the Bankruptcy Code, and

violate fundamental limits on bankruptcy courts’ jurisdiction. Accordingly, the Plaintiffs

should not be forced to satisfy the Plan’s gatekeeping provision before proceeding.

       4.     But even if the Court did stretch its gatekeeping powers to protect the Bank,

there should be no doubt that each of the cases among the Challenged Litigation satisfies

the gatekeeping provision’s requirements. This Court has already declined to exercise

jurisdiction over one of these cases—finding that it would not “affect assets of the

bankruptcy estate”—and the Court should not revisit that decision to exercise jurisdiction

over that case now. (Order, Adv. No. 23-03259 (Bankr. S.D. Tex. Jan. 11, 2024) [Dkt No.

24]) All three cases concern a core set of operative facts regarding uncontroversial lender-

liability claims that are colorable under any standard, which is why no other court has

dismissed them. This Court should not be the first. The Challenged Litigation should be

permitted to proceed.

                                      BACKGROUND

       5.     The plan of reorganization that the Bank proposed (Dkt. No. 194) and the

Court confirmed (Dkt. No. 566) contains several provisions that protect the Bank and other

non-debtors from claims against other non-debtors. The Plan’s “Exculpation” provision

covers specified “Exculpated Parties,” which are defined to include the Bank (Plan art.

                                             4
Case 4:24-cv-04836           Document 8-1   Filed on 04/23/25 in TXSD     Page 116 of 431




I(A)(39)), protecting them from liability arising from conduct relating to the bankruptcy

itself, including such actions as “filing, negotiating, prosecuting, administering,

formulating, implementing, soliciting support or acceptance of, confirming or

consummating” the Plan, the Purchase Agreement, or the property to be distributed under

the Plan (id. art. IX(C)).

         6.   The Plan’s “Estate Releases” covers certain “Released Parties,” which are

also defined to include the Bank (Plan, art. I(A)(78)), granting them protection from claims

by “the Debtor” or the “Estate” concerning “the money borrowed by the Debtor” (id. art.

IX(D).

         7.   By their terms, neither of these provisions apply to the Challenged Claims.

While the Bank is both an Exculpated Party and a Released Party, neither of the Plaintiffs

in those cases, Ali Choudhri and Naissance Galleria, LLC (see Dkt. 758 at 2) qualify as

“the Debtor” or part of the “Estate.” Ali is the “Debtor’s principal.” (Id.) And Naissance is

provided mezzanine financing for the Debtors’ purchase of the property at issue. So the

Plan’s Estate Release provision does not apply to these claims. The Exculpation provision

does not apply either, because these claims arose before the bankruptcy and therefore do

not concern any Released Party’s conduct during the bankruptcy.

         8.   Yet oddly, the Plan’s gatekeeper provision provides protection that is broader

than both the Estate Releases and Exculpation provisions. That gatekeeping provision

pertains to any “Person who has held, holds, or may hold Claims” that are “in any way

related to the Debtor,” so long as they are brought “against any Released Party”—even if

the claims themselves are not released under the Estate Releases. (Plan, Art. IX(E)) And

                                             5
Case 4:24-cv-04836       Document 8-1       Filed on 04/23/25 in TXSD      Page 117 of 431




the gatekeeper provision does not merely apply to claims challenging conduct occurring

during the bankruptcy but covers claims that “arose before the Petition Date.” (Id.) For

these claims, the parties must seek “notice and a hearing” wherein the parties must

demonstrate to the Court that the claims asserted are valid before they can proceed. (Plan,

Art. IX(E)) And to demonstrate the validity of that claim, the party must demonstrate that

the claim is “colorable” and that the party “has standing and is otherwise entitled to assert”

it. (Id.)

        9.    The gatekeeper provision therefore purports to convey to the Bankruptcy

Court the authority to approve, control, adjudicate, and ultimately terminate claims in

pending litigation—including cases pending in other courts—merely because that litigation

is “related to the Debtor,” according to a test and a procedure appearing nowhere in the

Code or the federal rules. It allows the Bank to make use of this power to have the Court

dismiss claims that are not even released under the Plan. And the Bank now invokes this

provision to have the Court terminate all the Plaintiffs’ litigation against the Bank—even

when the courts where that litigation is pending would allow that litigation to proceed, and

even where the litigation at issue would not have any effect on the bankruptcy estate itself.

That is not something the Court can do—nor is it something the Court should do.

                                        ARGUMENT

I.      The Bank cannot invoke the Plan’s gatekeeping provision to dismiss any of the
        claims against the Bank in the Challenged Litigation.

        10.   The Court should not dismiss any of the claims asserted against the Bank in

the Challenged Litigation because none of those claims can properly be subject to the

Plan’s gatekeeping provision. So the Plaintiffs are not required to obtain the Court’s
                                          6
Case 4:24-cv-04836        Document 8-1       Filed on 04/23/25 in TXSD       Page 118 of 431




approval before pursuing them. And even if the Plaintiffs are required to obtain the Court’s

gatekeeping approval to proceed on these claims, Plaintiffs can readily make the showing

required to obtain that approval, because Plaintiffs’ claims are grounded in theories of

lender liability personal to them that have long been recognized under Texas law. That

makes them colorable by any standard.

       A.     Bankruptcy courts’ gatekeeping powers can only be invoked to
              protect trustees and other court-appointees—not private
              parties serving in no official bankruptcy capacity like the Bank.

       11.    The first problem with the Bank’s invocation of the Court’s gatekeeping

authority is that the Bank’s demand exceeds the limited authority that bankruptcy courts

possess to approve, control, adjudicate, or terminate claims in pending litigation. There is

nothing in the Bankruptcy Code that conveys such gatekeeping power to bankruptcy courts.

Instead, that power is derived from the century-old Supreme Court case, Barton v.

Barbour, 104 U.S. 126 (1881). “Under the ‘Barton doctrine,’ the bankruptcy court may

require a party to ‘obtain leave of the bankruptcy court before initiating [or maintaining]

an action in district court when the action is against the trustee or other bankruptcy-court-

appointed officer, for acts done in the actor’s official capacity.’” NexPoint Advisors, L.P.

v. Highland Capital Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 48 F.4th 419, 439 (5th

Cir. 2022) (quoting Villegas v. Schmidt, 788 F.3d 156, 159 (5th Cir. 2015) (emphasis

added)). The Barton doctrine was created to “prevent trustees from being subject to legal

proceedings that interfere with their ability to administer the estate.” In re Cir. City Stores,

Inc., 557 B.R. 443, 447 (Bankr. E.D. Va. 2016); see also generally COLLIER ON

BANKRUPTCY ¶ 10.01 (16th ed. 2023) (citing and discussing cases). The doctrine therefore

                                               7
Case 4:24-cv-04836         Document 8-1       Filed on 04/23/25 in TXSD        Page 119 of 431




serves to protect trustees and other bankruptcy-court appointees from vexatious and

harassing litigation that could drain the estate and hamper bankruptcy plan implementation.

       12.     There are several reasons why the Bank cannot legitimately invoke the

Barton doctrine to have the Court terminate any claims against the Bank in the Challenged

Litigation. For one thing, because the Barton doctrine exists only to protect trustees and

other bankruptcy-court appointees, it cannot be invoked by private parties like the Bank

that are not serving in any official court-appointed capacity. Indeed, in Highland Capital,

the Fifth Circuit refused to “extend gatekeeping protections to non-debtors,” including

Highland’s interim CEO. Matter of Highland Cap., 48 F.4th at 435–39 (vacating

gatekeeping provision “as to all parties except Highland Capital, the Committee and its

members, and the Independent Directors for conduct within the scope of their duties”). And

the Fifth Circuit’s only recent opinion that actually applies the Barton doctrine did so in

the context of a trustee, not a private corporation with no official bankruptcy role. See In

re Foster, No. 22-10310, 2023 WL 20872, at *5–*6 (5th Cir. Jan. 3, 2023). For this reason

alone, the Bank is not entitled to invoke the Bankruptcy Court’s gatekeeping authority.

       13.     Furthermore, not only are Barton’s gatekeeping protections reserved for

actors appointed to serve in official bankruptcy capacities, they only protect those actors

for actions taken within the scope of their “official duties.” 2 But the Bank has no official




2
  In re Ondova Ltd. Co., 914 F.3d 990, 993 (5th Cir. 2019); see also In re Christensen, 598 B.R.
658, 665 (Bankr. D. Utah 2019); Phoenician Mediterranean Villa, LLC v. Swope (In re J & S
Props., LLC), 545 B.R. 91, 105 (Bankr. W.D. Pa. 2015). A typical example is litigation against a
receiver who seizes or otherwise attempts to administer property that is not receivership property,

                                                8
Case 4:24-cv-04836        Document 8-1       Filed on 04/23/25 in TXSD       Page 120 of 431




duties in implementing the Plan or overseeing the Debtor’s dissolution. The foreclosure

sale at the center of the bankruptcy will be conducted and overseen by the Liquidation

Trustee. (See Plan, art. VI(A)) The only duties that the Plan specifically assigns to the Bank

are purely ministerial. And the only substantive right that the Plan provides to the Bank is

the completely voluntary (and unofficial) right to credit bid the amount of its debt at the

foreclosure sale for its own private benefit, which comes with a contractual promise to pay

certain junior claims if its bid is successful. (See Plan, Introduction) The Challenged

Litigation does not contest the Bank’s exercise of any of these powers, rights, or

responsibilities conveyed under the Plan. That litigation pertains only to the Bank’s pre-

bankruptcy conduct that arose long before the Plan was ever proposed. For this additional

reason, Barton does not apply.

       14.   Indeed, the only reason the Plan contains gatekeeping protections for the Bank

is that the Bank proposed the Plan—and thus snuck that protection into the Plan for itself,

demanding it as a condition to undertaking its minimal responsibilities in implementing the

Plan. And the Bank did not seek this protection to benefit the estate, but simply to allow it

to escape litigation it would rather not face. That is not a legitimate use of Barton

gatekeeping powers. The Fifth Circuit has held that even when private parties face

“exposure” to truly “vexatious” and frivolous litigation, bankruptcy courts are not

empowered to use gatekeeping powers to halt it. See Highland Capital Mgmt., 48 F.4th at




but actually belongs to a third party. See In re DMW Marine, LLC, 509 B.R. 497, 506 (Bankr. E.D.
Pa. 2014) (citations omitted).

                                               9
Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD      Page 121 of 431




430, 440 n.19. And as explained below—the Challenged Litigation is neither vexatious nor

frivolous.

       B.     Bankruptcy courts’ gatekeeping powers have been significantly
              constrained by the Supreme Court’s decision in Purdue
              Pharma.

       15.    In any event, whatever gatekeeping powers bankruptcy courts possess have

been significantly constrained by the Supreme Court’s recent decision in Harrington v.

Purdue Pharma L.P., 144 S. Ct. 2071 (2024) (“Purdue Pharma”), which held that “[t]he

bankruptcy code does not authorize a release and injunction that, as part of a plan of

reorganization under Chapter 11, effectively seek to discharge claims against a nondebtor

without the consent of affected claimants.” Id. A bankruptcy court’s exercise of its

gatekeeping authority to dismiss litigation against non-debtors is the functional equivalent

of the non-consensual releases outlawed by Purdue Pharma—especially when used to

dismiss litigation pending in other courts. Both involve exercises of authority to control,

adjudicate, and ultimately terminate claims in litigation without consent, and without

consideration—and Purdue Pharma confirms that this something that bankruptcy courts

are not empowered to do.

       16.   For all these reasons, allowing the Bank to terminate the Challenged

Litigation would exceed the Court’s legitimate authority to impose gatekeeping conditions

under Barton. If the Bank wants to halt this litigation, it can do so through established

procedural mechanisms in the Challenged Litigation.

       C.     The Court would exceed its jurisdiction by dismissing the
              Challenged Litigation.

       17.    The Court would also exceed its jurisdiction by using the gatekeeping powers
                                           10
Case 4:24-cv-04836        Document 8-1       Filed on 04/23/25 in TXSD       Page 122 of 431




provided under the Plan to adjudicate and dismiss the Challenged Litigation. The Bank

seeks only to dismiss litigation against itself, and dismissing that litigation affects only the

Bank—having no conceivable effect on the Debtor or the estate. Indeed, on January 11,

2024, this Court remanded one of the proceedings among the Challenged Litigation—

Cause No. 2023-43755—back to the 80th District Court of Harris County because it

determined that “all the causes of action constitute claims rooted in Texas state law,” “there

are no bankruptcy issues or claims in the state court litigation,” and “there has been no

showing that the remand would affect assets of the bankruptcy estate.” (Case No. 23-03259

[Dkt No. 24] (Bankr. S.D. Tex. Jan. 11, 2024)) The same is true of the other cases in the

Challenged Litigation—because, as the Bank insists, these cases all share the same “basic

facts and claims.” (Dkt. No. 758 at 4) But that shared lack of connection to the estate

deprives the Court of jurisdiction to resolve any of these cases through its gatekeeping

powers.

       18.    As the Fifth Circuit recognized in Highland Capital, the question of whether

a claim may be resolved by a bankruptcy court through exercise of gatekeeping powers

under Barton is entirely separate from the question of whether the Court has jurisdiction

to resolve that litigation. 48 F.4d at 439 (holding, after approving of a gatekeeping

provision to protect certain court-appointed officials, that “the bankruptcy court, faced with

pre-approval of a claim” on remand, would still have “to determine whether it had subject

matter jurisdiction over that claim in the first instance.”). That makes sense, because the

mere fact that the Plan contains a gatekeeping provision does not confer jurisdiction to

resolve claims under that gatekeeping power: “[P]arties cannot confer subject matter

                                              11
Case 4:24-cv-04836        Document 8-1       Filed on 04/23/25 in TXSD      Page 123 of 431




jurisdiction on federal courts,” including through a bankruptcy plan. Randall & Blake Inc.

v. Evans, 196 F.3d 579 (5th Cir. 1999).

       19.    Instead, “[j]urisdiction for bankruptcy cases is rooted in the provisions of 28

U.S.C. § 1334.” Matter of Walker, 51 F.3d 562, 568 (5th Cir. 1995) (citing Celotex Corp.

v. Edwards, 514 U.S. 300, 303 (U.S.1995) (stating that “[t]he jurisdiction of the bankruptcy

courts ... is grounded in and limited by statute”)). And a “third-party action” between two

non-debtors “does not create ‘related to’ jurisdiction” under section 1334 “when the asset

in question is not property of the estate and the dispute has no effect on the estate.” Feld v.

Zale Corp. (In re Zale Corp.), 62 F.3d 746, 753 (5th Cir. 1995). Accordingly, because the

claims against the Bank asserted in the Challenged Litigation do not have any effect on the

estate, the Court lacks jurisdiction to hear them—much less dismiss them.

       20.    It does not matter that the Plan’s gatekeeper provision requires that the

dispute must be “related to the Debtor” to fall within its scope. (Plan, art. IX(E)). Mere

“shared facts between the third-party action and a debtor-creditor conflict do not in and of

themselves suffice to make the third-party action ‘related to’ the bankruptcy.” In re Zale

Corp., 62 F.3d at 753. Accordingly, a mere factual interrelationship between the

Challenged Litigation and the arguments asserted in the bankruptcy does not convey

jurisdiction to the Court to resolve that litigation.

       21.    The Bankruptcy Court therefore lacks the power to require the Plaintiffs to

comply with the gatekeeping orders to maintain that litigation, and the Plaintiffs in the

Challenged Litigation are not required to obtain this Court’s permission before maintaining

it. See Tufts v. Hay, 977 F.3d 1204, 1210-11 (11th Cir. 2020) (“Thus, under the

                                               12
Case 4:24-cv-04836        Document 8-1       Filed on 04/23/25 in TXSD    Page 124 of 431




‘conceivable effects’ test for section 1334(b), the Bankruptcy Court did not have

jurisdiction to consider Tufts’s action, and Tufts counsel were not required to obtain leave

from that court before filing this action in the District Court.”).

II.    The claims raised against the Bank satisfy the Plan’s gatekeeping provision
       because they raise colorable lender-liability claims that the Plaintiffs have
       standing to pursue.

       22.    Yet even if the Plaintiffs’ claims against the Bank in the Challenged

Litigation may be properly subjected to the Plan’s gatekeeping provision, those claims

satisfy the gatekeeping provision’s standard for obtaining this Court’s permission to

maintain those claims.

       23.    The remaining two actions include claims against the Bank, but these claims

easily satisfy the gatekeeping provision’s low threshold for maintaining a claim. Two of

these cases originated in state court, and one was remanded in January. (Case No. 23-03259

[Dkt No. 24] (Bankr. S.D. Tex. Jan. 11, 2024)) The final case is an adversary proceeding

that the Debtor filed in this court in conjunction with its original bankruptcy. See Exhibit

1 (Original Complaint, No. 23-06009 (Bankr. S.D. Tex. Sept. 19, 2023) [Dkt. No. 1]) And

the claims raised against the Bank in both cases are “colorable.”

       24.    The term “colorable” is not defined in the Plan or in the gatekeeping

provision, but it nevertheless invokes the exceptionally low standard for determining

whether a defendant has been fraudulently joined to avoid diversity jurisdiction. See

Overholt v. Purina Animal Nutrition LLC, Case No. 1:14-CV-1216, 2015 WL 1631855, at

*2 (W.D. Mich. Apr. 13, 2015) (“Under the fraudulent joinder rule, courts may disregard

the citizenship of parties against whom there is no ‘colorable’ cause of action.”). This

                                              13
Case 4:24-cv-04836       Document 8-1       Filed on 04/23/25 in TXSD      Page 125 of 431




standard is “similar to, but more lenient than, the analysis applicable to a Rule 12(b)(6)

motion to dismiss.” Casias v. Wal-Mart Stores, Inc., 695 F.3d 428, 433 (6th Cir. 2012).

And even under a Rule 12(b)(6) analysis, the standard that courts apply is decidedly lenient

and plaintiff-friendly, requiring a court to evaluate the sufficiency of plaintiff’s complaint

by accept[ing] all well-pleaded facts as true, viewing them in the light most favorable to

the plaintiff.” In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir.

2007) (internal quotation marks and alteration omitted). The Court must resolve all

disputed questions of fact and ambiguities in the controlling state law in favor of the non-

removing party. Coyne, 183 F.3d at 493. And to be “colorable,” a claim need not meet “the

stricter 12(b)(6) pleadings under Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) and

Ashcroft v. Iqbal, 556 U.S. 662 (2009).” Overholt, 2015 WL 1631855, at *7-8.

       25.    Plaintiffs’ remaining claims against the Bank readily meet this lenient

standard. The cases concern a common core of operative facts underlying all three cases in

the Challenged Litigation relating to the Bank’s efforts to foreclose on the Debtor’s

property so it could obtain that property for itself. See The Bank loaned the Debtor over

$50 million to purchase the property (Dkt. No. 565 at 4), but throughout the life of the loan,

the Bank made it progressively more difficult for the Debtor to pay that loan back. As

Plaintiffs have alleged in the state court proceedings, the Bank inserted itself directly into

the Debtor’s business operations, interfering with those business operations in numerous

unjustified ways. Exhibit 2 (Plaintiff’s Sixth Amended Petition, No, 2023-22748 (Harris

County Dist. Ct. Dec. 18, 2023). And the pleadings in Case No. 23-6009, the adversary

proceeding which remains pending in this Court, contains similar allegations of

                                             14
Case 4:24-cv-04836         Document 8-1       Filed on 04/23/25 in TXSD      Page 126 of 431




interference by the Bank. (Ex. 1, ¶¶9-21)

       26.       For example, the Bank thwarted the Debtor’s efforts on at least five different

occasions to sell interests in the building that would have cleared the Bank’s debt—often

through strategic declarations of defaults or foreclosure postings designed to discourage

prospective buyers. (See Ex. 2, ¶¶ 22, 31- 33) The Bank likewise refused to approve or

ignored at least nine different offers to lease space in the building, thereby preventing the

Debtor from raising funds to pay off the loan, eventually forcing the Debtor to bring suit.

(Id. ¶¶23, 27)

       27.       After the parties settled their litigation through a Confidential Settlement

Agreement (Dkt. No. 403-4) hat reduced the principal amount due under the loan, Plaintiff

alleged that the Bank improperly disclosed the terms of the Confidential Settlement

Agreement in direct violation of its express confidentiality obligations by disclosing the

new loan balance to potential purchasers of the property, thereby revealing the Debtor’s

financial struggles, improperly impacting these prospective buyers’ evaluation of the

property’s market value, “chill[ing] the market” for the property, and converting these

potential buyers who would have negotiated a sale with the Debtor into potential purchasers

of the Bank’s note. (See Ex. 2, ¶¶28-29, 63-64)

       28.       The Bank also actively attempted to wrest control of the Debtor and its

property from Choudhri by interfering with Choudhri’s control of Naissance. The Bank

worked in league with Azeema Zaheer, Choudhri’s ex-girlfriend, who acted as his agent in

running Naissance until Ali exercised his right to take over control of the company from

her. (See Ex. 2, ¶¶ 36-46) And these efforts by the Bank and Zaheer were all part of a larger

                                               15
Case 4:24-cv-04836      Document 8-1      Filed on 04/23/25 in TXSD     Page 127 of 431




effort by Choudhri’s disgruntled business partner, Osama Abdullatif, to seize Choudhri’s

business interests by brute force and fraud. Abdullatif has arranged to have hard drives

seized from Choudhri’s companies (Exhibit 3 at 1 [Declaration of Quanell X Farrakhan

No. 1]) He has also even arranged for Choudhri to be accused of a murder-for-hire plot to

kill Abdullatif himself, which authorities dismissed as “a hoax.” (Id.; see also Exhibit 4

[Quanell X Farrakhan Aff. No. 2]) And Omar Khawaja, an attorney and close business

associate of Abdullatif, admits to representing Abdullatif and Zaheer in furtherance of

Abdullatif’s avowed goal of seizing all of Choudhri’s business interests through

litigation—under their theory: “If [Ali] own[s] it, we own it.” (Exhibit 5 [Deposition of

Omar Khawaja] at 23: 30: 17-21; 163:8-165:2; 194:3-6)

      29.    Plaintiffs supported these allegations with voluminous documentary

evidence, including examples of lease proposals that were rejected or ignored and elicit

communications between Bank representatives and Zaheer. (See Ex. 2, pp. 6-7, 8, 9)

Indeed, Plaintiffs produced a key document in their pleadings in which the Bank

encouraged Zaheer to “stay on” until the Bank could find a “suitable replacement for her,”

even after Choudhri had exercised his right to regain control over the company, thereby

demonstrating the Bank’s intentional efforts to interfere with Choudhri’s management of

Naissance. (See Dkt. No. 88-29 at 1-2) The operative pleadings in these actions raise

numerous claims against the Bank, including breach of contract, tortious interference,

fraud, business disparagement, breach of the duty of good faith and fair dealing, unjust

enrichment, and conspiracy. See Ex. 2, ¶¶ 62, 104)

      30.    The Plaintiffs have also alleged how the Debtor, Naissance, and Choudhri all

                                           16
Case 4:24-cv-04836       Document 8-1       Filed on 04/23/25 in TXSD      Page 128 of 431




experienced independent injuries from the Bank’s conduct: While the Debtor was deprived

of its right to survive and thrive as an ongoing business, Naissance and Choudhri suffered

their own loss of a significant asset. And this establishes that Naissance and Choudhri each

have standing to pursue claims against the Bank independently.

       31.    While the facts alleged in the Challenged Litigation paint an extraordinary

factual picture, they nevertheless present classic lender liability claims that have long been

recognized under Texas law. Such lender-liability claims frequently involve both breach-

of-contract and tort claims. See Williams v. National Mortg. Co., 903 S.W.2d 398, 404

(Tex. Ct. App. 1995); Jones v. First Nat’l Bank of Anson, 846 S.W.2d 107, 109 (Tex. Ct.

App. 1992, no writ) (concerning causes of action for breach of duty of good faith and fair

dealing, breach of fiduciary duty, negligent misrepresentation, conversion, estoppel, and

violations of the Deceptive Trade Practices Act); Lamar Sav. Ass’n v. White, 731 S.W.2d

715, 717-18 (Tex. Ct. App. 1987) (causes of action for breach of contract, breach of

fiduciary duty, usury, duress, estoppel, and tortious interference).

       32.    And courts have found such lender-liability claims to be viable under factual

circumstances that are virtually identical to those at issue in this case. Texas courts have

found that lenders can be held liable for wrongful defaults and wrongful acceleration. See,

e.g., Rey v. Acosta, 860 S.W.2d 654 (Tex. Ct. App. 1993); Dixon v. Brooks, 604 S.W.2d

330, 334 (Tex. Ct. App. 1980). Courts also routinely permit lenders to be held liable in the




                                             17
Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD      Page 129 of 431




context of improper refusals to approve leases. 3 And courts have even allowed borrowers

to maintain claims that banks have conspired with others to interfere with their borrowers’

businesses. See, e.g., State Nat’l Bank v. Farah Mfg. Co., 678 S.W.2d 661 (Tex. Ct. App.

1984). Indeed, the Bankruptcy Court for the Northern District of Texas recently found a

lender liable under factual circumstances that are equally extreme to this case. See Bailey

Tool & Mfg. Co., et al. v. Republic Bus. Credit (In re Bailey Tool & Mfg. Co.), Adv. No.

16-03025-SGJ (Bankr. N.D. Tex. December 23, 2021) (holding lender liable under

numerous theories for, among other things, taking aggressive action to protect its interests,

impacting the company’s liquidity, and communicating in secret with the company’s

customers to have them pay the bank instead of the company). These cases demonstrate

that the legal theories that Plaintiffs have asserted are well-founded in Texas law, and the

allegations, while extraordinary, are hardly implausible. And that is why no court has ever

dismissed them. That makes them colorable.

       33.    And while, during plan confirmation, the Court concluded that these claims

were “implausible” and “not viable” (Dkt. No. 565 at 17), Plaintiffs respectfully submit

that these determinations should not be the Court’s final word on the matter. During plan

confirmation, the Plaintiffs were not permitted to present, and the Court was not permitted

to hear, a full airing of the evidence to support the Plaintiffs’ claims. It heard a mere

summary. But even in that limited summary, the Court heard testimony from two of the




3
 See, e.g., Metropolitan Corporate Counsel, Liability Awaits the Unwary: Lenders and Leasing
Decisions (Dec. 13, 2004), https://bit.ly/4e6fGe7.

                                             18
Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD      Page 130 of 431




state’s most respected attorneys, Tom Phillips, former Chief Justice of the Texas Supreme

Court, and Jerry Alexander, both of whom felt the claims were so strong that they were

both willing to take the case on contingency. (See Dkt. No. 570) While the Court discounted

that testimony because the lawyers explained only that the Debtor “had claims” but never

“explained how or why these claims arose,” those questions are answered by the operative

pleadings in the pending litigation, which provide extensive factual detail and evidence

regarding the origin and basis for these claims. (Dkt. No. 565 at 17)

       34.    The Court made barely any mention of the factual or legal merits of those

claims. Instead, the Court simply found the claims incredible, questioning why the Debtor

had “never been able” to pay the note, determining that it was unlikely likely that the Bank

had “breached” the Settlement Agreement first, excusing the Debtor’s own failure to pay,

and challenging Choudhri’s credibility as a witness. (Dkt. No. 565 at 17) But the first of

these holdings ignore the Plaintiffs’ factual allegations—which the Court must accept as

true—that the Bank interfered with the Debtor’s ability to pay the note. And the latter two

should not weigh in the balance in determining whether Plaintiffs’ claims against the Bank

are “colorable,” which requires examining solely the allegations pleaded and setting aside

questions of witness credibility. Indeed, the fact that two well-respected Texas attorneys

are willing to pursue the litigation on a contingency basis provides ample evidence that the

claims are in fact “colorable.”

       35.    Finally, while the Court expressed concern about the motivations behind

these various pieces of litigation, concluding that they were primarily meant “to postpone

a real estate foreclosure” (Dkt. No. 565 at 16), those concerns are unfounded. Lender

                                            19
Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD     Page 131 of 431




liability claims are frequently asserted in efforts to halt foreclosure. See, e.g.,

Williams, 903 S.W.2d at 404; Jones, 846 S.W.2d at 109. And the factual context in which

those claims arose does not undercut their viability.

                                       CONCLUSION

       For these reasons, Ali Choudhri respectfully requests that this Motion to Comply

with the Gatekeeping Provisions of the Confirmed Chapter 11 Plan be granted, and that

none of the claims in the challenged litigation should be dismissed.

                                               Respectfully submitted,

                                               /s/ J. Carl Cecere

                                               J. Carl Cecere
                                                State Bar No. 13268300
                                                (admitted pro hac vice)
                                                Cecere PC
                                                6035 McCommas Blvd.
                                                Dallas, TX 75206
                                                Telephone: 469-600-9455
                                                ccecere@cecerepc.com

                                                  Counsel for 2425 WL, LLC and Ali
                                                  Choudhri




                                             20
Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD    Page 132 of 431




                             CERTIFICATE OF SERVICE

       The undersigned certifies that on October 30, 2024, a true and correct copy of
the foregoing was served via the Court’s CM/ECF system to all parties who
are deemed to have consented to ECF electronic service, and via U S
mail, including to each of the parties listed below.

Matías J. Adrogué                          Omar Khawaja
Leila M. El-Hakam                          Law Offices of Omar Khawaja, PLLC
Matías J. Adrogué PLLC                     177 Richmond Ave,
1629 West Alabama Street                     Ste 1065
Houston, TX 77006                          Houston, TX 77056
service@mjalawyer.com                      omar@attorneyomar.com

Putative Counsel for Naissance             Putative Counsel        for   Naissance
Galleria, LLC                              Galleria, LLC

Rodney Drinnon
McCathern
Houston 2000 West Loop South
  Ste 1850
Houston, TX 77027
rdrinnon@mccathernlaw.com

Counsel for Azeemeh Zaheer

David Tang
6711 Stella Link #343
West University Place, TX 77005
dtangattorney@gmail.com

Counsel for Azeemeh Zaheer




                                              /s/ J. Carl Cecere

                                              J. Carl Cecere


                                         21
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 133 of 431




                               EXHIBIT 1
Case 4:24-cv-04836
      Case 23-06009 Document
                     Document8-1
                              1 Filed
                                   Filed
                                       in on
                                          TXSB
                                             04/23/25
                                                on 09/19/23
                                                      in TXSDPage
                                                                Page
                                                                  1 of134
                                                                       14 of 431




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

                                                   §
In re:
                                                   §
                                                   §     Case No. 23-60036
GALLERIA 2425 OWNER, LLC
                                                   §     (Chapter 11)
                                                   §
         Debtor,
                                                   §
                                                   §
GALLERIA 2425 OWNER, LLC,                          §
NAISSANCE GALLERIA, LLC, AND                       §
ALI CHOUDHRI                                       §
                                                   §
         Plaintiffs,                               §     Adversary No. ________
                                                   §
v.                                                 §     CONTAINS JURY DEMAND
                                                   §
NATIONAL BANK OF KUWAIT, S.A.K.P.,                 §
NEW YORK BRANCH                                    §
                                                   §
         Defendant.                                §

              GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC,
               AND ALI CHOUDHRI’S ORIGINAL COMPLAINT AGAINST
              NATIONAL BANK OF KUWAIT, S.A.K.P., NEW YORK BRANCH

         COME NOW Galleria 2425 Owner, LLC, Naissance Galleria, LLC, and Ali Choudhri

(“Plaintiffs”), and make and file this their Original Complaint against National Bank of Kuwait,

S.A.K.P., New York Branch (“Defendant”), and for same show the Court as follows:

                                           I.
                                 JURISDICTION AND VENUE

         1.      This Court has personal jurisdiction over the Defendant named in this Complaint

due to the fact that the Defendant transacts business in the State of Texas, including entering into

a contract with a resident of the State of Texas performable in whole or in part within the State of

Texas, or have committed a tort in whole or in part in Texas and are thus subject to the Texas Long



GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                   PAGE 1 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                     Document8-1
                              1 Filed
                                   Filed
                                       in on
                                          TXSB
                                             04/23/25
                                                on 09/19/23
                                                      in TXSDPage
                                                                Page
                                                                  2 of135
                                                                       14 of 431




Arm Statute, Section 17.042 of the Texas Civil Practice and Remedies Code. The Court also has

personal jurisdiction over the Defendants pursuant to 29 U.S.C. §1132(f).

       2.      The Court has subject matter jurisdiction of this Adversary Proceeding pursuant to

28 U.S.C. § 1334.

       3.      This adversary proceeding constitutes a core proceeding under 28 U.S.C. §

157(b)(2)(A), (B), (C), (D), (H), and (O) because it will determine the amount of NBK’s claim

against the Debtor. To the extent the Court determines that any of the claims asserted herein are

not core, the Plaintiffs hereby request and demand a trial by jury.

       4.      Venue of the Bankruptcy Case and the Adversary Proceeding is appropriate in this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              II.
                                            PARTIES

A.     Galleria 2425 Owner, LLC.

       5.      Galleria 2425 Owner, LLC (“Debtor”) is a limited liability company doing business

in Texas and is the owner of the building located at 2425 West Loop S., Houston, Texas (“2425

Building”). It is the Debtor in the bankruptcy case in which this Adversary is filed.

       6.      Naissance Galleria, LLC is a limited liability company doing business in Harris

County, Houston, Texas.

       7.      Ali Choudhri is an individual residing in Harris County, Texas.

       8.      Defendant National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) is a

banking corporation organized under the laws of Kuwait, acting through its New York Branch.

Defendant has not designated a registered agent for service of process in the State of Texas, but

under Rule 7004(a)(8) of the Federal Rules of Bankruptcy Procedure, NBK may be served by

mailing a copy of the Complaint to Corporation Service Company, 299 Park Avenue, New York,


GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                   PAGE 2 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                     Document8-1
                              1 Filed
                                   Filed
                                       in on
                                          TXSB
                                             04/23/25
                                                on 09/19/23
                                                      in TXSDPage
                                                                Page
                                                                  3 of136
                                                                       14 of 431




New York 10171. Plaintiff requests that the clerk issue citation at this time. NBK has also filed a

motion to dismiss the bankruptcy of Debtor and it and its counsel will be served by ECF in that

proceeding.

                                          III.
                                   FACTUAL BACKGROUND

       9.      In 2018, Defendant NBK loaned certain funds to Debtor. There have been various

disputes between the Debtor and NBK about the timeliness of payments and the extent and validity

of Defendant’s security, but the gravamen of Debtor’s Complaint is NBK has continually

interfered with the Debtor’s ability to lease the 2425 Building to produce revenue and Debtor’s

ability to sell the 2425 Building to pay NBK off. Every time NBK has so interfered, it has then

blamed the Debtor for its inability supposedly to meet some of the loan terms.

       10.     For example, in January 2021, Plaintiff Ali Choudhri, who is vilified by NBK in

various pleadings, had the building at 2425 West Loop South, Houston, Texas, the asset of the

Debtor, sold for a purchase price of $85 million, more than enough to clear NBK’s debt. Attached

hereto as Exhibit 1 is a letter dated January 15, 2021 from SIBS International and two purchase

contracts which would have paid off not only NBK, but left the Debtor and the other Plaintiffs

with a great deal of value. NBK, rather than facilitate this sale, issued a formal notice of default

to the Debtor and its intent to accelerate the loan on June 29, 2021, while the SIBS International

deal was in progress, killing that deal.

       11.     The same was true with regard to NBK’s interference with the Debtor’s attempt to

lease space in the building to provide revenue so it could operate and make loan payments. By

August 2021, this situation had become untenable due to NBK’s refusal to approve new tenants

and new leases, prompting the Debtor on August 13, 2021 to send NBK a detailed letter regarding

lease-up and renewal prospects for discussions, none of which, it seemed NBK would approve.


GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                   PAGE 3 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                     Document8-1
                              1 Filed
                                   Filed
                                       in on
                                          TXSB
                                             04/23/25
                                                on 09/19/23
                                                      in TXSDPage
                                                                Page
                                                                  4 of137
                                                                       14 of 431



            Healthcare Service Organization

               ▪    Size: 130,000+ RSF – large client requirement in their preliminary planning stages:
                    Industry: Healthcare Service Organization Type of use: Administration Offices
                    Direct/Sublease Commencement date: Q3/2023 Term:5-10 yrs.                They are
                    specifically VERY interested in amenities available, for example: deli, gym, day care,
                    conference center (# of seats), training center (# of seats).

            Invesco

               ▪    We met with the team twice and are actively pursuing them for 2425. They are
                    interested in a 157-month lease term for 208,830 SF of Net Rental Area.

            Financial Services Firm

               ▪    Office AREA: West Houston (610 West, Hwy 290, Beltway 8) SPACE: Open Concept
                    SIZE: Approximately 20,000 – 25,000 rsf PARKING: 5/1000 ratio OCCUPANCY:
                    Late 2Q22/Early3Q22 TERM: 36-60 months with renewal options This tenant is
                    currently at 24 Greenway on their top floor and have been looking at other A buildings.

            Beyond Finance

               ▪    We are discussing a 68-month lease term for +/- 40,000 rentable SF.

            Banco Affirme

               ▪    We submitted a 64-month lease term for 4,545 SF of Net Rental Area.

            Walls Bank (existing tenant)

               ▪    Renew 3,054 SF of rental space for 60-month term starting January 1, 2022.

            Others (working directly with ownership)

               ▪    ResMed (https://www.resmed.com/en-us/), interested in the entire building, working
                    directly with Dr. Peter Farrell, Founder and Chairman

               ▪    Healthstore Holdings (https://www.healthstore.com/), interested in a 15-year term with
                    80,000 SF in phase 1 and 75,000 SF in 12 months as phase 2

               ▪    Immunicom (https://immunicom.com/), interested in at least two full floors, moving HQ
                    from San Diego, CA

       12.      Reproduced below is an August 16, 2021 email from counsel for the Debtor to NBK

forwarding multiple leases for approval that NBK had failed to approve or even respond to.




GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                         PAGE 4 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                     Document8-1
                              1 Filed
                                   Filed
                                       in on
                                          TXSB
                                             04/23/25
                                                on 09/19/23
                                                      in TXSDPage
                                                                Page
                                                                  5 of138
                                                                       14 of 431




This lack of approval, or finding obstacles to approve, was not new. In September 2019, Related

Group had reached out to lease the parking garage located at the 2425 Building to be used for

overflow, for parking up to 110 spaces. NBK’s authorized representative Michael Carter would

not approve this lease (note “nbkny” email address below– i.e. National Bank of Kuwait, New

York Branch), which would have generated a great deal of revenue for the Debtor.




GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S              PAGE 5 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                     Document8-1
                              1 Filed
                                   Filed
                                       in on
                                          TXSB
                                             04/23/25
                                                on 09/19/23
                                                      in TXSDPage
                                                                Page
                                                                  6 of139
                                                                       14 of 431




       13.     The situation became so untenable that in September 2021, Debtor initiated a

lawsuit against NBK.

       14.     In good faith, even during the pendency of this litigation, the Debtor was still trying

to get tenants into the building and get NBK’s approval to do so, so it would not claim additional

breaches of loan agreements. On July 2, 2022, the Debtor sent NBK five leases for approval,

which NBK did not approve.

       15.     The parties litigated for eleven (11) months until August 22, 2022, when they

entered into a Confidential Settlement Agreement. The entire Confidential Settlement Agreement

will be submitted to the Court in camera at the appropriate time, and the Debtor should be allowed

to use it in this Adversary since the breach of that Settlement Agreement by NBK is not only

actionable, but was also devastating to Debtor. Because NBK has a way of interpreting any action

of the Debtor as one to breach or avoid some purported contractual obligation or other, when the

reverse is entirely true, the Confidential Settlement Agreement has not been attached. NBK has

prevented Debtor’s successful performance under any and all agreements it has with NBK,

including the Confidential Settlement Agreement.



GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                    PAGE 6 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                     Document8-1
                              1 Filed
                                   Filed
                                       in on
                                          TXSB
                                             04/23/25
                                                on 09/19/23
                                                      in TXSDPage
                                                                Page
                                                                  7 of140
                                                                       14 of 431




       16.     The Confidential Settlement Agreement permitted a timeframe in which Debtor

could sell the 2425 Building, and Debtor was successful in receiving a hard Letter of Intent dated

January 17, 2023 to purchase the building from Caldwell Soames. A true and correct copy of that

hard Letter of Intent is attached hereto as Exhibit 2. Again, while these negotiations were ongoing,

NBK took actions which interfered with the continuation and closing of that transaction, including

issuing a notice of foreclosure on March 29, 2023 in breach of the Confidential Settlement

Agreement, which Debtor believes was done intentionally to prevent the sale. The sale would

have cleared the Bank of Kuwait debt as it stood at that time and left great value for the other

Plaintiffs. Debtor believes that Bank of Kuwait recognized that greater value and wanted to take

it for itself by foreclosure in a “loan to own” gambit.

       17.     There are tremendous factual inaccuracies that NBK represents to courts and

continues into these proceedings. For example, in its Motion to Dismiss the Debtor’s Bankruptcy,

while it is absolutely true that temporary restraining orders were filed to attempt to prevent a

foreclosure by NBK and its takeover of the 2425 Building, they were also granted. The facts

presented that NBK had not allowed the Debtor to lease up the building to generate revenue and

had killed two transactions that Debtor was working on that would have cleared NBK and left

value for the Debtor and the other Plaintiffs.

       18.     Additionally, NBK posted for foreclosure in 2023 early, and against an extended

grace period that a State Court had given Debtor, which chilled the bidding process and interest in

the 2425 Building completely. No one wants to buy a building posted for foreclosure. Debtor

believes that NBK knew this and did it on purpose to prevent the Debtor from successfully selling

the property and paying off the loan, so NBK could foreclose and become the owner of the 2425

Building.



GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                   PAGE 7 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                     Document8-1
                              1 Filed
                                   Filed
                                       in on
                                          TXSB
                                             04/23/25
                                                on 09/19/23
                                                      in TXSDPage
                                                                Page
                                                                  8 of141
                                                                       14 of 431




       19.     Not the least of the misstatements that NBK makes about the Debtor are those hard

statements that the Debtor has not made any payments to NBK since March 6, 2021. This is stated

both in paragraph 13 of NBK’s Motion to Dismiss Debtor’s Bankruptcy, and in NBK’s Mr.

Carter’s Declaration (paragraph 8 of Declaration of Michael Carter).

       20.     The absolute opposite is true. Representatives of NBK have admitted in writing

that the following substantial payments have been made to NBK well after March 6, 2021:

               a)      $801,509.42 paid by Debtor to NBK on August 27, 2022;

               b)      $80,000 paid by Debtor to NBK on April 18, 2023;

               c)      $80,000 paid by Debtor to NBK on May 10, 2023.

This is almost One Million Dollars ($1,000,000) that not only does NBK not give credit to the

Debtor for having made the payments, but again, it vilifies it, saying exactly the opposite that no

payments (zero) have been made since March 6, 2021.

       21.     After NBK’s disclosures of the situation created by the Confidential Settlement and

the wrongful posting for foreclosure during an extension of that agreement, potential buyers of the

property who would otherwise become good prospects to negotiate a sale with Debtor, became

potential purchasers of the NBK Note and began negotiating with NBK. NBK materially breached

the Confidential Settlement Agreement and interfered with these potential purchases and with

these business relationships.

                                          IV.
                                     CAUSES OF ACTION

      COUNT 1: BREACHES OF CONFIDENTIAL SETTLEMENT AGREEMENT

       22.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.




GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                  PAGE 8 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                     Document8-1
                              1 Filed
                                   Filed
                                       in on
                                          TXSB
                                             04/23/25
                                                on 09/19/23
                                                      in TXSDPage
                                                                Page
                                                                  9 of142
                                                                       14 of 431




       23.       Debtor and the other two Plaintiffs and Defendant reached a valid and enforceable

agreement expressly set forth in the Confidential Settlement Agreement.           Pursuant to the

Confidential Settlement Agreement, Defendant agreed to keep the contents and terms of the

parties’ agreement completely confidential. Debtor dismissed its very good claims in the Lawsuit

against Defendant in reliance upon Defendant’s promises, including but not limited to,

Defendant’s promise to uphold the confidentiality obligations set forth in the Confidential

Settlement Agreement.

       24.       Defendant breached the Confidential Settlement Agreement by disclosing its

contents and terms to third parties in violation of the agreement’s express confidentiality

provisions. These disclosures prevented Debtor from closing on the sale of the 2425 Building and

chilled the market for other buyers for Debtor’s property. The same is true for NBK’s wrongful,

early filing of a notice of foreclosure on the 2425 Building, also in violation of the Confidential

Settlement Agreement.

       25.       Debtor and all Plaintiffs hereby sue NBK for these breaches of the Confidential

Settlement Agreement. The damages for these breaches are the amounts of money that the Debtor

would have made from the contemplated transaction, which is in excess of Fifty Million Dollars

($50,000,000).

              COUNT 2: TORTIOUS INTERFERENCE WITH CONTRACT

       26.       Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       27.       As alleged, NBK tortiously interfered with the SIBS International contract

(Exhibit 1) and the Caldwell Soames Inc. contract (Exhibit 2), causing damages to the Debtor and

the other two Plaintiffs in the net amounts of the contracts which, but for NBK’s interference,



GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                  PAGE 9 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                    Document 8-1
                             1 Filed
                                  Filed
                                     in TXSB
                                        on 04/23/25
                                              on 09/19/23
                                                    in TXSDPage
                                                              Page
                                                                10 of143
                                                                      14 of 431




would have been paid to the Debtor and the other two Plaintiffs. These damages are excess of

Fifty Million Dollars ($50,000,000), for which the Debtor hereby sues NBK.

       COUNT 3: TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS

       28.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       29.     After NBK’s disclosures of the situation created by the confidential settlement and

the wrongful posting for foreclosure during a judicial extension of the grace period contained in

that agreement, potential buyers of the property who would otherwise have become good prospects

to negotiate a sale with Debtor, became instead potential purchasers from NBK of the NBK note

and began contacting and negotiating or attempting to negotiate with NBK instead of the Debtor.

       30.     This interference by NBK damaged Debtor in amounts to be determined after

discovery, but which exceed the minimum jurisdictional limits of this Honorable Court.

    COUNT 4: FRAUD AND FRAUDULENT INDUCEMENT/LENDER LIABILITY

       31.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       32.     NBK never had any intention of living up to the Confidential Settlement

Agreement. The Debtor was winning the lawsuit against NBK, so NBK induced the Debtor into

dismissing its lawsuit and entering into the Confidential Settlement Agreement which NBK had

no intention of living up to.      This fraud works an estoppel against NBK (see Count 6,

“ESTOPPEL”). Plaintiffs hereby sue NBK for the fraud and fraudulent inducement and alleges it

constitutes the basis for an action for Lender Liability.

       33.     NBK knew at the time it entered into the Confidential Settlement Agreement it

would deflect and tortiously interfere with the Debtor’s attempts to sell the 2425 Building so NBK



GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                PAGE 10 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                    Document 8-1
                             1 Filed
                                  Filed
                                     in TXSB
                                        on 04/23/25
                                              on 09/19/23
                                                    in TXSDPage
                                                              Page
                                                                11 of144
                                                                      14 of 431




would be able to foreclose on the building and take all of the value instead of just the value of the

amounts otherwise owed at the time. The fraud, fraud in the inducement, lender liability, and

subsequent interference for all of which Plaintiffs hereby sue NBK. These actions by NBK have

damaged the Debtor and the other two Plaintiffs in an amount of at least Thirty Million Dollars

($30,000,000).

                         COUNT 5: FRAUDULENT CONVEYANCE

       34.       Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       35.       The funds paid by the Debtor to NBK:

                 a)     $801,509.42 paid Debtor to NBK on August 27, 2022;

                 b)     $80,000 paid by Debtor to NBK on April 18, 2023; and

                 c)     $80,000 paid by Debtor to NBK on May 10, 2023

were fraudulently induced by NBK and were payments for which the Debtor received nothing in

return and constitute fraudulent conveyances in violation of U.S.C. § 544, 548, and 550 and TEX.

BUS. & COMM. CODE §§ 24.001, et seq., for which the Debtor hereby sues NBK to recover all such

amounts.

                                     COUNT 6: ESTOPPEL

       36.       Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       37.       NBK is estopped from claiming Debtor owes any more than the amount stated and

agreed to in the Confidential Settlement Agreement because of its fraud and fraudulent inducement

alleged previously.




GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                  PAGE 11 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                    Document 8-1
                             1 Filed
                                  Filed
                                     in TXSB
                                        on 04/23/25
                                              on 09/19/23
                                                    in TXSDPage
                                                              Page
                                                                12 of145
                                                                      14 of 431




                         COUNT 7: BUSINESS DISPARAGEMENT

       38.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       39.     The posting of the 2425 Building during any negotiation periods and/or the

extended grace period when actual buyers were moving toward concluding a deal and when other

potential buyers were expressing interest in the 2425 Building, constituted business disparagement

against the Debtor for which Debtor hereby sues NBK. The damages are the net amount of money

the Debtor would have received in the sales had they occurred.

              COUNT 8: BREACH OF GOOD FAITH AND FAIR DEALING

       40.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       41.     Every contract has a duty of good faith and fair dealing engrafted upon it, especially

in a lender/borrower relationship, and even more so when the lender is based in the State of New

York as NBK is.

       42.     NBK breached its duty of good faith and fair dealing by:

               a)      Inducing Plaintiffs to dismiss their State Court lawsuit;

               b)      Inducing Plaintiffs to enter into the Confidential Settlement Agreement;

               c)      Tortiously interfering with Debtor’s performance under the Confidential
                       Settlement Agreement;

               d)      Tortiously interfering with third-party contracts;

               e)      Not approving tenant leases or contracts for sale; and

               f)      deflecting buyers so Debtor could not sell the 2425 Building.




GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                  PAGE 12 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                    Document 8-1
                             1 Filed
                                  Filed
                                     in TXSB
                                        on 04/23/25
                                              on 09/19/23
                                                    in TXSDPage
                                                              Page
                                                                13 of146
                                                                      14 of 431




       43.     Plaintiffs hereby sue NBK for breach of duty of good faith and fair dealing. The

damages are for the value of the amounts that would have been recovered in the state court

litigation and/or the value of the deals lost for leases and/or sales of the 2425 Building.

                             COUNT 9: UNJUST ENRICHMENT

       44.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       45.     If NBK is allowed to foreclose on the 2425 Building it will make an unconscionable

profit and succeed in its “loan to own” gambit. The amount of its unjust enrichment for which

Plaintiffs hereby sue NBK is the difference between what NBK would have been owed (but for its

breaches of the Confidential Settlement Agreement) under the Confidential Settlement Agreement

and the true value of the building, for which Plaintiffs hereby sue NBK.

                               COUNT 10: ATTORNEYS’ FEES

       46.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       47.     Plaintiffs hereby sue NBK for their reasonable and necessary attorneys’ fees under

breach of contract and under any statutory or common law right to recover same.

                                             PRAYER

       WHEREFORE, premises considered, Plaintiffs pray that Defendants be cited to appear

herein as provided by law and that upon hearing:

       1.      NBK not be allowed to foreclose on the 2425 Galleria Building;

       2.      Plaintiffs recover their damages and attorneys’ fees as alleged.



Dated: September 19, 2023



GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S                   PAGE 13 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836
      Case 23-06009 Document
                    Document 8-1
                             1 Filed
                                  Filed
                                     in TXSB
                                        on 04/23/25
                                              on 09/19/23
                                                    in TXSDPage
                                                              Page
                                                                14 of147
                                                                      14 of 431




                                            Respectfully submitted,

                                            HAYWARD PLLC

                                            By: /s/ Melissa S. Hayward
                                                Melissa S. Hayward
                                                   Texas Bar No. 24044908
                                                   MHayward@HaywardFirm.com
                                            10501 North Central Expy., Suite 106
                                            Dallas, Texas 75231
                                            (972) 755-7100 (telephone/facsimile)
                                            PROPOSED COUNSEL FOR THE DEBTOR


                                            By: /s/ James Q. Pope
                                               James Q. Pope
                                                 State Bar No. 24048738
                                                 jamesp@thepopelawfirm.com
                                            THE POPE LAW FIRM
                                            6161 Savoy Drive, Suite 1125
                                            Houston, Texas 77036
                                            (713) 449-4481 Telephone
                                            (281) 657-9693 Facsimile
                                            COUNSEL FOR PLAINTIFFS ALI CHOUDHRI AND
                                            NAISSANCE GALLERIA LLC




                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing was filed with the Court and served via
the Court’s CM/ECF system upon all of the parties registered to receive such notice on
September 19, 2023.


                                            /s/ Melissa S. Hayward
                                            Melissa S. Hayward




GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC, AND ALI CHOUDHRI’S               PAGE 14 OF 14
ORIGINAL COMPLAINT AGAINST NATIONAL BANK OF KUWAIT, S.A.K.P.
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 148 of 431




                               EXHIBIT 2
 Case 4:24-cv-04836            Document 8-1    Filed on 04/23/25 in TXSD      Page 149 of 431        12/17/2023 7:53 PM
                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                Envelope No. 82647538
                                                                                                         By: Bonnie Lugo
                                                                                            Filed: 12/18/2023 12:00 AM

                                     CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                        §          IN THE DISTRICT COURT OF
                                                 §
                  Plaintiff,                     §
v.                                               §               HARRIS COUNTY, TEXAS
                                                 §
NATIONAL BANK OF KUWAIT,                         §
S.A.K.P., NEW YORK BRANCH,                       §
                                                 §
                Defendant.                       §             281ST JUDICIAL DISTRICT


                        PLAINTIFF’S SIXTH AMENDED PETITION

        Galleria 2425 Owner, LLC (“Plaintiff”) files this Sixth Amended Petition against

 Defendant National Bank of Kuwait S.A.K.P., New York Branch (individually as “NBK”, or

 collectively as “Defendants”), and Azeemeh Zaheer (individually as “Zaheer”, or collectively as

 “Defendants”) and, in support, submit the following:

                                             I.
                                       DISCOVERY PLAN

        1.     Discovery should be conducted pursuant to Level 2 of Rule 190.3 of the Texas

 Rules of Civil Procedure.

                                                II.
                                              PARTIES

        2.     Galleria 2425 Owner, LLC (“Plaintiff”) is a limited liability company doing

 business in Texas and is the owner of the building located at 2425 West Loop S., Houston, Texas

 (“2425 Building”).




                                                                                       Page 1 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD          Page 150 of 431




         3.    National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) is a banking

corporation organized under the laws of Kuwait, acting through its New York Branch. NBK HAS

APPEARED WITH COUNSEL.

         4.    Azeemeh Zaheer (“Zaheer”), is an individual who resides, and may be personally

served at 5513 Kansas Street, Houston, Texas 77007.

                                            III.
                                        INTRODUCTION

         5.    This suit was originally filed against NBK, a party who has been shown to be

willing to engage in bad faith actions, and who repeatedly attempts to make outside deals with

third parties, specifically to deprive the plaintiff of its ownership interest in the 2425 Building in

any way it can.

         6.    Plaintiff, Galleria 2425 Owner, LLC, filed bankruptcy to preserve the asset, which

NBK vehemently opposed, and fought to have dismissed from the bankruptcy court. However, at

the hearing on NBK’s motion to dismiss, Plaintiff was successful in defending against dismissal,

and the bankruptcy case moved forward.

         7.    Plaintiff promptly proposed a plan in the bankruptcy court, which was characterized

as a “really smart” plan that “check[ed] all the boxes” for plan confirmation, according to Judge

Lopez.

         8.    Then, after NBK lost its motion to dismiss, it filed a letter in the bankruptcy case

(Document 77) which made the bankruptcy court aware of litigation that was irrelevant to Galleria

2425 Owner, LLC’s pursuit of its ongoing bankruptcy case. The state court litigation referenced

by NBK is, in the words of Judge Lopez “an unrelated case involving Ms. Zahire [sic] and

Naissance and Mr. Choudhri”. The case is about a dispute over control of an entity called


                                                                                        Page 2 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD         Page 151 of 431




Naissance Galleria, LLC, which is an entity that provided a mezzanine loan to Galleria 2425

Owner, LLC’s sole member and is party to an intercreditor agreement with NBK.                  Upon

information and belief, certain of the investors in Naissance Galleria LLC are substantial clients

of or investors in NBK. Naissance Galleria LLC was also a party to the very settlement agreement

with NBK at issue in this suit.        Importantly, Naissance Galleria, LLC does not have any

membership in, or control over Galleria 2425 Owner, LLC, or any of its members or managers.

       9.      Notably, the state court, in the litigation referenced in NBK’s letter to Judge Lopez,

did issue a Temporary Injunction, which maintained the status quo of Choudhri’s management and

control of Naissance Galleria, LLC, but limited any actions that could be taken by Choudhri on

behalf of Naissance Galleria, LLC to only those which are also approved by Zaheer, until a trial

resolves the issue once and for all.

       10.     After the Temporary Injunction was in place establishing Choudhri’s control of

Naissance Galleria, LLC, Zaheer directed her counsel, while purporting to act for Naissance

Galleria, LLC, to appear at two separate hearings in the bankruptcy court, on or about October 12,

2023 and November 1, 2023, and on the eve of a November 1 status conference filed an emergency

motion in the bankruptcy court, requesting for Judge Lopez to rule against the state court and find

that Zaheer had control of, and could act for Naissance Galleria, LLC. Judge Lopez thereafter sua

sponte dismissed the bankruptcy case during the November 1, 2023 status conference.

       11.     When the parties to the state court litigation returned to appear before Judge Manor

on November 13, 2023, Judge Manor confirmed that her Temporary Injunction did not give Zaheer

any right to act as the manager of Naissance Galleria, LLC, and confirmed that Choudhri was in

control, subject to Zaheer’s approval during the pendency of trial.



                                                                                       Page 3 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD         Page 152 of 431




       12.     All of these actions, gave rise to Judge Lopez’s serious concerns about the ability

to move forward with the bankruptcy case without resolution in the state court action. Judge Lopez

stated, in the Status Conference held on November 1, 2023, the following:

       “I don’t have anything to qualify it in state court issues. I don’t know. There’s just a lot of

       confusing stuff, and my gut tells me that I need to dismiss this case and let you all go figure

       this out in State Court, because there’s not enough here, and there’s real concerns that I

       have…”.

       13.     However, since Naissance Galleria, LLC has no ownership or control over the

Plaintiff or any of its members or managers, these filings and appearances are just a smoke screen.

The fact that they were also filed in violation of the Temporary Injunction not only makes these

actions unlawful, but there could be no other purpose aside from attempting to cause the dismissal

of the bankruptcy case brought by Galleria 2425 Owner, LLC, which is an action that, logically,

would be counter to the company’s interests.

       14.     In its letter inviting the Naissance dispute and Ms. Zaheer’s counsel into the

bankruptcy proceedings, NBK cleverly attempts to confuse the court by implying that Ms. Zaheer

had control of Naissance Galleria, LLC because the order says that management decisions could

not be made without her approval. Ms. Zaheer’s counsel then accepted NBK’s invitation to create

confusion and disruption, appearing at the October 13 emergency status conference purporting to

represent Naissance Capital LLC.

       15.     As this Court has handled cases related to Galleria 2425 Owner, LLC for years, it

is well aware that Ms. Zaheer has been entirely absent from any of these proceedings until on or

about July 5th, 2023, when Naissance Galleria, LLC appeared, allegedly controlled by Azeemeh



                                                                                        Page 4 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD         Page 153 of 431




Zaheer, before this Court’s ancillary docket, attempting to stop the foreclosure by NBK, at which

hearing this Court itself questioned the absence of Ms. Zaheer over the last several years.

       16.     Ms. Zaheer signed the assignment giving control over Naissance Galleria, LLC to

Mr. Choudhri on July 3rd, 2020. Ms. Zaheer did not make any claims of control over Naissance

Galleria, LLC, did not attempt to object to Mr. Choudhri’s management of the company for three

(3) years. These allegations are absurd, as Ms. Zaheer has been entirely absent from the company’s

management for years.

       17.     As a result of this conspiracy by the defendants, the emergency status conference

requested by NBK resulted in the dismissal of the bankruptcy case.

       18.     What’s interesting is that, if Ms. Zaheer was sincerely the manager of Naissance

Galleria, LLC, she would not have worked to have the bankruptcy case dismissed.

       19.     Such actions, if they had been taken by a legitimate manager for Naissance Galleria,

LLC, would be a breach of fiduciary duty to the company, unless there was a back room deal

NBK.

       20.     Now that NBK has re-posted the 2425 Building for foreclosure, Plaintiff will suffer

irreparable harm as a result of the defendants’ actions.

                                         IV.
                                  FACTUAL BACKGROUND

       21.     In 2018, NBK loaned certain funds to Plaintiff. NBK has continually interfered

with the Plaintiff’s ability to lease the 2425 Building to produce revenue and Plaintiff’s ability to

sell the 2425 Building to pay NBK off. Every time NBK has so interfered, it has then blamed the

Plaintiff for its inability supposedly to meet some of the loan terms.




                                                                                        Page 5 of 29
Case 4:24-cv-04836             Document 8-1     Filed on 04/23/25 in TXSD         Page 154 of 431




        22.       For example, in January 2021, Plaintiff Ali Choudhri, who is vilified by NBK in

various pleadings, had serious parties interested in acquiring interests in the building more than

enough to clear NBK’s debt. A letter dated January 15, 2021, from SIBS International, and two

purchase contracts would have paid off not only NBK, but left the Plaintiff with a great deal of

value. NBK, rather than facilitate this sale, issued a formal notice of default to the Plaintiff

and its intent to accelerate the loan on June 29, 2021, while the SIBS International deal was in

progress, killing that deal.

        23.       The same was true with regard to NBK’s interference with the Plaintiff’s

attempt to lease space in the building to provide revenue so it could operate and make loan

payments. By August 2021, this situation had become untenable due to NBK’s refusal to approve

new tenants and new leases, prompting the Plaintiff, on August 13, 2021, to send NBK a detailed

letter regarding lease-up and renewal prospects for discussions, none of which, it seemed NBK

would approve.

         Healthcare Service Organization

              ▪      Size: 130,000+ RSF – large client requirement in their preliminary planning
                     stages: Industry: Healthcare Service Organization Type of use:
                     Administration Offices Direct/Sublease Commencement date: Q3/2023
                     Term:5-10 yrs. They are specifically VERY interested in amenities available,
                     for example: deli, gym, day care, conference center (# of seats), training center
                     (# of seats).

         Invesco

              ▪      We met with the team twice and are actively pursuing them for 2425. They are
                     interested in a 157-month lease term for 208,830 SF of Net Rental Area.

         Financial Services Firm

              ▪      Office AREA: West Houston (610 West, Hwy 290, Beltway 8) SPACE:
                     Open Concept SIZE: Approximately 20,000 – 25,000 rsf PARKING: 5/1000
                     ratio OCCUPANCY: Late 2Q22/Early3Q22 TERM: 36-60 months with

                                                                                         Page 6 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD       Page 155 of 431




                    renewal options This tenant is currently at 24 Greenway on their top floor and
                    have been looking at other A buildings.

        Beyond Finance

             ▪      We are discussing a 68-month lease term for +/- 40,000 rentable SF.

        Banco Affirme

             ▪      We submitted a 64-month lease term for 4,545 SF of Net Rental Area.

        Walls Bank (existing tenant)

             ▪      Renew 3,054 SF of rental space for 60-month term starting January 1, 2022.

        Others (working directly with ownership)

             ▪      ResMed (https://www.resmed.com/en-us/), interested in the entire building,
                    working directly with Dr. Peter Farrell, Founder and Chairman

             ▪      Healthstore Holdings (https://www.healthstore.com/), interested in a 15-year
                    term with 80,000 SF in phase 1 and 75,000 SF in 12 months as phase 2.

             ▪      Immunicom (https://immunicom.com/), interested in at least two full floors,
                    moving HQ from San Diego, CA

       24.       Below is an August 16, 2021 email from counsel for the Plaintiff to NBK

forwarding multiple leases for approval that NBK had failed to approve or even respond to.




                                                                                      Page 7 of 29
Case 4:24-cv-04836       Document 8-1       Filed on 04/23/25 in TXSD       Page 156 of 431




       25.    This lack of approval, or finding obstacles to approve, was not new. In September

2019, Related Group had reached out to lease the parking garage located at the 2425 Building to

be used for overflow, for parking up to 110 spaces. NBK’s authorized representative Michael

Carter would not approve this lease (note “nbkny” email address below– i.e. National Bank of

Kuwait, New York Branch), which would have generated a great deal of revenue for the Plaintiff.




                                                                                  Page 8 of 29
Case 4:24-cv-04836         Document 8-1       Filed on 04/23/25 in TXSD         Page 157 of 431




       26.     The situation became so untenable that in September 2021, Plaintiff initiated a

lawsuit against NBK.

       27.     In good faith, even during the pendency of this litigation, the Plaintiff was still

trying to get tenants into the building and get NBK’s approval to do so, so it would not claim

additional breaches of loan agreements. On July 2, 2022, the Plaintiff sent NBK five leases for

approval, which NBK did not approve.

       28.     The parties litigated for eleven (11) months until August 22, 2022, when they

entered into a Confidential Settlement Agreement. NBK has prevented Plaintiff’s successful

performance under any and all agreements it has with NBK, including the Confidential

Settlement Agreement.

       29.     The Confidential Settlement Agreement permitted a timeframe in which Plaintiff

could sell the 2425 Building, or seek refinancing, and Plaintiff was successful in obtaining a buyer

for the building. Upon closing this transaction, Plaintiff would have retained a forty-five (45%)

ownership interest in the 2425 Building. However, NBK again took actions which interfered

with the continuation and closing of that transaction, including issuing a notice of foreclosure

                                                                                       Page 9 of 29
Case 4:24-cv-04836          Document 8-1        Filed on 04/23/25 in TXSD          Page 158 of 431




on March 29, 2023 in breach of the Confidential Settlement Agreement, which Plaintiff

believes was done intentionally to prevent the sale. The sale would have cleared the NBK debt

as it stood at that time and left great value for the Plaintiff. Plaintiff believes that NBK recognized

that greater value and wanted to take it for itself by foreclosure in a “loan to own” gambit.

       30.       There are tremendous factual inaccuracies that NBK represents to state and federal

courts and they continue into these proceedings. For example, in its Motion to Dismiss the

Plaintiff’s Bankruptcy, while it is absolutely true that temporary restraining orders were filed to

attempt to prevent a foreclosure by NBK and its takeover of the 2425 Building, NBK fails to note

that such requests were also granted by this Court based upon showings that NBK had not

allowed the Plaintiff to lease up the building to generate revenue, and had killed at least two

transactions that Plaintiff was working on that would have cleared NBK and left value for

the Plaintiff.

       31.       Additionally, NBK posted for foreclosure in 2023 early, and against an extended

grace period that this Court had given Plaintiff, which silenced the bidding process and interest in

the 2425 Building completely. No one wants to buy a building posted for foreclosure. Plaintiff

believes that NBK knew this and did it on purpose to prevent the Plaintiff from successfully

selling the property and paying off the loan, so NBK could foreclose and take the 2425

Building for itself so it can open a Houston location.

       32.       After NBK’s disclosures of the situation created by the Confidential Settlement and

the wrongful posting for foreclosure during an extension of that agreement, potential buyers of the

property who would otherwise become good prospects to negotiate a sale with Plaintiff, became

potential purchasers of the NBK Note and began negotiating with NBK. NBK interfered with



                                                                                        Page 10 of 29
Case 4:24-cv-04836          Document 8-1      Filed on 04/23/25 in TXSD         Page 159 of 431




these potential purchases and with these business relationships. At least the following were

interfered with in this fashion:

                a)     Globix Investment,

                b)     Ironwood Commercial Realty,

                c)     Shah Firm, LLC, and

                d)     Jeb Brown Law.


B.        Azeemeh Zaheer Decides She Wants the Building.

          33.   On June 26, 2023, Zaheer, filed a lawsuit in the name of Naissance Galleria, LLC

(“Naissance”), despite having assigned control over such entity several years prior., in the 157th

Judicial District Court in Harris County, Texas referenced by case number 2023-39006 against

Brad Parker (“Parker”) as an initial step in Zaheer’s pursuit of a hostile takeover of the 2425

Building.

          34.   On July 5, 2023, Zaheer, again acting in the name of Naissance, filed a second

lawsuit in the 129th Judicial District Court in Harris County, Texas referenced by case number

2023-41091 against Parker and NBK, to further her hostile takeover attempt of the 2425 Building.

Zaheer sought injunctive relief, but that request for an emergency temporary restraining order was

denied.

          35.   On or about July 5, 2023, Plaintiff commenced a Chapter 11 bankruptcy proceeding

in the Southern District of Texas, referenced by case number 23-60036. NBK sought to dismiss

the bankruptcy proceeding, but after a full day evidentiary hearing its motion to dismiss was denied

on September 26, 2023. The Chapter 11 Plan could have been approved and would have

substantially reduced the value of NBK’s secured debt. So, after its motion to dismiss was denied,


                                                                                     Page 11 of 29
Case 4:24-cv-04836         Document 8-1       Filed on 04/23/25 in TXSD         Page 160 of 431




NBK changed tactics and decided to invite Ms. Zaheer and her counsel into the bankruptcy case

to cause confusion and disruption. NBK decided it could not allow its debt to be restructured

under the bankruptcy code, just as it had decided it could not allow the prior sales of the building

that had been lined up by Plaintiff.

C.     Azeemeh Zaheer is a False Representative of Naissance.

       36.     Azeemeh Zaheer at one time had a business and personal relationship with Ali

Choudhri, both of which appeared to have ended mutually for a time. Azeemeh Zaheer sought

injunctive relief in the 80th Judicial District Court for Harris County against Naissance Galleria,

LLC, which was a mezzanine lender to an LLC (“LLC”) two steps up in the chain.

       37.     Azeemeh Zaheer had signed, as the authorized representative of the Managing

Member of Naissance Galleria, LLC an Assignment of the management rights of that LLC to Ali

Choudhri. In response, Mr. Choudhri stepped into Naissance’s shoes, covered its expenses, and

did a miraculous job of negotiating the aforementioned settlement with NBK after the Assignment.

Azeemeh Zaheer made this assignment for a number of reasons, but most of them stemmed from

her ineffective management of the building and her fear of exposure to NBK and certain

individuals affiliated with NBK because of her poor performance.

       38.     After Mr. Choudhri received the Assignment and had negotiated the successful

settlement with NBK and the building looked as if it might succeed (a period of years), Azeemeh

Zaheer decided she wanted to misappropriate the value that Mr. Choudhri had just preserved and

to an extent had just created. First, she claimed the Assignment was invalid and sought and

received a Temporary Injunction, on September 21, 2023, from the 80th Judicial District Court in

Harris County. This Temporary Injunction basically only created a stalemate with respect to the

management of Naissance Galleria, LLC to preserve the status quo until a trial in January. Mr.
                                                                                     Page 12 of 29
Case 4:24-cv-04836          Document 8-1         Filed on 04/23/25 in TXSD          Page 161 of 431




Choudhri is still the manager of Naissance Galleria, LLC, not Azeemeh Zaheer, although she did

have some approval rights under the injunction. Mr. Choudhri, as the manager of Naissance

Galleria LLC and is only required to obtain approval from Zaheer for his actions. Zaheer DOES

NOT have any control of the entity. Moreover, this was confirmed at a hearing on November 13,

2023 before Judge Manor in the 80th Judicial District Court.

D.      Azeemeh Decides to Conspire with NBK So It Could Foreclose On the Building.

        39.     After the September 21, 2023 entry of the Temporary Injunction, some ironic, if

not strange, events start taking place with respect to Ms. Zaheer and the Plaintiff. First, it is against

Azeemeh Zaheer and Naissance’s financial interests if NBK forecloses.

        40.     Second, on information and belief, Zaheer caused a copy of the Temporary

Injunction Entered on September 21, 2023 by the 80th Judicial District Court in Harris County to

be sent to counsel for NBK, who used it to interfere with the Plaintiff’s ability to reorganize under

the bankruptcy code and confirm a chapter 11 plan.

        41.     Third, Zaheer’s directed her counsel to appear without any forewarning at the

October 12, 2023 status conference, in the Bankruptcy Court about the plan, claiming Azeemeh

Zaheer now is the manager of Naissance Galleria, LLC and they have been hired by her to represent

Naissance Galleria, LLC, all by virtue of the Temporary Injunction.




                                                                                          Page 13 of 29
Case 4:24-cv-04836               Document 8-1          Filed on 04/23/25 in TXSD              Page 162 of 431




E.         Zaheer Changes Sides to Make a Deal with the NBK

           42.     Progressively, Azeemeh Zaheer’s behavior becomes more inexplicable as she: (1)

takes the position that the Temporary Injunction put her in charge of Naissance (it did not);1 (2)

that Naissance Galleria, LLC could or had already become the owner of the Debtor building (2425

Galleria Owner, LLC, Plaintiff herein) and as the new owner, they did not wish to pursue claims

asserted in the bankruptcy case against NBK by Plaintiff and Naissance for breaching the

settlement agreement and would want to take the bankruptcy in another direction.

           43.     This created an environment of confusion for the Bankruptcy Court, which was by

Defendants’ design, and it was a concerted effort by the Defendants to have the bankruptcy case

dismissed, allowing NBK to foreclose. Defendant NBK would not be impeded by the bankruptcy

and Zaheer could tell Mr. Choudhri: “I will not go along with your reorganization plan unless you

pay me millions of dollars” while making a deal with NBK to block the Plan of Reorganization in

the event no payment was received from Mr. Choudhri.

           44.     The Defendants are working in concert, to achieve the same end. Specifically, the

Defendants have devised, and intended to devise, a scheme or artifice to seize the 2425 Building

by any means necessary. Defendants will stop at nothing to see the Plaintiff lose possession of the

2425 Building, and upon information and belief, the driving force behind their efforts is Osama

Abdullatif (“Abdullatif”).




1
    At a hearing had in the issuing court (the 80th Judicial District Court) on Monday, November 13, 2023, the Court

confirmed her Temporary Injunction Order had not turned control of Naissance over to Zaheer and Zaheer had no

authority to authorize attorneys to make the filing and take the action they had on behalf of Naissance Galleria, LLC

in the Bankruptcy.

                                                                                                    Page 14 of 29
Case 4:24-cv-04836          Document 8-1        Filed on 04/23/25 in TXSD          Page 163 of 431




        45.     Defendants’ scheme has involved false representations of material information,

including but not limited to misrepresentations concerning the Plaintiff and the purpose and effects

of the Temporary Injunction.

        46.     On November 29, 2023, Azeemeh appeared, through counsel, at an emergency

hearing where Naissance Galleria, LLC’s Application for Temporary Restraining Order was being

heard before the Harris County District Court Ancillary Judge. Naissance Galleria, LLC sought

an emergency temporary restraining order, to enjoin NBK from proceeding with the foreclosure

sale scheduled for December 5, 2023, in an effort to protect its interests in the 2425 Building.

However, Azeemeh, through counsel, argued against entry of the temporary restraining order, and

worked alongside NBK to ensure its denial, leaving the 2425 Building subject to foreclosure.

Azeemeh’s stance is bizarre, considering Azeemeh, improperly acting as manager for Naissance

Galleria, LLC, sought an emergency temporary restraining order to stop NBK from foreclosing on

the 2425 Building in July 20232.

F.      False Representations by Zaheer’s Agents are Successful in Getting Plaintiff’s
        Bankruptcy Dismissed.

        47.     The Bankruptcy Court scheduled a Status Conference for the Plaintiff’s Bankruptcy

Case for November 1, 2023. Azeemeh’s agents, on October 31, 2023, only hours before the Status

Conference, filed an Emergency Motion. This Motion contained many misrepresentations, some

of which follow:

                a)      Even though Zaheer had no right to or standing necessary to file anything
                        on behalf of Naissance, and the Temporary Injunction gave Zaheer no such
                        rights, statements were made in their Emergency Motion directly to the
                        contrary, stating Azeemeh Zaheer was in, Choudhri was out.



2
  See Cause No. 2023-41091: Naissance Galleria LLC v. National Bank of Kuwait S.A.K.P., New York Branch,
transcript from the July 5, 2023 Temporary Restraining Order hearing is attached.
                                                                                         Page 15 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD       Page 164 of 431




               b)      The filing stated flatly at one point that the Assignment had been found to
                       be forged – it had not.

               c)      The filing stated that, because of the Temporary Injunction, Naissance was
                       now controlled exclusively by Zaheer, who could make Naissance become
                       the Owner of the Bankrupt. (The issuing court on Monday, November 13,
                       2023, ruled from the bench it said no such thing.)

These misrepresentations had the desired effect, and the Bankruptcy Court dismissed the

Bankruptcy, green-lighting NBK to foreclose.

G.     Abdullatif is Choudhri’s Competitor and Wants to Ruin Him.

       48.     Choudhri has been in the real estate investment and management business for the

last 20 years. The regular course of Choudhri’s business involves numerous aspects of real estate

development. These activities include real estate and business acquisitions and dispositions,

seeking and obtaining financing, and developing and managing commercial and residential

properties. He regularly raises capital for these activities through the issuance of equity and/or

debt. It is also within his normal course of business to enter into transactions with borrowers,

lenders, and investors to support the purchase, development, and operations of real estate

properties.

       49.     Choudhri at times conducts his real estate investment and management business

through the use of special purpose entities, such as Plaintiff Galleria Owner 2425, LLC. Choudhri

runs a management company, Jetall (“Jetall”), to provide employees and management services to

entities for purposes of operating real estate investments.

       50.     Abdullatif has provided financing for numerous third-party claims against

Choudhri, including interfering with Choudhri’s final divorce proceedings in both Pakistan

Supreme Court and Harris County District Court by soliciting Choudhri’s ex-wife for her legal

claims against Choudhri and/or his entities and to gain access to Choudhri’s protected financial

                                                                                    Page 16 of 29
Case 4:24-cv-04836          Document 8-1       Filed on 04/23/25 in TXSD          Page 165 of 431




disclosures. Abdullatif has filed several dozen Lis Pendens against Choudhri, and his properties,

and has sponsored litigation against Choudhri in several dozen cases.

       51.     Upon information and belief, Abdullatif is also financing the litigation expenses of

Zaheer against Choudhri in the dispute over the building owned by Plaintiff. Abdullatif, Zaheer,

and others have all agreed to the enterprise course of action aimed at destroying Choudhri’s

business, including taking possession of the 2425 Building.

       52.     On more than one occasion, Abdullatif resorted to violence and threats against

Choudhri and/or his family, friends, and associates. Mr. Choudhri had another real estate venture

involving an entity called Dalio. Abdullatif was present at Dalio’s foreclosure proceeding, where

a friend accompanying him assaulted one of Choudhri’s lawyers. On another occasion, Abdullatif

and his associates used firearms to hold Choudhri, and his associates, hostage.

       53.     Abdullatif also formed an association with others in his illegal efforts to destroy

Choudhri’s business. These individuals include but are not limited to Chris Wyatt, former

paralegal of Jetall (“Wyatt”).

       54.     Wyatt was hired by Jetall in 2019. In the course of his employment, Wyatt oversaw

legal and litigation matters for Jetall. He was provided confidential information concerning Jetall’s

and its client’s real estate transactions, finances and debt leverage on properties, and litigation

management strategies. As a Jetall representative, Wyatt was regularly involved in and provided

access to privileged information and communications, including information subject to attorney-

client and work product privileges. Wyatt signed a non-disclosure agreement at the beginning of

his employment prohibiting him from disclosing confidential information and requiring him to

return all files upon his termination.



                                                                                      Page 17 of 29
Case 4:24-cv-04836         Document 8-1       Filed on 04/23/25 in TXSD        Page 166 of 431




         55.   Wyatt’s employment at Jetall ended in December 2020. When he left Jetall, Wyatt

stole corporate files including electronic communications and secretly recorded privileged phone

communications between Choudhri and his attorneys.

         56.   Jetall obtained a restraining order in January 2021 enjoining Wyatt from disclosing

or divulging confidential information obtained through his course of employment with Jetall.

         57.   Abdullatif met with Wyatt before, during and after Wyatt’s departure from Jetall.

Abdullatif, directly and through his lawyers, received confidential and privileged information from

Wyatt.     This information included but is not limited to illegal recordings of Choudhri’s

conversations with attorneys.

         58.   Upon information and belief, Abdullatif and his lawyers were aware that Wyatt was

a former employee of Jetall who was involved in confidential and privileged communications and

that a restraining order was entered enjoining Wyatt from disclosing confidential information.

         59.   Abdullatif and his agents have used the illegally obtained information and

recordings as part of Abdullatif’s scheme to destroy Choudhri’s business. Abdullatif retained

Wayne Dolcefino (“Dolcefino”) as a “consultant” to publish on the internet a series of hit pieces

on Choudhri. Dolcefino advertises that his services included “litigation support,” and Abdullatif

has utilized Dolcefino in the course of his numerous lawsuits asserted against Choudhri and his

businesses.

         60.   Information illegally obtained from Wyatt is included in many of Dolcefino’s hit

pieces. Dolcefino continues to publish these hit pieces on the internet, including videos posted in

May 2023.

         61.   Abdullatif has made several false claims against his competitor, Choudhri, in many

ways, two of the most egregious being:
                                                                                     Page 18 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD         Page 167 of 431




               a)      Hiring Dolcefino to create video “hit pieces” about Choudhri, his business,
                       his marital status, and inappropriate character based upon his actions during
                       that marital status. This video contained “over the top” falsehoods, e.g. that
                       he was still married and had been for years. It was commercial speech
                       designed to designate a competitor (Choudhri) and give Abdullatif a
                       competitive advantage, and was introduced into interstate commerce by
                       release to major television (broadcast and cable) networks and by placing
                       on the internet where it still resides today, making it available to the
                       potential customers and lenders that are competed for; and

               b)      Placing multiple improper Lis Pendens on the record title to properties
                       owned by Choudhri or his business entities, which created a double negative
                       effect on Choudhri’s ability to conduct business by hampering his ability to
                       find new lenders or renewing existing loans because the security for them
                       was impaired and making it impossible to sell those properties to raise new
                       capital on his own. These Lis Pendens were “over the top”
                       misrepresentations because they were illegal and did not assert valid
                       interests in the subject properties. The Lis Pendens were also introduced
                       into interstate commerce because they were filed of record and were
                       available “online” over the internet to any potential customer for
                       commercial real estate in the Houston area.



                                           V.
                                     CAUSES OF ACTION

      COUNT 1: BREACHES OF CONFIDENTIAL SETTLEMENT AGREEMENT

       62.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       63.     Plaintiff and NBK reached a valid and enforceable agreement expressly set forth in

the Confidential Settlement Agreement. Pursuant to the Confidential Settlement Agreement, NBK

agreed to keep the contents and terms of the parties’ agreement completely confidential. Plaintiff

dismissed its very good claims in the Lawsuit against NBK in reliance upon NBK’s promise to

uphold the confidentiality obligations set forth in the Confidential Settlement Agreement.

       64.     NBK breached the Confidential Settlement Agreement by disclosing its contents

and terms to third parties in violation of the agreement’s express confidentiality provisions. These
                                                                                       Page 19 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD        Page 168 of 431




disclosures prevented Plaintiff from closing on the sale of the 2425 Building and chilled the market

for other buyers for Plaintiff’s property. The same is true for NBK’s wrongful, early filing of a

notice of foreclosure on the 2425 Building, also in violation of the Confidential Settlement

Agreement.

          65.   Plaintiff hereby sues NBK for these breaches of the Confidential Settlement

Agreement, including monetary damages for such breaches and injunctive relief preventing NBK

from foreclosing on the building because Civil Practices & Remedies Code Section 65.011

authorizes injunction relief when: 1) the applicant is entitled to a writ of injunction under the

principles of equity and the laws of Texas relating to injunctions. Texas Civil Practices &

Remedies Code Section 65.011(3); See Butnaru v. Ford Motor Co., 84 S.W.3rd 198, 210 (Tex.

20002); and 2) when irreparable injury to real or personal is threatened, irrespective of any remedy

of law. Tex. Civ. Practice & Remedies Code Section 65.011(5).

          66.   Plaintiff requests injunctive relief as allowed pursuant to CytoGenix, Inc. v.

Waldroff, 213 S.W.3d 479, 487 (Tex.App.—Houston, [1st Dist.] 2006, pet. denied), and L Series,

L.L.C. v. Holt, 571 S.W.3d 864, 876 (Tex.App.—Fort Worth 2019, pet. denied) due to Defendant’s

breach.

                COUNT 2: TORTIOUS INTERFERENCE WITH CONTRACT

          67.   Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

          68.   As alleged, NBK tortiously interfered with the SIBS International contract and the

Caldwell Soames Inc. contract, causing damages to the Plaintiff in the net amounts of the contracts

which, but for NBK’s interference, would have been paid to the Plaintiff.



                                                                                     Page 20 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD      Page 169 of 431




       69.     Zaheer has tortiously interfered with Plaintiff’s contract with NBK, and abused

process by interfering in Plaintiff’s bankruptcy proceeding.

    COUNT 3: TORTIOUS INTERFERENCE WITH PROSPECTIVE RELATIONS

       70.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       71.     After NBK’s disclosures of the situation created by the confidential settlement and

the wrongful posting for foreclosure during a judicial extension of the grace period contained in

that agreement, potential buyers of the property who would otherwise have become good prospects

to negotiate a sale with Plaintiff, became instead potential purchasers from NBK of the NBK note

and began contacting and negotiating or attempting to negotiate with NBK instead of the Plaintiff.

NBK interfered with these potential purchasers and with these potential business relationships. At

least the following were interfered with in this fashion:

               a)      Globix Investment,
               b)      Ironwood Commercial Realty,
               c)      Shah Firm, LLC, and
               d)      Jeb Brown Law.

       72.     Zaheer have interfered with the Plaintiff’s relationship with NBK and/or entered

into a relationship with Zaheer and their antics caused the dismissal of Plaintiff’s Chapter 11

bankruptcy proceeding, which was otherwise proceeding to a cram-down restructuring under

Chapter 11 of the bankruptcy code

       73.     This interference by the Defendants damaged Plaintiff in amounts to be determined

after discovery, but which exceed the minimum jurisdictional limits of this Honorable Court.




                                                                                    Page 21 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD       Page 170 of 431




                COUNT 4: COMMON LAW FRAUD/LENDER LIABILITY

       74.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       75.     NBK never had any intention of living up to the Confidential Settlement

Agreement. The Plaintiff was winning the lawsuit against NBK, so NBK induced the Plaintiff

into dismissing its lawsuit and entering into the Confidential Settlement Agreement which NBK

had no intention of living up to. This fraud works an estoppel against NBK (see Count 6,

“ESTOPPEL”). Plaintiff hereby sues NBK for fraud and fraudulent inducement and alleges it

constitutes the basis for an action for Lender Liability.

       76.     NBK knew at the time it entered into the Confidential Settlement Agreement it

would deflect and tortiously interfere with the Plaintiff’s attempts to sell the 2425 Building so

NBK would be able to foreclose on the building and take all of the value instead of just the value

of the amounts otherwise owed at the time. Plaintiff accordingly sues NBK for its fraud, fraud in

the inducement, lender liability, and subsequent interference with the settlement agreement.

Plaintiff seeks benefit of the bargain damages for the fraud related to the enforceable contract.

Plaintiff requests injunctive relief as allowed pursuant to CytoGenix, Inc. v. Waldroff, 213 S.W.3d

479, 487 (Tex.App.—Houston, [1st Dist.] 2006, pet. denied), and L Series, L.L.C. v. Holt, 571

S.W.3d 864, 876 (Tex.App.—Fort Worth 2019, pet. denied) due to Defendant’s breach.

                           COUNT 5: FRAUDULENT TRANSFER

       77.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       78.     The funds paid by the Plaintiff to NBK:

               a)      $801,509.42 paid Plaintiff to NBK on August 27, 2022;

                                                                                    Page 22 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD       Page 171 of 431




               b)      $80,000 paid by Plaintiff to NBK on April 18, 2023; and

               c)      $80,000 paid by Plaintiff to NBK on May 10, 2023

were fraudulently induced by NBK and were payments for which the Plaintiff received nothing in

return and constitute fraudulent conveyances in violation of U.S.C. § 544, 548, and 550 and TEX.

BUS. & COMM. CODE §§ 24.001, et seq., for which the Plaintiff hereby sues NBK to recover all

such amounts. In addition, the Loan Agreement between NBK and Plaintiff set aside reserve funds

to cover certain events of default related to the anchor tenant. Due to COVID-19, this provision of

the Loan Agreement activated, and Plaintiff’s loan payments were being drawn down from the

reserve funds. However, NBK intentionally depleted Plaintiff’s reserve funds, and transferred

Plaintiff’s funds to itself prior to the time when they were actually due. Plaintiff requests an

injunction pursuant to Sec. 24.008.

                                      COUNT 6: ESTOPPEL

       79.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       80.     NBK is estopped from claiming Plaintiff owes any more than the amount stated and

agreed to in the Confidential Settlement Agreement because of its fraud and fraudulent inducement

alleged previously.

                         COUNT 7: BUSINESS DISPARAGEMENT

       81.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       82.     The posting of the 2425 Building during any negotiation periods and/or the

extended grace period when actual buyers were moving toward concluding a deal and when other



                                                                                    Page 23 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD          Page 172 of 431




potential buyers were expressing interest in the 2425 Building, constituted business disparagement

against the Plaintiff for which Plaintiff hereby sues NBK.

         83.   The efforts of Zaheer to make false accusations and representations about the

Plaintiff’s ownership interests, management, and decision-making abilities constituted business

disparagement against the Plaintiff for which the Plaintiff hereby sues Zaheer.

         84.   The business disparagement by the Defendants damaged Plaintiff in amounts to be

determined after discovery, but which exceed the minimum jurisdictional limits of this Honorable

Court.

               COUNT 8: BREACH OF GOOD FAITH AND FAIR DEALING

         85.   Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

         86.   Every contract has a duty of good faith and fair dealing engrafted upon it, especially

in a lender/borrower relationship, and even more so when the lender is based in the State of New

York as NBK is.

         87.   NBK breached its duty of good faith and fair dealing by:

               a)      Inducing Plaintiff to dismiss their State Court lawsuit;

               b)      Inducing Plaintiff to enter into the Confidential Settlement Agreement;

               c)      Tortiously interfering with Plaintiff’s performance under the Confidential
                       Settlement Agreement;

               d)      Tortiously interfering with third-party contracts;

               e)      Not approving tenant leases or contracts for sale; and

               f)      deflecting buyers so Plaintiff could not sell the 2425 Building.




                                                                                      Page 24 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD          Page 173 of 431




       88.     Plaintiff hereby sues NBK for breach of duty of good faith and fair dealing. The

damages are for the value of the amounts that would have been recovered in the state court

litigation and/or the value of the deals lost for leases and/or sales of the 2425 Building.

                             COUNT 9: UNJUST ENRICHMENT

       89.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       90.     If NBK is allowed to foreclose on the 2425 Building it will make an unconscionable

profit and succeed in its “loan to own” gambit. The amount of its unjust enrichment for which

Plaintiff hereby sues NBK is the difference between what NBK would have been owed (but for its

breaches of the Confidential Settlement Agreement) under the Confidential Settlement Agreement

and the true value of the building, for which Plaintiff hereby sue NBK.

                                  COUNT 10: CONSPIRACY

       91.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       92.     Defendants agreed to work in concert with each other in order to interfere with

Plaintiff’s bankruptcy case, and to have it dismissed by making fraudulently claiming Azeemeh

had control over Naissance Galleria, LLC.

       93.     Defendants acted with the intent to harm plaintiff by disrupting its bankruptcy

proceedings and ultimately obtaining a sua-sponte dismissal of such proceeding based upon their

allegations

       94.     To accomplish the object of their agreement Defendants intentionally or negligently

mischaracterized the effect of the state court temporary injunction, in order to confuse and disrupt

Plaintiff’s bankruptcy case, which resulted in dismissal.

                                                                                       Page 25 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD          Page 174 of 431




       95.     The agreement to engage in this conduct proximately caused injury to plaintiff.

Plaintiff’s sole asset and its ability to reorganize its affairs under Chapter 11 of the bankruptcy

code, has now been posted for foreclosure on December 5th, 2023, instead of being protected

through its reorganization proceedings. A foreclosure will irreparably harm Plaintiff.

        COUNT 11: FEDERAL MISREPRESENTATION OF SERVICES AND UNFAIR

                                   COMPETITION UNDER THE LANHAM ACT

       96.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       97.     Section 43 of the Lanhan Act provides civil relief to any person damaged by the

acts of another with connection to “any goods or services,” who uses any “false designation of

origin, false, or misleading description of fact, or false or misleading representation of fact” that

either is either “likely to cause confusion, or to cause mistake, or to deceive as to the affiliation,

connection, or association of such person with another person, or as to the origin, sponsorship, or

approval of his or her goods, services, or commercial activities by another person,” or “in

commercial advertising or promotion, misrepresents the nature, characteristics, qualities, or

geographic origin of his or her or another person’s goods, services, or commercial activities.” 41

U.S.C. § 1125(a)(1).

       98.     To establish a prima facie claim under § 43 of the Lanham Act of 1946, a plaintiff

must establish that: (1) the defendant made a “false or misleading statement of fact,” (2) the

statement “either deceived or had the capacity to deceive a substantial segment of potential

consumers,” (3) the deception was “material, in that it is likely to influence the consumer’s

purchasing decision,” (4) the goods, services, or commercial activities must be “in interstate

commerce,” and finally, (5) “as a result of the statement at issue,” there was injury to the plaintiff
                                                                                       Page 26 of 29
Case 4:24-cv-04836          Document 8-1        Filed on 04/23/25 in TXSD          Page 175 of 431




or the plaintiff “is likely to be injured.” IQ Prod. Co. v. Pennzoil Prod. Co., 305 F.3d 368, 375

(5th Cir. 2002).

       99.     NBK and the Plaintiff entered into a settlement agreement in the spring of

2023. The settlement agreement was confidential. Thereafter, NBK made misleading statements

about the confidential settlement agreement that deceived others, the actions were material, the

actions were in interstate commerce and resulted in injury to the Plaintiff. Since the settlement

agreement was and may still be confidential, further information about the actions could be argued

to be a breach of the confidentiality provisions.

       100.    Further, NBK made misleading statements on the potential leases in the building

owned by the Plaintiff. The Plaintiff had numerous potential leases, NBK refused to approve the

leases, the actions of NBK were misleading, the actions were deceptive as to both the Plaintiff and

the potential leases, the actions were material in influencing the potential tenants in future relations

with the Plaintiff, many of the larger proposed tenants were or are national companies in interstate

commerce and the actions caused injury to the Plaintiff.

       101.    Further, the Plaintiff and principally its owner purchase liens on properties and to

purchase properties oftentimes at foreclosure sales, but other times as purchasers from willing

sellers. Many of these properties are worth millions of dollars. Buying properties worth millions

of dollars is a very capital-intensive business. Consequently, Choudhri must maintain good

reputations to assure that lenders will lend him money and buyers will enter into contracts to

purchase their properties since the primary sources of capital necessary to keep this business

functioning are capital from lenders and proceeds from the sales of their existing properties.

       102.    The capital utilized in the leases and businesses comes from and flows through

interstate commerce and at times through international commerce, and the purchasers or some of
                                                                                         Page 27 of 29
Case 4:24-cv-04836          Document 8-1       Filed on 04/23/25 in TXSD         Page 176 of 431




their members are oftentimes citizens of states other than Texas or countries other than the United

States of America.

       103.    NBK has engaged in false advertising in violation of Section 43(a) of the Lanham

Act as described above and possibly in other ways.

       104.    These acts and others were in violation of 15 USC § 1125(a), Section 43a of the

Lanham Act.

                              COUNT 12: ATTORNEYS’ FEES

       105.    Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       106.    Plaintiff hereby sues Defendants for its reasonable and necessary attorneys’ fees

under breach of a written contract under Civil Practice and Remedies Code §38.001, under the fee

shifting agreement of the contract, and under any statutory or common law right to recover same.

                                    VI. JURY DEMAND

       107.    Plaintiff demands a jury trial and tenders the appropriate fee with this petition.

                                          VII. PRAYER

       108.    For the reasons set forth above, Plaintiff asks that the Court enter a judgment relief

in the following manners:

               a)      Actual damages including economic injuries & consequential damages;

               b)      Attorney’s fees;

               c)      Exemplary damages;

               d)      Prejudgment and post judgment interest;

               e)      Court costs; and

                                                                                      Page 28 of 29
Case 4:24-cv-04836         Document 8-1        Filed on 04/23/25 in TXSD         Page 177 of 431




               f)      All other relief to which Plaintiff is entitled under both law and equity.

                                              Respectfully submitted,

                                              The Pope Law Firm
                                              6161 Savoy Drive, Suite 1125
                                              Houston, Texas 77036
                                              Ph: 713-449-4481
                                              Fx: 281-657-9693
                                              jamesp@thepopelawfirm.com

                                              By: /s/ James Q. Pope
                                                   James Q. Pope
                                                   TBN: 24048738
                                                   Attorney for Plaintiff




                                 CERTIFICATE OF SERVICE

       I certify that on December 17, 2023, a copy of the foregoing was served on interested

parties by electronic service using the court’s electronic noticing system.

                                              By: /s/ James Q. Pope
                                                   James Q. Pope




                                                                                       Page 29 of 29
    Case 4:24-cv-04836      Document 8-1       Filed on 04/23/25 in TXSD       Page 178 of 431

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

James Pope on behalf of James Pope
Bar No. 24048738
jamesp@thepopelawfirm.com
Envelope ID: 82647538
Filing Code Description: Amended Filing
Filing Description: Plaintiff Sixth Amended Petition
Status as of 12/18/2023 9:54 AM CST

Case Contacts

Name                       BarNumber   Email                               TimestampSubmitted      Status

Jerry CAlexander                       alexanderj@passmanjones.com         12/17/2023 7:53:14 PM   SENT

Ruth NVera                             verar@passmanjones.com              12/17/2023 7:53:14 PM   SENT

Sheryl Chandler                        chandlers@passmanjones.com          12/17/2023 7:53:14 PM   SENT

James Pope                             jamesp@thepopelawfirm.com           12/17/2023 7:53:14 PM   SENT

James Quantrele Pope       24048738    ecf@thepopelawfirm.com              12/17/2023 7:53:14 PM   SENT

Rodney Lee Drinnon         24047841    rdrinnon@mccathernlaw.com           12/17/2023 7:53:14 PM   SENT

Robin Harrison                         rharrison@hicks-thomas.com          12/17/2023 7:53:14 PM   SENT

Charles Conrad                         charles.conrad@pillsburylaw.com     12/17/2023 7:53:14 PM   SENT

Nancy Jones                            nancy.jones@pillsburylaw.com        12/17/2023 7:53:14 PM   SENT

Simone Nunez                           snunez@mccathernlaw.com             12/17/2023 7:53:14 PM   SENT

David Clark                            dclark@mccathernlaw.com             12/17/2023 7:53:14 PM   SENT

Danielle Chester                       dchester@mccathernlaw.com           12/17/2023 7:53:14 PM   SENT

Haseeb Dada                            hdada@mccathernlaw.com              12/17/2023 7:53:14 PM   SENT

Averyll Mauch                          amauch@Mccathernlaw.com             12/17/2023 7:53:14 PM   SENT

Gage Fender                            gage@clouthierlaw.com               12/17/2023 7:53:14 PM   SENT

Jennifer LMacGeorge                    jmac@jlm-law.com                    12/17/2023 7:53:14 PM   SENT

Jackie Marlowe                         jmarlowe@hicks-thomas.com           12/17/2023 7:53:14 PM   SENT

Jetall Legal                           legal@jetallcompanies.com           12/17/2023 7:53:14 PM   SENT

MacGeorge Law Firm Admin               service@jlm-law.com                 12/17/2023 7:53:14 PM   SENT

Clouthier Law                          info@clouthierlaw.com               12/17/2023 7:53:14 PM   SENT

Ryan Steinbrunner                      ryan.steinbrunner@pillsburylaw.com 12/17/2023 7:53:14 PM    SENT

Elizabeth Klingensmith                 liz.klingensmith@pillsburylaw.com   12/17/2023 7:53:14 PM   SENT
    Case 4:24-cv-04836      Document 8-1       Filed on 04/23/25 in TXSD       Page 179 of 431

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

James Pope on behalf of James Pope
Bar No. 24048738
jamesp@thepopelawfirm.com
Envelope ID: 82647538
Filing Code Description: Amended Filing
Filing Description: Plaintiff Sixth Amended Petition
Status as of 12/18/2023 9:54 AM CST

Case Contacts

Elizabeth Klingensmith                 liz.klingensmith@pillsburylaw.com   12/17/2023 7:53:14 PM   SENT

Angela McGinnis                        angela.mcginnis@pillsburylaw.com    12/17/2023 7:53:14 PM   SENT

Ali Choudhri                           ali@jetallcompanies.com             12/17/2023 7:53:14 PM   SENT



Associated Case Party: Ali Choudhri

Name           BarNumber Email                       TimestampSubmitted    Status

Ali Choudhri             legal@jetallcompanies.com   12/17/2023 7:53:14 PM SENT
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 180 of 431




                               EXHIBIT 3
Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD   Page 181 of 431


                      2021-00192 / Court: 334




                                                                  k
                                                               ler
                                                            tC
                                                        ric
                                                     ist
                                                  sD
                                                es
                                             rg
                                          Bu
                                        n
                                     ily
                                     ar
                                M
                              of
                            e
                         ffic
                       O
                        y
                     op
               C
             ial
          fic
       of
     Un
Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD   Page 182 of 431




                                                                  k
                                                               ler
                                                            tC
                                                        ric
                                                     ist
                                                  sD
                                                es
                                             rg
                                          Bu
                                        n
                                     ily
                                     ar
                                M
                              of
                            e
                         ffic
                       O
                        y
                     op
               C
             ial
          fic
       of
     Un
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 183 of 431




                               EXHIBIT 4
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 184 of 431
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 185 of 431
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 186 of 431




                               EXHIBIT 5
Case 4:24-cv-04836   Document 8-1     Filed on 04/23/25 in TXSD   Page 187 of 431




                                    In the Matter Of:

                                TEXAS REIT LLC
                                         24-10120-smr




                               OMAR KHAWAJA

                                September 11, 2024
     Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 188 of 431

      OMAR KHAWAJA                                                   September 11, 2024
      TEXAS REIT LLC                                                                  1

∑1∑∑∑∑∑∑IN THE UNITED STATES BANKRUPTCY COURT

∑2∑∑∑∑∑∑∑FOR THE WESTERN DISTRICT OF TEXAS

∑3∑∑∑∑∑∑∑∑∑∑∑∑AUSTIN DIVISION

∑4

∑5∑∑In re:∑∑∑∑∑∑∑∑∑∑∑∑∑∑Chapter 11

∑6∑∑TEXAS REIT, LLC∑∑∑∑∑∑∑∑∑Case No.

∑7∑∑Debtor∑∑∑∑∑∑∑∑∑∑∑∑∑∑24-10120-smr

∑8

∑9

10

11∑∑∑∑∑∑∑∑∑∑REMOTE DEPOSITION OF

12∑∑∑∑∑∑∑∑∑∑∑∑OMAR KHAWAJA

13

14

15

16∑∑∑∑∑∑∑∑∑∑∑September 11, 2024
∑∑∑∑∑∑∑∑∑∑∑∑∑∑10:15 a.m.
17

18

19∑∑∑∑∑∑∑∑∑5051 Westheimer, Suite 1200
∑∑∑∑∑∑∑∑∑∑∑∑∑Houston, Texas
20

21

22

23

24
∑∑∑∑∑∑∑Cheryl Madriaga, Shorthand Reporter
25


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com
     Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 189 of 431

      OMAR KHAWAJA                                                   September 11, 2024
      TEXAS REIT LLC                                                                  2

∑1∑∑∑∑∑∑∑∑∑∑APPEARANCES OF COUNSEL:

∑2
∑∑∑On behalf of Debtor, Texas Reit, LLC:
∑3
∑∑∑∑STEPHEN W. SATHER, ESQ.
∑4∑∑∑BARRON & NEWBURGER, P.C.
∑∑∑∑7320 N. Mopac Expy, Suite 400
∑5∑∑∑Austin, TX 78731
∑∑∑∑(512) 476-9103
∑6∑∑∑ssather@bn-lawyers.com

∑7
∑∑∑On behalf of Deponent, Omar Khawaja:
∑8
∑∑∑∑MICHAEL BALLASES, ESQ.
∑9∑∑∑HOOVER SLOVACEK, LLP
∑∑∑∑5051 Westheimer, Suite 1200
10∑∑∑Houston, Texas 77056
∑∑∑∑(713) 977-8686
11∑∑∑ballases@hooverslovacek.com

12
∑∑∑On behalf of Dalio Holdings I and II, LLC:
13
∑∑∑∑LORI A. HOOD, ESQ.
14∑∑∑SHACKELFORD, MCKINLEY & NORTON, LLP
∑∑∑∑717 Texas Avenue, 27th Floor
15∑∑∑Houston, TX 77002
∑∑∑∑(832) 669-6081
16∑∑∑lhood@shackelford.law

17
∑∑∑Also Present:
18
∑∑∑∑Dwayne Mason, Esq., Greenberg Traurig, LLP -
19∑∑∑prospective counsel for Dalio Holdings I and II, LLC

20∑∑∑Ali Chouhdri, pro se - in his individual capacity

21∑∑∑Gene McCubbin - assistant to Lori Hood

22∑∑∑Tammy Luu - assistant to Ali Choudhri

23∑∑∑Osama Abdullatif - noticed deponent

24∑∑∑John Quinlan - noticed deponent

25


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com
     Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 190 of 431

      OMAR KHAWAJA                                                   September 11, 2024
      TEXAS REIT LLC                                                                  3

∑1∑∑∑∑∑∑∑∑∑∑INDEX TO EXAMINATION

∑2∑∑EXAMINATION∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE

∑3∑∑Examination by Mr. Sather∑∑∑∑∑∑∑∑∑∑∑∑6
∑∑∑Examination by Ms. Hood∑∑∑∑∑∑∑∑∑∑∑∑∑47
∑4∑∑Examination by Ms. Hood∑∑∑∑∑∑∑∑∑∑∑∑∑72
∑∑∑Examination by Mr. Choudhri∑∑∑∑∑∑∑∑∑∑∑126
∑5∑∑Reporter's Certificate∑∑∑∑∑∑∑∑∑∑∑∑∑229

∑6

∑7∑∑∑∑∑∑∑∑∑∑∑INDEX OF EXHIBITS

∑8∑∑DEBTOR'S∑∑∑∑DESCRIPTION∑∑∑∑∑∑∑∑∑∑∑PAGE

∑9
∑∑∑Exhibit 1∑∑Proof of Claim∑∑∑∑∑∑∑∑∑∑∑9
10
∑∑∑Exhibit 2∑∑Supplemental Notice of Lis∑∑∑∑∑35
11∑∑∑∑∑∑∑∑Pendens for 8052 Westheimer

12∑∑Exhibit 3∑∑Supplemental Notice of Lis∑∑∑∑∑37
∑∑∑∑∑∑∑∑∑Pendens for 8098 Westheimer
13
∑∑∑Exhibit 4∑∑Adversary Complaint - George Lee∑∑38
14
∑∑∑Exhibit 5∑∑Debtor's Objection to Claim∑∑∑∑44
15
∑∑∑Exhibit 6∑∑Motion for Leave to Withdraw∑∑∑∑45
16∑∑∑∑∑∑∑∑Claim Number 9

17

18

19

20

21

22

23

24

25


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 191 of 431

     OMAR KHAWAJA                                                  September 11, 2024
     TEXAS REIT LLC                                                                 4

∑1∑∑∑∑∑∑∑∑∑∑P R O C E E D I N G S
∑2∑∑∑∑∑∑THE REPORTER:∑We are on the record.∑The date
∑3∑∑is September 11th, 2024.∑This begins the deposition
∑4∑∑of Omar Khawaja.
∑5∑∑∑∑∑∑My name is Cheryl Madriaga, representing
∑6∑∑Esquire Deposition Solutions.
∑7∑∑∑∑∑∑Will counsel please state their name on the
∑8∑∑record and whom they represent?
∑9∑∑∑∑∑∑MR. SATHER:∑Stephen Sather --
10∑∑∑∑∑∑MR. BALLASES:∑Michael Ballases --
11∑∑∑∑∑∑MR. SATHER:∑-- attorney for --
12∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) Khawaja --
13∑∑∑∑∑∑THE REPORTER:∑Sorry --
14∑∑∑∑∑∑MR. BALLASES:∑-- John Quinlan, and Osama
15∑∑Abdullatif.
16∑∑∑∑∑∑THE REPORTER:∑Okay.∑Sorry.∑I just had two
17∑∑people speaking at once.∑Could I start with one
18∑∑counsel, please?
19∑∑∑∑∑∑MR. BALLASES:∑Sure.∑Michael Ballases,
20∑∑counsel of record for the deponent, Omar Khawaja, also
21∑∑John Quinlan, also Osama Abdullatif.
22∑∑∑∑∑∑THE REPORTER:∑Thank you.
23∑∑∑∑∑∑MR. SATHER:∑Stephen Sather --
24∑∑∑∑∑∑MR. BALLASES:∑You're welcome.
25∑∑∑∑∑∑MR. SATHER:∑-- for Texas REIT, LLC, the


                                                               800.211.DEPO (3376)
                                                               EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD     Page 192 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                     5

∑1∑∑debtor in this case.
∑2∑∑∑∑∑∑MS. HOOD:∑Lori Hood of Dalio Holdings, a
∑3∑∑creditor in the case.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Ali Choudhri, a creditor in the
∑5∑∑case.
∑6∑∑∑∑∑∑THE REPORTER:∑Okay.∑Is there anything else,
∑7∑∑or are we ready to have me swear in the witness?
∑8∑∑∑∑∑∑MR. BALLASES:∑Now, there are other people on
∑9∑∑the call.∑They need to make an appearance.
10∑∑∑∑∑∑MR. MASON:∑This is Dwayne Mason, prospective
11∑∑counsel for Dalio with Greenberg Traurig.
12∑∑∑∑∑∑MR. MCCUBBIN:∑Gene McCubbin, assistant to
13∑∑Lori Hood.
14∑∑∑∑∑∑MR. BALLASES:∑Okay.∑I'm going to object --
15∑∑this is Michael Ballases.∑I'm going to object to Lori
16∑∑Hood, her assistant, Ali Choudhri, and Dwayne Mason
17∑∑being present on the call.∑They're not -- they don't
18∑∑represent Texas REIT.∑They're not parties, they don't
19∑∑have standing, and they cannot participate.∑And this
20∑∑is not a creditors' meeting.∑So I want that to be on
21∑∑the record.
22∑∑∑∑∑∑MR. SATHER:∑All right.∑Your objection is
23∑∑noted.∑Let's proceed.
24∑∑∑∑∑∑THE REPORTER:∑Okay.∑And just before we go on
25∑∑the record, I just ask that we please do our best not


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD     Page 193 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                     6

∑1∑∑to speak over one another.
∑2∑∑∑∑∑∑Mr. Khawaja, please keep your voice nice and
∑3∑∑loud, allow counsel to finish his completely before
∑4∑∑you begin your answer, and all answers must be verbal.
∑5∑∑Thank you.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑Just confirming, Madam Court
∑7∑∑Reporter, we are on the record; right?
∑8∑∑∑∑∑∑THE REPORTER:∑Yes, we are.
∑9∑∑∑∑∑∑MR. SATHER:∑All right.
10∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.
11∑∑∑∑∑∑MR. SATHER:∑If you would swear in the
12∑∑witness, please.
13∑∑∑∑∑∑∑∑∑∑∑∑OMAR KHAWAJA,
14∑∑having been first duly sworn, was examined and
15∑∑testified as follows:
16∑∑∑∑∑∑∑∑∑∑∑∑EXAMINATION
17∑∑∑∑∑∑MR. BALLASES:∑Real quick before we get
18∑∑started -- this is Michael Ballases -- I assume we
19∑∑have an agreement to take this deposition by the
20∑∑Federal Rules of Civil Procedure and also the Court's
21∑∑limiting instruction.
22∑∑∑∑∑∑MR. SATHER:∑Yes.
23∑∑∑∑∑∑MR. BALLASES:∑Okay.
24∑∑BY MR. SATHER:
25∑∑∑∑Q.∑All right.∑Mr. Khawaja, have you ever given a


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD     Page 194 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                      7

∑1∑∑deposition before?
∑2∑∑∑∑A.∑I don't think so, no.
∑3∑∑∑∑Q.∑All right.∑But are you familiar with the
∑4∑∑process for taking a deposition, sir?
∑5∑∑∑∑A.∑Yes.∑Yes, I am.
∑6∑∑∑∑Q.∑And do you understand that your testimony
∑7∑∑today is under oath?
∑8∑∑∑∑A.∑Yes, I do.
∑9∑∑∑∑Q.∑And is there anyone present in the room with
10∑∑you where you are giving your testimony?
11∑∑∑∑A.∑Yes, my attorney, Michael Ballases, and the
12∑∑other two parties, Osama Abdullatif and John Quinlan.
13∑∑∑∑Q.∑All right.∑And, Mr. Khawaja, do you
14∑∑understand that you cannot confer with any of the
15∑∑parties in the room with respect to your answers?
16∑∑∑∑A.∑Yes, I do.
17∑∑∑∑Q.∑Tell me what you do for a living.
18∑∑∑∑A.∑I'm an attorney.
19∑∑∑∑Q.∑And are you familiar with a company called
20∑∑Texas REIT, LLC?
21∑∑∑∑A.∑Yes, I am.
22∑∑∑∑Q.∑And how are you familiar with Texas REIT, LLC?
23∑∑∑∑A.∑So an entity that Ali Choudhri owns.
24∑∑∑∑Q.∑Okay.
25∑∑∑∑A.∑Or controls.


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 195 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                  8

∑1∑∑∑∑Q.∑And have you ever entered into a business
∑2∑∑transaction with Texas REIT, LLC?
∑3∑∑∑∑A.∑No, I have not.
∑4∑∑∑∑Q.∑Do you claim to be an owner of Texas REIT,
∑5∑∑LLC?
∑6∑∑∑∑A.∑No, I don't.
∑7∑∑∑∑Q.∑Have you ever filed a notice of lis pendens on
∑8∑∑behalf of any party against Texas REIT, LLC?
∑9∑∑∑∑A.∑I may have, yes.
10∑∑∑∑Q.∑Okay.∑And are you familiar with what a notice
11∑∑of lis pendens is?
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑Are you familiar with Ali Choudhri, who is
14∑∑present here today?
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And how are you familiar with Mr. Choudhri?
17∑∑∑∑A.∑I have litigation against him.∑He's defrauded
18∑∑me.∑He's defrauded people I know.∑I represent people
19∑∑against him.∑And, you know, we're sitting here in
20∑∑this case today, so I know him because I am a party in
21∑∑this case.
22∑∑∑∑Q.∑All right.∑Are you familiar with Jetall
23∑∑Companies?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑And how are you familiar with Jetall


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 196 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                    9

∑1∑∑Companies?
∑2∑∑∑∑A.∑It's an entity that Ali Choudhri controls or
∑3∑∑owns, and I have judgments against them.
∑4∑∑∑∑∑∑MR. SATHER:∑All right.∑I'm going to share my
∑5∑∑screen and show Exhibit 1.
∑6∑∑∑∑∑∑(Debtor's Exhibit No. 1 was marked for
∑7∑∑identification.)
∑8∑∑∑∑Q.∑(BY MR. SATHER)∑I have previously provided
∑9∑∑this document to the court reporter and your counsel.
10∑∑∑∑∑∑And so can you see Exhibit Number 1 on the
11∑∑screen, sir?
12∑∑∑∑A.∑Yes, I do.
13∑∑∑∑∑∑THE WITNESS:∑Do you have a physical copy too,
14∑∑Michael?
15∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑Now, are you
16∑∑familiar -- are you aware that this is a proof of
17∑∑claim filed with the United States Bankruptcy Court?
18∑∑∑∑A.∑Yes, I am.
19∑∑∑∑Q.∑And are you one of the claimants listed on
20∑∑this proof of claim?
21∑∑∑∑A.∑I am.
22∑∑∑∑Q.∑And as I read the proof of claim, there are
23∑∑three individuals who are listed as the current
24∑∑creditor:∑John Quinlan, Omar Khawaja, and Osama
25∑∑Abdullatif.∑What is the relationship between the


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 197 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   10

∑1∑∑three individuals with respect to the proof of claim?
∑2∑∑∑∑A.∑They're just judgment orders.
∑3∑∑∑∑Q.∑Okay.∑But do each of you assert the claim
∑4∑∑jointly and severally, or do each of you have
∑5∑∑different pieces of the claim?
∑6∑∑∑∑A.∑You know, jointly and severally.
∑7∑∑∑∑Q.∑All right.∑Now, do you have an agreement
∑8∑∑between the three of you as to how any monies received
∑9∑∑on the claim will be divided?
10∑∑∑∑A.∑Not particularly.∑I mean, you know, we don't
11∑∑have a written agreement, from my understanding.
12∑∑∑∑Q.∑Okay.∑Now, if I could go --
13∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) Ballases.∑I'm
14∑∑going to object.∑You're violating -- you're being
15∑∑harassing and oppressive and that you're violating the
16∑∑Court's limiting instruction.
17∑∑∑∑∑∑I'm going to give you a little bit of leeway
18∑∑to get into all this just because it's background, but
19∑∑the purpose of this deposition is for you to ascertain
20∑∑why my clients filed the proof of claim and why they
21∑∑now want to withdraw it.∑And so I'll give you some
22∑∑leeway, but I'm just letting you know.
23∑∑∑∑∑∑MR. SATHER:∑All right.∑I disagree with that
24∑∑contention.∑I've listened to Judge Robinson's ruling.
25∑∑I think it's broader.∑But I'm going to continue on,


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 198 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 11

∑1∑∑and if we run into a problem, we may have to take that
∑2∑∑up with the Court.∑But let me move on with my
∑3∑∑questions.
∑4∑∑∑∑Q.∑(BY MR. SATHER)∑Mr. Khawaja, did you sign the
∑5∑∑proof of claim?
∑6∑∑∑∑A.∑I don't recall signing it.∑I may have. I
∑7∑∑don't know.
∑8∑∑∑∑Q.∑Okay.∑Did you authorize filing the proof of
∑9∑∑claim?
10∑∑∑∑A.∑Yes, I did.
11∑∑∑∑Q.∑Did you read the proof of claim before it was
12∑∑filed?
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑What steps did you take to ensure that the
15∑∑proof of claim was accurate?
16∑∑∑∑A.∑I read it.
17∑∑∑∑Q.∑All right.∑Now, I'm going to go down to Box 7
18∑∑on the claim, and that has a dollar amount.∑Do you
19∑∑see that?
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑And do you know how that number was
22∑∑calculated?
23∑∑∑∑A.∑I don't recall.
24∑∑∑∑Q.∑Going to page 8 of 54, there is a summary of
25∑∑damages.∑Does that refresh your recollection as to


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD     Page 199 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    12

∑1∑∑how the proof of claim numbers were calculated?
∑2∑∑∑∑A.∑Can you enlarge it just a little bit so I can
∑3∑∑look at it carefully?
∑4∑∑∑∑Q.∑Sure I can.∑It does depend on my ability to
∑5∑∑work this.∑Does that help?
∑6∑∑∑∑A.∑Yeah, that -- that helps.∑Thank you.
∑7∑∑∑∑Q.∑And so do you know where -- and let me scroll
∑8∑∑up here.
∑9∑∑∑∑A.∑Sure.
10∑∑∑∑Q.∑Do you know where these numbers came from?
11∑∑∑∑A.∑This appears to be numbers that my counsel
12∑∑provided.
13∑∑∑∑Q.∑And for the record, who is your counsel who
14∑∑provided the numbers?
15∑∑∑∑A.∑Michael Ballases with Hoover Slovacek.
16∑∑∑∑Q.∑And have you taken any steps personally to
17∑∑verify that these amounts are correct?
18∑∑∑∑A.∑I mean, I looked at the judgments before we
19∑∑filed them.
20∑∑∑∑Q.∑Anything else?
21∑∑∑∑A.∑That's it.
22∑∑∑∑Q.∑Now I'm going to go to Box 9 and -- now, on
23∑∑this page, it asks:∑Is any -- all or any part of the
24∑∑claim secured?∑And it's not checked, but I'd like to
25∑∑go to a subsequent page.∑It may be a prior page.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1    Filed on 04/23/25 in TXSD     Page 200 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     13

∑1∑∑Excuse me.
∑2∑∑∑∑∑∑Okay.∑Here we go.∑Looking at Box 9, do you
∑3∑∑see where the box of, Is the claim secured, checked
∑4∑∑"Yes."∑Do you see that, sir?
∑5∑∑∑∑A.∑I do see that.
∑6∑∑∑∑Q.∑What is the basis for the claim being secured
∑7∑∑according to the proof of claim?
∑8∑∑∑∑A.∑I mean, I'd have to ask my attorney.
∑9∑∑∑∑Q.∑Okay.∑But it says -- and I believe this is
10∑∑probably a typo, but it says "les pendens."∑You think
11∑∑that's a reference to filing of a notice of lis
12∑∑pendens?
13∑∑∑∑A.∑It could be.
14∑∑∑∑Q.∑And is it your contention that filing a notice
15∑∑of lis pendens creates an interest in property?
16∑∑∑∑A.∑It doesn't create -- it doesn't create an
17∑∑interest in property.
18∑∑∑∑Q.∑All right.∑What do you believe that it does?
19∑∑∑∑A.∑It secures a potential claim against property.
20∑∑∑∑Q.∑Okay.∑Now, it's my understanding that the
21∑∑proof of claim is based upon three separate judgments.
22∑∑Is that your understanding?
23∑∑∑∑A.∑I think that's accurate.
24∑∑∑∑Q.∑Now, would you agree with me that none of
25∑∑these judgments were taken against Texas REIT, LLC,


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 201 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  14

∑1∑∑the debtor in this case?
∑2∑∑∑∑A.∑I believe that's correct.
∑3∑∑∑∑Q.∑Now, I'm going to go down and look at the
∑4∑∑different judgments, and I'm going to ask you some
∑5∑∑questions about them.∑And actually I'm just going to
∑6∑∑start with the summary here.
∑7∑∑∑∑∑∑Number 1 is -- Judgment 1 is called the "Davy
∑8∑∑and Heil Judgment."∑Do you see that?
∑9∑∑∑∑A.∑I do.
10∑∑∑∑Q.∑And this appears to be -- actually, I am going
11∑∑to go to the judgment.∑I apologize.∑This appears to
12∑∑be a judgment in a case from the Court of Appeal
13∑∑styled Jetall Companies, Inc., Appellant, versus
14∑∑Richard Heil, Todd Oakum, and Renee Davy, formerly
15∑∑known as Renee Davy, formally known as Renee Oakum.
16∑∑∑∑∑∑Do you see that?
17∑∑∑∑A.∑I do.
18∑∑∑∑Q.∑Now, you were not a party to this judgment,
19∑∑were you, sir?
20∑∑∑∑A.∑I was not.
21∑∑∑∑Q.∑And what is your connection to the judgment
22∑∑that would give you the authority to submit a proof of
23∑∑claim in this case?
24∑∑∑∑A.∑The judgment was assigned to me.
25∑∑∑∑Q.∑Okay.∑And is that -- was that a written


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 202 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  15

∑1∑∑assignment of judgment?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And I will represent to you that the
∑4∑∑assignment of judgment is not part of the proof of
∑5∑∑claim.∑Do you know why that assignment was not
∑6∑∑included?
∑7∑∑∑∑A.∑I don't know why.
∑8∑∑∑∑Q.∑And if we were to look at the assignment of
∑9∑∑the judgment, would the assignee be just Omar Khawaja,
10∑∑or would it be someone else?
11∑∑∑∑A.∑I believe my assignment would have my name on
12∑∑it.∑I'm not sure about the other assignments.
13∑∑∑∑Q.∑Okay.∑So for this particular judgment, it was
14∑∑assigned to you, Omar Khawaja?
15∑∑∑∑A.∑I don't have it in front of me.∑It's possible
16∑∑that Mr. Abdullatif and Mr. Quinlan's name are on the
17∑∑assignment.
18∑∑∑∑Q.∑All right.∑How much did you pay to have the
19∑∑judgment assigned to you?
20∑∑∑∑A.∑I don't recall.
21∑∑∑∑Q.∑And did you pay anything to acquire the
22∑∑judgment?
23∑∑∑∑A.∑Yes, I did.
24∑∑∑∑Q.∑Now, do you agree with me that this judgment
25∑∑is against Jetall Companies and not Texas REIT?


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 203 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  16

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑This particular judgment is against Jetall;
∑3∑∑that is correct.
∑4∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑And so do you
∑5∑∑contend that Texas REIT, LLC, is liable for a judgment
∑6∑∑against Jetall Companies, Inc.?
∑7∑∑∑∑A.∑Yes, I do.
∑8∑∑∑∑Q.∑And why do you contend that, sir?
∑9∑∑∑∑A.∑Because all of the entities that Mr. Choudhri
10∑∑either controls or is involved in are essentially
11∑∑shell companies for his own personal finances, so
12∑∑any --
13∑∑∑∑Q.∑(Unintelligible)
14∑∑∑∑A.∑Any company are -- I'm sorry.∑Would you like
15∑∑me to continue, or --
16∑∑∑∑Q.∑Yes, please.
17∑∑∑∑A.∑-- do you want to --
18∑∑∑∑Q.∑I did not mean to cut you off.
19∑∑∑∑A.∑Sorry.∑I was saying any entity that
20∑∑Mr. Choudhri controls or owns is treated as if it is
21∑∑his own personal asset with no respect for the
22∑∑corporate form and, I believe, is responsible for --
23∑∑one entity is responsible for the other entity's
24∑∑conduct.
25∑∑∑∑Q.∑Now I'd like to scroll down to the second


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 204 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 17

∑1∑∑judgment.∑And this document says it's a judgment from
∑2∑∑the 14th Court of Appeals in Jetall Companies, Inc.
∑3∑∑Versus Hoover Slovacek, LLP.∑Are you familiar with
∑4∑∑this judgment?
∑5∑∑∑∑A.∑Yes, I am.
∑6∑∑∑∑Q.∑Is Hoover Slovacek the law firm that is
∑7∑∑representing you today in connection with this
∑8∑∑deposition?
∑9∑∑∑∑A.∑Yes, it is.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MR. SATHER)∑You can answer.
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑What is your connection to -- your connection,
14∑∑if any, to this judgment?
15∑∑∑∑A.∑I believe I acquired it.
16∑∑∑∑Q.∑Did you acquire it by way of a written
17∑∑assignment?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑And did you pay any consideration to Hoover
20∑∑Slovacek to acquire their judgment?
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑And how much did you pay them to acquire this
23∑∑judgment?
24∑∑∑∑A.∑I don't recall how much I paid.
25∑∑∑∑Q.∑And is it a regular part of your business to


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 205 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   18

∑1∑∑purchase judgments?
∑2∑∑∑∑A.∑Yes, it is.
∑3∑∑∑∑Q.∑Now, I may have asked this already, in which
∑4∑∑case I apologize, but do you have a written assignment
∑5∑∑of judgment?
∑6∑∑∑∑A.∑Yes -- yes, I believe there is one.∑I don't
∑7∑∑have it in front of me.
∑8∑∑∑∑Q.∑Is there a reason that assignment was not
∑9∑∑included with the proof of claim?
10∑∑∑∑A.∑I don't know.
11∑∑∑∑Q.∑And do you know whether the assignment would
12∑∑have been in favor of you, John Quinlan, Osama
13∑∑Abdullatif, or some combination of the three of you?
14∑∑∑∑A.∑I believe all three of us.∑It was assigned to
15∑∑all three of us on the same instrument.
16∑∑∑∑Q.∑Now, do you agree with me that this judgment
17∑∑is against Jetall Companies and not Texas REIT, LLC?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑And why do you contend that Texas REIT, LLC,
20∑∑is liable for a judgment against Jetall Companies?
21∑∑∑∑A.∑Because Texas REIT, LLC, is an alter ego of
22∑∑Jetall Companies, Inc.
23∑∑∑∑Q.∑Now I'm going to go to the third judgment.
24∑∑And this is a judgment in a case -- well, first of
25∑∑all, do you see the judgment that I have up on the


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 206 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   19

∑1∑∑screen?
∑2∑∑∑∑A.∑I do.
∑3∑∑∑∑Q.∑And that appears to be a judgment in a case,
∑4∑∑Osama Abdullatif, individually, and Abdullatif &
∑5∑∑Company, LLC, versus Ali Choudhri and Houston Real
∑6∑∑Estate Properties, LLC; is that correct?
∑7∑∑∑∑A.∑That's correct.
∑8∑∑∑∑Q.∑And do you have an interest in this judgment,
∑9∑∑or is this just Mr. Abdullatif's judgment?
10∑∑∑∑A.∑This particular judgment is Mr. Abdullatif's
11∑∑judgment.
12∑∑∑∑Q.∑All right.∑So do you have any interest in
13∑∑this judgment whatsoever?
14∑∑∑∑A.∑No, I do not.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑Do you assert an
17∑∑interest in the judgment in Cause Number 2013-41273?
18∑∑∑∑A.∑No.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑Q.∑(BY MR. SATHER)∑Now, of the three judgments
21∑∑we went through, you assert an interest in the first
22∑∑two, but not the third; is that correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑That's correct.
25∑∑∑∑Q.∑(BY MR. SATHER)∑Now, continuing down in the


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 207 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    20

∑1∑∑claim, there is a copy of an adversary proceeding that
∑2∑∑was filed in the United States Bankruptcy Court for
∑3∑∑the Southern District of Texas.∑Are you familiar with
∑4∑∑this adversary proceeding?
∑5∑∑∑∑A.∑Vaguely.
∑6∑∑∑∑Q.∑Okay.∑And I see that you are named as one of
∑7∑∑the movants in the adversary proceeding.∑Do you see
∑8∑∑that?
∑9∑∑∑∑A.∑Yes, I do.
10∑∑∑∑Q.∑Did you authorize the adversary proceeding to
11∑∑be filed listing you as one of the participants?
12∑∑∑∑A.∑Yes, I did.
13∑∑∑∑Q.∑Did you read it before it was signed?
14∑∑∑∑A.∑Yes, I did.
15∑∑∑∑Q.∑Now, so what is your understanding of the role
16∑∑that this adver -- or that this original complaint
17∑∑plays with respect to the proof of claim that was
18∑∑filed on your behalf?
19∑∑∑∑A.∑I mean, I'm not a bankruptcy attorney.∑We're
20∑∑doing whatever we need to do to try to collect our
21∑∑judgment.
22∑∑∑∑Q.∑So you're an attorney; right?
23∑∑∑∑A.∑Yes.
24∑∑∑∑Q.∑And you -- when you represent clients, you
25∑∑file pleadings on their behalf; correct?


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 208 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 21

∑1∑∑∑∑A.∑That's correct.
∑2∑∑∑∑Q.∑And -- but your clients need to understand
∑3∑∑what you're filing for them, don't they?∑Isn't that
∑4∑∑part of the rules regarding filing lawsuits?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑What steps did you take to familiarize
∑7∑∑yourself with the allegations in this adversary
∑8∑∑proceeding?
∑9∑∑∑∑A.∑I reviewed the judgments, and I reviewed the
10∑∑complaint.
11∑∑∑∑Q.∑And after reviewing them, did you conclude
12∑∑that the allegations were true and correct?
13∑∑∑∑A.∑Yes, I did.
14∑∑∑∑Q.∑Now I'm going to read you a statement in
15∑∑paragraph 1 of the adversary proceeding, which says:
16∑∑∑∑∑∑This lawsuit shall prove that Jetall
17∑∑∑∑∑∑Companies, Inc., Arabella PH 3201, LLC,
18∑∑∑∑∑∑9201 Memorial Drive, LLC, 2727 Kirby 26L,
19∑∑∑∑∑∑LLC, Texas REIT, LLC, Dalio Holdings I,
20∑∑∑∑∑∑LLC, Dalio Holdings II, LLC, Houston Real
21∑∑∑∑∑∑Estate Properties, LLC, Shahnaz Choudhri,
22∑∑∑∑∑∑Ali Choudhri, Shepherd-Huldy
23∑∑∑∑∑∑Development I, LLC, Shepherd-Huldy
24∑∑∑∑∑∑Development II, LLC, and Galleria Loop
25∑∑∑∑∑∑Note Holder, LLC, (collectively the


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 209 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 22

∑1∑∑∑∑∑∑Choudhri defendants) are alter egos of
∑2∑∑∑∑∑∑each other and intentionally acting in a
∑3∑∑∑∑∑∑manner to defraud creditors and evade
∑4∑∑∑∑∑∑legal obligations through a series of
∑5∑∑∑∑∑∑fraudulent transfers.∑The evidence will
∑6∑∑∑∑∑∑demonstrate that Ali Choudhri is the
∑7∑∑∑∑∑∑puppeteer controlling his web of business
∑8∑∑∑∑∑∑entities, which hold his various
∑9∑∑∑∑∑∑properties and other assets.∑This web
10∑∑∑∑∑∑includes Houston Real Estate Properties,
11∑∑∑∑∑∑LLC, and Jetall Companies, Inc., as well
12∑∑∑∑∑∑as the other named defendants.
13∑∑Did I read that correctly?
14∑∑∑∑A.∑Yes, you did.
15∑∑∑∑Q.∑Do you have an understanding of what it means
16∑∑to say that one person or company is the alter ego of
17∑∑another person or company?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑And what is your understanding?
20∑∑∑∑A.∑That one entity pays the debts or obligations
21∑∑of another.∑They commingle funds, commingle assets.
22∑∑One principal is taking actions on behalf of any of
23∑∑the various alter egos at any given time with no
24∑∑respect for the corporate form.∑Yeah, that's my --
25∑∑that's my understanding.


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 210 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  23

∑1∑∑∑∑Q.∑All right.∑Now, is it your contention that
∑2∑∑each of the 13 persons and companies named as
∑3∑∑defendants is the alter ego of every other one of the
∑4∑∑persons and companies named?
∑5∑∑∑∑A.∑That's what --
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑(BY MR. SATHER)∑So are you contending that
∑9∑∑Texas REIT is the alter ego of Jetall Companies?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑That's what it says.∑Yes.
12∑∑∑∑Q.∑(BY MR. SATHER)∑And are you alleging that
13∑∑Texas REIT is the alter ego of Arabella PH 3201, LLC?
14∑∑∑∑A.∑Yes.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑Q.∑(BY MR. SATHER)∑Are you alleging that Texas
17∑∑REIT is the alter ego of Dalio I Holdings (sic), LLC?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑A.∑Yes.
20∑∑∑∑Q.∑(BY MR. SATHER)∑And would your answers be the
21∑∑same if I went through all of the rest of the names of
22∑∑the defendants in this case?
23∑∑∑∑A.∑Yes, because Ali Choudhri controls all of
24∑∑them.
25∑∑∑∑Q.∑All right.∑And so are you alleging that Ali


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 211 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  24

∑1∑∑Choudhri and Shahnaz Choudhri are alter egos of each
∑2∑∑other?
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑Q.∑(BY MR. SATHER)∑So are you -- it's your
∑6∑∑contention that any company or entity in which Ali
∑7∑∑Choudhri has an interest is an alter ego of Ali
∑8∑∑Choudhri?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑I don't know if there's any.∑I mean, are
11∑∑there entities that I don't know about?∑I don't know.
12∑∑∑∑Q.∑(BY MR. SATHER)∑Were you aware that there was
13∑∑an amended complaint filed that names 17 defendants?
14∑∑∑∑A.∑I believe --
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I believe so.
17∑∑∑∑Q.∑(BY MR. SATHER)∑And is it your contention
18∑∑that each of the 17 defendants is the alter ego of
19∑∑each of the other 17 defendants?
20∑∑∑∑A.∑If that's what the petition says, yes, that's
21∑∑my contention.
22∑∑∑∑Q.∑The complaint alleges that each of the claimed
23∑∑alter egos were, quote (Reading:)∑...intentionally
24∑∑acting in a manner to defraud creditors and evade
25∑∑legal obligations through a series of fraudulent


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 212 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 25

∑1∑∑transfers.
∑2∑∑∑∑∑∑Did I read that right?
∑3∑∑∑∑A.∑Yes, you did.
∑4∑∑∑∑Q.∑So are you claiming that every one of these 13
∑5∑∑or 17 persons and companies listed made fraudulent
∑6∑∑transfers to each and every other one of the persons
∑7∑∑and companies listed?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑So, for example, are you claiming that Shahnaz
10∑∑Choudhri made fraudulent transfers to 2727 Kirby 26L,
11∑∑LLC?
12∑∑∑∑A.∑I don't know about that.
13∑∑∑∑Q.∑As we sit here today, do you know of any
14∑∑fraudulent transfers that any of these defendants made
15∑∑to Texas REIT, LLC, the debtor in this case?
16∑∑∑∑A.∑I don't.
17∑∑∑∑Q.∑And so with respect to that particular
18∑∑allegation about making fraudulent transfers, you're
19∑∑not aware of any involving the debtor in this case;
20∑∑correct?
21∑∑∑∑A.∑I'm not aware of any sitting as -- as I'm
22∑∑sitting here right now.∑But any specific one?∑No.
23∑∑∑∑Q.∑And what would you need to do --
24∑∑∑∑∑∑THE WITNESS:∑Oh, Mr. Sather, I'm sorry. I
25∑∑need to just take a quick restroom break if you don't


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 213 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  26

∑1∑∑mind.
∑2∑∑∑∑∑∑MR. SATHER:∑All right --
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑No.∑No.∑No.∑Hold on.∑Let's
∑4∑∑finish this line of questioning.∑Please ask your
∑5∑∑question --
∑6∑∑∑∑∑∑MR. SATHER:∑Mr. Choudhri -- Mr. Choudhri,
∑7∑∑it's my questions.∑I decide whether we're going to
∑8∑∑take a bathroom break or not.
∑9∑∑∑∑∑∑I don't have a problem with taking a break,
10∑∑but do not discuss your testimony with your attorney
11∑∑while we're off the record.
12∑∑∑∑∑∑THE WITNESS:∑Not a problem.
13∑∑∑∑∑∑MR. SATHER:∑All right.∑And so five minutes?
14∑∑∑∑∑∑THE WITNESS:∑Five minutes should be good.
15∑∑∑∑∑∑MR. SATHER:∑All right.∑Madam Reporter, we
16∑∑will be off the record for five minutes.
17∑∑∑∑∑∑THE REPORTER:∑Off the record.
18∑∑∑∑∑∑(A recess was taken.)
19∑∑∑∑∑∑THE REPORTER:∑All right.∑We are back on the
20∑∑record.
21∑∑∑∑Q.∑(BY MR. SATHER)∑And, Mr. Khawaja, I want to
22∑∑follow up on something I asked you earlier.∑When I
23∑∑asked you how you knew Ali Choudhri, you said that he
24∑∑defrauded you.∑Can you tell me what transaction that
25∑∑he defrauded you with regard to?


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 214 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    27

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑It was an apartment complex that my family
∑3∑∑owned.
∑4∑∑∑∑Q.∑(BY MR. SATHER)∑And was it you personally, or
∑5∑∑was it your family?
∑6∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct the
∑7∑∑witness not to answer.∑He's here to answer the basis
∑8∑∑for his proof of claim and why he wants to withdraw
∑9∑∑it.∑That's not a part of his claim.∑It's not alleged
10∑∑in any of the documents, and therefore, it's outside
11∑∑the scope of the judge's limiting instruction.
12∑∑∑∑Q.∑(BY MR. SATHER)∑Is this prior transaction --
13∑∑have anything to do with this case?
14∑∑∑∑A.∑I'm sorry.∑Can you repeat that question?
15∑∑∑∑Q.∑Yes.∑Does the prior transaction where you say
16∑∑Mr. Choudhri defrauded you or your family -- does that
17∑∑have anything to do with the proof of claim against
18∑∑Texas REIT?
19∑∑∑∑A.∑No.
20∑∑∑∑Q.∑Now, earlier I asked you about whether your
21∑∑business involved purchasing judgments, and I also --
22∑∑you also testified that you're an attorney.∑Are those
23∑∑separate businesses that you're involved in?
24∑∑∑∑A.∑No.
25∑∑∑∑Q.∑And so do you purchase judgments through your


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 215 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  28

∑1∑∑law firm?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And about how many judgments have you
∑4∑∑purchased in, say, the last five years?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑I don't know.∑I'm not sure, to be honest with
∑7∑∑you.
∑8∑∑∑∑Q.∑(BY MR. SATHER)∑More than ten?
∑9∑∑∑∑A.∑No, probably not more than ten.
10∑∑∑∑Q.∑And --
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. SATHER)∑-- have you -- do you
13∑∑purchase judgments against anyone other than entities
14∑∑related to Ali Choudhri?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑Not that I can recall.
17∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑So when we talk
18∑∑about your purchase of judgments, that -- at least as
19∑∑you recall today, those relate to your dealings with
20∑∑Ali Choudhri.
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑And how would you describe your relationship
23∑∑with Mr. Choudhri?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑What do you -- what do you mean?


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 216 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  29

∑1∑∑∑∑Q.∑(BY MR. SATHER)∑Is it cordial?∑Unpleasant?
∑2∑∑Adversarial?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑He owes me money.∑I mean, that's about it.
∑5∑∑∑∑Q.∑(BY MR. SATHER)∑Going back to the adversary
∑6∑∑proceeding that's part of the proof of claim, I'm
∑7∑∑going to go to paragraph 22.∑And it's kind of a long
∑8∑∑paragraph, so I'm just going to read you some
∑9∑∑sentences towards the end where it says, quote
10∑∑(Reading:)∑Choudhri views HREP, Jetall, and himself,
11∑∑as well as the other named defendants, as one and the
12∑∑same and utilizes them in such a fashion.∑In other
13∑∑words, there is unity between Choudhri, HREP, Jetall,
14∑∑and his other business entities such that the
15∑∑separateness of the business entities has ceased, and
16∑∑thus this Court should treat the Choudhri defendants
17∑∑accordingly to protect plaintiffs/the creditors.∑And
18∑∑this is where the lawsuit begins.
19∑∑∑∑∑∑So did I read that correctly?
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑And so what is the basis for your statement
22∑∑that Mr. Choudhri views all of the Choudhri defendants
23∑∑as one and the same?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑It's in the petition, Counsel.∑All of the


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1     Filed on 04/23/25 in TXSD     Page 217 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     30

∑1∑∑bases that we have are listed out in very clear, you
∑2∑∑know, language, just like you read.
∑3∑∑∑∑Q.∑(BY MR. SATHER)∑Can you articulate what any
∑4∑∑of those bases are?
∑5∑∑∑∑A.∑It's -- I mean --
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑-- do you want me to -- do you want me to
∑8∑∑start reading the petition for you?∑I'm happy to read
∑9∑∑it for you, but it's in the petition.
10∑∑∑∑Q.∑(BY MR. SATHER)∑I'm asking you -- I mean,
11∑∑without reading the petition, do you know what the
12∑∑basis for the allegations is?
13∑∑∑∑A.∑I mean the -- without reading the petition,
14∑∑the purpose of the petition was to articulate the
15∑∑basis of the petition.∑So it's in the petition
16∑∑itself.∑I'm happy to read through the petition for
17∑∑you if you'd like me to, but in -- in plain language,
18∑∑he treats every entity that he controls or owns as a
19∑∑personal piggy bank, just like the petition states.
20∑∑And that's the basis of the alter ego claim that we're
21∑∑making.
22∑∑∑∑Q.∑All right.∑And so your allegation is also
23∑∑that he views his mother as one and the same with
24∑∑himself?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1     Filed on 04/23/25 in TXSD     Page 218 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     31

∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑(BY MR. SATHER)∑Now, you obviously don't
∑3∑∑contend that they're the same person; right?∑You --
∑4∑∑they are different human beings.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑∑∑(Crosstalk)
∑7∑∑∑∑A.∑Sorry.∑Is that a -- was that -- do you really
∑8∑∑want me to answer that question?∑I'm not sure.
∑9∑∑∑∑Q.∑(BY MR. SATHER)∑Yes, I do.∑I wouldn't have
10∑∑asked it if I --
11∑∑∑∑A.∑You mean like Norman Bates, that kind of thing
12∑∑or -- is that what -- I'm sorry.∑It's just a
13∑∑stupid --
14∑∑∑∑Q.∑(BY MR. SATHER)∑I just want you to
15∑∑acknowledge that these are two different human beings,
16∑∑sir.
17∑∑∑∑A.∑Yes, sir.∑Yes, they're two different human
18∑∑beings.
19∑∑∑∑Q.∑And so is it your contention that there's no
20∑∑separateness between, say, Houston Real Estate
21∑∑Properties, LLC, and Texas REIT, LLC?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Again, I'm gonna -- I'm gonna refer you back,
24∑∑Mr. Sather, to the petition.∑That's what the petition
25∑∑states.


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 219 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  32

∑1∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑And you contend
∑2∑∑that -- and you stand by the allegations in the
∑3∑∑petition.
∑4∑∑∑∑A.∑Yes, sir.∑I stand by each and every
∑5∑∑allegation in the petition.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. SATHER)∑And so is everything that you
∑8∑∑know about this allegation of alter ego contained in
∑9∑∑the petition?
10∑∑∑∑A.∑I mean, we don't -- I don't believe we
11∑∑finished discovering the process, sir, so we're -- I'm
12∑∑sure we're gonna get to learn a lot more about the
13∑∑alter-ego basis on which Mr. Choudhri operates and the
14∑∑other defendants.
15∑∑∑∑Q.∑And so did the petition set forth all of the
16∑∑bases that you knew about at the time it was filed?
17∑∑∑∑A.∑In a good faith manner, yes.
18∑∑∑∑Q.∑All right.∑What does that mean, "in a good
19∑∑faith manner"?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑To the best of our ability, right, on some --
22∑∑on some evidence that we've been able to muster.
23∑∑∑∑Q.∑(BY MR. SATHER)∑Did you intentionally omit
24∑∑any bases for making an allegation of alter ego?
25∑∑∑∑A.∑No.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 220 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  33

∑1∑∑∑∑∑∑MR. BALLASES:∑No, I instruct the client not
∑2∑∑to answer, simply because you're invading attorney
∑3∑∑work product, legal privileges.∑What we decided to
∑4∑∑put in or not in our petition is subject to work
∑5∑∑product and privilege.∑Don't invade our privilege,
∑6∑∑please.
∑7∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑Do you know of
∑8∑∑any evidence that you decided not to include in the
∑9∑∑petition?
10∑∑∑∑∑∑MR. BALLASES:∑Same assertion of privilege.
11∑∑∑∑Q.∑(BY MR. SATHER)∑You can answer, sir.
12∑∑∑∑∑∑MR. BALLASES:∑It's work product and
13∑∑privilege.∑I'm instructing him not to answer.∑It's
14∑∑invading a legal privilege that he enjoys.
15∑∑∑∑∑∑THE REPORTER:∑And I'm sorry.∑Counsel, if I
16∑∑could just get you to just speak up a little bit as
17∑∑well.∑You're just sounding a little bit muffled.
18∑∑∑∑∑∑MR. BALLASES:∑Yes, ma'am.
19∑∑∑∑∑∑THE REPORTER:∑Thank you.
20∑∑∑∑Q.∑(BY MR. SATHER)∑I'd like to go to
21∑∑paragraph 23 where it says (Reading:)∑Plaintiffs are
22∑∑upstanding, honest, and respectable businessmen, real
23∑∑estate developers, attorneys, and/or a combination of
24∑∑all.
25∑∑∑∑∑∑Which of those categories do you fall into,


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1     Filed on 04/23/25 in TXSD     Page 221 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     34

∑1∑∑sir?
∑2∑∑∑∑A.∑(Reading:)∑Plaintiffs are upstanding, honest,
∑3∑∑respectable businessmen, attorneys --
∑4∑∑∑∑∑∑A combination.
∑5∑∑∑∑Q.∑Okay.∑A combination of what?
∑6∑∑∑∑A.∑Of all.
∑7∑∑∑∑Q.∑Okay.∑So you're a businessman, real estate
∑8∑∑developer, and attorney?
∑9∑∑∑∑A.∑But I'm also upstanding, honest, and
10∑∑respectable.
11∑∑∑∑Q.∑Okay.∑Now, was it upstanding, honest, and
12∑∑respectable for you to sponsor Mr. Choudhri's ex-wife
13∑∑to claim to still be married to him and file notices
14∑∑of lis pendens against all of his properties?
15∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct the
16∑∑client not to answer.∑You are violating the Court's
17∑∑limiting instruction as to this deposition, and the
18∑∑purpose of this deposition is to find the basis for
19∑∑the filing of the proof of claim and why we are
20∑∑willing to withdraw it now.∑I'll let you go on and
21∑∑get past that, but I'm going to start putting stops to
22∑∑it if this is the kind of stuff we're going to have.
23∑∑∑∑Q.∑(BY MR. SATHER)∑Okay.∑But it's your
24∑∑contention that you are, in fact, an upstanding,
25∑∑honest, and respectable businessman, real estate


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 222 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 35

∑1∑∑developer, and attorney, sir.
∑2∑∑∑∑A.∑Yes --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑MR. SATHER:∑Now, I'm going to move on to a
∑5∑∑different exhibit, Exhibit Number 2, assuming I can
∑6∑∑bring it up on the screen.
∑7∑∑∑∑∑∑(Debtor's Exhibit No. 2 was marked for
∑8∑∑identification.)
∑9∑∑∑∑Q.∑(BY MR. SATHER)∑Actually, one thing I didn't
10∑∑ask you, Mr. Khawaja:∑How old of a man are you?
11∑∑∑∑A.∑46.
12∑∑∑∑Q.∑And are you licensed to practice law in the
13∑∑state of Texas?
14∑∑∑∑A.∑Yes, I am.
15∑∑∑∑Q.∑And when were you licensed?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑2010.
18∑∑∑∑Q.∑(BY MR. SATHER)∑I've brought up on the screen
19∑∑what we've marked as Exhibit 2, which is titled
20∑∑"Supplemental Notice of Lis Pendens."∑Are you
21∑∑familiar with this document?
22∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather, we don't have
23∑∑copies of that.∑Could you please e-mail that to
24∑∑myself and Steve Leyh and any other exhibits you'd
25∑∑like to use?


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1      Filed on 04/23/25 in TXSD     Page 223 of 431

     OMAR KHAWAJA                                                        September 11, 2024
     TEXAS REIT LLC                                                                      36

∑1∑∑∑∑∑∑MR. SATHER:∑Sure.∑Those should've been
∑2∑∑provided to you in a ShareFile yesterday.
∑3∑∑∑∑∑∑MR. BALLASES:∑Could you resend them?
∑4∑∑∑∑∑∑MR. SATHER:∑I will -- yes, I will resend
∑5∑∑those --
∑6∑∑∑∑∑∑MR. BALLASES:∑Please send them to Steve and
∑7∑∑myself.
∑8∑∑∑∑∑∑MR. SATHER:∑My computer is lagging just a
∑9∑∑little bit, so it'll take a second for them to load.
10∑∑But I had tried to provide these to you ahead of time
11∑∑so we could avoid this.
12∑∑∑∑∑∑Okay.∑And as you can see from the screen
13∑∑share, I have sent the e-mail to you.
14∑∑∑∑∑∑THE WITNESS:∑Michael, I think he's addressing
15∑∑you on the e-mail.
16∑∑∑∑∑∑MR. BALLASES:∑That's fine.
17∑∑∑∑Q.∑(BY MR. SATHER)∑Now, what we've marked as
18∑∑Exhibit Number 2 is a supplemental notice of lis
19∑∑pendens.∑And I'm going to scroll down to the end of
20∑∑it, and do you see the real property description
21∑∑there?
22∑∑∑∑A.∑I do, yes.
23∑∑∑∑Q.∑And are you aware that that is real property
24∑∑owned by Texas REIT, LLC?
25∑∑∑∑A.∑Yes.


                                                                     800.211.DEPO (3376)
                                                                     EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836        Document 8-1   Filed on 04/23/25 in TXSD     Page 224 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     37

∑1∑∑∑∑Q.∑And are you familiar with this notice of
∑2∑∑lis pendens?
∑3∑∑∑∑A.∑I believe I looked at it before it was filed,
∑4∑∑yes.
∑5∑∑∑∑Q.∑And it looks like it's filed by
∑6∑∑Mr. Abdullatif, and he is one of the parties to the
∑7∑∑proof of claim; correct?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MR. SATHER)∑And did you approve of the
11∑∑filing of this notice?
12∑∑∑∑A.∑I must have if it was filed.
13∑∑∑∑Q.∑And what's your understanding of the purpose
14∑∑of this notice?
15∑∑∑∑A.∑To make sure that we secure any proceeds that
16∑∑could potentially come to Ali Choudhri or his entities
17∑∑that he owes to us.
18∑∑∑∑Q.∑And do you know why it was filed?
19∑∑∑∑A.∑For that reason.
20∑∑∑∑∑∑MR. SATHER:∑I'm going to show you another lis
21∑∑pendens which we have marked as Exhibit Number 3.
22∑∑∑∑∑∑(Debtor's Exhibit No. 3 was marked for
23∑∑identification.)
24∑∑∑∑Q.∑(BY MR. SATHER)∑And are you familiar with
25∑∑this document?


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 225 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  38

∑1∑∑∑∑A.∑Exhibit Number 3.∑Sorry.∑Yes.
∑2∑∑∑∑Q.∑And I see this was signed by Osama Abdullatif
∑3∑∑as well.
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑Q.∑And would your questions be the same -- or
∑6∑∑your answers be the same with regard to this notice of
∑7∑∑lis pendens as with the prior one?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. SATHER:∑I'm going to switch gears now and
10∑∑go to Exhibit Number 4, which is an adversary
11∑∑complaint filed by George Lee against Texas REIT, LLC,
12∑∑and Ali Choudhri -- or at Exhibit 4.∑Excuse me.
13∑∑∑∑∑∑(Debtor's Exhibit No. 4 was marked for
14∑∑identification.)
15∑∑∑∑Q.∑(BY MR. SATHER)∑Do you know George Lee?
16∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to this
17∑∑line of questioning and instruct the witness not to
18∑∑answer as it exceeds the scope of the limited
19∑∑deposition the judge granted you.∑This has nothing to
20∑∑do with our proof of claim or adversary proceeding.
21∑∑∑∑Q.∑(BY MR. SATHER)∑Are you going to take your
22∑∑counsel's advice?
23∑∑∑∑A.∑I am.
24∑∑∑∑Q.∑So let me just ask you by way of background.
25∑∑Do you know George Lee?


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD     Page 226 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    39

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Same -- same
∑2∑∑instruction.
∑3∑∑∑∑Q.∑(BY MR. SATHER)∑Are you refusing --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑So (unintelligible) --
∑5∑∑∑∑Q.∑(BY MR. SATHER)∑-- to answer that you know
∑6∑∑George Lee?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection to form.∑Same
∑8∑∑objection; this has nothing to do with our claim, and
∑9∑∑you're exceeding the scope of the limited deposition
10∑∑the judge granted.
11∑∑∑∑A.∑I'm taking my counsel's advice.
12∑∑∑∑∑∑MR. CHOUDHRI:∑I just want to make sure the
13∑∑record is clear.∑Are you instructing the witness not
14∑∑to answer?
15∑∑∑∑∑∑MR. SATHER:∑Mr. Choudhri, let me --
16∑∑∑∑∑∑MR. BALLASES:∑Mr. Choudhri, please be quiet.
17∑∑You're not a party involved in this.∑You have no
18∑∑standing to be here.
19∑∑∑∑∑∑MR. SATHER:∑He actually does under the
20∑∑Court's ruling.∑But, Mr. Ballases --
21∑∑∑∑∑∑MR. CHOUDHRI:∑Wait a second.∑Wait -- wait --
22∑∑wait a second.∑I want to get this on the record.
23∑∑∑∑∑∑Mr. Ballases, I am here, and I have a standing
24∑∑to object.∑Okay?∑And so --
25∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 227 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  40

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑-- I have a standing to be
∑2∑∑here.∑So are you telling me on the record that you
∑3∑∑are not going to cooperate and allow me to ask
∑4∑∑questions on a deposition that I've cross-noticed?
∑5∑∑∑∑∑∑MR. BALLASES:∑That is correct.∑You have no
∑6∑∑party -- you're not a party in this proceeding.∑You
∑7∑∑have no standing.∑We've also objected to your
∑8∑∑cross-notice, so you better bet your bottom dollar.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Besides betting my
10∑∑bottom dollar, Mr. Ballases, you understand that the
11∑∑Honorable Judge Robinson made a ruling --
12∑∑∑∑∑∑MR. BALLASES:∑You're wasting your time --
13∑∑∑∑∑∑MR. CHOUDHRI:∑-- and said that --
14∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) with the
15∑∑judge's ruling.∑Why don't you let your counsel ask
16∑∑questions.
17∑∑∑∑∑∑MR. CHOUDHRI:∑No, no.∑I'm here representing
18∑∑myself pro se as a creditor.∑I have filed a proof of
19∑∑claim.∑I'm a creditor.∑I have standing.
20∑∑∑∑∑∑Are you saying on the record that you are
21∑∑going to instruct your client not to answer any of my
22∑∑questions?∑I just want to get this on the record so
23∑∑it's clear.∑Are you instructing your client not to
24∑∑answer any questions, and is your client going to take
25∑∑your advice?


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 228 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  41

∑1∑∑∑∑∑∑MR. BALLASES:∑Yeah, so the way this
∑2∑∑proceeding words, there's a court reporter who writes
∑3∑∑down everything we say.∑I've been clear in my speech
∑4∑∑and what I say in my objections.∑If you're confused,
∑5∑∑you can ask the court reporter to read it back, or you
∑6∑∑can just take better notes.∑Be quiet, and let your
∑7∑∑counsel ask questions.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑So just so the record is
∑9∑∑crystal clear, Mr. Ballases, you are instructing your
10∑∑client, Omar Khawaja, who is a deponent today, to not
11∑∑answer any questions that I'm gonna have, and you're
12∑∑also obstructing my ability to object or make any
13∑∑objections in this deposition.∑Is that all correct?
14∑∑I just want to make sure the record is very crystal
15∑∑clear.
16∑∑∑∑∑∑MR. BALLASES:∑Let Mr. Sather ask his
17∑∑questions.∑Please be quiet.
18∑∑∑∑∑∑MR. CHOUDHRI:∑Sir, I just want to clarify,
19∑∑because I have a right to be here and object, and you
20∑∑are --
21∑∑∑∑∑∑MR. BALLASES:∑Let --
22∑∑∑∑∑∑MR. CHOUDHRI:∑-- telling me to be quiet.
23∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) questions.
24∑∑So let your counsel ask questions.∑You're wasting
25∑∑everybody's time.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 229 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   42

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Just so the record is
∑2∑∑clear, you are refusing to allow me to participate and
∑3∑∑object and ask questions in this deposition that I've
∑4∑∑cross-noticed; is that correct?∑So we're clear, is
∑5∑∑that correct or not?
∑6∑∑∑∑∑∑MR. BALLASES:∑You are not a party.∑You do
∑7∑∑not --
∑8∑∑∑∑∑∑THE REPORTER:∑I'm --
∑9∑∑∑∑∑∑MR. BALLASES:∑Let me make it very clear for
10∑∑you.∑You are not a party to this dispute.∑You are
11∑∑not an attorney.∑You lack standing.∑This is not a
12∑∑creditors' meeting.∑We've objected to your
13∑∑cross-notice.∑Is that clear enough for you, buddy?
14∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Sather, please proceed.
15∑∑We'll -- we'll deal with this on the record later and
16∑∑deal with the Court.
17∑∑∑∑∑∑And -- and as you know, Mr. Ballases, counsel
18∑∑for Dalio is also on the line.∑Are you also objecting
19∑∑for them -- for Dalio's counsel to ask questions?∑Is
20∑∑that your --
21∑∑∑∑∑∑MR. BALLASES:∑Yeah.
22∑∑∑∑∑∑MR. CHOUDHRI:∑-- position?
23∑∑∑∑∑∑MR. BALLASES:∑Yeah.
24∑∑∑∑∑∑MR. CHOUDHRI:∑And you're gonna instruct your
25∑∑client, Omar Khawaja, to not answer questions --


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1      Filed on 04/23/25 in TXSD     Page 230 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     43

∑1∑∑∑∑∑∑MR. BALLASES:∑Mr. Choudhri, my point is you
∑2∑∑like to play attorney, but you're not an attorney, and
∑3∑∑you don't know the legal procedure or the rules or
∑4∑∑regulations of court.∑So please be quiet and let the
∑5∑∑deposition proceed.∑You're wasting everybody's time.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑Okay, Mr. Ballases.∑You don't
∑7∑∑have to be disrespectful.∑I was -- you know, the
∑8∑∑rules apply to all of us.∑If I'm pro se or if -- or
∑9∑∑if you're a lawyer, the rules apply equally.∑And I
10∑∑have to follow the rules, just like you have to follow
11∑∑the rules.∑And when a judge makes a ruling, it
12∑∑applies, and it says what it says.∑We all got to
13∑∑honor it.∑But you're refusing to honor the judge's
14∑∑ruling.∑I understand that.∑You're refusing to honor
15∑∑what --
16∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- Judge Robinson said on his
18∑∑oral order.
19∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just one person at a
20∑∑time.
21∑∑∑∑∑∑Mr. Ballases, I can hear you speaking in the
22∑∑background, but I can't hear what you're saying while
23∑∑Mr. Choudhri is speaking.
24∑∑∑∑∑∑So just one person at a time if you'd like
25∑∑this on the record, please.


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 231 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  44

∑1∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather, please continue.
∑2∑∑∑∑Q.∑(BY MR. SATHER)∑Mr. Khawaja, I have brought
∑3∑∑back up Exhibit Number 1, the proof of claim.∑When
∑4∑∑you authorized the proof of claim to be filed, did you
∑5∑∑understand that it was being filed under penalty of
∑6∑∑perjury?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑And as a lawyer, do you know what penalty of
∑9∑∑perjury means?
10∑∑∑∑A.∑Yes.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. SATHER)∑Now, what was your purpose in
13∑∑filing the proof of claim?
14∑∑∑∑A.∑The purpose in filing the proof of claim? I
15∑∑mean, it's to collect monies that are owed to us.
16∑∑∑∑Q.∑Any other purpose?
17∑∑∑∑A.∑No, that's it.
18∑∑∑∑Q.∑Now, I'm going to show you Exhibit Number 5,
19∑∑and I'm going to try to make it bigger.
20∑∑∑∑∑∑(Debtor's Exhibit No. 5 was marked for
21∑∑identification.)
22∑∑∑∑Q.∑(BY MR. SATHER)∑Were you aware that Texas
23∑∑REIT, LLC, filed an objection to the proof of claim?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑And were you aware that you have not filed a


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 232 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 45

∑1∑∑response to this objection to proof of claim?
∑2∑∑∑∑A.∑No.
∑3∑∑∑∑Q.∑And do you see that this was filed with
∑4∑∑negative notice language?
∑5∑∑∑∑A.∑I'm not sure what that means, sir.
∑6∑∑∑∑Q.∑Okay.∑Fair question.
∑7∑∑∑∑∑∑Next, I'd like to show you what we've marked
∑8∑∑as Exhibit Number 6, which is --
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑Q.∑-- a motion for leave to withdraw Claim
11∑∑Number 9.
12∑∑∑∑∑∑(Debtor's Exhibit No. 6 was marked for
13∑∑identification.)
14∑∑∑∑Q.∑(BY MR. SATHER)∑Do you see that?
15∑∑∑∑A.∑Yes, sir, I do.
16∑∑∑∑Q.∑And what is your understanding of the reason
17∑∑why you filed a -- well, let me ask you this:∑Did you
18∑∑authorize the motion for leave to withdraw Claim
19∑∑Number 9?
20∑∑∑∑A.∑I did.
21∑∑∑∑Q.∑And why did you authorize the claim to be
22∑∑withdrawn?
23∑∑∑∑A.∑It appears there's no money in Texas REIT,
24∑∑LLC.
25∑∑∑∑Q.∑Any other reason?


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 233 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 46

∑1∑∑∑∑A.∑No, sir.∑That's it.
∑2∑∑∑∑Q.∑And do you understand that the consequence of
∑3∑∑withdrawing the claim means that you're not able to
∑4∑∑assert a claim to any of the property in the Texas
∑5∑∑REIT bankruptcy estate?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑You're going
∑7∑∑beyond the scope of the limited purpose of this
∑8∑∑deposition.
∑9∑∑∑∑∑∑MR. SATHER:∑I don't believe so.
10∑∑∑∑Q.∑(BY MR. SATHER)∑Are you aware that Texas REIT
11∑∑has objected to withdrawal of the proof of claim
12∑∑unless it is withdrawn with prejudice?
13∑∑∑∑A.∑I wasn't aware of that, no.
14∑∑∑∑Q.∑All right.∑Do you know what "with prejudice"
15∑∑means?
16∑∑∑∑A.∑Yes, I do.
17∑∑∑∑Q.∑And you understand that if the claim is
18∑∑withdrawn with prejudice, you can never make these
19∑∑allegations against Texas REIT again.
20∑∑∑∑A.∑Yes, I understand that.
21∑∑∑∑∑∑MR. SATHER:∑All right.∑At this point I will
22∑∑pass the witness.∑I know there are other counsel
23∑∑present who wish to ask questions, and so I'm not
24∑∑concluding the deposition.∑I'm giving the other
25∑∑parties present an opportunity to ask their questions.


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 234 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   47

∑1∑∑BY MS. HOOD:
∑2∑∑∑∑Q.∑Mr. Khawaja, my name is Lori Hood, and I
∑3∑∑represent Dalio Holdings.∑Nice to meet you.
∑4∑∑∑∑∑∑MR. BALLASES:∑Ms. Hood --
∑5∑∑∑∑A.∑Nice to meet you.
∑6∑∑∑∑∑∑MR. BALLASES:∑-- I'm going to go ahead and
∑7∑∑just object.∑I'm not going to let you ask questions.
∑8∑∑You're not a party to this dispute, and you lack
∑9∑∑standing to be here.∑This isn't a creditors' meeting,
10∑∑and so -- and of course, your notice was just filed
11∑∑this morning, which we're going to object to.∑So I'm
12∑∑not going to let you ask questions.
13∑∑∑∑∑∑MS. HOOD:∑All right.∑Mr. Ballases, my notice
14∑∑was this morning because you failed to give notice to
15∑∑all the creditors that this was taking place.
16∑∑∑∑∑∑In my understanding -- and my client is a
17∑∑creditor.∑In my understanding of the judge's ruling,
18∑∑it allows for creditors to be in attendance at this
19∑∑deposition and to ask questions of your clients as to
20∑∑the basis and motivation of their filing the proof of
21∑∑claim.∑We can argue all day long about whether you
22∑∑agree with that or not.∑If you don't allow me to take
23∑∑questions -- ask questions today, then we're going to
24∑∑have a do-over because we're going to go back to the
25∑∑Court and seek a motion to compel your client's


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 235 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    48

∑1∑∑attendance at a deposition where I will ask my
∑2∑∑questions.
∑3∑∑∑∑∑∑MR. BALLASES:∑So that's not the Court's
∑4∑∑order.∑The Court's order was to allow Mr. Sather to
∑5∑∑take questions -- or to ask questions to determine the
∑6∑∑basis to -- as to why we filed the proof of claim and
∑7∑∑why it has been requested to be withdrawn.
∑8∑∑∑∑∑∑It is not for creditors to ask questions.∑The
∑9∑∑creditors -- this isn't a creditors' meeting, and so
10∑∑I'm not going to let you ask -- I mean, you can ask
11∑∑him, but I'm going to instruct him not to answer
12∑∑because I think you're violating the Court's ruling,
13∑∑and I'm going to abide by the Court's ruling.
14∑∑∑∑∑∑MS. HOOD:∑So you're -- no matter what
15∑∑question I ask him, you're going to tell him not to
16∑∑answer me?
17∑∑∑∑∑∑MR. BALLASES:∑Yes, ma'am.
18∑∑∑∑∑∑MS. HOOD:∑Okay.∑And that's --
19∑∑∑∑∑∑MR. BALLASES:∑You're violating the Court's
20∑∑ruling, and I want to abide by it.
21∑∑∑∑∑∑MS. HOOD:∑All right.∑So you want to abide by
22∑∑the Court's ruling, and we have a difference of
23∑∑opinion as to the impact and the breadth of the
24∑∑Court's ruling.
25∑∑∑∑∑∑I'm going to tell you I'm going to file a


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1     Filed on 04/23/25 in TXSD     Page 236 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     49

∑1∑∑motion to compel your client's attendance at a
∑2∑∑deposition where I'm going to be allowed to ask
∑3∑∑questions.∑And when I do so, I'm going to ask for
∑4∑∑compensation of my attorney's fees.∑Do you understand
∑5∑∑that?
∑6∑∑∑∑∑∑MR. BALLASES:∑I understand.
∑7∑∑∑∑∑∑MS. HOOD:∑All right.∑And just to be clear on
∑8∑∑the record, Madam Court Reporter, Mr. Ballases is
∑9∑∑stating to me on the record that he's going to
10∑∑instruct his client not to answer any of my questions
11∑∑that I have prepared for today, all relating to the
12∑∑filing of the proof of claim and the motivation for
13∑∑filing the proof of claim and the motivation for
14∑∑withdrawing the proof of claim, all of which go into
15∑∑the merits of the judge's order.
16∑∑∑∑∑∑And I'm objecting to Mr. Ballases' refusal to
17∑∑allow me to take questions -- or ask questions of his
18∑∑client and putting him on notice that I am going to
19∑∑seek my attorney's fees as compensation for me having
20∑∑to do a do-over with his client.
21∑∑∑∑∑∑MR. BALLASES:∑For the record -- so again,
22∑∑this is Michael Ballases -- I believe Ms. Hood is
23∑∑misinterpreting the judge's ruling.∑She's not a party
24∑∑to this -- her client is not a party to this dispute.
25∑∑They lack standing.∑This is not a creditors' meeting.


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 237 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   50

∑1∑∑The basis of this deposition was for a limited purpose
∑2∑∑to allow the debtor to inquire as to why we filed the
∑3∑∑proof of claim and why we now want to withdraw it.∑We
∑4∑∑are abiding by the judge's ruling, and we will not
∑5∑∑deviate from it.
∑6∑∑∑∑∑∑MS. HOOD:∑Mr. Ballases, please don't put
∑7∑∑words in my mouth.∑And just because, you know, we're
∑8∑∑here taking a deposition doesn't mean you always have
∑9∑∑to get the last word in.∑We are in a disagreement
10∑∑about your statements.∑You're not going to allow --
11∑∑you're going to instruct your client not to answer my
12∑∑questions.∑There's not much I can do about it if he's
13∑∑going to sit here and not answer my questions.
14∑∑∑∑∑∑I will go back to the Court and ask for him to
15∑∑reappear and answer my questions related to the
16∑∑subject of this deposition of which I represent a
17∑∑creditor, and we are entitled to ask questions.
18∑∑∑∑∑∑Your client's proof of claim has unnecessarily
19∑∑complicated the underlying chapter proceeding and
20∑∑gummed up a lot of other issues with regard to the
21∑∑debtor's property, and even today they haven't
22∑∑withdrawn their -- or released their lis pendens.∑So
23∑∑there's a lot to talk to him about with regard to the
24∑∑filing of the proof of claim, the motivation, and
25∑∑everything else.∑And I've read the judge's


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 238 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   51

∑1∑∑instructions on this issue, and I believe I'm
∑2∑∑completely within my rights to ask these questions.
∑3∑∑∑∑∑∑And you really don't have to answer, because I
∑4∑∑don't need you to answer.∑We're in a disagreement,
∑5∑∑and I'm going to file the motion to compel.∑So I
∑6∑∑do --
∑7∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑8∑∑∑∑∑∑MS. HOOD:∑I do not -- I do not pass the
∑9∑∑witness.∑I reserve my rights.
10∑∑∑∑∑∑MR. CHOUDHRI:∑And --
11∑∑∑∑∑∑MR. BALLASES:∑Thank you for telling me --
12∑∑∑∑∑∑MR. CHOUDHRI:∑-- I would like to make the
13∑∑record -- I would also like to make the record very
14∑∑clear.
15∑∑∑∑∑∑So the record is clear, Mr. Khawaja, are you
16∑∑taking your attorney's -- are you following your
17∑∑attorney's instructions, and are you going to refuse
18∑∑to answer any questions asked by Lori Hood or by my --
19∑∑or any questions that I may ask you?
20∑∑∑∑∑∑MR. BALLASES:∑So no question's on the table,
21∑∑Mr. Choudhri, so I think you're confused --
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases -- Mr. Ballases,
23∑∑please --
24∑∑∑∑∑∑(Crosstalk)
25∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just --


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD     Page 239 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    52

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Hang on a second.∑I just
∑2∑∑want --
∑3∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
∑4∑∑Thank you.
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑I just want to make sure that,
∑6∑∑Mr. Ballases, your client can affirm that he's taking
∑7∑∑your instructions, and he's not going to answer any
∑8∑∑questions, so we don't have to sit here and ask
∑9∑∑questions if your instructions are going to be for him
10∑∑to not answer any of my questions that I've properly
11∑∑cross-noticed this deposition on pursuant to the
12∑∑Court's order.∑I just want to make sure the record is
13∑∑clear that your client's not answering any questions
14∑∑that I may ask.
15∑∑∑∑∑∑MR. BALLASES:∑For the record, the record is
16∑∑clear.∑I made the same objection that I made to
17∑∑Ms. Hood as to you.∑You are not a party.∑You do not
18∑∑have standing.∑You're not an attorney.∑This isn't a
19∑∑creditors' meeting.∑We are here to answer --
20∑∑∑∑∑∑MR. CHOUDHRI:∑Okay --
21∑∑∑∑∑∑MR. BALLASES:∑-- the debtor's questions about
22∑∑the proof of claim --
23∑∑∑∑∑∑MR. CHOUDHRI:∑I'm --
24∑∑∑∑∑∑MR. BALLASES:∑-- and that's it.
25∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑We have the audio of the


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD     Page 240 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     53

∑1∑∑order, oral ruling of Judge Robinson.∑I would like to
∑2∑∑play that at this point for the record.∑So, please,
∑3∑∑if we can play that for the record --
∑4∑∑∑∑∑∑MR. BALLASES:∑That's not --
∑5∑∑∑∑∑∑(Crosstalk)
∑6∑∑∑∑∑∑THE REPORTER:∑I'm --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Tammy or Gene, can y'all play
∑8∑∑that?
∑9∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry.∑I have two
10∑∑people speaking at once.∑I can hear Mr. Ballases, and
11∑∑I can hear Mr. Choudhri.∑Could I please just get one
12∑∑speaker on the record at a time.
13∑∑∑∑∑∑MR. CHOUDHRI:∑So I was speaking --
14∑∑∑∑∑∑MR. BALLASES:∑That's not --
15∑∑∑∑∑∑MR. CHOUDHRI:∑-- and --
16∑∑∑∑∑∑(Crosstalk)
17∑∑∑∑∑∑THE REPORTER:∑Sorry.
18∑∑∑∑∑∑MR. CHOUDHRI:∑So the quote from the ruling
19∑∑is -- and I'm quoting the judge (Reading:)∑I'm going
20∑∑to grant the motion as to the date and time of the
21∑∑examinations, and my order is going to be very simple.
22∑∑It's going to say that.∑It's also going to further
23∑∑order that the debtor and any creditor -- any other
24∑∑creditor, for that matter, that cross-noticed this
25∑∑deposition is permitted to take a deposition --


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 241 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  54

∑1∑∑∑∑∑∑-- participate.∑So I just want to be clear,
∑2∑∑Mr. Ballases.∑I want to give you one more chance so
∑3∑∑we can conclude --
∑4∑∑∑∑∑∑MR. BALLASES:∑It's not unclear --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑-- and complete the deposition.
∑6∑∑∑∑∑∑(Crosstalk)
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Can I finish?
∑8∑∑∑∑∑∑MR. BALLASES:∑You're being --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
10∑∑∑∑∑∑MR. BALLASES:∑You're being investigated
11∑∑(unintelligible).∑You're being investigated by the
12∑∑Department of Justice.∑You've been found by courts to
13∑∑file lawsuits for improper purposes and harassment.
14∑∑You're founded by courts and juries to have committed
15∑∑fraud and libel, and you were just, on Monday, held by
16∑∑Judge Norman to be a forger and a liar.∑So anything
17∑∑you say, I don't believe --
18∑∑∑∑∑∑MS. HOOD:∑How about if I -- how about if I
19∑∑say it?
20∑∑∑∑∑∑(Crosstalk)
21∑∑∑∑∑∑THE REPORTER:∑Sorry.∑I'm sorry.∑No --
22∑∑sorry.∑Sorry.∑I need one person speaking at a time.
23∑∑The record is not clear when I have multiple speakers.
24∑∑Thank you.
25∑∑∑∑∑∑MR. CHOUDHRI:∑So let me just respond,


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 242 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    55

∑1∑∑Mr. Ballases.∑First of all, you are supporting
∑2∑∑perjury.∑Okay?∑Mr. Ballases, your client has
∑3∑∑solicited --
∑4∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑-- solicited people -- so,
∑6∑∑please, all of this is all supported and solicited by
∑7∑∑your client, and we'll get to the bottom of it --
∑8∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑-- which is why your client
10∑∑doesn't want to answer questions.∑I understand that.
11∑∑∑∑∑∑THE WITNESS:∑You'll be a great jailhouse
12∑∑lawyer.
13∑∑∑∑∑∑MR. CHOUDHRI:∑This is proper --
14∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
15∑∑∑∑∑∑MR. BALLASES:∑Can we start the next --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Sorry?
17∑∑∑∑∑∑MR. BALLASES:∑-- deposition?∑Can we start --
18∑∑∑∑∑∑MR. CHOUDHRI:∑Hold on.
19∑∑∑∑∑∑MR. BALLASES:∑-- the next deposition --
20∑∑∑∑∑∑THE WITNESS:∑You're going to be a great
21∑∑lawyer --
22∑∑∑∑∑∑MR. BALLASES:∑-- if Mr. Sather doesn't have
23∑∑any more questions?
24∑∑∑∑∑∑THE WITNESS:∑You'll be a great lawyer in
25∑∑jail, man.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD     Page 243 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     56

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑So -- so that's your
∑2∑∑goal --
∑3∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑-- going around telling
∑5∑∑people --
∑6∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
∑7∑∑∑∑∑∑MR. BALLASES:∑-- let's jump to the next
∑8∑∑witness --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Please --
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry.∑Sorry. I
11∑∑am not getting Mr. Ballases' words on the record.
12∑∑∑∑∑∑Mr. Ballases, if you have something to say, I
13∑∑need just one speaker at a time.∑I'm not getting
14∑∑anything you're saying at this point.
15∑∑∑∑∑∑MR. BALLASES:∑Okay.∑What I'm saying is --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Please, Mr. Ballases, go ahead.
17∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) remains the
18∑∑same.∑And if Mr. Sather has more questions, we're
19∑∑happy to answer them.∑If he doesn't, then let's go to
20∑∑the next witness.
21∑∑∑∑∑∑MR. CHOUDHRI:∑No, no.∑We're -- we're not --
22∑∑we're not playing any games here.∑Please play the
23∑∑audio from the Court's ruling.∑Let's do that right
24∑∑now --
25∑∑∑∑∑∑MR. BALLASES:∑Okay (unintelligible) --


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 244 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   57

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑-- so the record is crystal
∑2∑∑clear.
∑3∑∑∑∑∑∑THE WITNESS:∑This is getting ridiculous.
∑4∑∑∑∑∑∑MR. BALLASES:∑I'm going to end the deposition
∑5∑∑if Mr. Sather doesn't have any more questions, and we
∑6∑∑can jump to --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑You can't end the deposition --
∑8∑∑∑∑∑∑(Crosstalk)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Unless all parties agree to go
10∑∑off the record, we stay on the record.∑That's the
11∑∑rule, Mr. Ballases.∑The rule applies to everyone.
12∑∑∑∑∑∑Please play --
13∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
14∑∑∑∑∑∑MR. CHOUDHRI:∑-- the audio --
15∑∑∑∑∑∑(Crosstalk)
16∑∑∑∑∑∑MR. CHOUDHRI:∑Please play the audio --
17∑∑∑∑∑∑MR. BALLASES:∑I'm going to shut it down if
18∑∑you don't take control of your client in the
19∑∑deposition.∑Your choice, Mr. Sather.
20∑∑∑∑∑∑MR. CHOUDHRI:∑I'm here as a creditor.∑We're
21∑∑going to play the audio --
22∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) Okay.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
24∑∑∑∑∑∑MR. BALLASES:∑We're going to -- we're all
25∑∑ready to go forward with the next witness.∑We're


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 245 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   58

∑1∑∑here, and we're ready to go forward.
∑2∑∑∑∑∑∑Mr. Sather, if you have more questions, let me
∑3∑∑know, and he will stay and answer them.
∑4∑∑∑∑∑∑MR. SATHER:∑I am adjourning the deposition --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑I have the floor.∑I have the
∑6∑∑floor.∑I'm a creditor.∑I've cross-noticed this
∑7∑∑deposition.∑Please play --
∑8∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑-- the oral ruling from the
10∑∑Court right now.∑Go ahead.
11∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather --
12∑∑∑∑∑∑(Crosstalk)
13∑∑∑∑∑∑(Audio file played.)
14∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry.∑I -- I'm
15∑∑sorry.∑Mr. McCubbin, I cannot hear anybody when I
16∑∑have multiple speakers at once.∑I don't know if you
17∑∑want this on the record, but it's going in as
18∑∑crosstalk because it's not coming through clearly.
19∑∑∑∑∑∑MR. CHOUDHRI:∑Yes, Madam Court Reporter.
20∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather --
21∑∑∑∑∑∑MR. CHOUDHRI:∑I have the floor.
22∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) the
23∑∑questioning --
24∑∑∑∑∑∑MR. CHOUDHRI:∑Please stop interrupting,
25∑∑Mr. Ballases.


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 246 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   59

∑1∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) not going
∑2∑∑to the next witness.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑I am -- I am making the record.
∑4∑∑Mr. Ballases, please let me speak, and please don't
∑5∑∑interrupt me.∑Okay?∑Please --
∑6∑∑∑∑∑∑MR. BALLASES:∑Okay --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑-- play the audio ruling of
∑8∑∑Judge Robinson --
∑9∑∑∑∑∑∑MR. BALLASES:∑We're going to --
10∑∑∑∑∑∑MR. CHOUDHRI:∑-- so it's clear on the record.
11∑∑Go ahead.
12∑∑∑∑∑∑(Audio file played.)
13∑∑∑∑∑∑MR. CHOUDHRI:∑No, we're -- we're --
14∑∑∑∑∑∑(Audio file continues playing.)
15∑∑∑∑∑∑MR. MCCUBBIN:∑He just said any other
16∑∑creditor (unintelligible) --
17∑∑∑∑∑∑THE REPORTER:∑I'm sorry, Mr. McCubbin.∑You
18∑∑just cut out for a second.
19∑∑∑∑∑∑MR. MCCUBBIN:∑He just said --
20∑∑∑∑∑∑MR. CHOUDHRI:∑Go and play that,
21∑∑Mr. McCubbin --
22∑∑∑∑∑∑MR. MCCUBBIN:∑-- any other creditor --
23∑∑∑∑∑∑MR. CHOUDHRI:∑-- just so the record is clear.
24∑∑Please go ahead --
25∑∑∑∑∑∑MR. MCCUBBIN:∑The judge just stated any other


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 247 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    60

∑1∑∑creditor.∑I can replay it.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Please replay it for the record
∑3∑∑so the record is crystal clear, and it's the judge --
∑4∑∑∑∑∑∑So, Madam Court Reporter, so the record is
∑5∑∑clear, we are about to begin playing the oral ruling
∑6∑∑of Judge Robinson.
∑7∑∑∑∑∑∑THE REPORTER:∑Okay.∑So are you wanting me to
∑8∑∑transcribe --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Yes.
10∑∑∑∑∑∑THE REPORTER:∑-- this audio into the record?
11∑∑∑∑∑∑MR. CHOUDHRI:∑Yes.∑Yes, Madam Court
12∑∑Reporter.∑He's about -- we're about to play the
13∑∑judge's ruling -- oral ruling on the record so that
14∑∑way we can have a simple and clean completion of this
15∑∑deposition and end this shenanigan and argument with
16∑∑Mr. Ballases.
17∑∑∑∑∑∑Please, Mr. -- please, sir, please proceed
18∑∑with the record -- the audio ruling of Judge Robinson.
19∑∑Go ahead.
20∑∑∑∑∑∑(Audio file played.)
21∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry --
22∑∑∑∑∑∑(Audio file continues playing.)
23∑∑∑∑∑∑THE REPORTER:∑Sorry.∑The audio is not clear.
24∑∑The audio is not crystal clear.∑I hear Mr. Sather
25∑∑responding on the audio, and it's not clear.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 248 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  61

∑1∑∑∑∑∑∑Typically in a transcript, we do not
∑2∑∑transcribe audio played.
∑3∑∑∑∑∑∑MR. BALLASES:∑And I'm going to object --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Time out.
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm objecting --
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑We're going to e-mail you --
∑7∑∑Court Reporter, we're going to e-mail you this audio
∑8∑∑right now, and he's going to adjust the volume and
∑9∑∑play it again.
10∑∑∑∑∑∑Go ahead.∑Play it again, please.
11∑∑∑∑∑∑And, Court Reporter, let us know if you're
12∑∑getting a clear --
13∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather --
14∑∑∑∑∑∑MR. CHOUDHRI:∑-- read on it.∑Okay?
15∑∑∑∑∑∑MR. BALLASES:∑-- take control of the depo.
16∑∑This is a waste of time.∑It's a waste of the client's
17∑∑time --
18∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please -- please
19∑∑stop talking.
20∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) control of
21∑∑the deposition --
22∑∑∑∑∑∑MR. CHOUDHRI:∑I have the floor --
23∑∑∑∑∑∑MR. SATHER:∑You don't have it yet,
24∑∑Mr. Choudhri.
25∑∑∑∑∑∑(Crosstalk)


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 249 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   62

∑1∑∑∑∑∑∑MR. BALLASES:∑Let's just jump to the next
∑2∑∑witness.∑I'm not allowing the questions to be asked.
∑3∑∑So it's not going to change.∑We're just wasting
∑4∑∑time --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑We're playing the oral ruling
∑6∑∑of Judge Robinson.∑Please, Mr. Ballases, be quiet so
∑7∑∑we can play the ruling of Judge --
∑8∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑-- Judge Robinson's ruling.
10∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) we're not
11∑∑going to play -- we're not -- that's not how
12∑∑depositions work, Mr. Choudhri.∑I'm sorry you like to
13∑∑play an attorney --
14∑∑∑∑∑∑MR. CHOUDHRI:∑Well, please --
15∑∑∑∑∑∑MR. BALLASES:∑-- but that's not how this
16∑∑works.∑So either I'm going to --
17∑∑∑∑∑∑MR. CHOUDHRI:∑No.∑No, no.∑Please stop.
18∑∑∑∑∑∑MR. BALLASES:∑Again, I'm going to get off --
19∑∑if you'd like to have another -- if you'd like to ask
20∑∑questions of my other clients, I'm happy to do that,
21∑∑and you're happy to ask questions, Mr. Sather.∑But
22∑∑these shenanigans are not --
23∑∑∑∑∑∑MR. CHOUDHRI:∑If your --
24∑∑∑∑∑∑MR. BALLASES:∑-- going to happen.
25∑∑∑∑∑∑MR. CHOUDHRI:∑-- responses, Mr. Ballases, is


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 250 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   63

∑1∑∑gonna -- the shenanigans are yours, Mr. Ballases.∑If
∑2∑∑your responses are gonna be the same and you're not
∑3∑∑going to allow cross-notice creditors who are here,
∑4∑∑want to ask questions, then let's clarify this right
∑5∑∑now so we can complete the deposition properly,
∑6∑∑Mr. Ballases.∑Please don't obstruct the discovery
∑7∑∑right now.
∑8∑∑∑∑∑∑Go ahead and play the oral ruling of Judge
∑9∑∑Robinson.
10∑∑∑∑∑∑MR. BALLASES:∑I'm going to object --
11∑∑∑∑∑∑(Audio file played.)
12∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I'm sorry. I
13∑∑cannot hear when Mr. Ballases is speaking --
14∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
15∑∑∑∑∑∑THE REPORTER:∑I need one person --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
17∑∑∑∑∑∑THE REPORTER:∑-- at a time.
18∑∑∑∑∑∑MR. CHOUDHRI:∑-- intentionally --
19∑∑Mr. Ballases intentionally interferes, interrupts when
20∑∑we play the ruling of Judge Robinson that is gonna
21∑∑clarify this issue that cross-notice creditors are not
22∑∑allowed to participate and ask questions.
23∑∑∑∑∑∑So please play the ruling of Judge Robinson.
24∑∑∑∑∑∑And, Mr. Ballases, please refrain and be
25∑∑quiet, because the court reporter cannot take


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD     Page 251 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    64

∑1∑∑different people talking at the same time.
∑2∑∑∑∑∑∑So please play the audio of Judge Robinson.
∑3∑∑∑∑∑∑THE REPORTER:∑Sorry --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Go ahead.
∑5∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One second, please,
∑6∑∑before you play it.
∑7∑∑∑∑∑∑Mr. Sather, this is your deposition
∑8∑∑transcript.∑Normally if I can't hear, I can't
∑9∑∑transcribe what's being said.∑It would need to be
10∑∑transcribed separately, because I'm not transcribing
11∑∑this on the record right now if I cannot hear it
12∑∑clearly.
13∑∑∑∑∑∑MR. SATHER:∑All right.∑If you're unable to
14∑∑hear it clearly, I suggest that we move on.∑The judge
15∑∑said what he said.∑I do have one more question for --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Hold on, Mr. Sather.∑Just one
17∑∑second, please, before we conclude anything here. I
18∑∑do want to take a break before we do conclude
19∑∑anything, but I want to play this, and I think he can
20∑∑do it a little bit louder.
21∑∑∑∑∑∑Let's try if you can hear it again.∑Ms. Court
22∑∑Reporter, let's try one more time.
23∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
24∑∑∑∑∑∑MR. CHOUDHRI:∑Go ahead.∑Play the recording.
25∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Mr. Ballases --


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD     Page 252 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     65

∑1∑∑∑∑∑∑MR. BALLASES:∑The court reporter is saying
∑2∑∑(unintelligible).
∑3∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Mr. Ballases, could
∑4∑∑you please repeat that?
∑5∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just was telling
∑6∑∑Mr. Choudhri that you have instructed him you cannot
∑7∑∑take it down in this manner, and so I'm just trying to
∑8∑∑tell him that he's wasting more time.
∑9∑∑∑∑∑∑Mr. Sather --
10∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, that's not what
11∑∑she said.
12∑∑∑∑∑∑MR. BALLASES:∑-- if you want to go --
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, we're going to
14∑∑try for her to hear it.∑Okay?
15∑∑∑∑∑∑MR. BALLASES:∑Okay.∑Call us when you're
16∑∑ready --
17∑∑∑∑∑∑MR. CHOUDHRI:∑So she's being very cooperative
18∑∑and polite.
19∑∑∑∑∑∑Please, Mr. Ballases, be quiet.
20∑∑∑∑∑∑Go ahead, Mr. -- sir.∑Please play the -- play
21∑∑the audio for the judge's ruling.
22∑∑∑∑∑∑(Audio file played.)
23∑∑∑∑∑∑MR. MCCUBBIN:∑He said, And any other
24∑∑creditor.
25∑∑∑∑∑∑MR. CHOUDHRI:∑Can you please --


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 253 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 66

∑1∑∑∑∑∑∑MR. SATHER:∑Madam Reporter --
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Please play the -- please play
∑3∑∑the whole recording.
∑4∑∑∑∑∑∑MR. MCCUBBIN:∑The recording is starting --
∑5∑∑∑∑∑∑MR. SATHER:∑Okay.∑Stop.∑Stop.
∑6∑∑∑∑∑∑Madam Reporter, were you able to get the last
∑7∑∑excerpt?
∑8∑∑∑∑∑∑MR. BALLASES:∑Ms. Court Reporter, you told us
∑9∑∑you couldn't take anything down in that manner.∑It'd
10∑∑have to be transcribed by the person who noticed the
11∑∑deposition, Mr. Sather.∑I assume you're going to
12∑∑stick by what you stated earlier.
13∑∑∑∑∑∑THE REPORTER:∑Okay.∑It's not crystal clear.
14∑∑And because it's being played, I'm not sure where the
15∑∑audio and where it is stopping.
16∑∑∑∑∑∑MR. CHOUDHRI:∑Well, let's take a five-,
17∑∑ten-minute break.∑Let's e-mail it to you, Madam Court
18∑∑Reporter, and so we can be efficient, and that way we
19∑∑don't have to interrupt the deposition and come back a
20∑∑different day and go seek court intervention.∑We can
21∑∑save the Court's time and not bother the Court.
22∑∑∑∑∑∑But if Mr. Ballases insists that we have to
23∑∑bother the Court, then we'll seek emergency relief
24∑∑from the Court.∑But why don't we go ahead and e-mail
25∑∑you right now.


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 254 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    67

∑1∑∑∑∑∑∑And let's not allow anybody to bully anybody
∑2∑∑here.∑So, Mr. Ballases, please don't put words in her
∑3∑∑mouth.
∑4∑∑∑∑∑∑So let's go ahead and take -- because at this
∑5∑∑point, this is -- I've cross-noticed the depo, and I
∑6∑∑want the record to be clear.∑If Mr. Ballases is going
∑7∑∑to continue to not allow questions despite the order
∑8∑∑by the judge being shown and heard for him -- so the
∑9∑∑record is clear.∑But we'll go ahead and take a --
10∑∑let's go and take a ten-minute break.
11∑∑∑∑∑∑Madam Court Reporter, we're going to e-mail
12∑∑you the audio oral ruling of Judge Robinson so we can
13∑∑have a smooth deposition and complete discovery, and
14∑∑no one can obstruct this process.∑Okay?∑So can you
15∑∑provide your e-mail address, Madam Court Reporter,
16∑∑just so I have it?
17∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather, are we moving on to
18∑∑the next witness?
19∑∑∑∑∑∑MR. SATHER:∑Yeah, I don't think this is
20∑∑productive.∑Mr. Ballases has indicated that he is not
21∑∑going to allow you to ask questions regardless of what
22∑∑the Court ruled, and so it is my intent at this time
23∑∑to adjourn the deposition subject to any future
24∑∑rulings from Judge Robinson.∑If Judge Robinson
25∑∑allows --


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 255 of 431

     OMAR KHAWAJA                                                  September 11, 2024
     TEXAS REIT LLC                                                                68

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Well --
∑2∑∑∑∑∑∑MR. SATHER:∑-- the other parties to ask
∑3∑∑questions, I may have -- I reserve the right to ask
∑4∑∑follow-up questions.
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑So -- so I --
∑6∑∑∑∑∑∑MR. BALLASES:∑Would you like to ask --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑No, no.∑Hold --
∑8∑∑∑∑∑∑MR. BALLASES:∑Would you like to proceed --
∑9∑∑∑∑∑∑(Crosstalk)
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I can't --
11∑∑∑∑∑∑MR. BALLASES:∑-- with Osama Abdullatif or
12∑∑John Quinlan next?
13∑∑∑∑∑∑THE REPORTER:∑Mr. Ballases -- sorry --
14∑∑∑∑∑∑MR. CHOUDHRI:∑Hang on a second.
15∑∑∑∑∑∑THE REPORTER:∑-- Mr. Ballases --
16∑∑∑∑∑∑MR. CHOUDHRI:∑I have --
17∑∑∑∑∑∑THE REPORTER:∑-- could you --
18∑∑∑∑∑∑MR. CHOUDHRI:∑-- contacted the Court.∑I'll
19∑∑be e-mailing the Court right now.∑We are not
20∑∑suspending this deposition.∑I want to go ahead and
21∑∑pause the deposition.∑We are going to contact the
22∑∑Court.∑Okay?
23∑∑∑∑∑∑Madam Court Reporter, would you give us your
24∑∑e-mail address, please?
25∑∑∑∑∑∑THE REPORTER:∑And I just want to note,


                                                               800.211.DEPO (3376)
                                                               EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 256 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 69

∑1∑∑Mr. Ballases, I did not get anything you just said as
∑2∑∑you were speaking at the same time as Mr. Choudhri.
∑3∑∑So do you have anything to put on the record?
∑4∑∑∑∑∑∑MR. BALLASES:∑Myself, me?
∑5∑∑∑∑∑∑THE REPORTER:∑Yes.∑I did not get what you
∑6∑∑were saying while -- after what Mr. Sather said.
∑7∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just asked Mr. Sather
∑8∑∑if we're ready to move to the next witness.∑I think
∑9∑∑he indicated he was before Mr. Choudhri interrupted.
10∑∑And so that's all I'm asking.
11∑∑∑∑∑∑MR. CHOUDHRI:∑So --
12∑∑∑∑∑∑MR. BALLASES:∑Do we want to move to the next
13∑∑witness, Steve?
14∑∑∑∑∑∑MR. CHOUDHRI:∑So this part is -- at this
15∑∑moment, I'd like to e-mail the court reporter the
16∑∑judge's oral ruling, and let's take a 15-minute break.
17∑∑And I've already reached out to the Court.∑The Court
18∑∑has asked for us to e-mail the Court for relief so we
19∑∑can complete the deposition and not waste the Court's
20∑∑time or disrupt the deposition and have to come back a
21∑∑different day.∑Everybody's schedules are -- are very
22∑∑important.
23∑∑∑∑∑∑Mr. Ballases, in the event we are able to
24∑∑resume or reschedule the deposition, can you provide
25∑∑us dates?


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD     Page 257 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     70

∑1∑∑∑∑∑∑MR. BALLASES:∑Steve, can we move on?∑Can you
∑2∑∑control your client to any degree?∑I mean --
∑3∑∑∑∑∑∑MR. SATHER:∑Mr. Choudhri --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑I'm not his client.
∑5∑∑∑∑∑∑MR. SATHER:∑-- is not my client in his
∑6∑∑individual capacity, and therefore --
∑7∑∑∑∑∑∑MR. BALLASES:∑I understand he's a principal
∑8∑∑of Texas REIT, the debtor.
∑9∑∑∑∑∑∑MR. SATHER:∑He's also asserting his right to
10∑∑appear as a pro se creditor and that I do not have any
11∑∑control over that capacity.∑If he wishes to contact
12∑∑the Court, that is his business.
13∑∑∑∑∑∑MR. BALLASES:∑I understand that, but you've
14∑∑noticed the deposition.∑Do we want to proceed with
15∑∑the next witness?∑I've got my --
16∑∑∑∑∑∑MR. CHOUDHRI:∑And we --
17∑∑∑∑∑∑MR. BALLASES:∑-- clients here.∑We've
18∑∑rearranged our schedules for you.∑Do you want to take
19∑∑the deposition or not?∑It's up to you, Steve.
20∑∑∑∑∑∑MR. SATHER:∑I want to proceed --
21∑∑∑∑∑∑MR. CHOUDHRI:∑We are resuming.∑We are
22∑∑pausing the deposition, and we're going to have a
23∑∑conversation, and we'll come back in 15 minutes on the
24∑∑record.
25∑∑∑∑∑∑But in the meantime, Court Reporter, can I


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD     Page 258 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    71

∑1∑∑have your e-mail address so we can e-mail you the
∑2∑∑audio ruling of the judge?∑And I think that'll solve
∑3∑∑any issues and resolve the -- the objection or
∑4∑∑position that Mr. Ballases is taking that the judge
∑5∑∑said something the judge didn't say, so it's clear.
∑6∑∑If I can get your e-mail address, we can e-mail you
∑7∑∑the audio right now, and we can resume.
∑8∑∑∑∑∑∑Let's -- let's resume the deposition at noon.
∑9∑∑It's 11:40 right now.
10∑∑∑∑∑∑THE REPORTER:∑Okay.∑May I go off the record,
11∑∑please?∑If we're pausing?
12∑∑∑∑∑∑MR. CHOUDHRI:∑Please.
13∑∑∑∑∑∑MR. SATHER:∑Yes, you may.∑Yes.
14∑∑∑∑∑∑MR. BALLASES:∑Yes, you can go off the record.
15∑∑∑∑∑∑THE REPORTER:∑Okay.∑So I am off the record.
16∑∑∑∑∑∑(Discussion held off the record.)
17∑∑∑∑∑∑(A recess was taken.)
18∑∑∑∑∑∑THE REPORTER:∑Back on the record.
19∑∑∑∑∑∑MR. BALLASES:∑So this is Michael Ballases,
20∑∑counsel for John Quinlan, Omar Khawaja, and Osama
21∑∑Abdullatif.∑There is no written order, but I did
22∑∑listen to the recording, and it appears he did say
23∑∑"creditors."∑And so I was mistaken, and so I will
24∑∑allow creditors to ask questions, however, in the
25∑∑limited capacity that he stated in the oral hearing.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 259 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  72

∑1∑∑So we can go forth with Mr. Khawaja.
∑2∑∑∑∑∑∑Ms. Hood, if you want to ask questions, go for
∑3∑∑it.
∑4∑∑∑∑∑∑MS. HOOD:∑Thanks.∑Okay.∑Steve, I may use
∑5∑∑your exhibits, so if you can have those by the --
∑6∑∑∑∑∑∑MR. SATHER:∑I'm happy to --
∑7∑∑∑∑∑∑MS. HOOD:∑-- by the ready for me, I
∑8∑∑appreciate it.
∑9∑∑∑∑∑∑MR. SATHER:∑-- put them up on the screen if
10∑∑you need them.
11∑∑∑∑∑∑MS. HOOD:∑Thank you.
12∑∑BY MS. HOOD:
13∑∑∑∑Q.∑Mr. Khawaja, my name is Lori Hood.∑We've
14∑∑never met before; correct?
15∑∑∑∑A.∑That's correct.
16∑∑∑∑Q.∑And I understand that you are an attorney
17∑∑licensed in the state of Texas; correct?
18∑∑∑∑A.∑That's also correct.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑Q.∑(BY MS. HOOD)∑And do you practice law?
21∑∑∑∑A.∑Yes, ma'am.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑Q.∑(BY MS. HOOD)∑And do you have -- where do you
24∑∑practice law?
25∑∑∑∑∑∑MR. BALLASES:∑Objection --


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 260 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  73

∑1∑∑∑∑A.∑At my own law firm.
∑2∑∑∑∑Q.∑(BY MS. HOOD)∑And what is the name of that
∑3∑∑law firm?
∑4∑∑∑∑A.∑The Law Offices of -- and my name.
∑5∑∑∑∑Q.∑And where is that?∑Where are your offices
∑6∑∑located?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑On Richmond and Sage.
∑9∑∑∑∑∑∑MS. HOOD:∑If you'll -- thanks, Steve.∑Can
10∑∑you scroll down, Steve?
11∑∑∑∑∑∑MR. SATHER:∑Certainly.
12∑∑∑∑Q.∑(BY MS. HOOD)∑In the proof -- if I understand
13∑∑your testimony correctly, you stated that your proof
14∑∑of claim is based upon some judgments that you had
15∑∑assigned to you by virtue of purchasing those
16∑∑judgments from third parties; is that correct?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑Yes.
19∑∑∑∑∑∑MS. HOOD:∑Mr. Ballases, what is the basis of
20∑∑your objection?
21∑∑∑∑∑∑MR. BALLASES:∑Asked and answered.∑We've gone
22∑∑through all this.
23∑∑∑∑∑∑MS. HOOD:∑And I understand that,
24∑∑Mr. Ballases, but you were objecting quite frequently
25∑∑to Mr. Sather's questions, and I just want to make


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 261 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    74

∑1∑∑sure that the record is clear with regard to what your
∑2∑∑objection is.∑I didn't know what your objection was
∑3∑∑during his questioning, and so I'm just trying to make
∑4∑∑sure that if the question needs to be rephrased or has
∑5∑∑come out at a different angle, that the question is
∑6∑∑clear to your client and that we're not going to deal
∑7∑∑with objections in the transcript later on.∑Is that
∑8∑∑fair?
∑9∑∑∑∑∑∑MR. BALLASES:∑I'm going to make my objections
10∑∑according to the rules.∑You can respond how you think
11∑∑appropriate pursuant to the rules.
12∑∑∑∑∑∑MS. HOOD:∑Okay.∑I appreciate that.
13∑∑∑∑∑∑Oops.∑What's that?∑No, take that down.
14∑∑∑∑∑∑MR. SATHER:∑Sorry.
15∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑So -- okay.∑So
16∑∑this proof of claim is your individual proof of claim;
17∑∑is that correct?
18∑∑∑∑A.∑My individual proof of claim?∑It looks like
19∑∑my name is on there as well as Mr. Quinlan's and
20∑∑Mr. Abdullatif's.
21∑∑∑∑Q.∑Right.∑But this isn't a proof of claim you
22∑∑filed on behalf of your law office; correct?
23∑∑∑∑A.∑Oh, yeah.∑Yeah, that's filed on my behalf,
24∑∑correct.∑Mm-hmm.
25∑∑∑∑Q.∑And if I understand your testimony, the value


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD     Page 262 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     75

∑1∑∑of the property that is included in Section 9 consists
∑2∑∑of the total of the three judgments that form the
∑3∑∑basis of your proof of claim; correct?
∑4∑∑∑∑A.∑That's right.
∑5∑∑∑∑Q.∑And you've used these three judgments as the
∑6∑∑basis for filing an adversary action in the Southern
∑7∑∑District but also attached the adversary action to
∑8∑∑your proof of claim; is that correct?
∑9∑∑∑∑A.∑That sounds correct.
10∑∑∑∑Q.∑Okay.∑So if I can drill down, we've got --
11∑∑the basis for your proof of claim was, one, three
12∑∑judgments and, two, an adversary action; is that
13∑∑correct?
14∑∑∑∑A.∑That sounds correct.
15∑∑∑∑Q.∑All right.∑And the basis of the adversary
16∑∑action were the three judgments; is that correct?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑Sorry.∑Can you repeat the question?
19∑∑∑∑Q.∑(BY MS. HOOD)∑Yeah.∑The basis of your
20∑∑adversary action is the three judgments that you claim
21∑∑you're unable to collect; is that correct?
22∑∑∑∑A.∑That's correct.
23∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to form.
24∑∑∑∑∑∑MS. HOOD:∑And what is the basis of your
25∑∑objection?


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 263 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   76

∑1∑∑∑∑∑∑MR. BALLASES:∑I think it's vague and
∑2∑∑ambiguous and misstates the evidence.∑I mean, the
∑3∑∑petition or the complaint speaks for itself.
∑4∑∑∑∑∑∑MS. HOOD:∑So last time I checked, documents
∑5∑∑don't talk.∑So let me correct my question just to
∑6∑∑make it clear.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, in your adversary
∑8∑∑action which is attached to your proof of claim, you
∑9∑∑reference three judgments; is that correct?
10∑∑∑∑A.∑Yes.
11∑∑∑∑Q.∑And you testified earlier, when Mr. Sather was
12∑∑asking you questions, that the reason you brought the
13∑∑adversary action was your inability to collect on
14∑∑those judgments and that somehow all of these related
15∑∑entities are alter egos of Mr. Choudhri; correct?
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑Okay.∑Let me drill down on the judgments.
18∑∑∑∑∑∑You state that you're an assignee of two of
19∑∑these judgments; is that correct?
20∑∑∑∑A.∑That's correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑∑∑MS. HOOD:∑All right.∑What is the basis of
23∑∑your objection?
24∑∑∑∑∑∑MR. BALLASES:∑Asked and answered.∑This has
25∑∑been already discussed and answered clearly by


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 264 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 77

∑1∑∑Mr. Sather.
∑2∑∑∑∑∑∑MS. HOOD:∑Okay.∑I disagree --
∑3∑∑∑∑∑∑MR. BALLASES:∑You're just rehashing --
∑4∑∑∑∑∑∑MS. HOOD:∑-- but -- okay.∑Let me finish.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑You have --
∑6∑∑∑∑∑∑MS. HOOD:∑Steve, can you go to the basis of
∑7∑∑the damages that were attached?∑And thank you for
∑8∑∑being my paralegal.∑I appreciate it.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑So Judgment
10∑∑Number 1, you have an assigned interest in; correct?
11∑∑∑∑A.∑Yes.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑Q.∑(BY MS. HOOD)∑Before you purchased your
14∑∑assignment, did you do any due diligence on the
15∑∑underlying pleadings in the case?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑(BY MS. HOOD)∑And because you did underlying
19∑∑due diligence in the case, you understand that nowhere
20∑∑in that case is there any allegation of fraudulent
21∑∑transfer; correct?
22∑∑∑∑A.∑In which case?
23∑∑∑∑Q.∑Judgment Number 1, Davy versus Heil.
24∑∑∑∑A.∑I mean, I didn't get into the facts of that
25∑∑case.∑There's a final judgment, I purchased it, and


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 265 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                 78

∑1∑∑it was assigned to me.∑Why do I care what happened in
∑2∑∑that case?
∑3∑∑∑∑Q.∑Okay.∑Well, I just asked you if you looked at
∑4∑∑the underlying pleadings in the case, and you said
∑5∑∑yes.∑So now your testimony is that you did not look
∑6∑∑at the underlying pleadings.
∑7∑∑∑∑A.∑I mean, I skimmed through them.
∑8∑∑∑∑Q.∑And as you were skimming through them, did you
∑9∑∑understand that there was no cause of action for
10∑∑fraudulent transfers?
11∑∑∑∑A.∑I don't recall.
12∑∑∑∑Q.∑Have you read the judgment?
13∑∑∑∑A.∑Yes, I have.
14∑∑∑∑Q.∑And did you read it before you purchased it?
15∑∑∑∑A.∑Yes, I did.
16∑∑∑∑Q.∑And do you understand that nowhere in that
17∑∑judgment is there a finding of fraudulent transfers?
18∑∑∑∑A.∑Okay.∑If you say so.
19∑∑∑∑Q.∑Well, no, I'm asking you if you've read it and
20∑∑if you understand that.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑I mean, if there isn't, I'm gonna take your
23∑∑word for it and say there isn't.
24∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.∑Well, take my word for
25∑∑it.∑There isn't.


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 266 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   79

∑1∑∑∑∑∑∑Did you purchase this judgment at a discount?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑I don't recall.
∑4∑∑∑∑∑∑MS. HOOD:∑What's the basis for your
∑5∑∑objection?
∑6∑∑∑∑∑∑MR. BALLASES:∑Lacking relevance.∑The purpose
∑7∑∑of the deposition is to understand why the proof of
∑8∑∑claim was filed and why it is now being withdrawn.
∑9∑∑∑∑∑∑MS. HOOD:∑All right.∑Well, I think --
10∑∑∑∑∑∑(Crosstalk)
11∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) an underlying
12∑∑matter in the Southern District.
13∑∑∑∑∑∑MS. HOOD:∑All right.∑I disagree with your
14∑∑analysis, but we can argue that another day.
15∑∑∑∑Q.∑(BY MS. HOOD)∑So you don't recall how much
16∑∑you purchased the judgment for.
17∑∑∑∑A.∑Correct.
18∑∑∑∑Q.∑And you are one of three assignees of this
19∑∑judgment; correct?
20∑∑∑∑A.∑That's correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MS. HOOD)∑Before you purchased the
23∑∑judgment, did you have an agreement with the other two
24∑∑claimants, Mr. Quinlan and Mr. Abdullatif, as to why
25∑∑you were purchasing the judgment?


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 267 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  80

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑Did I have an agreement as to why we were
∑3∑∑purchasing the judgment?∑I mean, the purpose of
∑4∑∑purchasing the judgment is to collect on a judgment,
∑5∑∑so that was the agreement.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑So you sat down with the other
∑7∑∑two gentlemen, and the three of you decided to
∑8∑∑purchase this judgment together.
∑9∑∑∑∑A.∑I don't recall if we sat down together
10∑∑anywhere and had that -- a sit-down discussion about
11∑∑what was gonna happen.∑I think maybe that did.
12∑∑∑∑Q.∑Maybe it did, or maybe it didn't?
13∑∑∑∑A.∑Yeah.∑Maybe it was a phone call; maybe it was
14∑∑a sit-down meeting.
15∑∑∑∑Q.∑When did you --
16∑∑∑∑∑∑MR. BALLASES:∑And just for the record --
17∑∑∑∑Q.∑(BY MS. HOOD)∑Can you tell us when the
18∑∑judgment --
19∑∑∑∑∑∑MR. BALLASES:∑Just so that I have --
20∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I'm sorry.
21∑∑∑∑∑∑MS. HOOD:∑Sorry.
22∑∑∑∑∑∑THE REPORTER:∑I hear somebody else speaking.
23∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just -- I wanted to
24∑∑caution Ms. Hood.
25∑∑∑∑∑∑You're getting real close to attorney-client


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 268 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   81

∑1∑∑privilege and/or work product legal privilege.∑So I
∑2∑∑don't think you're there yet, but you're close, so I
∑3∑∑just wanted to warn you to keep that in mind.
∑4∑∑∑∑Q.∑(BY MS. HOOD)∑Sure.∑And, Mr. Khawaja, please
∑5∑∑understand that I don't want to know what you talked
∑6∑∑about with your lawyers, okay, ever, or what your
∑7∑∑lawyers have discussed with you regarding their
∑8∑∑strategy.∑Okay?∑So if you feel like you have to
∑9∑∑reveal that kind of information in response to my
10∑∑question, I don't want to know that stuff.∑Okay?
11∑∑∑∑∑∑And certainly you understand as a lawyer that
12∑∑you have the right to discuss this kind of response
13∑∑with your lawyer prior to answering; right?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑Can you tell us when you -- when you purchased
16∑∑the judgment?
17∑∑∑∑A.∑Sometime before this proof of claim was filed.
18∑∑I don't recall exactly when, no.
19∑∑∑∑Q.∑Do you recall the year?
20∑∑∑∑A.∑I think it was --
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑I think it was 2023.
23∑∑∑∑Q.∑(BY MS. HOOD)∑And how did it come about that
24∑∑this judgment came across your desk to be purchased?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD     Page 269 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    82

∑1∑∑∑∑Q.∑(BY MS. HOOD)∑You can answer.
∑2∑∑∑∑A.∑I mean, that's -- that's privileged
∑3∑∑information that I'm not gonna discuss.
∑4∑∑∑∑∑∑MR. BALLASES:∑I'll go ahead and assert the
∑5∑∑attorney work product, attorney-client privilege.∑I'm
∑6∑∑going to instruct him not to answer.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑How do you typically learn of
∑8∑∑judgments that are available for you to purchase?
∑9∑∑∑∑A.∑I would say typically it is something that's
10∑∑brought to my attention by a third party.
11∑∑∑∑Q.∑And which third party brought this particular
12∑∑judgment to your attention?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Assertion of
14∑∑attorney-client and work product legal privileges.
15∑∑Instruct client not to answer.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Did Mr. Abdullatif bring this
17∑∑judgment to your attention?
18∑∑∑∑∑∑MR. BALLASES:∑Same assertion of privilege,
19∑∑same instruction to the client not to answer.∑It
20∑∑violates attorney-client and attorney work product.
21∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, do you have any
22∑∑sort of agreement with Mr. Abdullatif or Mr. Quinlan
23∑∑regarding a joint prosecution of this proof of claim?
24∑∑∑∑A.∑We do.
25∑∑∑∑Q.∑And is that in writing?


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836         Document 8-1   Filed on 04/23/25 in TXSD     Page 270 of 431

     OMAR KHAWAJA                                                        September 11, 2024
     TEXAS REIT LLC                                                                      83

∑1∑∑∑∑∑∑MR. BALLASES:∑Also joint litigation
∑2∑∑privilege, I'll assert.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.
∑4∑∑∑∑A.∑I'm not gonna answer.
∑5∑∑∑∑Q.∑Is your -- is your agreement in writing?
∑6∑∑∑∑∑∑MR. BALLASES:∑Instruct client not to answer.
∑7∑∑He doesn't need to give work product, attorney-client,
∑8∑∑or joint litigation privilege information away.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑Back to my question.
10∑∑Mr. Khawaja, do you have an agreement in writing with
11∑∑Mr. Abdullatif and Mr. Quinlan with regard to pursuing
12∑∑this proof of claim?
13∑∑∑∑∑∑MR. BALLASES:∑I'm going object again to the
14∑∑question and assert the legal privileges of
15∑∑attorney-client, work product, also joint litigation
16∑∑privilege and instruct the client not to answer.
17∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you adhering
18∑∑to your -- to your counsel's instruction?
19∑∑∑∑A.∑I am.
20∑∑∑∑Q.∑And refusing to answer my question?
21∑∑∑∑A.∑On advice of counsel, yes.
22∑∑∑∑Q.∑With regard to this particular Davy-Heil
23∑∑judgment, do you know Mr. Heil?
24∑∑∑∑A.∑I don't.
25∑∑∑∑Q.∑Do you know Mr. Oakum?


                                                                     800.211.DEPO (3376)
                                                                     EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 271 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    84

∑1∑∑∑∑A.∑I don't.
∑2∑∑∑∑Q.∑Do you know Renee Davy?
∑3∑∑∑∑A.∑Not personally.
∑4∑∑∑∑Q.∑Not personally?∑How else would you know her?
∑5∑∑∑∑A.∑I've seen videos of her online.
∑6∑∑∑∑Q.∑Doing what?
∑7∑∑∑∑A.∑Stating that Mr. Choudhri's a fraud and a
∑8∑∑thief and shouldn't be trusted.
∑9∑∑∑∑Q.∑Have you ever spoken to her?
10∑∑∑∑A.∑I have not.
11∑∑∑∑Q.∑When you purchased this judgment, who did you
12∑∑pay?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑∑∑I'm going to also -- it's harassing and
15∑∑oppressive.∑I'm also going to assert the
16∑∑attorney-client, attorney work product, and joint
17∑∑litigation privilege and instruct the client not to
18∑∑answer.
19∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
20∑∑follow your attorney's instruction and not answer my
21∑∑question?
22∑∑∑∑A.∑I am.
23∑∑∑∑Q.∑When you guys purchased your assignment of
24∑∑this judgment, the Davy-Heil judgment, did you each
25∑∑provide separate payment, or did it come from one


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 272 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  85

∑1∑∑source?
∑2∑∑∑∑∑∑MR. BALLASES:∑I'm going to assert the same
∑3∑∑objection and the same assertions of legal privilege
∑4∑∑and instruct the client not to answer, as I did to the
∑5∑∑question before.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
∑7∑∑follow your counsel's instruction and refuse to answer
∑8∑∑my question?
∑9∑∑∑∑A.∑I am.
10∑∑∑∑Q.∑Mr. Khawaja, when you purchased your interest
11∑∑in this judgment, did you purchase it via wire
12∑∑transfer or a check?∑Cash?∑How did you purchase it?
13∑∑∑∑∑∑MR. BALLASES:∑I'm going to assert the same
14∑∑legal objections and the same assertions of legal
15∑∑privilege and instruct client not to answer, as I did
16∑∑with the previous question.
17∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
18∑∑adhere to your client's (sic) instruction and refuse
19∑∑to answer my question?
20∑∑∑∑A.∑My counsel's.∑Yes, I am.
21∑∑∑∑Q.∑Mr. Khawaja, do you know a gentleman by the
22∑∑name of Wayne Dolcefino?
23∑∑∑∑A.∑I've seen him online.
24∑∑∑∑Q.∑And was it one of Mr. Dolcefino's videos in
25∑∑which Ms. Davy appeared?


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 273 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                  86

∑1∑∑∑∑A.∑I think so, yes.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Have you ever met
∑4∑∑Mr. Dolcefino?
∑5∑∑∑∑A.∑I've met him, yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑In connection with any of your
∑8∑∑cases related to Mr. Choudhri?
∑9∑∑∑∑A.∑No.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MS. HOOD)∑With regard to this Judgment
12∑∑Number 1 that was assigned to you, how much of -- how
13∑∑much do you own of this judgment?
14∑∑∑∑∑∑THE WITNESS:∑I think that goes to the
15∑∑privilege again.
16∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
17∑∑question as being oppressive and harassing and assert
18∑∑the attorney-client, attorney work product, and joint
19∑∑litigation privilege and instruct him not to answer.
20∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
21∑∑adhere to your lawyer's instruction not to answer my
22∑∑question?
23∑∑∑∑A.∑I am.
24∑∑∑∑Q.∑As you sit here today, you're not going to
25∑∑tell me how much of this $501,513.85 judgment that you


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1      Filed on 04/23/25 in TXSD     Page 274 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     87

∑1∑∑own.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑On advice of counsel, I will not answer that
∑4∑∑question.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑And you testified that you
∑6∑∑purchased this judgment sometime last year; correct?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑I believe so, yes.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.∑And what have you done
10∑∑to try and collect this judgment?
11∑∑∑∑A.∑Well, we filed --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑-- in Bankruptcy Court or, I guess, in our
14∑∑proof of claims.∑And I think -- I think that's it at
15∑∑this stage.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Have you filed any
17∑∑post-judgment discovery in the underlying lawsuit in
18∑∑the 152nd?
19∑∑∑∑A.∑I don't -- I don't -- I'm not aware of that.
20∑∑∑∑Q.∑Have you hired a lawyer to pursue
21∑∑post-judgment discovery or collection of this
22∑∑judgment?
23∑∑∑∑A.∑The only lawyer I've hired is Mr. Ballases.
24∑∑∑∑Q.∑And you're certainly not aware of Mr. Ballases
25∑∑doing anything to try to collect this judgment outside


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 275 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   88

∑1∑∑of the bankruptcy action; correct?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑You can answer.
∑4∑∑∑∑A.∑I'm not aware.
∑5∑∑∑∑Q.∑As an attorney in the state of Texas,
∑6∑∑certainly you're aware of the fact that, as a judgment
∑7∑∑creditor, you have the right to pursue post-judgment
∑8∑∑collection efforts within the confines of the Court
∑9∑∑that issued the judgment; correct?
10∑∑∑∑A.∑Sure.
11∑∑∑∑Q.∑And you've chosen not to avail yourselves of
12∑∑those opportunities; correct?
13∑∑∑∑∑∑MR. BALLASES:∑I'm going to go ahead and
14∑∑object to the question as misleading, also oppressive
15∑∑and harassing, and assert attorney-client, attorney
16∑∑work product, and joint litigation privilege.
17∑∑∑∑∑∑What we do for collection, you do not get to
18∑∑ask about to aid Mr. Choudhri and Jetall and his
19∑∑companies to hide assets any further.∑So we're not
20∑∑going to answer that.
21∑∑∑∑∑∑MS. HOOD:∑All right.∑I object to any
22∑∑commentary about me helping anybody do anything.∑All
23∑∑right?∑I'm here representing a creditor, and I'm
24∑∑trying to determine the basis for the filing of this
25∑∑proof of claim.∑And part of that issue is any attempt


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD     Page 276 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    89

∑1∑∑by the judgment creditor to collect the judgment
∑2∑∑outside of filing a proof of claim in a bankruptcy
∑3∑∑action, that has nothing to do with the underlying
∑4∑∑judgment.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, do you personally
∑6∑∑know of any action taken in the public forum by you to
∑7∑∑collect this judgment outside of this bankruptcy
∑8∑∑action?
∑9∑∑∑∑A.∑I'm not aware of any.
10∑∑∑∑∑∑MR. BALLASES:∑I'm further going to instruct
11∑∑you:∑Don't answer any more questions regarding what
12∑∑we've done to collect because that gets into attorney
13∑∑work product, also attorney-client, and joint
14∑∑litigation privilege.
15∑∑∑∑∑∑THE WITNESS:∑I understand.
16∑∑∑∑∑∑MS. HOOD:∑And certainly, Mr. Ballases, I
17∑∑appreciate the nuances and everything else.∑And
18∑∑again, I don't want to know anything about your
19∑∑strategy or anything else.∑That's why I asked for
20∑∑public record, because I can't find anything in the
21∑∑public record that shows any attempt to try to collect
22∑∑this judgment.∑And so I'm just trying to clarify and
23∑∑get commentary and testimony from your client
24∑∑confirming that.
25∑∑∑∑∑∑MR. BALLASES:∑I appreciate that, but we don't


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD     Page 277 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    90

∑1∑∑need to get into anything that could aid your client
∑2∑∑or the principal who owns your client to hide assets
∑3∑∑any further.
∑4∑∑∑∑∑∑MS. HOOD:∑I'm going to object to the sidebar
∑5∑∑commentary there.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑The judgment that you bought,
∑7∑∑the judgment debtor is Jetall Companies, Inc.;
∑8∑∑correct?
∑9∑∑∑∑A.∑Correct.
10∑∑∑∑Q.∑Certainly that judgment does not include my
11∑∑client as a judgment debtor; correct?
12∑∑∑∑A.∑Yeah, it's not -- does not include?∑Correct.
13∑∑∑∑Q.∑It certainly doesn't include Mrs. Choudhri as
14∑∑a judgment debtor; correct?
15∑∑∑∑A.∑It does not include them as a judgment debtor,
16∑∑correct.
17∑∑∑∑Q.∑It doesn't include Texas REIT as a judgment
18∑∑debtor either; right?
19∑∑∑∑A.∑Correct.
20∑∑∑∑Q.∑On Judgment Number 2, I think you testified
21∑∑that you don't own any part of that judgment; correct?
22∑∑∑∑A.∑Judgment Number 2, I believe I do own part of
23∑∑it.
24∑∑∑∑Q.∑The Abdullatif judgment?
25∑∑∑∑A.∑Okay.∑No, I do not.∑Sorry.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 278 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   91

∑1∑∑∑∑Q.∑Okay.∑Are you aware of the fact that that
∑2∑∑judgment has been bonded around?
∑3∑∑∑∑A.∑I'm not aware of --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I'm not aware of that.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑And when you filed the proof of
∑7∑∑claim that included Judgment Number 2, did you do any
∑8∑∑due diligence on that judgment in order to satisfy
∑9∑∑yourself that that judgment was not bonded around?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑I -- minimally, not -- minimally.
12∑∑∑∑Q.∑(BY MS. HOOD)∑What do you mean "minimally"?
13∑∑∑∑A.∑Meaning it was a final judgment, and that's
14∑∑how I -- that was what I understood it to be.
15∑∑∑∑Q.∑Certainly as a lawyer in the state of Texas,
16∑∑you understand that when a judgment is superceded,
17∑∑that that stays any collection activities; correct?
18∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
19∑∑question as misleading and harassing and oppressive.
20∑∑∑∑Q.∑(BY MS. HOOD)∑You can answer --
21∑∑∑∑A.∑I'm not aware of that --
22∑∑∑∑Q.∑You're not aware of that?
23∑∑∑∑A.∑I'm not aware of that being -- I'm not aware
24∑∑of the judgment being superceded.
25∑∑∑∑Q.∑And did you take any independent actions to


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 279 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   92

∑1∑∑determine whether or not this judgment, which is on
∑2∑∑appeal, had been superceded?
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑Q.∑Judgment Number 3, this HSLLP judgment.
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑All right.∑That judgment, when did you
∑7∑∑purchase that judgment?
∑8∑∑∑∑A.∑I think 2023, if I recall correctly.
∑9∑∑∑∑Q.∑And how did you become aware that that
10∑∑judgment was available to purchase?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Harassing
12∑∑and oppressive.∑I'm also going to assert
13∑∑attorney-client, attorney work product, and joint
14∑∑litigation privilege and instruct the client not to
15∑∑answer.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
17∑∑adhere to your client's -- excuse me -- to your
18∑∑lawyer's instructions?
19∑∑∑∑A.∑I am.
20∑∑∑∑Q.∑And if I understand your testimony, you are
21∑∑one of three owners also of this judgment; is that
22∑∑correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑That's correct.
25∑∑∑∑Q.∑(BY MS. HOOD)∑And can you tell me how you


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 280 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    93

∑1∑∑paid for the purchase of this judgment?
∑2∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
∑3∑∑question again as harassing and oppressive, assert the
∑4∑∑attorney-client legal privilege, the work product
∑5∑∑legal privilege, and the joint litigation legal
∑6∑∑privilege and instruct the client not to answer.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
∑8∑∑adhere to your lawyer's instruction?
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑Q.∑Mr. Khawaja, can you tell me whether you paid
11∑∑for -- excuse me.∑Strike that.
12∑∑∑∑∑∑Can you tell me who you paid when you
13∑∑purchased this assignment of this judgment?
14∑∑∑∑∑∑MR. BALLASES:∑I'm going to assert the same
15∑∑objection I just levied to the prior question as well
16∑∑as the same assertion of legal privileges to the prior
17∑∑question and instruct the client not to answer, just
18∑∑like the prior question.
19∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
20∑∑adhere to your lawyer's instruction and not answer my
21∑∑question as to who you paid for the purchase of this
22∑∑judgment?
23∑∑∑∑A.∑I am.
24∑∑∑∑Q.∑I see that this judgment -- the judgment
25∑∑creditor is Hoover Slovacek; correct?


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
  Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 281 of 431

    OMAR KHAWAJA                                                  September 11, 2024
    TEXAS REIT LLC                                                                94

∑1∑∑∑∑A.∑That appears correct.
∑2∑∑∑∑Q.∑And that's the same law firm that is
∑3∑∑representing you here today; correct?
∑4∑∑∑∑A.∑That's correct.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Do you have any joint defense
∑7∑∑agreements with Hoover Slovacek?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑I think --
∑9∑∑well, objection.∑Form.
10∑∑∑∑A.∑I'm not aware.
11∑∑∑∑Q.∑(BY MS. HOOD)∑Do you have any prosecution
12∑∑agreements with Hoover Slovacek?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I'm not aware of any.
15∑∑∑∑Q.∑(BY MS. HOOD)∑At the time that you purchased
16∑∑this judgment, were you represented by Hoover
17∑∑Slovacek?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑A.∑At the time I purchased the judgment, I was
20∑∑represented by nobody.
21∑∑∑∑Q.∑(BY MS. HOOD)∑So you were representing
22∑∑yourself?
23∑∑∑∑A.∑Correct.
24∑∑∑∑Q.∑Who drafted the assignments?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                              800.211.DEPO (3376)
                                                              EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 282 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    95

∑1∑∑∑∑A.∑I think that's a privileged answer.
∑2∑∑∑∑∑∑MR. BALLASES:∑Also assert the same legal
∑3∑∑privileges we asserted in the previous questions,
∑4∑∑which would be attorney-client, attorney work product,
∑5∑∑and joint litigation and instruct the client not to
∑6∑∑answer.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
∑8∑∑adhere to your lawyer's instructions and not answer my
∑9∑∑question?
10∑∑∑∑A.∑Yes.
11∑∑∑∑Q.∑When you purchased the assignment of this
12∑∑judgment and the other two also purchased their
13∑∑portion of the judgment, was it all done at one time?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑∑∑I'm also going to assert the same legal
16∑∑privileges and instruct the client not to answer, as I
17∑∑did with the previous question.
18∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
19∑∑adhere to your client's instruction and not answer my
20∑∑question as to the timing of the purchase of the
21∑∑assignment by the three of you?
22∑∑∑∑A.∑Yes.
23∑∑∑∑Q.∑Did you purchase the assignment of this
24∑∑judgment from Mr. Abdullatif?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Same


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1      Filed on 04/23/25 in TXSD     Page 283 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                     96

∑1∑∑objections, same assertions of legal privilege, same
∑2∑∑instruction not to answer based on those legal
∑3∑∑privileges as the question before.
∑4∑∑∑∑Q.∑(BY MS. HOOD)∑Are you going to follow your
∑5∑∑lawyer's instruction and not answer my question as to
∑6∑∑who you purchased the assignment from?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑When you purchased the assignment and you were
∑9∑∑representing yourself, what lawyers did you deal with
10∑∑for the other purchasers?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑I'm also
12∑∑going to assert the same attorney work product and
13∑∑attorney -- joint litigation legal privilege and
14∑∑instruct the client not to answer.
15∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
16∑∑adhere to your lawyer's instructions and not answer my
17∑∑questions?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑Okay.∑When you purchased your assignment, was
20∑∑Mr. Abdullatif represented by counsel?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑∑∑Asserting the same legal privileges as the
23∑∑previous question and instructing client not to answer
24∑∑as I did with the previous question.
25∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 284 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    97

∑1∑∑adhere to your client's instruction -- or to your
∑2∑∑lawyer's instruction and not answer my question as to
∑3∑∑whether or not Mr. Abdullatif had a lawyer at the time
∑4∑∑of the purchase?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑At the time you purchased your assignment of
∑7∑∑this judgment, was Mr. Quinlan represented by counsel?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑∑∑I'm also going to assert the same legal
10∑∑privileges as I did before and instruct the client not
11∑∑to answer.
12∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you adhering
13∑∑to your counsel's instructions and not answering my
14∑∑question as to whether or not Mr. Quinlan was
15∑∑represented by counsel at the time of the assignment
16∑∑of the judgment?
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑Does your assignment include just your
19∑∑signature, or is it an assignment that includes the
20∑∑other purchasers' signatures?
21∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
22∑∑question -- object to the form of the question.
23∑∑Excuse me.
24∑∑∑∑A.∑I don't -- I don't recall.
25∑∑∑∑Q.∑(BY MS. HOOD)∑Do you have a physical copy, or


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 285 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                   98

∑1∑∑do you have the original of this assignment?
∑2∑∑∑∑A.∑I believe I do somewhere, not with me today.
∑3∑∑I'm sure it was provided to me.
∑4∑∑∑∑Q.∑The copy or the original?
∑5∑∑∑∑A.∑The copy.
∑6∑∑∑∑Q.∑Do you know who holds the original of the
∑7∑∑assignment?
∑8∑∑∑∑A.∑I don't.
∑9∑∑∑∑Q.∑Because you don't know who holds the original
10∑∑of the assignment, you can't tell us whether or not
11∑∑the assignment has been paid; correct?
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑∑∑I'm going to assert the attorney-client and
14∑∑attorney work product and attorney joint -- or excuse
15∑∑me -- joint litigation privilege and instruct the
16∑∑client not to answer.
17∑∑∑∑A.∑I'm going to follow advice of counsel.
18∑∑∑∑Q.∑(BY MS. HOOD)∑And as you sit here today, you
19∑∑can't tell us who holds the original of this
20∑∑assignment.
21∑∑∑∑A.∑I can't.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑Q.∑(BY MS. HOOD)∑You can't?
24∑∑∑∑A.∑I cannot.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 286 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                    99

∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Can you tell me why you didn't
∑2∑∑include a copy of the assignment with your proof of
∑3∑∑claim?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑∑∑Just -- and I'm -- and I apologize because I
∑6∑∑know I'm not supposed to talk right now, but it's
∑7∑∑attached to the actual complaint in the Southern
∑8∑∑District, so you can pull it up.∑It's public record.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
10∑∑coaching the witness.
11∑∑∑∑∑∑MR. BALLASES:∑Be quiet.
12∑∑∑∑∑∑MR. CHOUDHRI:∑I'm sorry.∑Mr. Khawaja, did
13∑∑you say something?
14∑∑∑∑∑∑MS. HOOD:∑Okay --
15∑∑∑∑∑∑MR. BALLASES:∑No, I told you to be quiet.
16∑∑This is Mr. Ballases.
17∑∑∑∑∑∑MS. HOOD:∑Okay.∑This is my time.∑Okay?∑You
18∑∑guys can bicker and do your little boy thing when I'm
19∑∑not talking.
20∑∑∑∑Q.∑(BY MS. HOOD)∑So if I understand correctly,
21∑∑this adversary action, which is based upon two
22∑∑judgments that you claim to have an assignment in, was
23∑∑originally filed in the Southern District of Texas; is
24∑∑that correct?
25∑∑∑∑A.∑That's correct.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 287 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  100

∑1∑∑∑∑Q.∑And then you took that adversary and used it
∑2∑∑as -- as an exhibit to your proof of claim that you
∑3∑∑then filed in this action; correct?
∑4∑∑∑∑A.∑That's correct.
∑5∑∑∑∑Q.∑And if I understand your testimony, along with
∑6∑∑this adversary action, you filed lis pendens against
∑7∑∑the debtor's property in this action; correct?
∑8∑∑∑∑A.∑That's correct.
∑9∑∑∑∑Q.∑And if I remember the lis pendens, you did not
10∑∑sign that lis pendens; correct?
11∑∑∑∑A.∑Correct.
12∑∑∑∑Q.∑Did Mr. Abdullatif have your permission to
13∑∑sign that lis pendens that was filed against the
14∑∑debtor's property in this action?
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And when did you give him permission to file
17∑∑that lis pendens?
18∑∑∑∑A.∑I'm not sure.∑I'm assuming sometime before it
19∑∑was filed.
20∑∑∑∑Q.∑Was it done prior to the time that you brought
21∑∑the adversary action in the Southern District of
22∑∑Texas?
23∑∑∑∑A.∑I don't know.
24∑∑∑∑∑∑MS. HOOD:∑Steve, my trustee paralegal, can
25∑∑you bring up the first lis pendens, the supplemental


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1      Filed on 04/23/25 in TXSD     Page 288 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                    101

∑1∑∑lis pendens, which I think is Exhibit -- yeah --
∑2∑∑Exhibit 2, yeah.∑Can you go down to the signature
∑3∑∑page?
∑4∑∑∑∑∑∑MR. SATHER:∑Yes.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑So Exhibit 2 is the
∑6∑∑supplemental lis pendens that you authorized
∑7∑∑Mr. Abdullatif to file against the debtor's property
∑8∑∑in this action; correct?
∑9∑∑∑∑A.∑That's correct.
10∑∑∑∑Q.∑All right.∑And the date of that says
11∑∑August 22nd, 2023.∑Do you agree with me?
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑Okay.∑And would it be fair to say that you
14∑∑gave Mr. Abdullatif your authority to sign on your
15∑∑behalf somewhere around August 22nd, 2023?
16∑∑∑∑A.∑It could've been before that, but it sounds
17∑∑correct.
18∑∑∑∑Q.∑Did you have a conversation with
19∑∑Mr. Abdullatif about the filing of the lis pendens?
20∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
21∑∑question.∑I'm also going to assert the
22∑∑attorney-client, attorney work product, and joint
23∑∑litigation privilege and instruct the client not to
24∑∑answer.
25∑∑∑∑A.∑On advice of counsel, I'm not answering any


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 289 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 102

∑1∑∑questions regarding my conversations with
∑2∑∑Mr. Abdullatif or Mr. Quinlan.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Did you prov -- the authority
∑4∑∑that you provided to Mr. Abdullatif for you -- for him
∑5∑∑to sign on your behalf this lis pendens, was that
∑6∑∑given verbally or in writing?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑∑∑Same assertion of legal privilege, same
∑9∑∑instruction not to answer.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
11∑∑adhere to your client's (sic) instructions and not
12∑∑answer my question about how you gave permission to
13∑∑Mr. Abdullatif --
14∑∑∑∑A.∑Yes, I am.
15∑∑∑∑∑∑MS. HOOD:∑Steve, can you bring up the --
16∑∑Exhibit Number 3?
17∑∑∑∑Q.∑(BY MS. HOOD)∑Exhibit Number 3 is the second
18∑∑supplemental lis pendens that was filed also on the
19∑∑debtor's property, and it looks to me that that also
20∑∑is dated August 22nd, 2023.∑Is that accurate?
21∑∑∑∑A.∑That looks accurate.
22∑∑∑∑Q.∑All right.∑And is it fair to say that you
23∑∑again gave Mr. Abdullatif permission or authorized him
24∑∑to sign on your behalf somewhere around August 22nd of
25∑∑2023?


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 290 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  103

∑1∑∑∑∑A.∑Or prior to that, yes.
∑2∑∑∑∑Q.∑Certainly you didn't give him permission to
∑3∑∑file it before you actually were an owner in the
∑4∑∑judgment; correct?
∑5∑∑∑∑A.∑That's correct.
∑6∑∑∑∑Q.∑And again, just to summarize your testimony,
∑7∑∑you think you recall purchasing your assignment in
∑8∑∑this judgment sometime in 2023; correct?
∑9∑∑∑∑A.∑That's correct.
10∑∑∑∑Q.∑So we've got somewhere between January and
11∑∑August 22nd that you purchased your interest in this
12∑∑judgment; correct?
13∑∑∑∑A.∑That sounds right.
14∑∑∑∑∑∑MR. BALLASES:∑Ms. Hood, I don't mean to
15∑∑derail your testimony, but if you look at the
16∑∑complaint itself, it says when he obtained the
17∑∑assignment.∑It's February 17th, 2023.∑You can read
18∑∑it for yourself.∑It's Exhibit 1.
19∑∑∑∑∑∑MS. HOOD:∑So I appreciate that, Mr. Ballases.
20∑∑I'm trying to get your client's testimony on these
21∑∑issues, not what's in a document that you wrote. I
22∑∑want his testimony, but I appreciate it.∑He said he
23∑∑couldn't recall, and that's fine with me.
24∑∑∑∑Q.∑(BY MS. HOOD)∑On this judgment that you
25∑∑purchased from Hoover Slovacek, prior -- prior --


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD     Page 291 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   104

∑1∑∑sorry; my mouth is not working -- prior to your
∑2∑∑purchase of the assignment, did you review the
∑3∑∑underlying pleadings related to the lawsuit?
∑4∑∑∑∑A.∑Not really.
∑5∑∑∑∑Q.∑Can you be more specific than "not really"?
∑6∑∑Is that you didn't look at them at all, or you kind of
∑7∑∑looked at them?
∑8∑∑∑∑A.∑I may have briefly skimmed through them.
∑9∑∑∑∑Q.∑And by skimming through them, were you aware
10∑∑that there were no causes of action for fraudulent
11∑∑transfer, et cetera, against Jetall?
12∑∑∑∑A.∑No, I wasn't, but I'll take your word for it
13∑∑that there were not.
14∑∑∑∑Q.∑And would you agree with me that the judgment
15∑∑debtor in Judgment Number 3 is Jetall Companies, Inc.?
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑And the judgment debtor is not Arabella PH
18∑∑3201; correct?
19∑∑∑∑A.∑No, they're an alter ego of Jetall Companies.
20∑∑∑∑∑∑MS. HOOD:∑Objection.∑Non-responsive.
21∑∑∑∑Q.∑(BY MS. HOOD)∑Arabella PH 3201 is not a
22∑∑judgment debtor; correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑That's correct.
25∑∑∑∑Q.∑(BY MS. HOOD)∑9201 Memorial Drive is not a


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 292 of 431

     OMAR KHAWAJA                                                  September 11, 2024
     TEXAS REIT LLC                                                               105

∑1∑∑judgment creditor; correct?
∑2∑∑∑∑A.∑Correct.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MS. HOOD)∑2727 Kirby 26L, LLC, is not a
∑5∑∑judgment debtor; correct?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑Correct.
∑8∑∑∑∑Q.∑(BY MS. HOOD)∑Texas REIT, LLC, is not a
∑9∑∑judgment debtor; correct?
10∑∑∑∑A.∑Correct.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MS. HOOD)∑Dalio Holdings I is not a
13∑∑judgment debtor; correct?
14∑∑∑∑A.∑Correct.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Dalio Holdings II is not a
17∑∑judgment debtor; correct?
18∑∑∑∑A.∑Correct.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑Q.∑(BY MS. HOOD)∑Houston Real Estate Properties,
21∑∑LLC, is not a judgment debtor; correct?
22∑∑∑∑A.∑(Unintelligible)
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Was that "correct"?
25∑∑∑∑Q.∑(BY MS. HOOD)∑What was your -- yeah, I didn't


                                                               800.211.DEPO (3376)
                                                               EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1     Filed on 04/23/25 in TXSD     Page 293 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 106

∑1∑∑hear your --
∑2∑∑∑∑A.∑That's correct.
∑3∑∑∑∑Q.∑-- answer either.∑Yeah.
∑4∑∑∑∑A.∑Correct.∑Correct.
∑5∑∑∑∑∑∑MR. BALLASES:∑And I object to the form.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Shahnaz Choudhri is not a
∑7∑∑judgment debtor; correct?
∑8∑∑∑∑A.∑Correct.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Ali Choudhri is not a judgment
11∑∑debtor; correct?
12∑∑∑∑A.∑Correct.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑Q.∑(BY MS. HOOD)∑Shepherd-Huldy Development I is
15∑∑not a judgment debtor; correct?
16∑∑∑∑A.∑Correct.
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑Q.∑(BY MS. HOOD)∑Shepherd-Huldy Development II
19∑∑is not a judgment debtor; correct?
20∑∑∑∑A.∑Correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MS. HOOD)∑Galleria Loop Note Holder, LLC,
23∑∑is not a judgment debtor; correct?
24∑∑∑∑A.∑Correct.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 294 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  107

∑1∑∑∑∑Q.∑(BY MS. HOOD)∑What due diligence did you do,
∑2∑∑if any, before you alleged in this adversary action,
∑3∑∑which forms the basis of your proof of claim, that my
∑4∑∑client, Dalio Holdings, LLC, is the alter ego of
∑5∑∑Houston Real Estate Properties?
∑6∑∑∑∑A.∑What due diligence did I do personally?
∑7∑∑∑∑Q.∑Yeah.
∑8∑∑∑∑A.∑I mean, I think it's stated pretty clearly in
∑9∑∑the petition what evidence we have.∑There's a whole
10∑∑court history of fraudulent transfers, commingling of
11∑∑assets; you know, fraudulent, unethical conduct that
12∑∑we have available as public record as to Mr. Choudhri
13∑∑and, by extension, your client's conduct.∑And that's
14∑∑the due diligence I did to make these claims.
15∑∑∑∑Q.∑Okay.∑So you based your due diligence off
16∑∑your allegation that this is all public record.
17∑∑∑∑A.∑That's correct.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MS. HOOD)∑What public records did you
20∑∑look at?
21∑∑∑∑A.∑Well, if you -- everything that's stated in
22∑∑the petition.∑If you look at Lawsuit 2013-41273,
23∑∑Harris County District Court, he was found to have
24∑∑committed fraud, filed a fraudulent lien, and there
25∑∑was no promissory note, and that was an entity that he


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 295 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   108

∑1∑∑controlled, HREP.∑If you look at -- on February 16th,
∑2∑∑2017, in Case Number 2017-1 --
∑3∑∑∑∑Q.∑Let's go -- let's go back to the first one.
∑4∑∑You --
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm going to --
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑-- said that there was a --
∑7∑∑∑∑∑∑THE REPORTER:∑I'm sorry.
∑8∑∑∑∑Q.∑(BY MS. HOOD)∑You claim to have a finding --
∑9∑∑∑∑∑∑(Crosstalk)
10∑∑∑∑Q.∑(BY MS. HOOD)∑You claim there's a finding of
11∑∑fraud --
12∑∑∑∑∑∑MR. BALLASES:∑Ms. Hood --
13∑∑∑∑∑∑THE REPORTER:∑Sorry --
14∑∑∑∑∑∑MR. BALLASES:∑-- can you let my client answer
15∑∑the question, please?
16∑∑∑∑∑∑MS. HOOD:∑I -- it's my question-and-answer,
17∑∑and if I want to cut him off, I can.
18∑∑∑∑∑∑MR. BALLASES:∑Okay.∑So you want to --
19∑∑∑∑∑∑MS. HOOD:∑I want to -- I want to drill down
20∑∑on the first one.∑Well, he's referencing a pleading
21∑∑that I'm assuming that you wrote, so I just want to
22∑∑find out what he knows personally about some of this
23∑∑stuff.
24∑∑∑∑∑∑MR. BALLASES:∑Objection (unintelligible).
25∑∑∑∑Q.∑(BY MS. HOOD)∑So you reference a lawsuit --


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 296 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  109

∑1∑∑hang on.∑Let me find it.
∑2∑∑∑∑∑∑Is that the lawsuit involving HREP?
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑Q.∑Okay.∑And were you involved in that lawsuit?
∑5∑∑∑∑A.∑I was not.
∑6∑∑∑∑Q.∑So everything you know about that lawsuit, you
∑7∑∑read as a matter of public record.
∑8∑∑∑∑A.∑That's correct.
∑9∑∑∑∑Q.∑Was there a finding of fraudulent transfers in
10∑∑that case?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑Other fraud, but I don't know if fraudulent
13∑∑transfer was part of that.
14∑∑∑∑Q.∑(BY MS. HOOD)∑I didn't see it.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
16∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑That's the first
17∑∑lawsuit that you said you looked at for public record
18∑∑in order to determine that my client is somehow the
19∑∑alter ego of all these other things; correct?
20∑∑∑∑A.∑That's correct.
21∑∑∑∑Q.∑Okay.∑What other -- what other public records
22∑∑did you review?
23∑∑∑∑A.∑There's also these videos by a guy named Wayne
24∑∑Dolcefino I saw.
25∑∑∑∑Q.∑So you looked at videos.


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 297 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 110

∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑Anything else you reviewed?
∑3∑∑∑∑A.∑I think just generally people in the community
∑4∑∑know that your client commits fraud.∑He's known as a
∑5∑∑fraudster.
∑6∑∑∑∑Q.∑Who are these --
∑7∑∑∑∑A.∑So many people have approached me.
∑8∑∑∑∑Q.∑Okay.∑Who are these people?
∑9∑∑∑∑A.∑Yeah, I can't -- many people that he's
10∑∑defrauded over the years.
11∑∑∑∑Q.∑Name one.
12∑∑∑∑A.∑Well, Judge Norman is one.∑I don't know if
13∑∑you know him.∑He's in the Southern District.
14∑∑∑∑Q.∑Okay.∑Who else?
15∑∑∑∑A.∑Let's see.∑Who else in the community have
16∑∑called him a fraudster?
17∑∑∑∑∑∑Judge Landrum, Judge Michael Landrum in the
18∑∑Harris County District Court, 164th District Court.
19∑∑He considers your client a fraud.
20∑∑∑∑Q.∑And is that in relation to the HREP case?
21∑∑∑∑A.∑I just think generally.
22∑∑∑∑Q.∑Okay.∑So Judge Landrum has spoken to you
23∑∑about Mr. Choudhri being a fraudster?
24∑∑∑∑A.∑It's in a final judgment.∑I can read that for
25∑∑you if you'd like.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 298 of 431

     OMAR KHAWAJA                                                  September 11, 2024
     TEXAS REIT LLC                                                               111

∑1∑∑∑∑Q.∑No, I'm asking --
∑2∑∑∑∑A.∑Do you want me to read it to you?
∑3∑∑∑∑Q.∑No, no, no.∑I'm asking you.∑You said people
∑4∑∑have told you; many people have told you.∑So I'm
∑5∑∑asking who --
∑6∑∑∑∑A.∑Yes.
∑7∑∑∑∑Q.∑-- who's had a conversation with you about
∑8∑∑Mr. Choudhri being a fraudster?∑And you've said Judge
∑9∑∑Norman, and I'm assuming you didn't --
10∑∑∑∑A.∑Yes.
11∑∑∑∑Q.∑-- talk personally with Judge Norman.∑That's
12∑∑out of an opinion; right?
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑Okay.∑The same as --
15∑∑∑∑A.∑Members of the community --
16∑∑∑∑Q.∑Okay.∑So who --
17∑∑∑∑A.∑I'm sorry --
18∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
19∑∑Thank you.
20∑∑∑∑Q.∑(BY MS. HOOD)∑What community?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑The real estate community, the Pakistani
23∑∑community, basically anyone Mr. Choudhri has come in
24∑∑contact with and done business with, people from those
25∑∑communities.


                                                               800.211.DEPO (3376)
                                                               EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1      Filed on 04/23/25 in TXSD     Page 299 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                    112

∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.∑So we've got the real
∑2∑∑estate community.∑We've got the Pakistani community.
∑3∑∑∑∑A.∑His family members.∑His own family members
∑4∑∑have said the same.
∑5∑∑∑∑Q.∑Family members.
∑6∑∑∑∑∑∑All right.∑So who in the real estate
∑7∑∑community have you had a specific conversation with
∑8∑∑that have informed you that he's -- that he -- that my
∑9∑∑client fraudulently -- my client, Dalio, is -- has
10∑∑been the recipient or the instigator of fraudulent
11∑∑transfers such that they're the alter ego of
12∑∑Mr. Choudhri?
13∑∑∑∑A.∑Harold Polk.
14∑∑∑∑Q.∑Who?
15∑∑∑∑A.∑So just a -- Harold Polk.
16∑∑∑∑Q.∑And who is Mr. Polk?
17∑∑∑∑A.∑Somebody that your client knows that he ripped
18∑∑off, I guess.
19∑∑∑∑Q.∑Well, how do you know him?
20∑∑∑∑A.∑He came to me and told me that your client
21∑∑ripped him off.
22∑∑∑∑Q.∑Okay.∑He came to you just out of the blue?
23∑∑∑∑A.∑Yeah.∑I mean, you know, I don't know why he
24∑∑came to me, but yeah, he did.
25∑∑∑∑Q.∑When did you have this --


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 300 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 113

∑1∑∑∑∑A.∑He probably saw the --
∑2∑∑∑∑Q.∑When did you have this conversation with
∑3∑∑Mr. Polk?
∑4∑∑∑∑A.∑Years ago.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑I can't remember.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Years ago?∑Okay.
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑Okay.∑Who else?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑I don't -- I can't recall.∑I mean, a lot of
12∑∑people.∑A lot of people.
13∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
14∑∑question as exceeding the scope of the judge's
15∑∑limiting order.
16∑∑∑∑∑∑Can we please just stick to the basis for the
17∑∑proof of claim and why we are willing to withdraw it?
18∑∑∑∑∑∑MS. HOOD:∑Objection.∑Sidebar.
19∑∑∑∑∑∑I've asked him, what due diligence did he do
20∑∑in order to craft together the adversary proceeding,
21∑∑which was attached to the proof of claim as evidence
22∑∑supporting his proof of claim.∑And I've got, so far,
23∑∑two public lawsuits and some people in the community
24∑∑that have spoken to him, one of whose name is Harold
25∑∑Polk.∑And he can't remember anybody else's name


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 301 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  114

∑1∑∑because there's just so many over so many years.
∑2∑∑∑∑Q.∑(BY MS. HOOD)∑Is that correct?
∑3∑∑∑∑∑∑MR. BALLASES:∑No, he's identified several
∑4∑∑people.
∑5∑∑∑∑∑∑I'm going to object to sidebar.
∑6∑∑∑∑∑∑If you want to engage in discovery in the
∑7∑∑Southern District, we can do that, but right now we're
∑8∑∑just trying to understand why we filed the proof of
∑9∑∑claim and why we're willing to withdraw it.
10∑∑∑∑∑∑MS. HOOD:∑Yeah, I understand.
11∑∑∑∑∑∑And I object to your sidebar.
12∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, certainly your
13∑∑lawyer and Mr. Abdullatif had your permission to file
14∑∑this proof of claim; correct?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑(BY MS. HOOD)∑And you understand the proof of
18∑∑claim was filed under penalty of perjury.
19∑∑∑∑A.∑Yes.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MS. HOOD)∑And you understand that the
22∑∑amount in the proof of claim is based upon these three
23∑∑judgments; correct?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑And we've run through the three judgments, and


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 302 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 115

∑1∑∑one of which you don't even have an interest in;
∑2∑∑correct?
∑3∑∑∑∑A.∑Yes, that's correct.
∑4∑∑∑∑Q.∑And you don't know anything about the
∑5∑∑substance of that judgment; correct?
∑6∑∑∑∑A.∑That's (unintelligible).
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑∑∑MS. HOOD:∑Excuse me.∑What was the answer?
∑9∑∑∑∑A.∑That was correct.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Do you own an assigned interest
11∑∑in any other judgment related to any of these entities
12∑∑that you claim are alter egos of Mr. Choudhri?
13∑∑∑∑A.∑I don't think so.
14∑∑∑∑∑∑MR. BALLASES:∑I object to the form of the
15∑∑question.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Is it your habit to -- strike
17∑∑that.
18∑∑∑∑∑∑If one of these judgments became available to
19∑∑purchase, would you buy it?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑I don't know.∑I don't know how much money
22∑∑your client has.∑It just depends.∑Collectibility
23∑∑matters, so...
24∑∑∑∑Q.∑(BY MS. HOOD)∑Collectibility matters?
25∑∑∑∑A.∑Yes.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 303 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   116

∑1∑∑∑∑Q.∑Did collectibility matter to you when you
∑2∑∑purchased the assignment of the judgments that form
∑3∑∑the basis of your proof of claim?
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Did you do any due diligence
∑7∑∑prior to filing your proof of claim in this lawsuit as
∑8∑∑to the debtor's ability to pay these judgments?
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MS. HOOD)∑What due diligence did you do?
12∑∑∑∑A.∑Reviewed public documents, spoke to people,
13∑∑watched videos of Wayne Dolcefino online.
14∑∑∑∑Q.∑Okay.∑So the public documents that you
15∑∑reviewed prior to filing your proof of claim in this
16∑∑lawsuit --
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑-- that -- let me finish -- that supported
19∑∑your proof of claim regarding collectibility were
20∑∑public records and the --
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑-- Dolcefino videos.
23∑∑∑∑A.∑That's correct.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑Q.∑(BY MS. HOOD)∑When did you learn that your


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 304 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   117

∑1∑∑proof of claim was uncollectible?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑I think the Texas REIT judge in that case said
∑4∑∑that there wasn't enough money in the Texas REIT
∑5∑∑matter to pay us.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑When you filed your proof of
∑7∑∑claim, how much money was in Texas REIT?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑A.∑I'm not sure.∑No idea.
10∑∑∑∑Q.∑(BY MS. HOOD)∑If I understand correctly,
11∑∑bankrupt debtors have to file documents that outline
12∑∑their assets; correct?
13∑∑∑∑A.∑Yes.
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑Q.∑(BY MS. HOOD)∑Did you look at any of those
16∑∑filings by the debtor?
17∑∑∑∑A.∑I believe I did, but a lot of what your client
18∑∑files is fraudulent, so -- or the debtor in this case.
19∑∑So it's hard to trust those documents.
20∑∑∑∑∑∑MS. HOOD:∑Objection.∑Non-responsive.
21∑∑∑∑Q.∑(BY MS. HOOD)∑Did you look at any of the
22∑∑documents filed by the debtor, the accounting
23∑∑documents, prior to filing your proof of claim?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑Yes.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1    Filed on 04/23/25 in TXSD     Page 305 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   118

∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Which documents did you look
∑2∑∑at?
∑3∑∑∑∑A.∑I'm sure I reviewed the schedules.∑I don't --
∑4∑∑I can't recall specifically what I looked at.
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm going to go ahead on this
∑6∑∑line of questioning and instruct him not to answer
∑7∑∑because it gets into attorney work product.
∑8∑∑∑∑∑∑MS. HOOD:∑I'm just asking what he looked at.
∑9∑∑I don't want to know what you looked at or what you
10∑∑talked to him about.
11∑∑∑∑∑∑MR. BALLASES:∑I understand.
12∑∑∑∑∑∑MR. CHOUDHRI:∑I'm gonna object.
13∑∑∑∑∑∑Mr. Ballases, you continue to coach the
14∑∑witness, so I'm gonna object.∑Please stop coaching
15∑∑the witness.
16∑∑∑∑∑∑MR. BALLASES:∑What's your legal basis, sir,
17∑∑for your objection?
18∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, because you're
19∑∑making sidebar, coaching the witness.∑Keep your
20∑∑objections limited.∑Don't coach the witness.∑You've
21∑∑been doing it throughout the whole depo, and you're
22∑∑also objecting on a frivolous basis.∑But regardless,
23∑∑please stop coaching the witness.
24∑∑∑∑∑∑MR. BALLASES:∑Okay.∑So what's your formal
25∑∑objection for the record?


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 306 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 119

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑For the record, you're
∑2∑∑improperly coaching the witness.∑Refrain your
∑3∑∑objections --
∑4∑∑∑∑∑∑MR. BALLASES:∑Okay.
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑-- to just objections.
∑6∑∑∑∑∑∑MR. BALLASES:∑I want to make sure.∑Okay. I
∑7∑∑just want to make sure your formal objection was on
∑8∑∑the record.
∑9∑∑∑∑∑∑THE WITNESS:∑He's just buying time for his
10∑∑lawyer to make up questions.
11∑∑∑∑∑∑MS. HOOD:∑What?∑Mr. --
12∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Khawaja, what did you say?
13∑∑∑∑∑∑MS. HOOD:∑Yeah.∑Excuse me, Mr. Choudhri.
14∑∑This is my time.
15∑∑∑∑Q.∑(BY MS. HOOD)∑First of all, there's no
16∑∑requirement that I pepper you incessantly directly.
17∑∑I'm going through my notes.∑I don't need time to come
18∑∑up with questions for you.
19∑∑∑∑∑∑I'd actually like it if you would answer my
20∑∑questions, but you've chosen not to do that.∑So I'm
21∑∑going through my notes to see if I can actually ask
22∑∑some questions that you would be kind enough to answer
23∑∑relating to your proof of claim and why you filed it.
24∑∑So when you --
25∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) and what


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 307 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 120

∑1∑∑you're doing, okay, or your sidebar.∑And we are
∑2∑∑answering questions.∑I'm sorry you don't like them.
∑3∑∑∑∑∑∑MS. HOOD:∑You're not answering them.∑You're
∑4∑∑objecting.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑At the time that you filed your
∑6∑∑proof of claim, you had satisfied yourself that you'd
∑7∑∑be able to collect your judgments through this debtor.
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Do you understand that in order
11∑∑to collect your judgments through this debtor, you
12∑∑would have to win on your adversary claim regarding
13∑∑the alter egos?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑And if I read your adversary complaint, it's
16∑∑your assertion that Mr. Choudhri keeps his entities
17∑∑devoid of assets in order to keep creditors from
18∑∑collecting their judgments.∑Is that a fair statement?
19∑∑∑∑A.∑I mean, I think that's one of many tactics
20∑∑that he uses, but yes.
21∑∑∑∑Q.∑And certainly you have these judgments at your
22∑∑ready; correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑Yeah.∑I'm sorry.∑I didn't -- I didn't quite
25∑∑understand the question.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 308 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   121

∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Yeah, bad question.
∑2∑∑∑∑∑∑You have these judgments that you own that you
∑3∑∑could go out and try to collect absent filing
∑4∑∑documents in Bankruptcy Court; correct?
∑5∑∑∑∑A.∑I guess.
∑6∑∑∑∑Q.∑And you've not chosen to pursue any
∑7∑∑post-judgment collection of these judgments in Texas
∑8∑∑State Court; correct?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑∑∑I'm going to instruct the client not to
11∑∑answer.
12∑∑∑∑∑∑You're invading attorney-client, work
13∑∑privilege -- attorney-client, and you're also getting
14∑∑into joint litigation privilege.∑We're not going to
15∑∑help Mr. Choudhri hide more assets.
16∑∑∑∑A.∑On advice of counsel, I will not answer that
17∑∑question.
18∑∑∑∑Q.∑(BY MS. HOOD)∑It's not -- okay.∑The question
19∑∑is this.∑Okay?∑Based upon public records, I find no
20∑∑activity by you to collect these judgments in Texas
21∑∑State Courts; is that an accurate statement?
22∑∑∑∑A.∑Yes.
23∑∑∑∑∑∑MR. BALLASES:∑I object to the form.
24∑∑∑∑Q.∑(BY MS. HOOD)∑And rather than pursue
25∑∑opportunities in State Court, you and your co-owners


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 309 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  122

∑1∑∑have chosen to pursue unrelated third parties in
∑2∑∑Bankruptcy Court; correct?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑No, that's not correct.∑"Unrelated"?∑What do
∑5∑∑you mean "unrelated"?∑What is that supposed to mean?
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Texas (sic) Real Estate
∑7∑∑Properties, LLC, is not a judgment debtor; correct?
∑8∑∑You've already admitted this.
∑9∑∑∑∑A.∑Does that mean -- you said "unrelated."
10∑∑That's not -- they're very related.
11∑∑∑∑Q.∑In your mind, but they don't -- they're not a
12∑∑party to the judgment; correct?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
14∑∑∑∑A.∑In reality and on public record.
15∑∑∑∑Q.∑(BY MS. HOOD)∑The debtor in this case is not
16∑∑a judgment debtor; correct?
17∑∑∑∑A.∑Asked and answered.
18∑∑∑∑Q.∑Okay.∑Now you're objecting to your own
19∑∑questions?∑Are you a lawyer or a witness?
20∑∑∑∑A.∑I am a lawyer, but I mean --
21∑∑∑∑Q.∑Okay.∑Answer my question.
22∑∑∑∑A.∑-- just answering --
23∑∑∑∑Q.∑Answer my question.
24∑∑∑∑A.∑No, I'm not gonna answer that question.
25∑∑∑∑Q.∑This debtor is not a judgment debtor to you;


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 310 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 123

∑1∑∑correct?
∑2∑∑∑∑∑∑THE WITNESS:∑Do you want me to answer?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑You can answer.
∑5∑∑∑∑A.∑No.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑And yet you chose to pursue
∑7∑∑this debtor to try to collect your judgments that are
∑8∑∑in the name of others; correct?
∑9∑∑∑∑A.∑This -- yes.∑This debtor is an alter ego of
10∑∑all the other debtor -- all the other defendants in
11∑∑this case.
12∑∑∑∑Q.∑Tell me where there's a finding by a court of
13∑∑law that this debtor is the alter ego of one of the
14∑∑two entities in which you hold an assigned interest.
15∑∑∑∑A.∑We will prove it in this case.
16∑∑∑∑Q.∑Okay.∑That's not my question.∑Tell me where
17∑∑I can find as a matter of law that Ali Choudhri and
18∑∑Houston Real Estate Properties, LLC, are one and the
19∑∑same.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑We don't have that.
22∑∑∑∑Q.∑(BY MS. HOOD)∑Tell me where I can find as a
23∑∑matter of public record that Jetall is one and the
24∑∑same with this debtor.
25∑∑∑∑∑∑MR. BALLASES:∑Objection --


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 311 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  124

∑1∑∑∑∑A.∑Based on his testimony in multiple cases.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Tell me where I can find as a
∑4∑∑matter of public record a finding by a trier of fact
∑5∑∑that Jetall Companies is one and the same as this
∑6∑∑debtor.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑I don't -- I'm not sure if we'll find that.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑There isn't one, is there?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑We have multiple public record documents
12∑∑indicating that Ali Choudhri is one and the same as
13∑∑all of his entities.
14∑∑∑∑Q.∑(BY MS. HOOD)∑And there's not a finding by a
15∑∑trier of fact that this debtor is one and the same
16∑∑with Jetall Companies, is there?
17∑∑∑∑A.∑Only admissions by your client.∑That's it.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MS. HOOD)∑There's no finding by a trier
20∑∑of fact that this debtor is one and the same as Jetall
21∑∑Companies; correct?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑(Phone ringing.)
24∑∑∑∑A.∑(Unintelligible)
25∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I'm sorry. I


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 312 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 125

∑1∑∑did -- sorry.∑I did not hear your answer.∑Could you
∑2∑∑please restate your answer?
∑3∑∑∑∑A.∑I said -- I said, Correct, not by a trier of
∑4∑∑fact, but by admissions through your client.
∑5∑∑∑∑∑∑MS. HOOD:∑Objection.∑After "correct" --
∑6∑∑objection.∑Non-responsive after "correct."
∑7∑∑∑∑∑∑Mr. Khawaja, I fully expect to go back to the
∑8∑∑Court and try to get him to compel you to answer some
∑9∑∑of my questions that I think were improperly objected
10∑∑to, and so I can go through that with your lawyer
11∑∑through motion practice.∑I appreciate your time
12∑∑today.∑Based upon whether or not the other lawyers
13∑∑and Mr. Choudhri have questions, I may or may not get
14∑∑another pass at you, and I appreciate your time.
15∑∑∑∑∑∑THE WITNESS:∑Thank you.
16∑∑∑∑∑∑MS. HOOD:∑I'm going to pass the witness to
17∑∑the next creditor in line, and I reserve my right to
18∑∑come back and ask questions -- follow-up questions if
19∑∑I deem necessary.
20∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just before we go to
21∑∑Mr. Choudhri, would it be possible to just take two
22∑∑minutes to go to the bathroom?
23∑∑∑∑∑∑MS. HOOD:∑Oh, absolutely.∑You're in charge.
24∑∑You're the one doing the hard work.
25∑∑∑∑∑∑THE REPORTER:∑Thank you.∑Just two minutes.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 313 of 431

      OMAR KHAWAJA                                                   September 11, 2024
      TEXAS REIT LLC                                                                126

∑1∑∑Thanks.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Absolutely, Cheryl.∑Take your
∑3∑∑time.
∑4∑∑∑∑∑∑THE REPORTER:∑Thank you.
∑5∑∑∑∑∑∑(A recess was taken.)
∑6∑∑BY MR. CHOUDHRI:
∑7∑∑∑∑Q.∑Mr. Khawaja, good afternoon.∑How are you?
∑8∑∑∑∑A.∑I'm good, man.∑Just -- let's get to your
∑9∑∑questions.∑I don't -- we don't have time for
10∑∑formalities.∑Thank you.
11∑∑∑∑Q.∑Mr. Khawaja, you're not looking at -- first of
12∑∑all, who is present with you in the room there?
13∑∑∑∑∑∑MR. BALLASES:∑We've already answered that.
14∑∑∑∑∑∑Objection.∑Form.
15∑∑∑∑∑∑We're also having trouble hearing you, so you
16∑∑might want to turn up your volume --
17∑∑∑∑A.∑Yeah, you need to turn your speaker up.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, can you hear
19∑∑me now?
20∑∑∑∑A.∑Better, but you still need to speak up a
21∑∑little bit.
22∑∑∑∑Q.∑So can you identify who's in the room there
23∑∑with you, Mr. Khawaja?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑Mr. Quinlan is here; my attorney, Michael


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 314 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                127

∑1∑∑Ballases.
∑2∑∑∑∑Q.∑Is Osama Abdullatif in the room with you?
∑3∑∑∑∑A.∑He has --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑He's not in the room, like, at this minute.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But throughout this
∑7∑∑deposition, you've had Osama Abdullatif and John
∑8∑∑Quinlan sitting in the room with you, present;
∑9∑∑correct?
10∑∑∑∑A.∑Yes.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑∑∑We've already answered that and said that.
13∑∑Quit wasting everybody's time.
14∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, I would ask you
15∑∑to please calm down and allow me to ask my questions.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you had -- as
18∑∑we started this deposition, you had said that I had
19∑∑defrauded you?
20∑∑∑∑A.∑Ali, I'm sorry.∑You're really going to have
21∑∑to turn up your sound because I can't hear you and
22∑∑neither can the people in the room.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Is everybody -- can everybody
24∑∑hear me okay?
25∑∑∑∑∑∑Cheryl, can you hear me?


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 315 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 128

∑1∑∑∑∑∑∑THE REPORTER:∑I can hear you.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Maybe it's only
∑3∑∑Mr. Khawaja who can't hear me, then.
∑4∑∑∑∑∑∑THE WITNESS:∑Osama, can you hear him?
∑5∑∑∑∑∑∑MR. BALLASES:∑It's difficult to hear you.
∑6∑∑∑∑∑∑MR. ABDULLATIF:∑No, I can't hear him without
∑7∑∑hearing aid.
∑8∑∑∑∑A.∑Mr. Quinlan can't hear you and neither can
∑9∑∑Osama, and they need to hear you.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, the court reporter
11∑∑can hear me.∑If they want me to come closer, they
12∑∑can.∑I would actually object to them even being there
13∑∑and handing you notes, but we'll try to --
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
15∑∑∑∑∑∑MR. CHOUDHRI:∑-- get on with the deposition.
16∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
17∑∑∑∑∑∑MR. CHOUDHRI:∑The court reporter could hear
18∑∑me just fine.
19∑∑∑∑∑∑THE WITNESS:∑Okay.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, how do you
21∑∑know John Quinlan?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑I'm not gonna answer that question.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're not gonna answer the
25∑∑question of how you know John Quinlan?


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 316 of 431

    OMAR KHAWAJA                                                   September 11, 2024
    TEXAS REIT LLC                                                                129

∑1∑∑∑∑A.∑I -- I met him in the real estate community.
∑2∑∑∑∑Q.∑When did you meet Mr. Quinlan?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.
∑4∑∑∑∑∑∑Ali, can you show yourself?∑If you're going
∑5∑∑to be asking questions, you need to show yourself.
∑6∑∑∑∑∑∑THE WITNESS:∑Yes.
∑7∑∑∑∑∑∑MR. BALLASES:∑Thank you.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Can you all see me now?
∑9∑∑Is that okay?
10∑∑∑∑∑∑MR. BALLASES:∑Yes.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑Mr. Khawaja, you
12∑∑were present earlier during the deposition when you
13∑∑were being asked questions.∑Did you happen to listen
14∑∑to Judge Robinson's oral ruling?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I don't know what that has to do with
17∑∑anything.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑The deposition that we're
19∑∑here on, Mr. Khawaja, is --
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑-- subject to a court order.∑Do you
22∑∑understand that?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑∑∑This has nothing to do with the proof of
25∑∑claim.∑Move on.


                                                               800.211.DEPO (3376)
                                                               EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1     Filed on 04/23/25 in TXSD     Page 317 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 130

∑1∑∑∑∑A.∑Please get to the proof of claim,
∑2∑∑Mr. Choudhri.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, this is my
∑4∑∑deposition.∑I get to ask you questions, and you can
∑5∑∑answer them.∑This is my opportunity.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑And so, again, Court Reporter,
∑7∑∑would you please repeat the question?
∑8∑∑∑∑∑∑THE REPORTER:∑The question is (Reading:)∑The
∑9∑∑deposition that we're here on, Mr. Khawaja, is subject
10∑∑to a court order.∑Do you understand that?
11∑∑∑∑A.∑I didn't -- I have not seen a court order.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you aware, earlier
13∑∑today, that an oral ruling on an audio from the Court
14∑∑was sent to your attorney, Michael Ballases?
15∑∑∑∑A.∑It -- it may have been.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And are you aware, whether
18∑∑written or oral, we are here pursuant to a court
19∑∑order?∑Are you aware of that?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Might -- that might be the case.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But you're not aware that
23∑∑we're here pursuant to a court order.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑It could possibly be the case.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 318 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  131

∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But you don't know?
∑2∑∑∑∑A.∑I don't know.
∑3∑∑∑∑Q.∑And I've asked you earlier as how you know
∑4∑∑Mr. Quinlan, and your answer was you're not going to
∑5∑∑answer that; is that correct?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I think I told you after -- after that that I
∑8∑∑met him in the real estate community.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And when did you meet him?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑∑∑Are you going to ask every question two or
12∑∑three times?∑Ask good questions.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
14∑∑∑∑A.∑I can't remember.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases -- Mr. Ballases,
16∑∑for the record, I would ask you to please stop
17∑∑interfering and obstructing the deposition.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
19∑∑∑∑∑∑So I would just request that you comply with
20∑∑the judge's instruction to tailor the questions
21∑∑narrowly to the reasons why the proof of claim was
22∑∑filed and why it was withdrawn and not ask why he
23∑∑knows people and who he knows people and not ask
24∑∑things three times.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is John Quinlan a


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 319 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   132

∑1∑∑co-claimant on the proof of claim?
∑2∑∑∑∑A.∑I believe so.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Osama Abdullatif a
∑5∑∑co-claimant on the proof of claim?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I believe so, yes.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑When did you meet Osama
∑9∑∑Abdullatif?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Maybe 2010.∑2009 or '10, something like that.
12∑∑I'm not sure.∑Around the time you deprived me of my
13∑∑property, I think.
14∑∑∑∑Q.∑Which property is that, Mr. Khawaja?
15∑∑∑∑A.∑The Avondale property.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Can you tell us a little
18∑∑bit about that, because you've mentioned it several
19∑∑times in this deposition, and so I'd like you to tell
20∑∑us a little more about the Avondale property.
21∑∑∑∑A.∑No --
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑I'm going to instruct him not to answer
24∑∑because you're violating the judge's instruction as to
25∑∑this limited deposition.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 320 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   133

∑1∑∑∑∑∑∑Please stick to the proof of claim and the
∑2∑∑reason why it's being withdrawn.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, he's opening the
∑4∑∑door.∑He's answering my questions.∑I have a right to
∑5∑∑ask him questions.∑Okay?
∑6∑∑∑∑∑∑MR. BALLASES:∑Yeah, so you're not a lawyer.
∑7∑∑You don't know what you're talking about.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please be
∑9∑∑respectful, sir.∑I know it's difficult, but please be
10∑∑respectful.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
12∑∑∑∑∑∑MR. BALLASES:∑I am.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- are you going to answer
14∑∑my --
15∑∑∑∑∑∑MR. BALLASES:∑I'm respecting my client --
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- questions --
17∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
18∑∑disrupting the deposition.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you said you
20∑∑met Mr. Osama Abdullatif when I deprived you of your
21∑∑property.∑Is that -- did I hear that correct?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Yes.
24∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct you not
25∑∑to answer.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 321 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  134

∑1∑∑∑∑∑∑We're not going to talk about this.
∑2∑∑∑∑∑∑THE WITNESS:∑Okay.∑Sorry.
∑3∑∑∑∑∑∑MR. BALLASES:∑It has nothing to do with the
∑4∑∑proof of claim.∑It has nothing to do for the reason
∑5∑∑for filing it.∑It has nothing --
∑6∑∑∑∑A.∑Ali, we can grab a cup of coffee afterwards.
∑7∑∑You can ask me all about that.∑Let's please stick to
∑8∑∑the purpose of this.∑Okay?
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Let's have some decorum,
10∑∑gentlemen.∑This is a formal deposition.∑I'm asking
11∑∑the questions.∑Mr. Khawaja just said yes, so why the
12∑∑proof of claim was filed is very relevant.∑And
13∑∑Mr. Khawaja just answered that, so I have an
14∑∑opportunity to explore that.
15∑∑∑∑∑∑Mr. Ballases, you have a law license.∑You
16∑∑have to follow the creed that you've been licensed by,
17∑∑so please don't frivolously object and coach the
18∑∑witness.∑Okay?∑I --
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
20∑∑∑∑∑∑MR. CHOUDHRI:∑-- would like -- if everybody
21∑∑wants, I'm happy to play the audio of the judge's oral
22∑∑ruling so Mr. Khawaja is aware -- and so are you,
23∑∑Mr. Ballases -- and we don't have to waste more time
24∑∑like we did this morning about what the scope of the
25∑∑deposition is about.∑Would you like me to do that,


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 322 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 135

∑1∑∑Mr. Ballases, so you can stop --
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar --
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑-- interfering --
∑4∑∑∑∑∑∑MR. BALLASES:∑The only reason you're asking
∑5∑∑questions is because I heard it.∑So why don't you be
∑6∑∑quiet and focus on asking questions if it's relevant
∑7∑∑to the judge's scope.∑Thank you.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Madam Court Reporter, do you
∑9∑∑have a -- do you have an ability to play at a certain
10∑∑point of the audio?∑Is that something you're able to
11∑∑do for us?
12∑∑∑∑∑∑THE REPORTER:∑I am actually not authorized to
13∑∑be playing audio or sharing exhibits during the
14∑∑deposition.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Well, maybe we can then
16∑∑play the audio at 23 minutes and 14 seconds, and then
17∑∑we'll play it at 28 minutes and 12 seconds.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you -- you
19∑∑have indicated that you have not heard the oral
20∑∑ruling, why we're here, by Judge Robinson; is that
21∑∑correct?
22∑∑∑∑A.∑Let's assume for purposes of this question I
23∑∑have.∑What would you like me to answer?
24∑∑∑∑Q.∑Well, I just want to clarify because you keep
25∑∑not answering, and Mr. Ballases keeps interfering and


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 323 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  136

∑1∑∑interrupting, so I want to go ahead and get the
∑2∑∑judge's ruling on the record, so --
∑3∑∑∑∑A.∑Just ask me the questions that you want the
∑4∑∑answers to.∑I'm happy to answer the questions.
∑5∑∑∑∑Q.∑Were you present or on the phone when the
∑6∑∑hearing took place with Judge Robinson?
∑7∑∑∑∑A.∑I was not.
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Let's go ahead and play at
10∑∑23 minutes and 14 seconds.
11∑∑∑∑∑∑Gene, can you play that right now?
12∑∑∑∑∑∑MR. BALLASES:∑So just for the record, we --
13∑∑as I've told your counsel, we have to cut if off at
14∑∑4:30.∑If this is how you want to use your time, by
15∑∑all means.∑It's your dime.
16∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, you've been
17∑∑interfering with the depo all day, and we're going to
18∑∑do this by the rules and what the rules -- the federal
19∑∑rules are and the timing.∑So if you want to walk out
20∑∑of a depo, that's really your choice --
21∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
22∑∑∑∑∑∑MR. CHOUDHRI:∑-- and you'll suffer the
23∑∑consequences.
24∑∑∑∑∑∑THE REPORTER:∑Okay.∑So just before we play
25∑∑the audio, as I let everybody know in the e-mail, I


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 324 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 137

∑1∑∑cannot transcribe anything I cannot clearly hear.∑If
∑2∑∑you would like a separate transcription of this audio,
∑3∑∑then you can contact our office.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑No -- no problem, Cheryl.
∑5∑∑We'll do the best we can.
∑6∑∑∑∑∑∑THE REPORTER:∑Okay.∑Thank you.
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑And I'm sure you will too.∑And
∑8∑∑if it works, great.
∑9∑∑∑∑∑∑THE REPORTER:∑Thank you.
10∑∑∑∑∑∑MR. CHOUDHRI:∑So while we're getting ready to
11∑∑do that -- go ahead, Gene.∑Are you ready?
12∑∑∑∑∑∑MR. MCCUBBIN:∑Yeah.∑You said 23:14.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Correct, at 23 minutes and
14∑∑14 seconds.∑Let's start there.
15∑∑∑∑∑∑MR. MCCUBBIN:∑Yeah, this is, I think, 23:10.
16∑∑Here we go.
17∑∑∑∑∑∑(Audio file played.)
18∑∑∑∑∑∑MR. MCCUBBIN:∑There you go.
19∑∑∑∑∑∑MR. CHOUDHRI:∑Would you go to 23 minutes and
20∑∑18 -- 28 minutes and 12 seconds, please?
21∑∑∑∑∑∑MR. MCCUBBIN:∑Yeah, give me a second.
22∑∑∑∑∑∑MR. CHOUDHRI:∑28 minutes and 12 seconds.
23∑∑Let's get that on the record.∑Go ahead.
24∑∑∑∑∑∑MR. MCCUBBIN:∑Okay.
25∑∑∑∑∑∑(Audio file played.)


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD     Page 325 of 431

     OMAR KHAWAJA                                                         September 11, 2024
     TEXAS REIT LLC                                                                      138

∑1∑∑∑∑∑∑MR. MCCUBBIN:∑There you go.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, were you able
∑3∑∑to hear the judge, Robinson?
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑Q.∑Does that help you understand a little more
∑6∑∑about what we're here about?
∑7∑∑∑∑A.∑What's your question?
∑8∑∑∑∑Q.∑Did you --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection (unintelligible) --
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- hear him say motivations
11∑∑of filing the proof of claim?∑Do you understand what
12∑∑that means, motivations of filing the proof --
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑-- of claim?∑Okay.
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑So again, I want to go back to some of my
17∑∑questions, Mr. Khawaja.∑You said that I defrauded you
18∑∑of your property.
19∑∑∑∑A.∑Yes.
20∑∑∑∑Q.∑So can you explain how I defrauded you of your
21∑∑property?∑I want to understand the motivations here.
22∑∑∑∑A.∑I think we got a trial --
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑-- on that case coming up in a month.∑Let's
25∑∑wait till trial.∑Let's wait till we get to trial on


                                                                      800.211.DEPO (3376)
                                                                      EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 326 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 139

∑1∑∑that.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, Mr. Khawaja, you
∑3∑∑filed this proof of claim in the Texas REIT bankruptcy
∑4∑∑case; correct?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so your motivation,
∑8∑∑when I asked you earlier -- and we can go back and
∑9∑∑have the court reporter reread some of your answers
10∑∑earlier in the deposition.∑I've taken notes as well.
11∑∑I just want to make sure the record is good and clear;
12∑∑there's no confusion.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑∑∑Objection.∑Sidebar.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, I just want to
16∑∑understand today; you're under no medication.∑Right?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're here and able to
20∑∑answer truthfully under oath?
21∑∑∑∑A.∑Yes.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Yes.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you understand you're
25∑∑under oath as if you were in a courtroom; correct?


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 327 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                140

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑Like I'm in front of a jury, yes.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Or a judge.
∑4∑∑∑∑A.∑Or a judge.
∑5∑∑∑∑Q.∑Okay.∑So, Mr. Khawaja, can you tell us about
∑6∑∑when you say, You defrauded me of my property, and you
∑7∑∑said Avondale.∑Did I hear that correctly?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑9∑∑∑∑A.∑Mr. Choudhri, here's the thing --
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑∑∑I'm going to instruct my client not to answer
12∑∑because it exceeds the scope of the deposition as to
13∑∑what -- the judge's order.
14∑∑∑∑∑∑Plus, as I understand it, based on what was
15∑∑just said --
16∑∑∑∑∑∑THE WITNESS:∑There's a trial coming.
17∑∑∑∑∑∑MR. BALLASES:∑-- he got a trial coming up,
18∑∑and I'm not going to let you ask him -- get a second
19∑∑deposition of him in a wholly separate matter that's
20∑∑irrelevant to our proof of claim.∑Move along, please,
21∑∑sir.
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, you have been
23∑∑disrupting this deposition the entire time.∑You
24∑∑refused to let me answer -- ask questions, Ms. Lori
25∑∑Hood.∑We had to send you the audio.∑You misstated


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 328 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  141

∑1∑∑what the judge said.∑You continue to disrupt the
∑2∑∑deposition.∑We're allowed -- I played the audio
∑3∑∑ruling.∑The judge says the motivation of filing the
∑4∑∑proof of claim, and he says, Because you defrauded me
∑5∑∑of my property, Avondale.∑So I have a right to get
∑6∑∑into that.
∑7∑∑∑∑∑∑When he answers a question, Mr. Ballases, I
∑8∑∑have a right to explore that because that's his
∑9∑∑answer.∑He opened the door.∑Throughout this depo, he
10∑∑opened the door, Mr. Ballases, so I am entitled to ask
11∑∑those questions.∑And if you're going to continue --
12∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
13∑∑∑∑∑∑MR. CHOUDHRI:∑-- to instruct him wrongfully
14∑∑to not answer that, then just instruct him, but stop
15∑∑doing what you're doing and making talking objections.
16∑∑Either object or instruct him not to answer, and we'll
17∑∑keep moving on.∑But keep your objections limited to
18∑∑what's correct and not frivolous --
19∑∑∑∑∑∑MR. BALLASES:∑What's your legal objection,
20∑∑sir -- what's your legal objection, sir, because I
21∑∑didn't hear it.
22∑∑∑∑∑∑MR. CHOUDHRI:∑You continue to do sidebars
23∑∑throughout the deposition and disrupt and frustrate
24∑∑the deposition.∑We're trying to have a smooth
25∑∑deposition; you continue to have sidebars.∑So please


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 329 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  142

∑1∑∑refrain from that, Mr. Ballases.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, when you
∑3∑∑said --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- you -- Mr. Khawaja, what
∑6∑∑is the Avondale property?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑∑∑This has nothing do to with the proof of claim
∑9∑∑or the withdrawal --
10∑∑∑∑∑∑(Crosstalk)
11∑∑∑∑A.∑We're getting ready to stop this depo -- you
12∑∑need to get to your questions.∑We're not talking
13∑∑about cases that are going to trial.∑You know better
14∑∑than that.∑I'm not doing it.∑So get to the questions
15∑∑you have about this proof of claim.∑I'm happy to
16∑∑answer those, or we're done.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, are you going
18∑∑to comply with the Court's order on this --
19∑∑∑∑A.∑Yes.
20∑∑∑∑Q.∑-- now getting into motivations for filing the
21∑∑claim?∑And when asked, you said, Because you
22∑∑defrauded me of my property.
23∑∑∑∑A.∑No, I didn't.∑That's not true.∑You asked
24∑∑me --
25∑∑∑∑Q.∑That's not --


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 330 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                143

∑1∑∑∑∑A.∑-- when did I meet Osama -- you asked me when
∑2∑∑did I meet Osama Abdullatif, and I said, Around the
∑3∑∑time you defrauded me of my property.
∑4∑∑∑∑Q.∑And when I -- when you said "my property,"
∑5∑∑you're defining your property as Avondale; is that
∑6∑∑correct?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑Yeah, I'm not going to -- again, we're getting
∑9∑∑ready to shut the depo down, so it's up to you.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So you're refusing to
11∑∑answer these questions; correct?
12∑∑∑∑A.∑I'm refusing to answer questions that are
13∑∑outside the scope of what you're permitted to ask,
14∑∑correct.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑You're not an attorney.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So because I'm not an
18∑∑attorney, I can't ask you questions per the Court's
19∑∑ruling --
20∑∑∑∑A.∑Outside --
21∑∑∑∑Q.∑-- is your objection?
22∑∑∑∑A.∑-- of the scope -- outside of the scope,
23∑∑you're not.∑That's correct.
24∑∑∑∑Q.∑So are you saying motivations for filing the
25∑∑claim and you opening the door is outside the scope?


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 331 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 144

∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑Okay.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're gonna refuse --
∑5∑∑you're gonna refuse to answer any of those questions;
∑6∑∑correct?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑You've only asked me one that I'm not gonna
∑9∑∑talk about because there's a trial coming up.∑I think
10∑∑the judge will understand that.∑Your -- if your --
11∑∑any of the attorneys that you're paying that are here
12∑∑with you would care to speak up, they'll tell you,
13∑∑Mr. Choudhri, you can't ask those questions.∑So you
14∑∑should ask them too.
15∑∑∑∑∑∑MR. BALLASES:∑I object to the form of the
16∑∑question.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, did you -- you
18∑∑mentioned Wayne Dolcefino; correct?
19∑∑∑∑A.∑Yes.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And, Mr. Khawaja, is
22∑∑somebody in the room coaching you?∑Because you keep
23∑∑looking at somebody else and talking and -- who's in
24∑∑front of you right now that you keep looking at and
25∑∑talking --


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 332 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  145

∑1∑∑∑∑A.∑I don't need to be coached to answer your
∑2∑∑silly questions, no.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑4∑∑∑∑A.∑I can answer them with my eyes closed.∑Do you
∑5∑∑want me to do that?
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you can answer
∑7∑∑them however you want.∑I just want you to answer them
∑8∑∑truthfully --
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑Q.∑-- and honestly.
11∑∑∑∑A.∑Yes.
12∑∑∑∑Q.∑When did you meet Mr. Ballases?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I don't know, to be hon -- but, you know, you
15∑∑understand he's my attorney, and this is all --
16∑∑anything I discussed with him, ever, including when I
17∑∑met him or where I met him, is protected by
18∑∑attorney-client privilege.∑You can't ask me those
19∑∑questions.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So are you going to refuse
21∑∑to answer my question on when you met Mr. Ballases?
22∑∑∑∑A.∑Yes, I am.
23∑∑∑∑Q.∑Mr. Khawaja, are you aware -- let's --
24∑∑∑∑∑∑MR. CHOUDHRI:∑Steve, are you there?∑Would
25∑∑you pull up that proof of claim, Steve?


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 333 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  146

∑1∑∑∑∑∑∑MR. SATHER:∑Just give me just a moment. I
∑2∑∑need to turn my sharing back on.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑No problem.
∑4∑∑∑∑∑∑THE REPORTER:∑And just while he's doing that,
∑5∑∑Mr. Khawaja, could you spell Avondale for me, please?
∑6∑∑∑∑∑∑THE WITNESS:∑A-V-O-N-D-A-L-E.
∑7∑∑∑∑∑∑THE REPORTER:∑Thank you.
∑8∑∑∑∑∑∑MR. SATHER:∑Okay.∑I'm there.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Would you go down, Mr. Sather?
10∑∑Just scroll down a little bit, please.∑Keep going.
11∑∑Go to paragraph 9.∑Stop right there.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what does
13∑∑Number 9 say on the proof of claim?
14∑∑∑∑A.∑9 --
15∑∑∑∑∑∑MR. CHOUDHRI:∑Time out.∑Time out.∑Before we
16∑∑go there, Mr. Sather, would you scroll up just for a
17∑∑second a little bit?∑Stop right there.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what does that
19∑∑captioning say?∑It starts at "24-10120."∑Would you
20∑∑read that, please, into the record?
21∑∑∑∑A.∑24-1010 (sic), and this is at Number 4?∑Oops.
22∑∑Sorry.∑One second here.
23∑∑∑∑∑∑MR. BALLASES:∑Steve, would you mind -- this
24∑∑is Michael Ballases.∑Will you make it bigger? I
25∑∑can't read it on the screen.∑Please.


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 334 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  147

∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, my question is
∑2∑∑to you.
∑3∑∑∑∑∑∑MR. BALLASES:∑Thank you.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Stop, please.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What does it say?∑Claim
∑6∑∑Number -- what exactly does that say?∑Would you read
∑7∑∑that -- that entire header --
∑8∑∑∑∑A.∑(Reading:)∑Read the --
∑9∑∑∑∑Q.∑-- into the record?
10∑∑∑∑A.∑(Reading:)∑Read the instructions before
11∑∑filling out this form.∑This form is for making a --
12∑∑∑∑Q.∑No --
13∑∑∑∑A.∑(Reading:)∑-- claim for payment in a
14∑∑bankruptcy case --
15∑∑∑∑Q.∑No.
16∑∑∑∑A.∑Which one?
17∑∑∑∑Q.∑No, Mr. Khawaja.∑No, Mr. Khawaja.∑Look on
18∑∑top where it says -- where it has a case number,
19∑∑starts off with a case number.∑And then --
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑-- that's what -- would you read what's
22∑∑highlighted, Mr. Khawaja, into the record?
23∑∑∑∑A.∑Yeah, twenty -- okay.∑(Reading:)
24∑∑24-10120-smr, Claim Number 9-1, filed 06/04/24, Main
25∑∑Document page 1 of 3.


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 335 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 148

∑1∑∑∑∑Q.∑Yes.∑Is that what you authorized to be filed?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Scroll down, Mr. Sather.
∑5∑∑Scroll down, Mr. Sather.∑Okay.∑Stop right there.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what does it
∑7∑∑say on paragraph 9?
∑8∑∑∑∑A.∑(Reading:)∑Is all or part of the claim
∑9∑∑secured?∑Yes.∑The claim is secured by a lien on
10∑∑property.
11∑∑∑∑∑∑Is that what you're referring to?
12∑∑∑∑Q.∑Yes.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Stop right there.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So it's your contention
15∑∑that your claim is secured by a lien on the property;
16∑∑is that correct?
17∑∑∑∑A.∑I believe so, if that's what we filed.
18∑∑∑∑Q.∑Okay.∑And you understand -- at least what
19∑∑you're representing here is that a lis pendens is a
20∑∑lien on property; correct?
21∑∑∑∑A.∑I'm assuming that's what we're referring to,
22∑∑yes.
23∑∑∑∑Q.∑Okay.∑Mr. Khawaja, you're familiar with the
24∑∑property Texas REIT that --
25∑∑∑∑A.∑Yes.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 336 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   149

∑1∑∑∑∑Q.∑Let me strike that.∑Let me strike that.∑It's
∑2∑∑a bad question.∑Let me clear the record here.∑Okay?
∑3∑∑∑∑∑∑Mr. Khawaja, you're aware that debtor, Texas
∑4∑∑REIT, LLC, is in the Western District of the
∑5∑∑Bankruptcy Court.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I guess.∑I mean, that's -- if that's where
∑8∑∑you chose to file it.∑I'm not sure.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You understand --
10∑∑∑∑A.∑The property's located here in Houston, Harris
11∑∑County.
12∑∑∑∑Q.∑So my question, Mr. Khawaja, is that you are
13∑∑aware that Texas REIT is the debtor that's in
14∑∑bankruptcy in the Western District.
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And Texas REIT owns a property.∑Are you
17∑∑familiar with the property that Texas REIT owns?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑What do you know about the property that Texas
20∑∑REIT owns?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑That you have defrauded your partners out of
23∑∑money in that property, that it's -- Walgreens left.
24∑∑It's falling apart; a lot of homeless, a lot of crack
25∑∑addicts in the area now.∑It's not maintained


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 337 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 150

∑1∑∑properly.∑It's part of this case, that there's a
∑2∑∑judgment against you on it, and it's basically -- and
∑3∑∑it's in Houston, yeah.∑It's in Houston, Texas, too.
∑4∑∑∑∑Q.∑Anything else that you want to add to it?
∑5∑∑∑∑A.∑No, that's it.
∑6∑∑∑∑Q.∑When did you become familiar with this
∑7∑∑property?
∑8∑∑∑∑A.∑I think in the course of just monitoring
∑9∑∑litigation against you.
10∑∑∑∑Q.∑And remind me what kind of lawyer you are,
11∑∑Mr. Khawaja.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑I do plaintiff's work.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that personal injury
15∑∑mainly, what your --
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑-- focus is?
18∑∑∑∑A.∑Yes, correct.
19∑∑∑∑Q.∑Personal injury attorney?
20∑∑∑∑A.∑Yes, correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And, Mr. Khawaja, so you
23∑∑became familiar with this property through the course
24∑∑of litigation, you said?
25∑∑∑∑A.∑Yes, just monitoring litigation.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1      Filed on 04/23/25 in TXSD     Page 338 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                    151

∑1∑∑∑∑Q.∑When did you first become familiar with this
∑2∑∑property?
∑3∑∑∑∑A.∑I couldn't say --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I couldn't say when.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Were you involved in any
∑7∑∑way, shape, or form of filing any lis pendenses (sic)
∑8∑∑on this property?
∑9∑∑∑∑A.∑No.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You've never been involved
12∑∑of filing any lis pendenses on this property?
13∑∑∑∑A.∑You mean --
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑You mean other than the one that's in this --
16∑∑or is part of the bankruptcy case?
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, my question is
18∑∑very simple.∑Are you or have you ever been involved
19∑∑in filing, directly or indirectly, lis pendenses
20∑∑against the property that the debtor owns?
21∑∑∑∑A.∑Not to my -- not to my understanding, no.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑I'm not sure what that has to do with the
24∑∑scope of this deposition either, by the way.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know what a


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 339 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                152

∑1∑∑bankruptcy stay is, Mr. Khawaja?∑Do you know what an
∑2∑∑automatic --
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑Q.∑-- stay is?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Do you know what
∑7∑∑a --
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑∑∑THE REPORTER:∑-- what is?∑I'm sorry.∑Mr. --
10∑∑∑∑∑∑MR. CHOUDHRI:∑An automatic -- an automatic
11∑∑stay.
12∑∑∑∑∑∑THE REPORTER:∑Okay.∑Thank you.
13∑∑∑∑A.∑You have more experience than I do on that,
14∑∑but I do know what it is, yes.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you violated any
16∑∑automatic stays?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑No, absolutely not.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you believe filing --
20∑∑okay.∑Who is Hira Azhar?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑And instruct
22∑∑the client not to answer --
23∑∑∑∑∑∑THE WITNESS:∑(Unintelligible)
24∑∑∑∑∑∑MR. BALLASES:∑-- because it has nothing to
25∑∑do --


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 340 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 153

∑1∑∑∑∑A.∑It's not --
∑2∑∑∑∑∑∑MR. BALLASES:∑-- with our proof of claim or
∑3∑∑the withdrawal of it, and it exceeds the judge's
∑4∑∑limitations on this depo.∑So I'm going to object to
∑5∑∑the question as harassing and oppressive and instruct
∑6∑∑the client not to answer.
∑7∑∑∑∑∑∑THE WITNESS:∑Thank you.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Did you participate with
∑9∑∑Hira Azhar of filing a lis pendens against the subject
10∑∑property?
11∑∑∑∑∑∑MR. BALLASES:∑Same objection, same assertions
12∑∑of privilege, same assertions of -- same objections
13∑∑and same instruction not to answer.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You can answer,
15∑∑Mr. Khawaja.∑What's your answer?
16∑∑∑∑A.∑I will not answer on advice of counsel.
17∑∑∑∑Q.∑Are you aware of any lis pendenses filed by
18∑∑Hira Azhar against the debtor's property?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Same objections,
20∑∑same assertions of privilege, same instruction not to
21∑∑answer.∑This has nothing to do with the proof of
22∑∑claim in this matter or the reason for withdrawal.
23∑∑∑∑A.∑I'm not going to answer.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, has it been
25∑∑your motivation to prevent me or any of my entities


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 341 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  154

∑1∑∑from transacting business?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is it your -- is it your
∑5∑∑habit to contact people that me or my entities are
∑6∑∑doing business with and tell them not to do business
∑7∑∑with me?
∑8∑∑∑∑A.∑Never --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑Never done that.
11∑∑∑∑∑∑MR. BALLASES:∑Can we please ask questions
12∑∑about the purpose for the deposition today, the reason
13∑∑for the filing of the proof of claim and the reason
14∑∑for the withdrawal, sir?
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, stop wasting
16∑∑time.∑Keep it to objections.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you -- what
18∑∑is your phone number?
19∑∑∑∑∑∑MR. BALLASES:∑Object -- don't answer that.
20∑∑Objection --
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Your cell --
22∑∑∑∑A.∑You know my number.∑You've called me.
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Stop.∑Stop.
24∑∑∑∑∑∑I'm going to instruct you not to answer.∑Your
25∑∑cell phone is not relevant to this proceeding today.


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 342 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 155

∑1∑∑You don't need to give it on the record.
∑2∑∑∑∑∑∑It's oppressive -- objection of oppressive and
∑3∑∑harassing.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, are you not
∑5∑∑gonna answer the question about what your cell phone
∑6∑∑is on the record today --
∑7∑∑∑∑A.∑Correct.
∑8∑∑∑∑Q.∑You refuse to answer --
∑9∑∑∑∑A.∑Yeah, on advice of counsel --
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
11∑∑∑∑A.∑On advice of counsel --
12∑∑∑∑∑∑THE REPORTER:∑Just --
13∑∑∑∑A.∑On advice of counsel --
14∑∑∑∑∑∑THE REPORTER:∑-- one person --
15∑∑∑∑∑∑THE WITNESS:∑Sorry.
16∑∑∑∑∑∑THE REPORTER:∑-- at a time, please.∑Thank
17∑∑you.
18∑∑∑∑∑∑THE WITNESS:∑On answering the question that
19∑∑Mr. Choudhri just asked, on advice of counsel, I will
20∑∑not answer that question.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Isn't it true that you've
22∑∑been involved with over 50 lis pendenses relating to
23∑∑Texas REIT or any other entity that I have ownership
24∑∑or control of?
25∑∑∑∑A.∑No --


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 343 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   156

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑-- not true.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You have not participated
∑4∑∑in any slander of title or fraudulent liens or
∑5∑∑lis pendenses on any properties that Texas REIT or I
∑6∑∑own or control.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑Correct.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You've not participated or
10∑∑been involved with any filing of any lis pendenses
11∑∑relating to the debtor's property.
12∑∑∑∑A.∑That's correct.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑∑∑Are you referring to -- aside from the lis
15∑∑pendens filed --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Sir -- no, Mr. Ballases.∑Stop.
17∑∑Stop.∑Stop coaching the witness.
18∑∑∑∑∑∑I'm going to object to you, your sidebar.
19∑∑∑∑∑∑You're continually coaching the witness.
20∑∑Please stop.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you use --
22∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- text messaging as a form
24∑∑of communication --
25∑∑∑∑∑∑(Crosstalk)


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 344 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 157

∑1∑∑∑∑∑∑THE REPORTER:∑Sorry.∑I'm sorry.∑I'm getting
∑2∑∑two speakers again.
∑3∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just -- I'm just
∑4∑∑trying to help Mr. Choudhri answer questions --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑No, please don't help.
∑6∑∑∑∑∑∑MR. BALLASES:∑-- on our --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Please don't help me.∑I don't
∑8∑∑need your help, Mr. Ballases.∑Please stop talking.
∑9∑∑Object and limit your objections.∑Stop talking.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you use
11∑∑text messaging as a form of communication?
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑Occasionally, sure.∑I think we all do.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you texted Wayne
15∑∑Dolcefino?
16∑∑∑∑A.∑No.
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you received any text
19∑∑messages from Wayne Dolcefino?
20∑∑∑∑A.∑No.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What's your answer,
23∑∑Mr. Khawaja?
24∑∑∑∑A.∑No.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 345 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  158

∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever paid Wayne
∑2∑∑Dolcefino directly or indirectly, in any way?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑(Unintelligible) no.
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm going to -- your answer is
∑6∑∑what?
∑7∑∑∑∑∑∑THE WITNESS:∑My answer is no.
∑8∑∑∑∑∑∑MR. BALLASES:∑The answer is no, but I'm going
∑9∑∑to instruct him not to answer any more questions that
10∑∑have nothing to do with the scope and purpose of this
11∑∑deposition pursuant to the judge's instruction.
12∑∑∑∑∑∑MR. CHOUDHRI:∑Stop frivolously objecting,
13∑∑Mr. Ballases.∑He said he learned based on Wayne
14∑∑Dolcefino's videos, so I definitely have an
15∑∑opportunity to get into the line of questions that I
16∑∑need to get into, and you're going to continue to
17∑∑object and instruct him not to answer.∑Is that what
18∑∑you're going to say on the record?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, just so the
21∑∑record is clear, you have not ever, in any way, shape,
22∑∑or form, paid Wayne Dolcefino any amount of money or
23∑∑consideration?
24∑∑∑∑A.∑I'm not answering that question.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 346 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 159

∑1∑∑∑∑∑∑I'm going to instruct the client --
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑I --
∑3∑∑∑∑∑∑MR. BALLASES:∑-- not to answer because it is
∑4∑∑oppressive and harassing and has nothing to do with
∑5∑∑the limited scope of the deposition, and he's already
∑6∑∑answered it.
∑7∑∑∑∑∑∑Move along.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you not going to answer
∑9∑∑any questions relating to Wayne Dolcefino?
10∑∑∑∑A.∑That means, yes, I'm not going to answer any
11∑∑questions relating to Wayne Dolcefino.∑He has nothing
12∑∑to do with this case at all.
13∑∑∑∑Q.∑Well, can I ask you why?∑When Ms. Hood was
14∑∑asking you, you mentioned that you -- you mentioned
15∑∑Wayne Dolcefino and how you --
16∑∑∑∑A.∑He --
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑∑∑(Crosstalk)
19∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑One at a time,
20∑∑please.
21∑∑∑∑∑∑THE WITNESS:∑I'm sorry.∑Go ahead.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form, for the
23∑∑record.
24∑∑∑∑A.∑Well, can I answer?∑You asked very -- she
25∑∑asked me very specifically where did I learn about the


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1    Filed on 04/23/25 in TXSD     Page 347 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   160

∑1∑∑potential for the claims that -- the basis of the
∑2∑∑claims that we filed against you in this case, and I
∑3∑∑answered, Through multiple sources, including Wayne
∑4∑∑Dolcefino.∑That's a factual answer.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And have you paid Wayne
∑6∑∑Dolcefino any amount of money --
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- or consideration,
∑9∑∑directly or indirectly --
10∑∑∑∑∑∑(Crosstalk)
11∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) not to
12∑∑answer your question.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
14∑∑∑∑∑∑THE REPORTER:∑I'm --
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, would you please
16∑∑let the court reporter take her turn -- please take
17∑∑turns.∑When I'm asking the question, wait till my
18∑∑question is over before you need to --
19∑∑∑∑∑∑MR. BALLASES:∑So you've asked -- you've asked
20∑∑this question three times, and he's answered it three
21∑∑times.∑And all three times, I've told him -- I've
22∑∑objected and told him not to answer.∑So you don't
23∑∑need to ask it a fourth time.
24∑∑∑∑∑∑It's on the record clear.∑I know you're not
25∑∑an attorney, and you're not familiar with this, but


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 348 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  161

∑1∑∑it's on the record and it's clear, I promise.∑Move
∑2∑∑along.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So the record is clear,
∑4∑∑when I've asked you, Have you been -- have you paid
∑5∑∑Wayne Dolcefino any amount of money, directly or
∑6∑∑indirectly, or any consideration, your answer is:∑I'm
∑7∑∑not going to answer that question.∑Is that -- is that
∑8∑∑clear --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection --
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- for the record?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑I've --
12∑∑∑∑A.∑I'm not going to answer that question.
13∑∑∑∑∑∑MR. BALLASES:∑-- objected --
14∑∑∑∑A.∑I've already asked it -- answered.
15∑∑∑∑∑∑MR. BALLASES:∑-- to the form.∑It's
16∑∑oppressive and harassing.∑The client's already
17∑∑answered it.∑I'm instructing him not to answer
18∑∑because it's exceeding the scope of the deposition,
19∑∑and it's oppressive and harassing, and it's asked and
20∑∑answered.
21∑∑∑∑∑∑Did you hear me, Mr. Choudhri?
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, throughout today,
23∑∑you have been frustrating this deposition.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
25∑∑∑∑∑∑MR. CHOUDHRI:∑You have been disrupting -- so


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 349 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                162

∑1∑∑please refrain from your -- your sidebar and your
∑2∑∑objections.∑Limit to your objections as form.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- have you paid --
∑6∑∑Mr. Khawaja, have you paid -- no, let me back up.
∑7∑∑∑∑∑∑Mr. Khawaja, who is Wayne Dolcefino?∑What
∑8∑∑does he do?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection --
10∑∑∑∑A.∑I'm not going to answer these questions.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑I'm sorry.∑You've got to move on to the
13∑∑claim -- claim questions, Ali, or we're gonna end
14∑∑this.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, are you
16∑∑going to tell me that you're not going to describe --
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑-- who Wayne --
19∑∑∑∑A.∑I'm not going to.
20∑∑∑∑Q.∑-- Dolcefino is, and you're not --
21∑∑∑∑A.∑Correct.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑I'm going to instruct him not to answer
24∑∑because your questions are oppressive and harassing,
25∑∑and they exceed the scope of the limited deposition.


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 350 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                163

∑1∑∑∑∑∑∑I'm instructing him not to answer.∑I'm doing
∑2∑∑it, Mr. Ballases.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you taking his
∑4∑∑instructions and not answering any questions as it
∑5∑∑relates to Wayne Dolcefino, Mr. Khawaja?
∑6∑∑∑∑A.∑Yes, sir.∑Yes.∑I'm not.∑I will follow
∑7∑∑advice of counsel.
∑8∑∑∑∑Q.∑Who is Chris Wyatt, Mr. Khawaja?
∑9∑∑∑∑A.∑Again, that has nothing to do with this case.
10∑∑∑∑Q.∑So Chris Wyatt has nothing to do with this
11∑∑case.∑So -- I want the record clear.
12∑∑∑∑A.∑I -- Chris Wyatt is a witness, and he is a --
13∑∑he was your former chief financial officer, and that's
14∑∑how I know him -- or chief operating officer.
15∑∑∑∑Q.∑Has he ever given you documents from the
16∑∑Jetall server?
17∑∑∑∑A.∑From the Jetall server?∑I don't -- I don't
18∑∑know that.∑I don't know the answer to that question.
19∑∑∑∑Q.∑Has Mr. Wyatt --
20∑∑∑∑A.∑I don't know what the Jetall server is.
21∑∑∑∑Q.∑Has Mr. Wyatt ever given you any documents?
22∑∑∑∑A.∑No.
23∑∑∑∑Q.∑Mr. Chris Wyatt has never given you any
24∑∑documents; that's a true statement?
25∑∑∑∑A.∑I cannot discuss anything pertaining to Chris


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 351 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 164

∑1∑∑Wyatt because of attorney-client privilege, so we're
∑2∑∑not talking about Chris Wyatt.
∑3∑∑∑∑Q.∑What is the privilege, Mr. Khawaja, with you
∑4∑∑and Chris Wyatt?
∑5∑∑∑∑A.∑Attorney-client privilege.
∑6∑∑∑∑Q.∑Is Chris Wyatt an attorney?
∑7∑∑∑∑A.∑No, no.∑I'm the attorney; he's the client.
∑8∑∑He sought counsel from me, which I provided,
∑9∑∑pertaining to this case, and I will not discuss
10∑∑anything further regarding him.
11∑∑∑∑Q.∑Pertaining to this case, the case we're here
12∑∑for today.
13∑∑∑∑A.∑No, pertaining to other matters involving you
14∑∑and him.
15∑∑∑∑Q.∑So Chris Wyatt is your client; is that
16∑∑correct?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection --
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Hira Azhar is your
20∑∑client; correct?
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑And Azeemah Zaheer is your client; correct?
23∑∑∑∑A.∑Yes.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Osama -- and Osama


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 352 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  165

∑1∑∑Abdullatif is your client; correct?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is David Tang your client?
∑5∑∑∑∑A.∑No.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑He's just a friend.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Rodney Drinnon your
∑9∑∑client?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑No.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Harold Polk --
13∑∑∑∑A.∑He's an attorney.
14∑∑∑∑Q.∑-- your client?∑Is Harold Polk your client?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑No, he's not.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Harold Polk is not your
18∑∑client.
19∑∑∑∑A.∑Correct.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑How did you meet Chris
22∑∑Wyatt?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑Yeah, I can't talk about that.∑I'm sorry.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Why can't you talk about


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 353 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                166

∑1∑∑how you met Chris Wyatt?
∑2∑∑∑∑A.∑That's protected.
∑3∑∑∑∑Q.∑By what?
∑4∑∑∑∑A.∑Attorney-client privilege.
∑5∑∑∑∑Q.∑Are you refusing to answer when you met Chris
∑6∑∑Wyatt?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑When did the attorney-client privilege start
∑9∑∑with Chris Wyatt?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Since I met him.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And when did you meet him?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑Sometime after he left your employment.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You never met him while he
16∑∑was employed as a paralegal for me?
17∑∑∑∑A.∑No.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You never saw him come to
20∑∑court in the divorce case when you were representing
21∑∑the -- Hira Azhar?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑No, I didn't, actually, to be honest with you.
24∑∑No.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're not aware that


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 354 of 431

    OMAR KHAWAJA                                                   September 11, 2024
    TEXAS REIT LLC                                                                167

∑1∑∑Chris Wyatt worked on the case that Jetall has against
∑2∑∑Khawaja?
∑3∑∑∑∑A.∑No --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑-- I'm not aware of that.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're not aware of that --
∑7∑∑∑∑A.∑If he --
∑8∑∑∑∑Q.∑-- is that correct?
∑9∑∑∑∑A.∑Correct.∑If he did, he never discussed it
10∑∑with me.
11∑∑∑∑Q.∑So you're not aware that Chris Wyatt did legal
12∑∑work for me while he was employed for me.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑No.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Isn't it true that Jetall
16∑∑Companies has a judgment against Khawaja?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑"Against Khawaja," what does that mean?
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Against Khawaja Partners.
20∑∑∑∑A.∑Possibly.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And that judgment has not
23∑∑been appealed and not been superceded.
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑Is that one --


                                                               800.211.DEPO (3376)
                                                               EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 355 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 168

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- of your motivations,
∑3∑∑Mr. Khawaja?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑No.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So Jetall owns an asset --
∑7∑∑Jetall Companies owns an asset, and that's a judgment
∑8∑∑against Khawaja Partners; correct?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑I don't know if Jetall owns an asset or --
11∑∑Jetall doesn't seem to be doing too well right now.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And how do you know that?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I mean, there was a great article about you
15∑∑the other day in The Real Deal.∑I don't know if you
16∑∑saw that.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you spoken to The Real
18∑∑Deal?
19∑∑∑∑A.∑I haven't --
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑-- but I read that article.
22∑∑∑∑∑∑THE REPORTER:∑Sorry --
23∑∑∑∑A.∑It's not a good look.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You haven't spoken --
25∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Sorry.∑Just one at a


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 356 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   169

∑1∑∑time, please.∑Thank you.
∑2∑∑∑∑A.∑I haven't, no.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Has anybody on your behalf,
∑4∑∑indirectly or directly, spoken to The Real Deal?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑No, but a lot of people sent me that article,
∑7∑∑like real estate -- people in real estate, legal. A
∑8∑∑lot of people sent it to me.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Chris Wyatt testified
10∑∑at the that hearing; correct?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑I don't --
13∑∑∑∑∑∑MR. BALLASES:∑What hearing are you talking
14∑∑about, sir?∑I mean, come on.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
16∑∑∑∑A.∑You're all over the place.
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- can you --
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, The Real Deal
19∑∑quotes an order and mentions Chris Wyatt.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Okay.∑Anything else you want to share with me
22∑∑about the article?∑I mean, that's fine.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so have you paid Chris
24∑∑Wyatt any money?
25∑∑∑∑A.∑No.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 357 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                170

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you had
∑3∑∑mentioned that you're in the business of buying
∑4∑∑judgments.∑Do you recall that line of testimony
∑5∑∑earlier?
∑6∑∑∑∑A.∑Yes.
∑7∑∑∑∑Q.∑And you've bought less than ten judgments; is
∑8∑∑that correct?
∑9∑∑∑∑A.∑I think so.
10∑∑∑∑Q.∑And your answers earlier were -- and I just
11∑∑want to make sure the record is clear --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- that the only --
14∑∑Mr. Khawaja, are you done looking at your phone?
15∑∑∑∑A.∑Yes.∑Sorry.∑Go ahead.
16∑∑∑∑∑∑MR. CHOUDHRI:∑Just for the record, throughout
17∑∑the deposition, Mr. Khawaja has been continuing to
18∑∑look at his phone and make communications with other
19∑∑people in the room and has constantly looked at his
20∑∑phone throughout the entire duration of this
21∑∑deposition.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, I just ask
23∑∑you to please refrain from looking at your phone.
24∑∑Okay?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 358 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   171

∑1∑∑∑∑∑∑Don't instruct my client anything, and you are
∑2∑∑incorrect with your assertions.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
∑4∑∑talking.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, can you please
∑6∑∑stop looking at your phone?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑8∑∑∑∑A.∑I've got a sick relative in the hospital right
∑9∑∑now.∑That's what I'm worried about, so...
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, I'm sorry about your
11∑∑relative.∑I hope they get better.
12∑∑∑∑∑∑Mr. Khawaja, which judgments -- strike that.
13∑∑∑∑∑∑Mr. Khawaja, it's your contention that any
14∑∑entity that I -- at least if I heard your testimony
15∑∑correctly earlier, that any entity that Ali Choudhri
16∑∑has ownership or control in is an alter ego.∑Is that
17∑∑your contention --
18∑∑∑∑A.∑Of Ali --
19∑∑∑∑Q.∑-- Mr. Khawaja?
20∑∑∑∑A.∑Yes, it is.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So any entity that Ali
23∑∑Choudhri has any ownership or control of is an alter
24∑∑ego of Ali Choudhri; correct?
25∑∑∑∑A.∑I believe that -- I believe that to be the


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 359 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                172

∑1∑∑case, yes.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑Mr. Khawaja, which
∑4∑∑judgments have you acquired?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑You mean other than yours?∑Other than the
∑7∑∑Jetall judgments?
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Again, Mr. Khawaja --
∑9∑∑∑∑A.∑Are you there?
10∑∑∑∑Q.∑-- I believe your answers earlier were that
11∑∑you have not acquired any judgments other than
12∑∑judgments relating to Jetall or Ali Choudhri.
13∑∑∑∑A.∑I think that's --
14∑∑∑∑Q.∑Is that true?
15∑∑∑∑A.∑-- correct.∑That's true.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So what I want to do is I
18∑∑want to go down, because your contention is Texas REIT
19∑∑is an alter ego of Ali Choudhri; correct?
20∑∑∑∑A.∑Yes.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So basically what you're
23∑∑saying is any obligations of Ali Choudhri or any of
24∑∑Ali Choudhri's entities are the obligations of Texas
25∑∑REIT; is that correct?


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 360 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 173

∑1∑∑∑∑A.∑Yes.∑That's correct, yes.
∑2∑∑∑∑Q.∑So it's just basically one big pot.
∑3∑∑∑∑A.∑That's the way you've treated them, yes.
∑4∑∑∑∑Q.∑And that's your contention, and that's the --
∑5∑∑∑∑A.∑I believe the evidence will show that.∑Yes.
∑6∑∑∑∑Q.∑And outside what's in your pleading, you don't
∑7∑∑have any other evidence that --
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑A.∑Well, we've got to do discovery -- we have to
10∑∑do discovery, sir, which you're obstructing, but yes.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑So the record is
12∑∑clear, outside your pleading, there's no other
13∑∑evidence other than the discovery you're yet to do.
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that correct?
16∑∑∑∑A.∑We're in the -- we're in the middle of
17∑∑discovery.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that correct?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Outside the pleading?∑The pleading contains a
22∑∑lot of evidence.∑I don't know if you've seen the
23∑∑attachments or not, but there's a lot.∑There's a lot
24∑∑more that will have to be done.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so you're refusing to


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 361 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 174

∑1∑∑answer any questions relating to Chris Wyatt; correct?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑That's -- that encompasses attorney-client
∑5∑∑privilege.∑Correct.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So anything I would ask you
∑7∑∑today about Chris Wyatt, you would refuse to answer.
∑8∑∑∑∑A.∑That's correct.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Who drafted the affidavit
11∑∑that was attached to the petition that's attached to
12∑∑this proof of claim that Chris Wyatt signed?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I have no idea.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You don't know --
16∑∑∑∑A.∑It wasn't me.
17∑∑∑∑Q.∑-- who drafted -- it wasn't you.∑Was it
18∑∑Mr. Ballases?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑∑∑Instructing not to answer.∑It violates
21∑∑attorney work product, attorney-client privilege.
22∑∑∑∑A.∑I'm not answering on advice of counsel.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Does Mr. Ballases or Hoover
24∑∑Slovacek represent Chris Wyatt?
25∑∑∑∑A.∑I don't think so.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 362 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  175

∑1∑∑∑∑Q.∑Does Ashish Mahendru represent Chris Wyatt?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑I don't know.∑I mean, ask Ashish.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Did you refer Chris Wyatt
∑5∑∑to Ashish Mahendru?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I mean, again, I just told you I'm not
∑8∑∑answering any questions about Chris Wyatt.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So can you explain to me
10∑∑why the adversary where you claim alter ego and
11∑∑fraudulent transfer has an attachment of Chris Wyatt
12∑∑as a declaration?
13∑∑∑∑A.∑I mean, he had some evidence that you are an
14∑∑alter ego, that you have alter egos that operate under
15∑∑you, so he provided it.∑It's evidence.
16∑∑∑∑Q.∑Do you hold any -- do you hold any contingency
17∑∑claims or rights of any adverse parties to Ali
18∑∑Choudhri or any of his related entities?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Do I hold any -- I mean, if I did, it's
21∑∑attorney-client privilege, so I'm not answering that.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So any contingency claims
23∑∑you hold against --
24∑∑∑∑A.∑Right.
25∑∑∑∑Q.∑-- Texas REIT or any other entity --


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1       Filed on 04/23/25 in TXSD     Page 363 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                    176

∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑-- or party relating to Ali Choudhri is --
∑3∑∑you're not going to answer because it's
∑4∑∑attorney-client privilege?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑And outside the scope of what you're allowed
∑8∑∑to ask me about.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you have
10∑∑surveillance on me or any of my entities or companies?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑∑∑I'm going to instruct you not to answer.∑It's
13∑∑harassing and oppressive.∑It has nothing to do with
14∑∑the limited scope of this deposition.
15∑∑∑∑A.∑I'm not answering that.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you have any agreement
17∑∑with George Lee?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑A.∑I don't.
20∑∑∑∑∑∑MR. BALLASES:∑It's not relevant to the
21∑∑limited scope of this deposition; therefore, I'm going
22∑∑to instruct him not to answer.
23∑∑∑∑A.∑I should be asking you that question.∑It's
24∑∑gonna come up in trial.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you have any text


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD     Page 364 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   177

∑1∑∑messages between you and George Lee?
∑2∑∑∑∑∑∑MR. BALLASES:∑Object --
∑3∑∑∑∑A.∑No --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑-- I'm not gonna talk about that.
∑6∑∑∑∑∑∑MR. BALLASES:∑And I'm going to instruct
∑7∑∑him not to --
∑8∑∑∑∑A.∑It has nothing to do with this.
∑9∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct you not
10∑∑to answer.∑It violates the scope of this deposition
11∑∑that the judge indicated.∑It's harassing and
12∑∑oppressive.∑This isn't a free-for-all discovery.
13∑∑∑∑∑∑THE WITNESS:∑Yeah.
14∑∑∑∑∑∑MR. BALLASES:∑It's just about why the proof
15∑∑of claim was filed or why it's being withdrawn.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So is it your contention
17∑∑that you have information you've received from Chris
18∑∑Wyatt that has to do with the basis of your claim?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑I mean, he provided an affidavit in this case,
21∑∑so...
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So again, when did he
23∑∑become your client, and when did you establish that
24∑∑attorney-client privilege?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 365 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  178

∑1∑∑∑∑A.∑I'm not sure when.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you have text messages
∑3∑∑between you and Chris Wyatt?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I mean, if I did, I wouldn't disclose them to
∑6∑∑you, and nor would a court compel me to.∑It's
∑7∑∑attorney-client privilege.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, here's the thing,
∑9∑∑Mr. Khawaja.∑Here's the thing.∑There's something
10∑∑called a privilege log, right?∑I'm entitled to know
11∑∑if you have communications.∑I'm not asking you --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- about the content of
14∑∑your communications.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
16∑∑interrupting.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, I'm not asking
18∑∑you about the contents of your --
19∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Let me finish my question
21∑∑before you answer.∑Okay?
22∑∑∑∑∑∑I'm asking you not about -- so we're very
23∑∑clear, I'm not eliciting or asking you for privileged
24∑∑information.∑I'm asking you if there are
25∑∑communications, not the contents.∑Do you have --


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 366 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 179

∑1∑∑∑∑A.∑Even if it existed --
∑2∑∑∑∑Q.∑-- communications with Chris -- can I finish?
∑3∑∑∑∑∑∑Do you have communications with Chris Wyatt,
∑4∑∑yes or no?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑Even if it existed, I would not disclose that
∑7∑∑to you, nor would I be compelled to, nor is it a part
∑8∑∑of this case.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So why are you adding the
10∑∑declaration of Chris Wyatt as a part of this case?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑It's evidence.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, do you understand
14∑∑what a sword --
15∑∑∑∑A.∑It's evidence of the alter (unintelligible).
16∑∑∑∑Q.∑-- and shield is?
17∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑It's evidence of the alter
19∑∑ego?
20∑∑∑∑∑∑I'm sorry.∑Finish your question -- your
21∑∑answer, Mr. Khawaja.∑It's --
22∑∑∑∑A.∑It's evidence --
23∑∑∑∑Q.∑-- evidence of what?
24∑∑∑∑A.∑-- of the alter ego.∑It's evidence of the
25∑∑alter ego.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 367 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  180

∑1∑∑∑∑Q.∑So Chris Wyatt has evidence of the alter ego.
∑2∑∑That's your answer?
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑Q.∑And you're refusing to answer any questions
∑5∑∑about Chris Wyatt.
∑6∑∑∑∑A.∑I'm not gonna talk about any attorney-client
∑7∑∑privileged communications.∑Correct.
∑8∑∑∑∑Q.∑So do you have any communications with Chris
∑9∑∑Wyatt, yes or no?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑I'm not gonna talk about it.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, being emphatic on
14∑∑your objection doesn't change the objection.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- are you refusing to --
18∑∑are you refusing to answer the mere fact that
19∑∑communications exist between you and Chris Wyatt?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑I'm telling you that if they do exist -- I'm
22∑∑not confirming that they do or don't, but they would
23∑∑be privileged.∑That's it.∑And this is not the
24∑∑case --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So how did --


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 368 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  181

∑1∑∑∑∑A.∑This is not the case that you're going to get
∑2∑∑any of that information.
∑3∑∑∑∑Q.∑Now, you'll agree with me that Chris Wyatt --
∑4∑∑that in your petition in adversary that you've
∑5∑∑attached to this proof of claim, you've attached a
∑6∑∑declaration of Chris Wyatt, true or false?
∑7∑∑∑∑A.∑True.
∑8∑∑∑∑Q.∑And you're refusing to provide me any
∑9∑∑communications or the fact that any communications
10∑∑even exist between you and Chris Wyatt, true?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑True.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, would you
14∑∑please stop looking at your phone?
15∑∑∑∑A.∑I'm not looking at my phone.∑I'm looking at
16∑∑the petition that you just asked me about, the
17∑∑adversary.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
19∑∑∑∑∑∑Don't instruct my client again.
20∑∑∑∑A.∑This is the adversary petition I'm reading.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what
22∑∑contingency claims, if any, do you hold, indirectly or
23∑∑directly, against me or any of my entities?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑Outside the scope of this discussion.∑I'm not


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1      Filed on 04/23/25 in TXSD     Page 369 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                    182

∑1∑∑answering.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, it's your
∑3∑∑contention that Texas REIT is an alter ego of every
∑4∑∑one of those entities that I have interest in;
∑5∑∑correct?∑That's your contention.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're refusing to answer
∑8∑∑what claims -- so is your statement or answer here,
∑9∑∑under oath, that you're refusing to answer what
10∑∑motivations and rights or claims or contingencies you
11∑∑have against Texas REIT?∑Now, when I --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- say "Texas REIT," that
14∑∑applies to any and all entities that I have ownership
15∑∑in, directly or indirectly; correct?
16∑∑∑∑A.∑Yes, based on alter ego.∑Yeah, I'm not gonna
17∑∑give you any -- whether I have any contingency-related
18∑∑litigation against you on that.∑If I do, you'll find
19∑∑out about it at some point.
20∑∑∑∑Q.∑So you're refusing to disclose any claims you
21∑∑have against the debtor.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Any claims I have against the debtor?∑I don't
24∑∑have any claims against the debtor other than the ones
25∑∑I presented in this case.


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 370 of 431

    OMAR KHAWAJA                                                   September 11, 2024
    TEXAS REIT LLC                                                                183

∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So when you have
∑2∑∑contingencies or claims against me, under your theory,
∑3∑∑those would be claims against the debtor as well.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I don't know about that.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you use WhatsApp?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you communicated --
10∑∑∑∑A.∑We're in some group -- we're in some groups
11∑∑together on WhatsApp, I think.∑Yes.
12∑∑∑∑Q.∑Mr. Khawaja, did you come to me for a job?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑A job?∑I'm not talking about that, no.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You never came to me for a
16∑∑job.
17∑∑∑∑A.∑No.∑Look, that's outside the scope of this
18∑∑conversation.
19∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Osama Abdullatif needs to
20∑∑stop talking in the background and coaching the
21∑∑witness.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop.
24∑∑Control Mr. Osama --
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.


                                                               800.211.DEPO (3376)
                                                               EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 371 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  184

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑-- (unintelligible) your
∑2∑∑witnesses.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- would you mind sharing
∑6∑∑the camera around your office there?
∑7∑∑∑∑A.∑We're not gonna do that.
∑8∑∑∑∑Q.∑You're not gonna do that?∑Okay.∑You're
∑9∑∑refusing to do that.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
11∑∑∑∑∑∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, did you ever
13∑∑seek employment from Jetall Companies?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑∑∑I'm going to instruct the client not to
16∑∑answer.∑It's harassing and oppressive.∑It exceeds
17∑∑the limited scope of this deposition per the judge's
18∑∑instructions.
19∑∑∑∑∑∑Stop wasting time, sir.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You can answer,
21∑∑Mr. Khawaja.
22∑∑∑∑A.∑On advice of counsel, I'm not gonna answer
23∑∑that question.∑Sorry.
24∑∑∑∑Q.∑Are you upset at Jetall Companies in any way,
25∑∑shape, or form?


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 372 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                185

∑1∑∑∑∑A.∑No.
∑2∑∑∑∑Q.∑Are you upset at Ali Choudhri in any shape,
∑3∑∑way, or form?
∑4∑∑∑∑A.∑I mean, I want the money that I'm owed.∑Just
∑5∑∑pay me the money that you owe.∑This will -- this will
∑6∑∑go away.∑It's nothing personal.
∑7∑∑∑∑Q.∑And how much money would it take to make this
∑8∑∑go away?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑∑∑We're not -- I'm going to instruct my client
11∑∑not to answer.∑It has nothing do with the limited
12∑∑scope of this deposition and exceeds what the judge's
13∑∑orders were.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you going to answer the
15∑∑question, Mr. Khawaja?
16∑∑∑∑A.∑I'm gonna follow the advice of counsel and not
17∑∑answer.
18∑∑∑∑Q.∑So you say this is about money; Just pay me
19∑∑the money you owe me, and I'll go away.∑But you won't
20∑∑tell me what that amount is.∑Is that your answer?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑Yeah, we're not --
23∑∑∑∑∑∑MR. CHOUDHRI:∑Is Osama Abdullatif --
24∑∑∑∑A.∑-- in a settlement --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑No, this is not a


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 373 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 186

∑1∑∑settlement.∑I'm asking you -- again, this is not
∑2∑∑settlement discussion.∑This is a deposition under
∑3∑∑oath on the record.
∑4∑∑∑∑∑∑I'm asking you a follow-up to your answer that
∑5∑∑this is not personal; it's about money.∑That's all
∑6∑∑you want.∑You want money, and you'll go away.∑That's
∑7∑∑what you said.∑Did I hear -- did I hear your
∑8∑∑answer --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection --
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- incorrectly, or do we
11∑∑need the court reporter to repeat your answer?
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑∑∑Objection.∑Sidebar.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you answering the
15∑∑question --
16∑∑∑∑A.∑You need to move along, sir.∑I'm not going to
17∑∑answer that question.
18∑∑∑∑∑∑MR. CHOUDHRI:∑Ms. Court Reporter, would you
19∑∑read back his statement or his answer earlier:∑This
20∑∑is not personal; it's just money; if you pay me the
21∑∑money you owe me, I'll go away.
22∑∑∑∑∑∑Would you read that back into the record so
23∑∑it's clear?∑There's been a lot of objections, and
24∑∑I've been distracted.
25∑∑∑∑∑∑THE REPORTER:∑I'll need a minute to go


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 374 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  187

∑1∑∑through and find that answer.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Take your time.∑No problem.
∑3∑∑∑∑∑∑Mr. Khawaja is not on the screen any longer,
∑4∑∑for the record.
∑5∑∑∑∑∑∑MR. BALLASES:∑Yeah, he is.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
∑7∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just off the record. I
∑8∑∑just need to go off the record because I can't type
∑9∑∑and look for the testimony at the same time.
10∑∑∑∑∑∑MR. CHOUDHRI:∑So why don't we take a five --
11∑∑∑∑∑∑THE WITNESS:∑Can you see me?
12∑∑∑∑∑∑MR. CHOUDHRI:∑I'll tell you what.∑Why don't
13∑∑we do this, Ms. Court Reporter.∑It looks like we've
14∑∑been going for a little bit here.∑So it's 2:42.∑Why
15∑∑don't we come back in 15 minutes at 3:00.
16∑∑∑∑∑∑MR. BALLASES:∑No, we'll take a five-minute
17∑∑break.
18∑∑∑∑∑∑THE WITNESS:∑We'll take a five-minute break,
19∑∑and that's it.∑We're done.
20∑∑∑∑∑∑MR. CHOUDHRI:∑Again, Mr. Khawaja, this is my
21∑∑deposition.∑I get to ask questions.∑And with all due
22∑∑respect, you really don't dictate the -- but if you
23∑∑need to take a break, I'm happy to let you take a
24∑∑break --
25∑∑∑∑∑∑THE WITNESS:∑I'll take a five-minute break,


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 375 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 188

∑1∑∑and that's it.
∑2∑∑∑∑∑∑No?∑Okay.∑No, we don't need a break.∑Thank
∑3∑∑you.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑So, Court Reporter, while
∑5∑∑you're looking for the answer, let's go and take a
∑6∑∑five-minute break.∑We'll come back in five minutes.
∑7∑∑We're off the record.
∑8∑∑∑∑∑∑(A recess was taken.)
∑9∑∑∑∑∑∑THE REPORTER:∑So we are back on the record.
10∑∑And I just please ask everybody, in order to keep the
11∑∑record clear, please, one speaker at a time.
12∑∑∑∑∑∑And, Mr. Khawaja, if your counsel does have an
13∑∑objection, just please allow him to make the objection
14∑∑and then answer afterwards, just so I don't have both
15∑∑of you speaking.∑Thank you.
16∑∑∑∑∑∑THE WITNESS:∑All right.∑Thank you.
17∑∑∑∑∑∑MR. BALLASES:∑So just for the record,
18∑∑Ms. Court Reporter, we've looked at the live schedule
19∑∑that was filed by the debtor under declaration of
20∑∑penalty and was signed by Mr. Ali Choudhri, and it
21∑∑does not list Mr. Choudhri as a debtor anywhere on
22∑∑here, and therefore -- or excuse me -- as a creditor
23∑∑anywhere on here.∑And so, therefore, him not being a
24∑∑creditor based upon his own sworn document, he has no
25∑∑legal basis to continue to ask questions here today.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 376 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   189

∑1∑∑∑∑∑∑So I'd like to have -- if Ms. Hood or
∑2∑∑Mr. Sather have any more questions, I'd like to finish
∑3∑∑it up.∑Mr. Khawaja does have to go because he has a
∑4∑∑relative who is probably passing away relatively soon
∑5∑∑in the hospital.∑We can then move on --
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑So --
∑7∑∑∑∑∑∑MR. BALLASES:∑-- with the next deponents.
∑8∑∑∑∑∑∑MS. HOOD:∑So --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑So, Mr. Ballases --
10∑∑Mr. Ballases, this is my deposition.∑If you want --
11∑∑if there is a life/death situation, I'm not -- I'm
12∑∑happy to work with you and Mr. Khawaja on schedules.
13∑∑I have no problem doing that.∑Family's important.∑So
14∑∑if we need to reset this deposition to tomorrow or
15∑∑another day, I'm happy to accommodate that.
16∑∑∑∑∑∑But what I don't want to do is have you
17∑∑control the deposition and who can ask questions and
18∑∑who can't, because I'm in the middle of my questioning
19∑∑of Mr. Ballases (sic).∑So --
20∑∑∑∑∑∑MR. BALLASES:∑Okay.∑So --
21∑∑∑∑∑∑MR. CHOUDHRI:∑-- let's continue on with the
22∑∑questions.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, are you ready
24∑∑to answer more questions?
25∑∑∑∑∑∑THE WITNESS:∑What do you think, Michael?


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 377 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 190

∑1∑∑∑∑∑∑MR. BALLASES:∑It's up to you.∑If you've got
∑2∑∑to go to the hospital, then --
∑3∑∑∑∑A.∑Okay.∑I can go for a little bit longer.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Madam Court Reporter,
∑5∑∑would you please read the answer back while we took a
∑6∑∑break?
∑7∑∑∑∑∑∑THE REPORTER:∑Okay.∑One second.∑Okay.∑So
∑8∑∑the question and answer was (Reading:)∑Question:∑Are
∑9∑∑you upset at Ali Choudhri in any way, shape, or form?
10∑∑∑∑∑∑Answer:∑I mean, I want the money that I'm
11∑∑owed.∑Just pay me the money that you owe.∑This will
12∑∑go away.∑It's nothing personal.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, did she read
14∑∑your answer correctly and accurately?
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And so to follow up on that answer, what is
17∑∑the amount of the money that you claim you're owed?
18∑∑∑∑A.∑Well, there's a certain amount of -- there's a
19∑∑certain amount that's claimed in the judgment that
20∑∑probably has gone up since we filed it.∑And, you
21∑∑know, you can go through that.∑Your attorney can
22∑∑discuss that with my attorney if you want to make an
23∑∑offer.∑Someone will --
24∑∑∑∑Q.∑I'm not asking about a settlement,
25∑∑Mr. Khawaja.∑I'm just asking about how much money


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 378 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                191

∑1∑∑you're owed, because I can go to the oral ruling
∑2∑∑that -- from Judge Robinson about how you came up with
∑3∑∑the number, how you calculated it, and what that
∑4∑∑number is.∑And that's what we're here today to ask
∑5∑∑you questions about on your proof of claim.
∑6∑∑∑∑∑∑So you said, Owe me -- pay me the money you
∑7∑∑owe, so my question is --
∑8∑∑∑∑A.∑Right.
∑9∑∑∑∑Q.∑-- what are you claiming you're owed?
10∑∑∑∑A.∑Do you have a copy of the adversary?
11∑∑∑∑Q.∑Go ahead, Mr. Khawaja.∑What is the amount of
12∑∑money you're owed?∑That's my question.∑Do you know?
13∑∑∑∑A.∑Yeah, it's somewhere north of $500,000.∑Give
14∑∑me one second here.
15∑∑∑∑∑∑The total amount is $4,847,894.68.
16∑∑∑∑Q.∑I'm sorry.∑Would you repeat that again?∑The
17∑∑total amount that you're owed is what?
18∑∑∑∑A.∑$4,847,894.68.
19∑∑∑∑Q.∑Sorry.∑There's somebody talking in the
20∑∑background.∑I think Osama's helping you and talking,
21∑∑so --
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So what is the total amount
24∑∑that you need to be paid so you can go away?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 379 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   192

∑1∑∑∑∑A.∑$4,847,894.68.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑Thank you for your
∑3∑∑answer, Mr. Khawaja.
∑4∑∑∑∑∑∑And you stand behind that number as being
∑5∑∑truthful, accurate with all lawful offsets?
∑6∑∑∑∑A.∑I mean, I don't -- I don't know what that
∑7∑∑means, but yeah, it's truthful, for sure.
∑8∑∑∑∑Q.∑Okay.
∑9∑∑∑∑A.∑There are no offsets.
10∑∑∑∑Q.∑There are no offsets?
11∑∑∑∑A.∑No.
12∑∑∑∑Q.∑Is that what you said?
13∑∑∑∑∑∑Okay.∑So there are no offsets; is that
14∑∑correct?
15∑∑∑∑A.∑That's correct.
16∑∑∑∑Q.∑Okay.∑Mr. Khawaja, is that the basis of -- so
17∑∑let me just kind of set the table for a second.
18∑∑∑∑∑∑So we said this earlier, and I just want to
19∑∑make sure that I don't have to go through a list of,
20∑∑you know, all these entities and all these other
21∑∑parties.
22∑∑∑∑∑∑So when we talk about Texas REIT, when you
23∑∑answer the question that -- against Texas REIT, your
24∑∑position is that any entity that I have ownership,
25∑∑directly in or indirectly, is an alter ego of Texas


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 380 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 193

∑1∑∑REIT; correct?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑Alter ego of Ali Choudhri.∑Yes.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑So --
∑5∑∑∑∑A.∑And Jetall Companies.
∑6∑∑∑∑Q.∑-- that's the basis?
∑7∑∑∑∑∑∑THE REPORTER:∑I'm sorry?
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Jetall.∑So when the --
∑9∑∑∑∑∑∑THE REPORTER:∑And who?∑Sorry.
10∑∑∑∑∑∑THE WITNESS:∑Sorry.∑Of Ali Choudhri and
11∑∑Jetall Companies.
12∑∑∑∑∑∑THE REPORTER:∑Thank you.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so that is the basis of
14∑∑several lis pendenses that have been filed; is that
15∑∑correct?
16∑∑∑∑A.∑I don't know about several.∑There's one
17∑∑that's filed in this case.
18∑∑∑∑Q.∑Well, if you contend that any and all
19∑∑liabilities and assets of Texas REIT's are alter egos
20∑∑of Ali Choudhri, you have -- in this adversary that is
21∑∑the basis of your proof of claim -- back up.
22∑∑∑∑∑∑This proof -- the adversary is the basis of
23∑∑your proof of claim; correct?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑So in that adversary, you have filed many lis


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 381 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 194

∑1∑∑pendenses on various properties, true or false?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And what real property interest do you contend
∑4∑∑that you own in any of these properties?
∑5∑∑∑∑A.∑We're a judgment creditor.∑So if you own it,
∑6∑∑we own it.
∑7∑∑∑∑Q.∑So it's your contention that -- again, I just
∑8∑∑want to get the whole scope here.∑It's your
∑9∑∑contention that, based on the fact that you're a
10∑∑judgment creditor, you have real property interest in
11∑∑all these various properties, true or false?
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑Is that true?
14∑∑∑∑A.∑True.
15∑∑∑∑Q.∑Outside of that, do you have any other real
16∑∑property interest that you contend you own in any of
17∑∑these properties?
18∑∑∑∑A.∑No.
19∑∑∑∑Q.∑And do you know where I live?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑I think you live in 9201 Arabella.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑9201 Arabella?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑Let me see here.∑Ninety -- sorry -- 9201.
25∑∑You live at Arabella PH, whatever property Arabella PH


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 382 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 195

∑1∑∑3201, LLC, owns.∑At the Arabella, I think, unless you
∑2∑∑moved.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you have knowledge that
∑4∑∑I've lived there for how long?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑I mean, I guess at least a few years.∑Maybe
∑7∑∑two.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And are you aware that --
∑9∑∑∑∑A.∑You sold your house and then -- I think so. I
10∑∑mean, look, I -- I'm not sure, to be honest with you.
11∑∑I think you live there.∑I can find out if you want me
12∑∑to.
13∑∑∑∑Q.∑So you said I sold my house?
14∑∑∑∑∑∑MR. BALLASES:∑Ali, can -- Mr. Choudhri, can
15∑∑you put yourself on the screen again so we know it's
16∑∑you asking questions?
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So you said --
18∑∑∑∑∑∑MR. BALLASES:∑Thank you.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- I sold my house,
20∑∑Mr. Khawaja, that you know I sold my house?
21∑∑∑∑A.∑Yeah.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑You sold the River Oaks house; right?
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑I'm asking you,
25∑∑Mr. Khawaja.∑You said I sold my house.∑What do you


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 383 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  196

∑1∑∑mean by that?
∑2∑∑∑∑A.∑Yes.∑I think you sold your River --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑I think you sold the River Oaks house, and
∑5∑∑then you moved.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And how do you know that?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑I think -- I mean, that's just -- that's the
∑9∑∑rumors.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And who told you that?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑I think it was in The Real Deal.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that where you -- are
14∑∑you saying that's where you know about it?
15∑∑∑∑A.∑Possibly.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑I don't know, to be honest with you.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who Kevin
19∑∑Powers is?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑He's an attorney.∑Yes.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you communicated with
23∑∑Kevin Powers?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑I think he called me once or twice, but no


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 384 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 197

∑1∑∑real communication with him.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever texted him or
∑3∑∑received texts from him?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑Not that I recall.∑I don't think so.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who WCW is?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑Some entity that you owe money, I think.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who Steven Wu
10∑∑is?
11∑∑∑∑A.∑Another guy that you --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑-- that you owe money to.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And your contention is I
15∑∑owe money to Steven Wu?
16∑∑∑∑A.∑You owe money --
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑-- to a lot of people, including me, but yes.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And what do you know about
20∑∑what I owe to Steven Wu?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑That you defrauded him, and they have --
23∑∑they're seeking to recover the money that you owe them
24∑∑and --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And how much money is


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 385 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   198

∑1∑∑that --
∑2∑∑∑∑A.∑-- defrauded them in the Texas REIT --
∑3∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑I defrauded in the Texas
∑5∑∑REIT case, you said?
∑6∑∑∑∑A.∑Yes.∑I think some Texas REIT case.∑I'm not
∑7∑∑sure which one, but it's millions of dollars.
∑8∑∑∑∑Q.∑And so is it Steven Wu that you contend that I
∑9∑∑defrauded?
10∑∑∑∑A.∑Yes.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Steven Wu is owed money
13∑∑by Texas REIT is your contention?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑Yes, and there's probably many other creditors
16∑∑out there I'm not aware of.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Which creditors are you
18∑∑aware of?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Only the ones that I would know.∑I mean, I'm
21∑∑one of them.∑So, I mean, whoever's listed in these
22∑∑schedules, I guess.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted TIG
24∑∑Romspen?∑Do you know who Romspen is?
25∑∑∑∑A.∑No.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 386 of 431

    OMAR KHAWAJA                                                   September 11, 2024
    TEXAS REIT LLC                                                                199

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑I know who they are, but I have not -- I read
∑3∑∑about them in The Real Deal, but I've not contacted
∑4∑∑them.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who Mansoor
∑6∑∑Chaudhry is?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑Do you have an attorney-client privilege with
∑9∑∑him?
10∑∑∑∑A.∑No, I don't.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever texted him or
13∑∑received texts from him?
14∑∑∑∑A.∑No.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I mean, yes, he's texted me.∑Yes, he has.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So when did you meet
18∑∑Mansoor Chaudhry?
19∑∑∑∑A.∑Maybe two years --
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Under what circumstance?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑He's a -- he has a title company, and I've
24∑∑done some title work with him.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So you do some title work


                                                               800.211.DEPO (3376)
                                                               EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 387 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  200

∑1∑∑with him?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What is the name of his
∑5∑∑title company?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I think it's called Transact Title.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And is Transact Title a
∑9∑∑tenant at 1001 West Loop?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Yes.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And have you filed a lis
13∑∑pendens against 1001 West Loop?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑If it's an alter ego of yours -- no, I don't
16∑∑think so.∑Maybe not.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're looking at Osama to
18∑∑answer the questions.∑Do you understand this
19∑∑deposition is me asking you, not Osama answering the
20∑∑questions?∑You understand that; right?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
22∑∑∑∑∑∑Don't pretend like you know what's happening
23∑∑over here.
24∑∑∑∑∑∑Objection.∑Sidebar.
25∑∑∑∑A.∑I'm not looking at anybody.∑But I don't know.


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 388 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   201

∑1∑∑Do you want me to file a lis pendens on 1001 West
∑2∑∑Loop?
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑As we sit here today, are
∑4∑∑you telling me that you have not caused any lis
∑5∑∑pendens to be filed on 1001?
∑6∑∑∑∑A.∑No.∑I don't know.∑I don't think so.
∑7∑∑∑∑Q.∑Do you contend 1001, the property, 1001, or
∑8∑∑the entity that owns 1001, is an alter ego of Ali
∑9∑∑Choudhri or Texas REIT?
10∑∑∑∑A.∑Yes.∑Yes, it is.
11∑∑∑∑Q.∑Do you contend --
12∑∑∑∑A.∑Even if it's not listed by -- even if it's not
13∑∑here, it is -- anything that you control or own is an
14∑∑alter ego, because that's how you operate.
15∑∑∑∑Q.∑Okay.∑Do you know who BridgeCo is,
16∑∑Mr. Khawaja?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you spoken to anybody
20∑∑at BridgeCo?
21∑∑∑∑A.∑No.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But you've sued BridgeCo;
24∑∑correct?
25∑∑∑∑A.∑Yes.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1    Filed on 04/23/25 in TXSD     Page 389 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  202

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And are you aware that
∑3∑∑BridgeCo made six loans?
∑4∑∑∑∑A.∑Yeah.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know which
∑7∑∑properties BridgeCo made loans on?
∑8∑∑∑∑A.∑There were --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑-- some properties in Austin and some
11∑∑properties in Houston, but I don't know -- I couldn't
12∑∑tell you it's this one or that one.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you contend those
14∑∑properties are alter egos of Ali Choudhri or Texas
15∑∑REIT.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑I mean, they would be.∑If you own them, they
18∑∑would be.∑But I don't know if we're making that claim
19∑∑in this case anymore.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you sued Cypress
21∑∑BridgeCo and Magnolia BridgeCo in this case?
22∑∑∑∑A.∑I think we did.∑And I'm not sure if we still
23∑∑have maintained those claims.∑But I know they
24∑∑foreclosed on their interest.
25∑∑∑∑Q.∑So you're aware that BridgeCo foreclosed on


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1      Filed on 04/23/25 in TXSD     Page 390 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   203

∑1∑∑the properties that you filed lis pendenses on.
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And you realize that a lis pendens frustrates
∑4∑∑and interferes with the sale of a property.
∑5∑∑∑∑∑∑Please don't look at Osama for an answer. I
∑6∑∑know you really want to.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑But, Mr. Abdullatif, would you
∑9∑∑please stop helping Mr. Khawaja?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
11∑∑∑∑∑∑You don't know what you're talking about.
12∑∑∑∑∑∑(Crosstalk)
13∑∑∑∑∑∑MR. CHOUDHRI:∑Madam Court Reporter, did you
14∑∑get -- did --
15∑∑∑∑∑∑(Crosstalk)
16∑∑∑∑∑∑THE REPORTER:∑Sorry.∑What is your question,
17∑∑Mr. Choudhri?
18∑∑∑∑∑∑MR. CHOUDHRI:∑What did Osama say?∑I couldn't
19∑∑hear him.
20∑∑∑∑∑∑THE REPORTER:∑I couldn't hear him either.∑If
21∑∑I can't hear him, I can't transcribe him.∑And he's
22∑∑not on the record.∑Like, he's not --
23∑∑∑∑A.∑Let's please continue with the deposition.
24∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Osama Abdullatif, I can
25∑∑hear you in the background calling me a liar.∑That's


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 391 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                204

∑1∑∑unprofessional.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑3∑∑∑∑∑∑Ask your question, or I'll --
∑4∑∑∑∑A.∑Or we're gonna cut this -- or we're gonna shut
∑5∑∑this thing down.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, you're
∑7∑∑aware -- let me back up.
∑8∑∑∑∑∑∑You're in the real estate business as well;
∑9∑∑right?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Not really.∑A little bit.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you own real estate
13∑∑outside of your home?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑Which real estate?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑I'm not gonna get -- I'm not gonna get into
18∑∑that.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you refusing to answer
20∑∑the question about what real estate you own --
21∑∑∑∑A.∑Yes, I'm --
22∑∑∑∑Q.∑-- outside of your house?
23∑∑∑∑A.∑I am -- I am refusing to answer that.
24∑∑∑∑∑∑MR. BALLASES:∑I'm instructing him not to
25∑∑answer because it's outside the scope of the limited


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 392 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 205

∑1∑∑deposition that the judge ordered.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, we've
∑3∑∑already established many, many, many times it's your
∑4∑∑contention that any entity I own or control is an
∑5∑∑alter ego of Texas REIT; correct?
∑6∑∑∑∑A.∑Yes.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so you're also aware,
∑9∑∑Mr. Khawaja, that when you file a lis pendens on a
10∑∑piece of property, you have to meet certain elements
11∑∑to have a lis pendens on a piece of property.∑Are you
12∑∑aware of that?
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑And do you know what those elements are?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I don't.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're unaware what the
18∑∑elements are to file a lis pendens against real
19∑∑property.
20∑∑∑∑A.∑I'm not sure.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're unaware, or you're
23∑∑aware?
24∑∑∑∑A.∑I'm not aware.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 393 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 206

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, it doesn't change
∑2∑∑by you yelling on the objection, so --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, how many
∑5∑∑lawsuits have you been involved in where you have
∑6∑∑instructed, sponsored litigation against Texas REIT or
∑7∑∑any other entity that I own or control?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑A.∑I don't know.∑I don't -- I don't think many
10∑∑at all.∑Not as many as I could.∑That's for sure.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so you have filed a lis
12∑∑pendens against a property at 2232 Swift Boulevard.
13∑∑Are you aware of that?
14∑∑∑∑A.∑Yes.∑Yes.
15∑∑∑∑Q.∑And you contend 2232 Swift Boulevard -- that
16∑∑property and any interest in that property is an alter
17∑∑ego of Texas REIT?
18∑∑∑∑A.∑Or Ali Choudhri.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Or Ali Choudhri.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Texas REIT or Ali --
22∑∑∑∑A.∑Or Jetall.
23∑∑∑∑Q.∑-- Choudhri; correct?
24∑∑∑∑A.∑Or Jetall.
25∑∑∑∑Q.∑Sorry?


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 394 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   207

∑1∑∑∑∑A.∑Or Jetall Companies, Inc.
∑2∑∑∑∑Q.∑Okay.∑So basically any and all entities that
∑3∑∑I have any ownership in -- directly, indirectly --
∑4∑∑it's an alter ego, and that's what you believe.
∑5∑∑∑∑A.∑I believe the evidence will show that, yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But as we sit here today,
∑8∑∑you don't have any evidence --
∑9∑∑∑∑A.∑No, we have plenty --
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑We've been talking about it all day.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So outside of whatever we
14∑∑talked about today, you don't have any other evidence.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑Not until we get into the discovery, which
17∑∑you're obstructing, but yes.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So this is your opportunity
19∑∑to tell --
20∑∑∑∑A.∑You'll find out more after you and, I think,
21∑∑your mom's deposition coming up.
22∑∑∑∑Q.∑Oh, okay.∑So you've sued my mom; correct?
23∑∑∑∑A.∑Yes.∑Don't try to get out of that deposition
24∑∑either.∑I'm gonna have a court reporter, translator,
25∑∑everything.∑So don't try to get out of that.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 395 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 208

∑1∑∑∑∑Q.∑Mr. Khawaja, have you -- let me pull this up.
∑2∑∑Hold on.
∑3∑∑∑∑∑∑Have you contacted anybody related to QB Loop
∑4∑∑Property?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑No.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted --
∑8∑∑∑∑A.∑What's going on with that?
∑9∑∑∑∑∑∑THE WITNESS:∑Sorry.∑Sorry.
10∑∑∑∑A.∑I have not.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted -- would
12∑∑you dispute if third parties made statements that you
13∑∑contacted them and told them not to do business with
14∑∑me?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I would dispute that, yeah.∑I mean, tell
17∑∑them -- who said that I said that?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever contacted
20∑∑anybody who I do business with, or any of my related
21∑∑entities, and told them not to do business with me?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑I mean, that's outside the scope of what we're
24∑∑talking about, but no, unless I was specifically
25∑∑asked.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 396 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  209

∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted Anwar
∑2∑∑Qadeer (phonetic) in relation to --
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑No.∑Are you trying to sue Anwar now?∑No.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted Qasim --
∑7∑∑Abdul Qasim (phonetic)?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑9∑∑∑∑A.∑Abdul Qasim?
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Abdul Qasim.
11∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
12∑∑∑∑A.∑I never contacted -- no, he's a friend of --
13∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
14∑∑∑∑∑∑Mr. Khawaja, could you please repeat your
15∑∑answer?
16∑∑∑∑A.∑I have not.
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑∑∑Please stick to the limited purpose of this
19∑∑deposition.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And --
21∑∑∑∑A.∑Don't get those guys in trouble.
22∑∑∑∑Q.∑-- Mr. Khawaja, are you -- are you -- are you
23∑∑done laughing?
24∑∑∑∑A.∑Yes.∑Yes.
25∑∑∑∑Q.∑Thank you.∑You understand this is a serious


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 397 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   210

∑1∑∑situation we're here, right?∑This is a deposition.
∑2∑∑It's not a joke --
∑3∑∑∑∑A.∑Oh, very much.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑A.∑Very much.∑Very much so.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And, Mr. Khawaja, you're
∑7∑∑taking this serious; correct?
∑8∑∑∑∑A.∑Oh, yeah, absolutely.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, can you tell
11∑∑me why -- you know, why you believe that the BridgeCo
12∑∑entities are an alter ego of Texas REIT?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
14∑∑∑∑∑∑No, excuse me.∑I'm gonna go ahead, and I'm
15∑∑gonna actually object to this exceeding the scope of
16∑∑the deposition that the judge ordered and instruct him
17∑∑not to answer.
18∑∑∑∑A.∑I'm gonna take the advice of counsel.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you're not
20∑∑going to answer the question, I understand; is that
21∑∑correct?
22∑∑∑∑A.∑Yes.
23∑∑∑∑Q.∑Mr. Khawaja, are you aware that when a lis
24∑∑pendens is filed on a property, a property -- the
25∑∑title is clouded, and it interferes with the ability


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1      Filed on 04/23/25 in TXSD     Page 398 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  211

∑1∑∑for the property to be sold or refinanced?
∑2∑∑∑∑A.∑I mean --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑-- you filed many of those, so you're pretty
∑5∑∑aware of what it does, so yes.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And besides whatever we've
∑7∑∑covered today, you don't have any other -- are you --
∑8∑∑∑∑A.∑Plans?
∑9∑∑∑∑Q.∑-- familiar with the -- sorry?
10∑∑∑∑A.∑Other plans?∑I don't know.∑I'm just trying
11∑∑to guess what you were gonna say.
12∑∑∑∑Q.∑I'm sorry, Mr. Khawaja.∑What was your
13∑∑statement?
14∑∑∑∑A.∑I said -- you said, You don't have any other,
15∑∑and then you just trailed off.∑So I said, What,
16∑∑plans?
17∑∑∑∑Q.∑What -- so I think I've asked this earlier,
18∑∑and you've refused to answer.∑I just want to make
19∑∑sure the record is clear.∑You're refusing to answer
20∑∑any contingency claims or any claims you own or hold,
21∑∑indirectly or directly, against me or any of my
22∑∑entities.∑You're refusing to answer any of those
23∑∑questions.
24∑∑∑∑A.∑Yes --
25∑∑∑∑∑∑MR. BALLASES:∑Objection --


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 399 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                212

∑1∑∑∑∑A.∑-- that's correct.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're aware that
∑4∑∑2727 Kirby was foreclosed on.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑That's what I understand.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're aware that
∑8∑∑that's one of the properties you filed a lis pendens
∑9∑∑on.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Sure.∑You owe a lot of money on it.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is there money owed to you
13∑∑on 2727 Kirby?
14∑∑∑∑A.∑I mean, it's an alter --
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑-- ego of Jetall Companies, so yeah, we
17∑∑should've gotten something out of it.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that why you filed a
19∑∑lis pendens, so you could get something out of it?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑To prevent you from committing fraudulent
22∑∑transfers and defrauding people like you do.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so let's elaborate.
24∑∑How do I defraud people?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1    Filed on 04/23/25 in TXSD     Page 400 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                213

∑1∑∑∑∑A.∑I mean -- I mean, come on.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑I just want to --
∑3∑∑∑∑∑∑(Crosstalk)
∑4∑∑∑∑A.∑You really want me to answer that question?
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Absolutely.∑Go ahead.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑7∑∑∑∑∑∑It's not the opportunity to ask an improper
∑8∑∑question.
∑9∑∑∑∑∑∑THE WITNESS:∑No.
10∑∑∑∑∑∑MR. BALLASES:∑It is your opportunity to ask
11∑∑about why a proof of claim was filed and why it was
12∑∑withdrawn.∑You are mistaken, and you're exceeding the
13∑∑Court's order.∑Please stick to the Court's limited
14∑∑deposition order.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you going to refuse to
16∑∑answer the question, Mr. Khawaja?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you're aware
20∑∑that following the filing of lis pendenses on various
21∑∑properties, those properties were foreclosed after you
22∑∑filed those lis pendenses, true or false?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑After -- I mean, what does that mean, after I
25∑∑filed those lis pendenses?∑You lost those properties


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 401 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 214

∑1∑∑because you refused to pay on them, like you've done
∑2∑∑on so many properties throughout your entire life.
∑3∑∑∑∑∑∑So, you know, you excel at losing properties.
∑4∑∑That's what happened.∑That's what happened to
∑5∑∑2425 West Loop.∑Don't try to put that on me unless
∑6∑∑you want more lawsuits.∑We're happy to oblige.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you --
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
10∑∑∑∑A.∑No, I'm not done.∑I'm just getting started.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So continue on.∑I'm
12∑∑listening.
13∑∑∑∑∑∑MR. BALLASES:∑There's no question on the
14∑∑table.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're just getting
16∑∑started?
17∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What do you mean by "just
19∑∑getting started" --
20∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Mr. Ballases, what
21∑∑was your objection or your comment?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑There was no question on the table.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Go ahead, Mr. Khawaja.∑If
25∑∑you want to talk, you can talk.∑You said you're just


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 402 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                215

∑1∑∑getting started --
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑3∑∑∑∑A.∑Stick --
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you want to --
∑5∑∑∑∑A.∑Stick to the questions, please.∑Stick to the
∑6∑∑questions.
∑7∑∑∑∑Q.∑You're answering -- you're answering the
∑8∑∑questions, so I'm allowing you to finish your answers.
∑9∑∑And you said --
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- you're just getting
12∑∑started.∑What do you mean by, "I'm just getting
13∑∑started"?∑That was your answer.
14∑∑∑∑A.∑Yes.∑We have --
15∑∑∑∑Q.∑(Unintelligible)
16∑∑∑∑A.∑We have a lot of -- we have discovery to
17∑∑complete in this case.
18∑∑∑∑Q.∑And so what do you mean, "I'm just getting
19∑∑started"?∑Elaborate on that --
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Yeah, we need -- we have to complete
22∑∑discovery.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And what evidence or
24∑∑information do you have that my mom is an alter ego of
25∑∑Texas REIT?


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1   Filed on 04/23/25 in TXSD     Page 403 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 216

∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑Have you reviewed the -- have you reviewed our
∑3∑∑evidence in this case?∑Have you looked at what we've
∑4∑∑been able to uncover, or no?∑I hope your attorneys
∑5∑∑are sharing it with you.∑There's a lot.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So what evidence do you
∑7∑∑have that Shahnaz Choudhri is an alter ego --
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑-- of Texas REIT?
10∑∑∑∑A.∑There's money flowing through bank accounts.
11∑∑There's checks that she's written to entities that you
12∑∑control.∑There's personal payments going out to her
13∑∑from entities that you control.∑I mean, there's a
14∑∑lot.∑There's a lot.∑We're gonna get into all of
15∑∑that.
16∑∑∑∑Q.∑And so the evidence is all within your
17∑∑pleadings.∑Is that --
18∑∑∑∑A.∑Not all of it.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Not all of it.∑There's just something --
21∑∑there's discovery.∑There's subpoenas.∑There's --
22∑∑there's things.∑There's a deposition coming up that
23∑∑you're aware of that you're gonna try to get out of.
24∑∑We're not gonna let you.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you made statements to


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1   Filed on 04/23/25 in TXSD     Page 404 of 431

     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                217

∑1∑∑third parties that Judge Norman is gonna do whatever
∑2∑∑you ask him to do because you have him on payroll?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑And objection.∑Sidebar.
∑5∑∑∑∑A.∑Man, come on.∑Don't do stuff like that.
∑6∑∑That's gonna get you --
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you made a
∑8∑∑statement to anybody --
∑9∑∑∑∑A.∑-- in a lot of trouble.
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you made --
12∑∑∑∑∑∑THE REPORTER:∑One person at a time, please.
13∑∑∑∑A.∑That's -- that's gonna get you into a lot of
14∑∑trouble with the FBI.∑I wouldn't do that.∑That's a
15∑∑mistake on your part.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever made any
17∑∑statements like that?∑Have you ever made any
18∑∑statements --
19∑∑∑∑A.∑No.
20∑∑∑∑Q.∑-- like that?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑That's very dangerous of you to say that.∑I'm
23∑∑just warning you.∑It's very dangerous.
24∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --


                                                                800.211.DEPO (3376)
                                                                EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD     Page 405 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   218

∑1∑∑∑∑∑∑THE WITNESS:∑Make sure you get a copy of this
∑2∑∑transcript, please --
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- you've never made --
∑4∑∑∑∑∑∑THE WITNESS:∑-- and provide that.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You --
∑6∑∑∑∑∑∑THE REPORTER:∑Sorry --∑okay.
∑7∑∑∑∑A.∑I would stop if I were you.∑I would stop
∑8∑∑right now if I were you.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, please.∑I'm
10∑∑asking the questions.∑Okay?
11∑∑∑∑A.∑Yeah, you are.
12∑∑∑∑Q.∑Have you met with Anthony Gill or Kenneth
13∑∑Shaitelman?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑I'm not gonna --
16∑∑∑∑∑∑(Crosstalk)
17∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct you not
18∑∑to answer.∑That has nothing to do with the proof of
19∑∑claim that was filed or the reason that we've offered
20∑∑to withdraw it, and therefore, I'm instructing not to
21∑∑answer.∑It exceeds the scope of the judge's order.
22∑∑∑∑∑∑So I object to the form of the question.
23∑∑∑∑A.∑I'm not answering.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, were you
25∑∑present on September 6, 2023, when Chris Wyatt, your


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 406 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 219

∑1∑∑client, testified on the stand in Judge Manor's court?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I wasn't.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Were you present around
∑7∑∑September 2023 in front of Judge Manor regarding a
∑8∑∑case styled Naissance versus Zaheer?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑I don't even know if I was or not, but that's
11∑∑outside the scope of this purpose of this deposition,
12∑∑so move on.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you aware that Chris
14∑∑Wyatt, your client, testified that he has given you
15∑∑my -- Jetall Companies' hard drive?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑Not -- not in the -- within the scope of this
18∑∑conversation -- I mean this deposition.∑But if he
19∑∑testified to that, I'd have to look back and see.
20∑∑Maybe he did.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Chris Wyatt truthful?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑You hired him.∑What do you think?
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you hired --
25∑∑∑∑∑∑THE WITNESS:∑Look, I'm done, Michael.∑This


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1     Filed on 04/23/25 in TXSD     Page 407 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                    220

∑1∑∑is it.∑This is getting into things --
∑2∑∑∑∑∑∑MR. BALLASES:∑Okay.
∑3∑∑∑∑∑∑THE WITNESS:∑-- that are unrelated.∑So we
∑4∑∑can --
∑5∑∑∑∑∑∑MR. BALLASES:∑And you've got to go see your
∑6∑∑family --
∑7∑∑∑∑∑∑THE WITNESS:∑I have to go see my family --
∑8∑∑∑∑∑∑MR. BALLASES:∑Then we'll take it up with a
∑9∑∑judge.
10∑∑∑∑∑∑THE WITNESS:∑Thank you.
11∑∑∑∑∑∑(Crosstalk)
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you going to walk out
13∑∑of this deposition?
14∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑No --
17∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a -- sorry.∑One
18∑∑at a time, please.∑Thank you.
19∑∑∑∑∑∑MR. CHOUDHRI:∑I am not done with my --
20∑∑∑∑∑∑THE WITNESS:∑I have a medical --
21∑∑∑∑∑∑MR. CHOUDHRI:∑-- questions.
22∑∑∑∑∑∑THE WITNESS:∑-- emergency.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑If you have a medical
24∑∑emergency, we can agree to a rescheduling.∑Your
25∑∑medical emergency, Mr. Khawaja, is you have a family


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836       Document 8-1   Filed on 04/23/25 in TXSD     Page 408 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   221

∑1∑∑member in the hospital; correct?
∑2∑∑∑∑A.∑Yes, I do.
∑3∑∑∑∑∑∑MR. BALLASES:∑You don't need to answer any
∑4∑∑more questions.
∑5∑∑∑∑∑∑He has to get out of here.∑You took up enough
∑6∑∑time --
∑7∑∑∑∑∑∑THE WITNESS:∑We'll take it up with a judge.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
∑9∑∑∑∑∑∑MR. BALLASES:∑Do you want a five-minute
10∑∑break, or do you want to start?
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
12∑∑∑∑∑∑MR. BALLASES:∑You go.∑I got it.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- the deposition is still
14∑∑going.∑Are you going to get up and walk out?
15∑∑∑∑∑∑MR. CHOUDHRI:∑Madam Court Reporter --
16∑∑∑∑∑∑MR. BALLASES:∑Yes, he's got to --
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- would you --
18∑∑∑∑∑∑MS. HOOD:∑Okay.∑If I can weigh in here, I
19∑∑had some follow-up questions for him; very few, but I
20∑∑do have follow-up questions.
21∑∑∑∑∑∑MR. BALLASES:∑How much time?∑Like, how much
22∑∑would you estimate, Ms. Hood?
23∑∑∑∑∑∑MS. HOOD:∑Ten minutes.
24∑∑∑∑∑∑MR. BALLASES:∑It's up to you.∑If you've got
25∑∑to get out of here --


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836      Document 8-1   Filed on 04/23/25 in TXSD     Page 409 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  222

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑But I'm not done --
∑2∑∑∑∑∑∑MS. HOOD:∑But it's -- I need -- Mr. Choudhri
∑3∑∑hasn't passed the witness.∑But I did want to go on
∑4∑∑the record that I do have a few more questions for
∑5∑∑him.
∑6∑∑∑∑∑∑MR. BALLASES:∑Okay.∑Well --
∑7∑∑∑∑∑∑THE WITNESS:∑We'll take it up if we need to
∑8∑∑with a judge.
∑9∑∑∑∑∑∑MR. BALLASES:∑Okay.∑Then unless we're going
10∑∑to go directly to your ten minutes, then he's got to
11∑∑get to the hospital.
12∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, if he's got to go
13∑∑to the hospital, is there a mutually agreeable time
14∑∑before he leaves that we can agree to maybe --
15∑∑∑∑∑∑MR. BALLASES:∑No.
16∑∑∑∑∑∑MR. CHOUDHRI:∑-- pick this up?
17∑∑∑∑∑∑MR. BALLASES:∑No.
18∑∑∑∑∑∑MR. CHOUDHRI:∑Are you not agreeing to resume
19∑∑the deposition at a convenient time after his
20∑∑emergency for his visitor -- for his family member in
21∑∑the hospital?
22∑∑∑∑∑∑MR. BALLASES:∑I'm not right now.∑You've had
23∑∑plenty of time to ask questions.∑You've asked
24∑∑questions that had nothing to do with the limited
25∑∑scope of the deposition.∑I let you ask them. I


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836   Document 8-1      Filed on 04/23/25 in TXSD     Page 410 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  223

∑1∑∑probably shouldn't have.∑And so you used your time as
∑2∑∑you saw fit.
∑3∑∑∑∑∑∑Do you all want to take a two-minute break or
∑4∑∑five-minute break before we start the next one, or no?
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, I am -- this is
∑6∑∑still my deposition that I'm asking questions on. I
∑7∑∑want the record to be clear.∑Have you instructed your
∑8∑∑witness to leave?∑Have you instructed the witness to
∑9∑∑leave --
10∑∑∑∑∑∑MR. BALLASES:∑He's gone.∑Yes, he is gone.
11∑∑He is gone.∑I've instructed him to leave because he
12∑∑has a family member who is dying.∑I don't know how
13∑∑much clearer I can make that.∑Stop repeating
14∑∑yourself.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Well, Mr. Ballases --
16∑∑∑∑∑∑MR. BALLASES:∑So you can either --
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- as you know -- can I finish
18∑∑talking, please, before you keep --
19∑∑∑∑∑∑MR. BALLASES:∑No --
20∑∑∑∑∑∑MR. CHOUDHRI:∑-- cutting me off?
21∑∑∑∑∑∑MR. BALLASES:∑-- you can't.∑You waste
22∑∑everybody's time.
23∑∑∑∑∑∑So we can start with the next deposition.
24∑∑∑∑∑∑It's clear that --
25∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836        Document 8-1   Filed on 04/23/25 in TXSD     Page 411 of 431

     OMAR KHAWAJA                                                       September 11, 2024
     TEXAS REIT LLC                                                                    224

∑1∑∑∑∑∑∑MR. BALLASES:∑-- he's left, and it's clear
∑2∑∑you want to ask questions.
∑3∑∑∑∑∑∑So we can start with the next deposition now
∑4∑∑or in two minutes.∑Please make your decision.
∑5∑∑∑∑∑∑Stephen, if you want to make it because you're
∑6∑∑the lead, that's fine.
∑7∑∑∑∑∑∑MS. HOOD:∑Can I just say on the record that I
∑8∑∑would like to finish my questioning of the deponent
∑9∑∑when he has the next available opportunity that's
10∑∑convenient for everybody so I can ask my four
11∑∑questions.
12∑∑∑∑∑∑MR. BALLASES:∑And I would -- that's fine.
13∑∑You can take it up with the Court.∑He was on record
14∑∑for five hours.∑Take away maybe the 30 minutes where
15∑∑we argued about the judge's oral order.∑Four and a
16∑∑half hours, that's plenty of time for this deposition
17∑∑to go forward and for y'all to complete it.
18∑∑∑∑∑∑We have two more people here, and I have till
19∑∑4:30.∑I'd like to get started to go as fast as
20∑∑possible, but it's y'all's call.
21∑∑∑∑∑∑MS. HOOD:∑Okay.∑Well, I'll just --
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, the time is --
23∑∑the time is 3:30 p.m.∑Is that --
24∑∑∑∑∑∑Or, Court Reporter, would you just confirm
25∑∑what time we have right now?


                                                                    800.211.DEPO (3376)
                                                                    EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1     Filed on 04/23/25 in TXSD     Page 412 of 431

     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  225

∑1∑∑∑∑∑∑MR. BALLASES:∑No one needs to confirm the
∑2∑∑time.∑Do you want to get started with the next one or
∑3∑∑not?∑I mean, stop wasting everybody's time?
∑4∑∑∑∑∑∑MS. HOOD:∑I just want to -- for my part of
∑5∑∑this, I wasn't -- I didn't adjourn the deposition with
∑6∑∑regard to this deponent for my questioning.∑I was
∑7∑∑waiting for it to come back, to cycle around with me
∑8∑∑again.∑I have a few more questions for him, and I
∑9∑∑want to finish those.
10∑∑∑∑∑∑And I understand he's left, and I understand
11∑∑the basis for it, and I wish all Godspeed to his
12∑∑family member.∑And I don't want to get involved in
13∑∑any sort of issue about whether someone needs to
14∑∑leave, doesn't need to leave, that sort of thing,
15∑∑right?∑I just -- and if we have to go back to the
16∑∑judge for my four questions, I'm happy to do it.
17∑∑∑∑∑∑I just want that on the record for me.∑What
18∑∑the other lawyer does and what Mr. Choudhri does --
19∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
20∑∑∑∑∑∑MS. HOOD:∑-- I'm not in control of that.
21∑∑∑∑∑∑MR. BALLASES:∑I understand.∑You've made
22∑∑it -- you've put it on the record twice.∑That's fine.
23∑∑I understand, and I'll stipulate that you do have more
24∑∑questions.
25∑∑∑∑∑∑Do we want to go to the next witness now?


                                                                  800.211.DEPO (3376)
                                                                  EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836     Document 8-1     Filed on 04/23/25 in TXSD     Page 413 of 431

     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   226

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, would you at
∑2∑∑least provide, subject to your client's availability,
∑3∑∑times you're available to resume the deposition of
∑4∑∑Omar Khawaja?
∑5∑∑∑∑∑∑MR. BALLASES:∑No.∑No, I will not.∑I've said
∑6∑∑that twice now.
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Are you not --
∑8∑∑∑∑∑∑MR. BALLASES:∑Do we want to move to the next
∑9∑∑deposition?
10∑∑∑∑∑∑MR. CHOUDHRI:∑Are you going to refuse to make
11∑∑him available --
12∑∑∑∑∑∑MR. BALLASES:∑Stop wasting time.∑I'm not
13∑∑going to provide it unless we have an order from a
14∑∑judge.∑Do you understand?∑Stop wasting time.∑We've
15∑∑got a limited amount --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Well, I just want to --
17∑∑∑∑∑∑MR. BALLASES:∑-- of time --
18∑∑∑∑∑∑MR. CHOUDHRI:∑-- get this on the --
19∑∑∑∑∑∑(Crosstalk)
20∑∑∑∑∑∑MR. BALLASES:∑-- basis to take a deposition.
21∑∑∑∑∑∑Do we want to move to the next person or not?
22∑∑Please tell me.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Before --
24∑∑∑∑∑∑MR. BALLASES:∑I would say, Stephen, it's your
25∑∑job to say it.


                                                                   800.211.DEPO (3376)
                                                                   EsquireSolutions.com    YVer1f
   Case 4:24-cv-04836    Document 8-1    Filed on 04/23/25 in TXSD     Page 414 of 431

     OMAR KHAWAJA                                                    September 11, 2024
     TEXAS REIT LLC                                                                 227

∑1∑∑∑∑∑∑MR. SATHER:∑Yeah, I'm prepared --
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
∑3∑∑∑∑∑∑MR. SATHER:∑-- to move to the next --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
∑5∑∑∑∑∑∑MR. SATHER:∑-- witness --
∑6∑∑∑∑∑∑MR. BALLASES:∑All right.∑Let's go.
∑7∑∑∑∑∑∑MR. SATHER:∑Who do you have --
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
∑9∑∑∑∑∑∑MR. SATHER:∑-- up next?
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
11∑∑∑∑∑∑MR. BALLASES:∑Osama.
12∑∑∑∑∑∑THE REPORTER:∑Okay.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
14∑∑∑∑∑∑MR. BALLASES:∑Osama's ready to go.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Time out.∑I just want to get
16∑∑this on the record very clearly, Mr. Ballases.
17∑∑∑∑∑∑MR. BALLASES:∑Oh, Jesus.
18∑∑∑∑∑∑MR. CHOUDHRI:∑I just want to make it --
19∑∑∑∑∑∑MR. BALLASES:∑It's on the record clearly.
20∑∑Stop wasting time.
21∑∑∑∑∑∑MR. CHOUDHRI:∑You are not willing to
22∑∑cooperate to resume the deposition of Omar Khawaja
23∑∑absent a court order.∑Is that your position?
24∑∑∑∑∑∑MR. BALLASES:∑I've stated my position.∑Let's
25∑∑move forward.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com    YVer1f
     Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD     Page 415 of 431

      OMAR KHAWAJA                                                   September 11, 2024
      TEXAS REIT LLC                                                                228

∑1∑∑∑∑∑∑Let's take a two-minute break, and then
∑2∑∑Osama's going to be in this chair.
∑3∑∑∑∑∑∑THE REPORTER:∑Okay.∑So I am going off the
∑4∑∑record.
∑5∑∑∑∑∑∑(End of proceedings at 3:31 p.m.)
∑6
∑7
∑8
∑9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 416 of 431




                               EXHIBIT 6
Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD     Page 417 of 431




                   THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


                                            )
                                            )
In re:                                      )            Chapter 11
                                            )
GALLERIA 2425 OWNER, LLC,                   )            Case No. 23-34815
                                            )
                              Debtor.       )
                                            )
                ________________________________________________

   ORDER GRANTNG MOTION TO COMPLY WITH THE GATEKEEPING
        PROVISIONS OF THE CONFIRMED CHAPTER 11 PLAN
          _________________________________________________

       BEFORE THE COURT is the Motion to Comply with the Gatekeeping Provisions
of the Confirmed Chapter 11 Plan.

         The Court hereby GRANTS the motion.

      IT IS THEREFORE HEREBY ORDERED that the claims raised by Ali Choudhri
and Naissance Galleria, LLC against the Bank can proceed in the following cases:

               Naissance Galleria, LLC v. Zaheer, et al., Cause No. 2023-
               43755, pending in the 80th District Court of Harris County,
               Texas;

               Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri
               v. NBK, Adversary Case No. 23-06009, pending in this Court;
               and

               Choudhri v. NBK and Zaheer, Adversary Case No. 23-03263,
               pending in this Court.



Dated:                      ______________________________________

                            UNITED STATES BANKRUPTCY COURT
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 418 of 431




                               EXHIBIT 7
Case Case
     4:24-cv-04836
          23-34815 Document
                   Document 758-7
                            8-1 Filed
                                  Filedon
                                        in 04/23/25
                                           TXSB on in
                                                    10/02/24
                                                      TXSD Page
                                                             Page1419
                                                                   of 5of 431




               IN RE GALLERIA 2425 OWNER, LLC, CASE NO. 23-34815
                         SERVICE LIST (a/o July 2, 2024)

Debtor:                                   Twenty Largest Creditors:
Galleria 2425 Owner, LLC                  Caz Creek Lending
1001 West Loop South Ste 700              118 Vintage Park Blvd No. W
Houston, TX 77027                         Houston, TX 77070

Debtor’s Counsel:                         Cirro Electric
Reese W. Baker                            P O Box 60004
Baker & Associates                        Dallas, TX 75266
950 Echo Lane Ste 300
Houston, TX 77024                         City of Houston
                                          P O Box 1560
James Q. Pope                             Houston, TX 77251-1560
The Pope Law Firm
616 Savoy Drive Ste 1125                  City of Houston Water Department
Houston, TX 77036                         P O Box 1560
                                          Houston, TX 77251-1560
U.S. Trustee:
Office of United States Trustee           Datawatch Systems
Attn: Jana Smith Whitworth                Suite 200
515 Rusk Street Suite 3516                4520 East West Highway
Houston, TX 77002                         Bethesda, MD 20814

Chapter 11 Trustee:                       Firetron
Christopher R. Murray                     10101A Stafford Centre Dr.
602 Sawyer Street Ste 400                 Stafford, TX 77477
Houston, TX 77007
                                          First Insurance Funding
Chapter 11 Trustee’s Counsel:             450 Skokie Blvd
R. J. Shannon                             Northbrook, IL 60062
Shannon & Lee LLP
2100 Travis Street Ste 1525               Gulfstream Legal Group
Houston, TX 77002                         1300 Texas Street
                                          Houston, TX 77002
Governmental Entities:                    (Returned to Sender / Unable to Forward)
Harris County Tax Assessor
P O Box 4622                              Gulfstream Legal Group
Houston, TX 77210                         720 N Post Oak Rd Ste 355
                                          Houston, TX 77024
Harris County, et al.
P O Box 2928                              Hayward PLLC
Houston, TX 77252-2928                    10501 N Central Expy Ste 106
                                          Dallas, TX 75231-2203




                                                                         4868-8377-7229.v1
Case Case
     4:24-cv-04836
          23-34815 Document
                   Document 758-7
                            8-1 Filed
                                  Filedon
                                        in 04/23/25
                                           TXSB on in
                                                    10/02/24
                                                      TXSD Page
                                                             Page2420
                                                                   of 5of 431




HNB Construction, LLC                          ADT
521 Woodhaven                                  P O Box 382109
Ingleside, TX 78362                            Pittsburgh, PA 15251

Houston Community College System               Ali Choudhri
c/o Tara Grundemeier                           1001 West Loop South 700
Linebarger, Groggan, Blair & Sampson           Houston, TX 77027
P O Box 3064
Houston, TX 77253-3064                         Ash Automated Control Systems, LLC
                                               P O Box 1113
Houston Independent School District            Fulshear, TX 77441
P O Box 4668
Houston, TX 77210                              CFI Mechanical, Inc.
(Returned to Sender / Unable to Forward)       6109 Brittmoore Rd
                                               Houston, TX 77041
Lexitas
P O Box 734298 Dept 2012                       CNA Insurance Company
Dallas, TX 75373                               P O Box 74007619
                                               Chicago, IL 60674
Nationwide Security
2425 W Loop South Ste 300                      Comcast
Houston, TX 77027                              P O Box 60533
(Returned to Sender / Unable to Forward)       City of Industry, CA 91716

Nichamoff Law Firm                             Environmental Coalition Inc.
2444 Times Blvd Ste 270                        P O Box 1568
Houston, TX 77005                              Stafford, TX 77497

T&R Mechanical                                 Ferguson Facilities Supplies
21710 White Oak Drive                          P O Box 200184
Conroe, TX 77306-8848                          San Antonio, TX 78220
(Returned to Sender / Unable to Forward)
                                               Jetall Companies Inc.
TKE                                            2425 West Loop South Ste 1100
3100 Interstate North Cir SE 500               Houston, TX 77027-4210
Atlanta, GA 30339
                                               Kings 111 Emergency Communications
Zindler Cleaning Service Co.                   751 Canyon Drive Suite 100
2450 Fondren Ste 113                           Coppell, TX 75019
Houston, TX 77063
                                               Logix Fiber Networks
Other Creditors / Interest Holders:            P O Box 734120
2425 WL, LLC                                   Dallas, TX 75373
60 West 2nd Street
Freeport, NY 11746



                                           2
                                                                              4868-8377-7229.v1
Case Case
     4:24-cv-04836
          23-34815 Document
                   Document 758-7
                            8-1 Filed
                                  Filedon
                                        in 04/23/25
                                           TXSB on in
                                                    10/02/24
                                                      TXSD Page
                                                             Page3421
                                                                   of 5of 431




Mueller Water Treatment                        Executory Contract Counterparties:
1500 Sherwood Forest Dr                        2425 West Loop LLC dba Metwall Design
Houston, TX 77043                              Solutions LLC
                                               2425 West Loop South Ste 800
Smart Office Solutions                         Houston, TX 77027-4214
6623 Theall Road                               (Returned to Sender / Unable to Forward)
Houston, TX 77066-1213
(Returned to Sender / Unable to Forward)       2425 WL, LLC
                                               13498 Pond Springs Rd
Waste Management                               Austin, TX 78729-442
P O Box 660345                                 (Returned to Sender / Unable to Forward)
Dallas, TX 75266
                                               2425 WL, LLC
Metwall Design Solutions LLC                   700 Lavaca Street Ste 1401
10931 Day Road                                 Austin, TX 78701
Houston, TX 77043-4901                         (Returned to Sender / Unable to Forward)

US Retailers LLC d/b/a Cirro Energy            Bankable Equities
Attn: Bankruptcy Department                    2425 West Loop South Ste 600
P O Box 3606                                   Houston, TX 77027-4203
Houston, TX 77253-3606
                                               Boho Lounge
Naissance Galleria, LLC                        2425 West Loop South Ste 100
c/o Law Office of Nima Taherian                Houston, TX 77027-4205
701 N Post Oak Rd Ste 216                      (Returned to Sender / Unable to Forward)
Houston, TX 77024
                                               CNA Insurance Company
H.N.B. Construction, LLC                       P O Box 74007619
c/o Malcolm D. Dishongh                        Chicago, IL 60674
P O Box 2347
Humble, TX 77347-2347                          Eyebrows 4UTX LLC
                                               2425 West Loop South Ste 340b
CC2 TX, LLC                                    Houston, TX 77027-4205
14800 Landmark Blvd Ste 400
Dallas, TX 75254                               First Insurance Funding
                                               450 Skokie Blvd
MacGeorge Law Firm                             Northbrook, IL 60062
2921 E 17th St Bldg D Ste 6
Austin, TX 78702                               G3 Global Services LLC
(Returned to Sender / Unable to Forward)       2425 West Loop South Ste 310
                                               Houston, TX 77027-4208
MacGeorge Law Firm
701 Tillery Street Ste 12                      Galloworks
Austin, TX 78702                               2425 West Loop South Ste 400
                                               Houston, TX 77027-4205



                                           3
                                                                              4868-8377-7229.v1
Case Case
     4:24-cv-04836
          23-34815 Document
                   Document 758-7
                            8-1 Filed
                                  Filedon
                                        in 04/23/25
                                           TXSB on in
                                                    10/02/24
                                                      TXSD Page
                                                             Page4422
                                                                   of 5of 431




Jetall Companies Inc.                           Parties Requesting Notice:
2425 West Loop South Ste 1100                   Jeannie Lee Andressen
Houston, TX 77027-4210                          Tara Grundemeier
                                                Linebarger Goggan Blair & Sampson LLP
Kudrath Enterprises PLLC                        P O Box 3064
2425 West Loop South Ste 350                    Houston, TX 77253-3064
Houston, TX 77027-4208                          Counsel for City of Houston, Houston
                                                Community College System, and Houston
Nationwide Investigations & Security Inc.       ISD
2425 West Loop South Ste 300
Houston, TX 77027-4207                          Rodney Lee Drinnon
(Returned to Sender / Unable to Forward)        McCathern Houston
                                                2000 West Loop South Ste 1850
Shah Sloan LLC                                  Houston, TX 77027
2425 West Loop South Ste 501, 503 and 523       Counsel for Rodney Drinnon
Houston, TX 77027-4205
(Returned to Sender / Unable to Forward)        Susan Fuertes
                                                Harris County Attorney’s Office
SIBS International Inc.                         P O Box 2928
2425 West Loop South Ste 900                    Houston, TX 77252-2928
Houston, TX 77027-4205                          Counsel for Harris County, Attn: Property
(Returned to Sender / Unable to Forward)        Tax Division

SIBS International Inc.                         James Robert MacNaughton
2425 West Loop South Ste 350                    Porter & Powers PLLC
Houston, TX 77027                               5900 Memorial Drive Ste 305
(Returned to Sender / Unable to Forward)        Houston, TX 77027
                                                Counsel for 2425 West Loop, LLC
SprintCom Inc.                                  (Returned to Sender / Unable to Forward)
2425 West Loop South, Rooftop
Houston, TX 77027-4205                          James Robert MacNaughton
(Returned to Sender / Unable to Forward)        Porter & Powers PLLC
                                                1776 Yorktown St Ste 300
St. Christopher Holdings GP LLC                 Houston, TX 77056
2425 West Loop South Ste 700                    Counsel for 2425 West Loop, LLC
Houston, TX 77027-4205                          (Returned to Sender / Unable to Forward)

UL Therapy                                      James Robert MacNaughton
2425 West Loop South Ste 315                    Porter Firm, PLLC
Houston, TX 77027-4211                          2221 S. Voss Road, Suite 200
(Returned to Sender / Unable to Forward)        Houston, TX 77057
                                                Counsel for 2425 West Loop, LLC
Uptown Cosmetic and Implant Dentistry
2425 West Loop South Ste 333
Houston, TX 77027-4211



                                            4
                                                                              4868-8377-7229.v1
Case Case
     4:24-cv-04836
          23-34815 Document
                   Document 758-7
                            8-1 Filed
                                  Filedon
                                        in 04/23/25
                                           TXSB on in
                                                    10/02/24
                                                      TXSD Page
                                                             Page5423
                                                                   of 5of 431




Stephen Wayne Sather
Mark E. Smith
Barron Newburger, P.C.
7320 N Mopac Expy Ste 400
Austin, TX 78731
Counsel for 2425 WL, LLC

Howard Marc Spector
Spector & Cox, PLLC
12770 Coit Road Ste 850
Dallas, TX 75251
Counsel for CC2 TX, LLC

Broocks Wilson
Kean Miller LLP
711 Louisiana Suite 1800
Houston, TX 77002
Counsel for Sonder USA Inc.

Ali Choudhri
2425 West Loop South 11th Floor
Houston, TX 77027

David Tang
6711 Stella Link #343
West University Place, TX 77005
Counsel for Azeemeh Zaheer

Omar Khawaja
5177 Richmond Ave Ste 1065
Houston, TX 77056
Counsel for Azeemeh Zaheer




                                     5
                                                                  4868-8377-7229.v1
Case 4:24-cv-04836                Document 8-1            Filed on 04/23/25 in TXSD               Page 424 of 431
                                                                                                      United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                                ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                          November 25, 2024
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

IN RE:                                                       §
                                                             §        CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                                    §
                                                             §
             Debtor.                                         §
                                                             §
                                                             §        CHAPTER 11

                                  ORDER DENYING MOTION (ECF 810)

Before the Court is the Motion to Comply with the Gatekeeping Provisions of the Confirmed
Chapter 11 Plan filed by Ali Choudhri (“Choudhri”) and the National Bank of Kuwait’s (“NBK”)
Response to Ali Choudhri's Motion to Comply with the Gatekeeping Provisions of the Confirmed
Chapter 11 Plan (ECF No. 824). For the following reasons the motion is denied, with prejudice.

Choudhri by motion seeks to challenge or modify the “gatekeeping provisions” of the confirmed
Chapter 11 Plan in this case so that he can continue to litigate with NBK. The Court stresses that
the effect of the confirmed plan was to end the vexatious litigation between entities controlled by
Choudhri and NBK. Choudhri continues to raise factual and legal issues which this Court has
already considered and rejected.

The confirmed plan is under appeal but not by Choudhri only by a company he controls. The
Court doubts that Choudhri has standing to make the claims he makes by motion. Irrespective of
his lack of standing, he like all parties are bound by the terms of the confirmed plan. 1 There was
no stay pending appeal and the Court continues to stand on the record in this case. If this Court
has erred in any of its “gatekeeping provisions” then it welcomes an appropriate appellate review,
which the Court assumes is ongoing. However, it will not revisit factual and legal issues that it
has already litigated. The Court cannot sufficiently stress that Choudhri continues to raise and
argue the same basic facts and claims that this Court has found lacked foundation and merit.

Choudhri’s claims the Court has not considered the factual and legal arguments he makes in his
motion. The Court strongly rejects any such claim. The Court has had ample opportunity to assess
Mr. Choudhri’s factual and legal arguments and has repeatedly rejected them. Choudhri’s purpose
for pursuing these claims is improper and clearly vexatious.




1
    Section 1141(a) of the Bankruptcy Code explicitly states that a confirmed plan is binding on all parties.
1/2
Case 4:24-cv-04836      Document 8-1     Filed on 04/23/25 in TXSD     Page 425 of 431




The motion is all things denied, with prejudice. The movant is warned that future ongoing
litigation at the trial court level is subject to sanctions by this Court.

SO ORDERED.


       SIGNED 11/25/2024


                                               ___________________________________
                                               Jeffrey Norman
                                               United States Bankruptcy Judge




2/2
Case 4:24-cv-04836         Document 8-1     Filed on 04/23/25 in TXSD     Page 426 of 431




                    THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


                                             )
                                             )
 In re:                                      )            Chapter 11
                                             )
 GALLERIA 2425 OWNER, LLC,                   )            Case No. 23-34815
                                             )
                                Debtor.      )
                                             )
                 ________________________________________________

 ALI CHOUDHRI’S STATEMENT OF THE ISSUES AND DESIGNATION OF
      ITEMS FOR RECORD ON APPEAL OF GATEKEEPING ORDER
                            (DKT NO. 833)
          _________________________________________________


          Pursuant to Rule 8009 of the Federal Rules of Bankruptcy Procedure, Creditor 2425

WL, LLC hereby submits this: (a) Statement of the Issues Presented on Appeal; and (b)

Designation of Items to be Included on Record on Appeal in connection with their appeal

of the following order:

          a. “Order Denying Motion (ECF 810) dated November 25, 2024
             (Dkt. No. 833).

That appeal is before the United States District Court for the Southern District of Texas:

4:24-cv-4836.

                                   ISSUES ON APPEAL

          On November 25, 2024, the Court denied the Motion to Comply with the

Gatekeeping Provisions of the Confirmed Chapter 11 Plan filed by Ali Choudhri, and
Case 4:24-cv-04836          Document 8-1      Filed on 04/23/25 in TXSD     Page 427 of 431




ordered that Choudhri refrain from “future ongoing litigation” against the National Bank

of Kuwait, S.A.K.P., New York Division, in the following cases:

        Naissance Galleria, LLC v. Zaheer, et al., Cause No. 2023- 43755, pending in the
        80th District Court of Harris County, Texas;

        Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri v. NBK, Adversary
        Case No. 23-06009, pending in this Court; and

        Choudhri v. NBK and Zaheer, Adversary Case No. 23-03263, pending in this
        Court.

This order gives rise to the following issue:

   I.         Did the Court have legal, factual, or evidentiary grounds to
              force Choudhri and entities associated with him to refrain from
              pursuing the above-mentioned claims against the Bank of
              Kuwait?

DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL

        The following items from the bankruptcy case and adversary proceeding are to be

included in the record on appeal. Each designated item shall also include any and all

exhibits and documents annexed to and referenced within such items.

 Dkt. No.                                       DESCRIPTION

                   Docket Report

         1         Chapter 11 Voluntary Petition Non-Individual Fee Amount $1738 Filed by
                   Galleria 2425 Owner, LLC. Chapter 11 Plan (Small Business) (dated
                   12/05/2024)

        758        Emergency Motion of National Bank of Kuwait, S.A.K.P., New York Branch’s
                   Emergency Motion to Enforce the Gate-Keeping Provisions of the Confirmed
                   Chapter 11 Plan (filed 10/02/2024)

        759        Order Setting Hearing (entered 10/02/2024)

        771        Supplement to Emergency Motion to Enforce the Gate-Keeping Provisions of the
                   Confirmed Chapter 11 Plan (filed 10/08/2024)
Case 4:24-cv-04836       Document 8-1      Filed on 04/23/25 in TXSD      Page 428 of 431




     778       Proposed Order RE: Agreed Order Granting Emergency Motion to Enforce the
               Gate-Keeping Provisions of the Confirmed Chapter 11 Plan (dated 10/10/2024)

     779       Order Granting Emergency Motion to Enforce the Gate-Keeping Provisions of
               the Confirmed Chapter 11 Plan (entered 10/10/2024)

     802       Motion to Comply with the Gatekeeping Provision of the Confirmed Chapter 11
               Plan Filed by Creditor Ali Choudhri (filed October 30, 2024)

     804      Order Denying Motion to Comply (entered 11/01/2024)

     810       Motion to Comply with the Gatekeeping Provisions of the Confirmed Chapter 11
               Plan (filed 11/04/2024)
     811       Order Resetting Hearing (entered 11/05/2024)

     824       NBK’s Response to Ali Choudhri’s Motion to Comply with the Gatekeeping
               Provisions of the Confirmed Chapter 11 Plan (filed 11/20/2024)

     833       Order Denying Motion (entered 11/25/2024)

     887       Notice of appeal (filed 12/09/2024)

       Appellant reserves the right to amend, modify, and/or supplement the foregoing

statement of issues and designations and/or object, or otherwise supplement or move to

strike or modify, some or all of the appellees’ counter-designation of additional items to

be included in the record on appeal and/or cross-statement of issues on appeal. This filing

is made expressly subject to, and without waiver of any and all rights, remedies,

challenges, and objections.

                                                     Respectfully submitted,

                                                     /s/ J. Carl Cecere

                                                     J. Carl Cecere
                                                     State Bar No. 13268300
                                                     (admitted pro hac vice)
                                                     Cecere PC
                                                     6035 McCommas Blvd.
                                                     Dallas, TX 75206
                                                     Telephone: 469-600-9455
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 429 of 431




                                         Attorneys for 2425 WL, LLC and
                                         Ali Choudhri
Case 4:24-cv-04836     Document 8-1      Filed on 04/23/25 in TXSD     Page 430 of 431




                           CERTIFICATE OF SERVICE

        The undersigned certifies that on this 23rd day of December, 2024, a true and
correct copy of the foregoing was served on the following in accordance with the CM/ECF
e-filing system, and upon all others who have consented to service in this case by
registering to receive notices in this case through the CM/ECF e-filing system.

       Reese W Baker                          R. J. Shannon
       Baker & Associates                     Shannon & Lee LLP
       950 Echo Lane, Ste 300                 2100 Travis St, Ste 1525
       Houston, TX 77024                      Houston, TX 77002
       (713) 869-9200                         (713) 714-5570
       Fax : (713) 869-9100                   rshannon@shannonleellp.com
       courtdocs@bakerassociates.net
                                              Kyung Shik Lee
       James Q. Pope                          Shannon and Lee LLP
       The Pope Law Firm                      2100 Travis St., Ste. 1525
       6161 Savoy Drive                       Houston, TX 77002
       Ste 1125                               (713) 301-4751
       Houston, TX 77036                      klee@shannonleellp.com
       (713) 449-4481
       ecf@thepopelawfirm.com                 Charles C. Conrad
                                              Ryan Steinbrunner
       Jeffrey W Steidley                     Pillsbury Winthrop Shaw Pittman
       Steidley Law Firm                      609 Main St. Ste 2000
       3000 Weslayan St., Ste 200             Houston, TX 77002
       Houston, TX 77027                      (713) 276-7600
       (713) 523-9595                         Fax: (713) 276-7634
       Jeff@texlaw.us                         charles.conrad@pillsburylaw.com
                                              ryan.steinbrunner@pillsburylaw.com
       Christopher R. Murray
       Jones Murray LLP                       Andrew M. Troop
       602 Sawyer St., Ste 400                Patrick E. Fitzmaurice
       Houston, TX 77007                      Kwame O. Akuffo
       (832) 529-1999                         Pillsbury Winthrop Shaw Pittman
       Fax: (832) 529-3393                    31 West 52nd Street
       chris@jonesmurray.com                  New York, NY 10019-6131
                                              (212) 858-1000
                                              Fax: (212) 858-1500
                                              Andrew.troop@pillsburylaw.com
                                              Patrick.fitzmaurice@pillsburylaw.com



                                               /s/ J. Carl Cecere
Case 4:24-cv-04836   Document 8-1   Filed on 04/23/25 in TXSD   Page 431 of 431




                                         J. Carl Cecere
